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                 Monitor’s Sixth Report


 Compliance Levels of the Albuquerque Police
 Department and the City of Albuquerque with
    Requirements of the Court-Approved
           Settlement Agreement
                No. CIV 14-1025 RB/KK




                                         November 2, 2017



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1.0 Introduction

The following document constitutes the Independent Monitor’s sixth
status report detailing the status of the monitoring function of the
Albuquerque Police Department’s (APD) response to the Court
Approved Settlement Agreement (CASA) between the United States
Department of Justice (DOJ) and the City of Albuquerque (the City). The
document consists of five sections:

   1.   Introduction;
   2.   Executive Summary;
   3.   Synopsis of Findings;
   4.   Compliance Assessments; and
   5.   Summary.

On November 14, 2014, the United States Department of Justice
entered into a settlement agreement (SA) with the City regarding
changes the Parties agreed to make in the management and operations
of the APD. This agreement consisted of 278 requirements accruing to
the APD, the City of Albuquerque, and related entities, including, for
example, the City of Albuquerque’s Citizens’ Police Oversight Agency
(CPOA), and the City of Albuquerque’s Police Oversight Board (POB).
After approval of the Settlement Agreement by the Court in November
2014, on January 14, 2015, the Parties selected an independent monitor
to oversee and evaluate the APD’s response to the requirements of the
CASA on January 14, 2015. Dr. James Ginger (CEO of Public
Management Resources), and his team of policing subject matter
experts (SMEs) in the areas of police use of force, police training, police
supervision and management, internal affairs, police-community
relations, crisis intervention, and special units were tasked with the
responsibility of developing and implementing a monitoring methodology
designed to, where possible, evaluate quantitatively each of the 276
individual requirements of the CASA. The monitoring team’s proposed
methodology was submitted to the parties (The USDOJ, the City of
Albuquerque, the APD, and the Albuquerque Police Officers’
Association) in March 2015. The Parties were given time to review and
comment on the draft, and the monitor revised the methodology
document that were meaningful and suggested an improved document
in terms of accuracy, understandability, and style. A Court Order
modifying deadlines for the CASA was approved by the Court and filed
on September 24, 2015. This document reflects those comments and
represents an attempt by the monitoring team to produce the most
accurate assessment possible.

In the pages that follow, the monitoring team presents to the Court, the
Parties and the residents of the City of Albuquerque, its findings
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developed from its sixth site visit. We have noted previously that the
monitor’s first report, in effect, represents a “baseline” from which
improvements can be tracked. This sixth report represents an
assessment of the progress made since the beginning of compliance
efforts. Full disclosure of the monitor’s reports will be made by
presentation in Court, by in-person discussions with the Parties and by
publication of the report on the Web. The reader is reminded that this
document is the sixth step in a multi-year and multi-phased
organizational development and planned change process.

While the style of this reporting modality may be a bit technical, the
reader should note that it is meant to inform the Court, applicable law
enforcement professionals, and the Parties about the monitor’s
assessment of the current levels of performance by the APD on the 276
specific tasks required of the City and the APD over the coming years.
The monitor’s reports allow the reader to actually assess progress made
by APD since the reform process was initiated in January 2015.
Thousands of man-hours have gone into developing this report in the
form of planning, data collection, data analysis, report writing, staffing
and production. The sixth report served as a review of the effectiveness
of the organizational development process engaged in by the APD
during the period of February 2017 through July 2017 (inclusive).
Similar processes will be used over the remaining life of the CASA.




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2.0 Executive Summary

This is the sixth monitor’s report, covering February 2017 through July
2017. Under the Court-Approved Settlement Agreement (CASA), the
monitor is to issue public reports on the City’s progress over the
remaining years, by which point the City intends to have reached
substantial and sustained compliance with all provisions of the CASA.

As this report discusses in detail, significant challenges lie ahead for the
Albuquerque Police Department and the City of Albuquerque. This
executive summary provides an overview of what the monitoring team
has observed so far in the APD’s compliance efforts, and is a synopsis
of a fuller discussion of compliance, which can be found in the body of
the report. The summary then provides an explanation of where we are
in the process, given some modifications that the City and the
Department of Justice requested the Court to make to deadlines in the
CASA. Finally, the summary explains more about how this report is
organized and where the reader can find more information about specific
components of the CASA.

2.1 Overview of This Report’s Conclusions

This summary covers the nine substantive areas laid out in the CASA:

         I. Use of Force;

        II. Specialized Units;

        III. Crisis Intervention;

       IV. Policies and Training;

        V. Misconduct Complaint Intake, Investigation, and
           Adjudication;

       VI. Staffing, Management and Supervision;

       VII. Recruitment, Selection, and Promotions;

      VIII. Officer Assistance and Support; and

       IX. Community Engagement and Oversight.

While each of these topics is covered in greater detail in the body of the
report, this executive summary will provide an overview of our
conclusions from the core components of the CASA.



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2.1.1 Use of Force

As the monitoring team noted in its first five reports, and a Special Report
submitted to the Court in September of 2016, fostering the constitutional use of
force is the primary goal of this entire effort, and every provision of the CASA is
aimed, directly or indirectly, at achieving that goal.

The APD continues to work under an overarching use of force policy. As we
noted in IMR-5: “Use of force policy has been a difficult mechanism to master for
the APD, and we continue to see residual issues as that policy comes into its
six-month review processes. We continue to see issues related to use of force
in the areas of neck holds, distraction strikes, and “shows of force”. In fact,
treatment of each of these issues has led to delays in our ability to assure that
APD crafts a revised use of force policy that addresses the issues the
monitoring team have noted over the past months. We also continue to note
training-related issues regarding use of force, and supervisory issues related to
reviewing and identifying out-of-policy uses of force, and reciprocal issues in
supervision, command review, and administrative assessment and regulation of
uses of force.”

For the most part, APD has managed to resolve these issues during this
reporting period, and we have noted that the agency has produced a reasonably
clean set of policies relating to use of force. We do note, with some trepidation,
however, that the latest (approved) use of force policy suite included a relatively
innocuous “definition” related to the concept of De Minimis force, a term used by
other police agencies also under CASA-like processes to relate to minor uses of
force, such as guiding an un-handcuffed prisoner, etc. Under the current
policies, approved by the monitor, APD provides no guidance to its officers (in
policy) relating to De Minimis force, and relates that guidance to its definitions
section, placing an extreme burden on the training and supervisory processes to
identify, classify, guide, and implement the concept into actions in the field. We
note that this new definition, while simple on the surface, is already generating
problematic issues in in-field implementation, indicating a lack of effective
training at the officer, supervisor, and command level relative to the definition,
articulation, implications and impact on in-field operations of the APD’s
implementation of the concept in the field.

We could find no specific training (or evaluation of training) that APD had
provided during the sixth reporting period relating to De Minimis force that would
guide officers, supervisors, command-level personnel or other employees as
they use, supervise, or assess the effectiveness of officer performance relating
to the concept of De Minimis force. We see this as a potentially problematic
issue.

Further, this reporting period, we again note serious supervisory and command-
level and administrative (Internal Affairs, Force Review Board) failures relating to
APD’s willingness and ability to identify out-of-policy force events and to take
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appropriate remedial action. 1 These include (but are not limited to) problematic
lapses in supervisory and command oversight of use of force. More importantly,
we have noted during the sixth reporting period that APD has not been
accurately reporting the total number of uses of force executed by APD
personnel. For IMRs 2 through 6, the monitor requested of APD a listing of all
use of force cases that occurred during the given monitoring periods (2 through
5). This request included both serious uses of force (cases that are investigated
by CIRT/FIT and reviewed by the Force Review Board) and supervisory uses of
force (cases reviewed and resolved by field supervisors).

From that list of cases the monitoring team would select a random sample of
cases to review. We learned in May 2017, during our work for IMR-6, that APD
was reporting only those cases (serious uses of force) that were closed, not all
cases that were reported. That shielded the fact that there were numerous
cases pending 2 and those cases left significant gaps in the data. It also raised
serious questions as to why cases were pending for such extended periods of
time. Even more troubling, we found that even the Chair of APD’s Force Review
Board (an assistant chief of police) claimed ignorance of this discrepancy!

During the course of the monitor’s other monitoring projects there was also a
substantial “backlog” in police performance regarding investigation of civilian
complaints and uses of force, but in those other projects the affected police
department was aware of the backlog and its impact on investigations. To find
that, at this late date, the chair of the Force Review Board was unaware of this
“backlog” is more than puzzling. It is extremely troublesome, and reflects a
significant lack of awareness and focus on use of force issues at APD. We also
uncovered during this reporting period, a significant backlog of supervisory use
of force investigations dating back to January 2017, which effectively prevents
the monitoring team from making an objective assessment of overall
investigative outcomes since the cases are not yet submitted and complete.
Arguably, cases that are incomplete for extended periods of time are of greater
interest since they may reveal deficiencies from many different perspectives. 3
To suggest that we are concerned about such “oversights” puts it mildly.

In the past, APD has been given extensive feedback and technical assistance
concerning their inability to report effectively, track, and investigate legitimate
use of force cases. Likewise, the monitoring team has predicted many of the
issues APD has, and is, encountering. None was more prevalent than when we
alerted APD to significant deficiencies in its use of force training in early 2016. It
is not surprising to the monitoring team that APD has continued to struggle

   1 Our concerns over the reporting and investigating of show of force events extend back to
   the beginning of the monitoring team’s engagement with APD.
   2 We learned that some supervisory use of force cases were still pending and in the chain
   review process 4-5 months after the original event occurred.
   3 As of August 1, 2017, none of the reported supervisory use of force cases for the months
   of May, June or July 2017 were completed.
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during this monitoring period, since, in our opinion, many supervisors and
command personnel continue to view their activities (related to force and
organizational accountability) through the same lens that got them into their
current situation.

2.1.2 Specialized Units

Specialized units at APD have, for the past five reports, led the way in terms of
assessing the CASA’s requirements, identifying relative strengths and
weaknesses, and building on strengths while eliminating or ameliorating
weaknesses. All of APD’s specialized units are at or nearing full compliance,
with the only outstanding issues having been resolved during this reporting
period (reporting and analysis protocols for canine bites). APD’s specialized
units continue to shine in terms of planning, oversight, and, where needed,
remedial interventions.

2.1.3 Crisis Intervention

APD’s Crisis Intervention Units (CIT, E-CIT, etc.) continue work toward
compliance with the requirements of the CASA. In IMR-5, we noted a marked
improvement over past practice in training development for e-CIT “advanced”
training, noting clearly articulated learning objectives, training modalities, and
implementation strategies. Work remains to be done to integrate applicable CIT
and E-CIT policies and practices with non-specialized units. We noted in IMR-5
that “APD should ensure that each of the [CIT] related paragraphs conform with
the goals articulated in [paragraph 111-137] conform with the goals articulated in
[paragraph 110] and are articulated sufficiently to Command and supervisory
level personnel.” That remains the case for IMR-6. APD has reached full
compliance with requirements for consultation and coordination with service
providers on issues related to provision of services to those with mental health
issues (paragraph 111). The same applies to the requirement to engage mental
health professionals (112), coordination with the community regarding the
chronically homeless (116), provision of state-mandated behavioral health
training to all cadets (119), training of officers regarding (120), training of tele-
communicators regarding CIT practices (121). Substantial work remains to be
done on all remaining paragraphs (113-115, 117-119, and 120-127). Much of
the “documentation” provided by APD for CIT components was not “normal
course of business” documentation, as required by the monitor’s methodology
(and shared with APD and the Parties early in this project). Such “purpose built”
documentation of compliance efforts, such as spreadsheets created after the
fact, are not acceptable as “course of business” documentation. The “to do list”
for CIT training and operational requirements remains daunting. Much remains
to be done before attaining overall compliance, and most of it relates directly to
staffing, training, documentation of policies and training, and maintenance of
acceptable “course of business” documentation. Provision of spreadsheets of
attendees absent supporting testing modality descriptions and test scores is

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unacceptable. APD was put on notice of these requirements by the monitor’s
methodology, submitted to APD and the Parties early-on in this project timeline.

2.1.4 Policies and Training

Policy and training have been persistent issues with APD since the inception of
the monitoring process. APD has made significant strides in the policy
development and promulgation process, with multiple revised policies having
been approved by the monitoring team during this reporting period, and other
policies, including the often-problematic use of force policy “suite,” approved
after the close of this reporting period. While often delayed, APD policy
production, review and revision is now reasonably routinized, with monitor
review generally consisting of less critical assessments, and fewer notices of
needed changes or revisions prior to monitor approval. Training processes,
however, continue to exhibit problems and issues. We have noted since the
early days the APD’s tendency to “shortcut” accepted training practices and
cycles, and have devoted hundreds of team-hours to reviewing and critiquing
(directly to APD Academy managers) what we found to be substandard
practices in training development, documentation, and evaluation. Despite the
work product provided by the monitor to APD regarding training, we still find
training product that fails to meet nationally accepted practice, and/or monitor-
communicated standards.

Very early on in the monitoring process, we provided APD and managers at the
training academy outlines and examples of field-based pattern and practice in
police training development, including the needs assessment-development and
documentation processes used by agencies such as the California Police
Officers Standards and Training agency (CALPOST). CALPOST is a widely
recognized source of leadership in delivery of law enforcement training. Despite
this early guidance, the APD academy continues to eschew such routine
processes as documenting goals, objectives, modalities and outcomes. We also
note that testing at the APD academy routinely show unusually high mean
scores (well above 95 percent) which indicates to us either remarkably easy
assessment tools or coaching. While one would expect high marks from
professional training (and while the acceptable “pass rate” articulated in the
monitor’s training assessment methodology requires that greater than 95
percent of those tested “pass,”) an average score of 95-plus percent is a
statistically worrisome outcome, potentially indicating an overly easy testing
mechanism. If 95% of those who took the test “passed” (e.g., a 70 or above)
that would be one matter, but if the average score is 95 that is a different, and
suspect “outcome.”

2.1.5 Misconduct Complaint Intake, Investigation and Adjudication

APD has developed systems for the intake, investigation and adjudication of
misconduct complaints. These systems, on the surface, are designed to
conform to the requirements of the CASA. Implementation of these systems has
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fallen short of articulated and required CASA requirements, however. While
APD’s complaint receipt, classification, investigation and adjudication systems
designed to ensure compliance with the CASA are substantial, complex, and, on
the surface, designed to ensure compliance with the CASA, these systems fall
short repeatedly when it comes to implementation. For example, during the
sixth monitoring period, a routine monitoring audit of outstanding IA cases has
revealed a substantial and persistent (and unreported) backlog of IA cases,
particularly related to uses of force, that have lingered for excessively long
periods of time without attention from APD. This backlog is discussed
extensively in the body of IMR-6 (at pp. 79 and following).

2.1.6 Staffing Management and Supervision

For APD, the paragraphs relating to staffing, management and supervision of its
personnel remains a critical area of short-fall. In IMR-5, the monitor noted that
supervisory ranks were a critical component whose performance led to direct
and critical failures in compliance efforts. All oversight levels of patrol
operations were identified as weak links when the monitor assessed APD’s
ability to identify, classify, and respond to out-of-policy uses of force, with
sergeants, lieutenants, and commanders routinely failing to note and respond to
uses of force that were clearly out of policy. During this reporting period, we
note the same issues with APD’s administrative systems, including the CIRT,
FIT, and IA investigative processes, and, more troubling, the APD’s Force
Review Board functions. Each of these critical elements of supervision and
administrative identification and response to improper uses of force have fallen
short of performing the tasks assigned to them, at times in worrying modalities.

2.1.7 Recruitment, Selection and Promotions

Paragraphs 232 through 241 identify specific CASA-established objectives for
APD’s recruiting processes. Our review of APD’s performance related to this
paragraph indicate that the agency has achieved full compliance with ten
paragraphs. The APD recruit-training process continues to be a strong point of
performance and CASA compliance for this IMR-6, as it was during last
reporting period. Internal supervision and oversight of the recruit training
process has led to excellent results.

2.1.8 Officer Assistance and Support

Paragraphs 242 through 254 deal with APD officer assistance and support
requirements of the CASA. To date, APD has completed policy related to
performance evaluations, has a policy pending monitor’s review regarding
promotions and has completed (and had approved by the monitor) the earlier
policy regarding performance evaluations. APD also has an approved and
implemented policy relating to officer mental health and support (paragraph
247), as well best practices-compliant provision of mental health services for
officers. Field-standard practices related to confidentiality of mental health
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services make operational compliance difficult to quantify; however, we have
confidence that the programs implemented by APD’s Behavioral Science
Section are industry standard and compliant. BSS remains involved with
development and screening of recruit training related to mental health issues,
and are accessible to line personnel. A list of internal and external mental
health resources has been complied and circulated by BSS. We continue to see
focused, dedicated and professional responses to the requirements of the CASA
from BSS.

2.1.9 Community Engagement and Oversight

Paragraphs 255-268 accrue to APD’s community outreach function. The APD
has reached secondary compliance in a large majority of its outreach function
paragraphs, with eleven of the specific requirements of the 14 required showing
secondary compliance. The three “outliers” consist of measuring officer
“outreach,” (paragraph 259), measuring attendance at CPC meetings
(paragraph 263) and establishing effective criteria for selecting CPC members
(paragraph 267). Of the three remaining roadblocks to compliance, only one
seems a problematic task. Paragraph 267 requires a delicate balance between
representative membership and member background checks. APD continues to
work through this process.

2.1.10 Summary

We continue to note pervasive lapses in processes related to use-of-force
oversight at the Area Command-level, and at the force-review and response
mechanisms within the administrative processes of APD. In short, even after
hundreds of man-hours of consultation, reports, recommendations and repeated
(sometimes intense) conversations with APD leadership over a two-year period,
APD continues to fall seriously short of CASA requirements relating to
management and supervision—particularly regarding use of force-related
issues. Arguably, some of these lapses can be attributed to staffing issues.
Nonetheless, performance on tasks outlined in these sections of the CASA
remain out of compliance, despite the monitoring team’s two years of intensive
consultation, documentation, and suggestion. We found problematic
performance in supervisory training regarding response to use of force,
computerized systems designed to “flag” problematic officer behavior, internal
“oversight” mechanisms relating to use of force, management of force-review
functions, and over-arching leadership of the department related to uses of force
in-field practices, supervision, training, oversight, and leadership. Considering
that use of force is one of the main areas of focus of the CASA, issues
encountered this reporting period related to uses of force identification,
classification, investigation, assessment, findings development and remediation
are troublesome.




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3.0 Synopsis of Findings

As with our previous reports, this section provides a summary of the
monitoring team’s findings regarding compliance with specific
requirements of the CASA during the sixth reporting period (February
2017 through July 2017). Section 3.0 of the monitor’s report is divided
into two main parts:

          •   Accomplishments; and
          •   Outstanding Issues.

Each of these areas is reported in some detail below, and in greater
detail in Section 4.0, the main body of the report.

3.1 Accomplishments

As we noted in IMR-5, during the last reporting period (August, 2016 through
January, 2017) APD completed its initial policy development activities. The
issues related to six-month review of approved policies that we noted last
reporting period (difficulties coming to agreement between the APD and the
monitoring team (and other Parties) continued well into the sixth reporting
period, particularly as it related to use of force and supporting policies. Most of
those issues were resolved by the latter part of the sixth reporting period, and
we are now making reasonable progress regarding policy development and
promulgation. The monitor does note that the backlog in policies continued into
the latter parts of IMR-6’s reporting period, and production has been somewhat
delayed by the preparation and production of IMR-6 itself.

Further, APD appears to have broken the policy backlog. The monitor currently
has a substantial selection of revised APD policies that are pending approval,
and which will be effectuated within the coming weeks. Despite this unintended
delay, the good news is that policy development is moving with a renewed
alacrity at APD, and in this case, it is the monitor (and production of IMR-6) that
has caused the delay, not APD. The monitor made the decision to defer policy
response so that APD could have the earliest possible access to the draft
findings of IMR-6. Given past difficulties with policy development, the monitor
personally reviews all proposed APD policy as opposed to simply obtaining
assessments from subject matter experts on the monitoring team. This process,
necessitated by APD’s former resistant response to policy guidance, has slowed
policy review and comment processes.

We noted in IMR-5 that APD has reduced the span of control of patrol sergeants
to 8:1 or lower, as required by the CASA. That continues for IMR-6. What
remains to be done in this area (supervision) entails training, coaching,
organization and assessment of supervisory practices, particularly as they relate
to use of force documentation and assessment.

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In addition, APD’s community involvement processes are beginning to coalesce,
and we see the emergence of a meaningful, if nascent community engagement
process.

3.2 Outstanding Issues

In IMR-4 and IMR-5 we noted:

“Critical outstanding issues” remain. APD is still in the formative stages
of assessment, development, and response to the full requirements of
the CASA, and such systems, in the previous experience of the monitor,
take time, careful planning, attentive development, and critical self-
evaluation.”

The outstanding issues identified at that point were:

   1. Building strong administrative systems to support compliance with
      the CASA;
   2. Building a meaningful “Command and Control” function, and
      review and assessment of Field Operations activities;
   3. Building meaningful developmental systems for integrating
      training, supervision, discipline, and follow-up process
      development; and
   4. Creating a culture of accountability within APD.

Despite the passage of time, and intensive APD-monitoring team interactions on
these four pending processes, as of the end of the sixth reporting period, these
four outstanding issues from IMR-4 and IMR-5 are still pending. While
substantial progress has been achieved “around the edges,” the key issues
confronting APD in IMRs four and five, for the most part, remain for IMR-6:
administrative systems remain weak (as they relate to the CASA); Command
and Control continues to need substantial improvement; integrated
developmental systems for training, supervision, discipline and follow-up
process development have not been addressed, and, in the monitor’s
professional opinion, based on six-decades of experience in law enforcement on
the local and national level, a culture of accountability is markedly absent at
APD.

On these critical systems: compliance administration (command and control,
integration of CASA-related practices, and building a culture of accountability
within APD), scant progress has occurred this reporting period. In IMR-5 we
noted substantial failure at the supervisory, mid-management, and senior
management levels of APD when it comes to training about, supervising, and
controlling use of force at the operational level. This reporting period, we note
those concern extend to the management and administrative levels of the
agency, including the FRB.

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In IMR-5 we noted five steps APD needs to take to move forward with CASA
compliance. It has made substantive progress this reporting period in only one
of those: policy development and promulgation. This progress came only after
substantive, focused and substantial intervention by the monitor to require that
APD policy be congruent with the CASA and best practices in the field. It was,
in the monitor’s opinion, begrudging progress, made only after the monitor
refused to “yield” on problematic proposed APD policy changes. We do note, in
the last few weeks, a softening of APD’s resistance levels regarding
development of effective policy, and see that as a marked improvement in APD
practice regarding policy development.

Unfortunately, little, if any, progress has been noted in four specific areas of
improvement to administrative practice at APD. Considerable progress remains
to be made in the areas of:

      1. Routine, methodical, and pervasive assessments of citizen-police
         interactions to ensure that policing practice conforms to policy;

      2. Identification and clear and consistent remediation of interactions that
         do not conform to policy;

      3. Establishment of “learning cycles” designed to assess
         interactions that do not conform to policy, identify how and
         why those interactions occurred (focusing on supervisory,
         command and administrative functions), and develop
         responses to ensure, to the extent possible, they do not occur
         again; and

      4. Development of feedback loops between policy-training-
         supervision-discipline-administration-leadership to foster
         “early warning” of, and response to, trends that run counter to
         established policy and practice.

Progress on these remaining issues, we noted in IMR-5, requires
“focused, determined, and continual leadership from all levels of
management and executive staff.” We are aware that a new leadership
cadre may be incoming at APD after the October elections. We stand
ready to work with that new leadership to the extent necessary to ensure
it understands existing issues and is offered a range of processes and
activities to address them.


3.2.1 Routine, Methodical, and Pervasive Assessments

One of the more serious deficiencies we noted at APD in our IMR-5 report was
“Assessment of citizen-police interactions to ensure that policing practice
conforms to policy.” We noted during monitoring team interactions with APD
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during the IMR-6 reporting period, a stiffened resistance to crafting policy that
would lead to compliance with the CASA. The monitor found that, on several
occasions, he simply had to refuse APD-proposed changes to policy that in the
monitor’s opinion, would not comply with the requirements of the CASA. In
other instances, APD attempted to revise previously approved policies in ways
designed carefully to weaken previously approved policy versions. We can only
describe these attempts as carefully thought-out resistance to the requirements
of the CASA. In one case, for example, APD cut its EIRS review period in half
(from 12 months to six) while leaving the trigger level (the number of events of a
given type that required administrative review of an officer’s “pattern and
practice” on a given trigger event, uses of force, for example) at the level agreed
to by the monitor and Parties in the previously approved policy version. If the
monitor had not noted the “minor revision” and refused to approve it, the “minor
change” would have, in effect, doubled the trigger level of the given EIRS policy
process, e.g., requiring six uses of force in six months, instead of six in twelve
months! Some might argue that such discrepancies are mere oversights;
however, when they consistently accrue to a reduced level of review, we are not
persuaded by that argument.

We also noted during the IMR-5 reporting period, an attempt by APD to “walk
back” the number of On-Body Recording Device (OBRD) reviews supervisors
were required to conduct on a regular basis, reducing the number of review
substantially. Had the monitor not noted and refused the overt attempt to
reduce the number of reviews required by supervisory personnel, oversight of
patrol activities by supervisory personnel would have been substantially
reduced.

Again, we have noted, during the past month, a lessening of such attempts to
walk back policy in this manner. Nonetheless, such processes have delayed
progress, and consumed valuable time that the monitoring team could have
committed to review, assessment, and correction of actions in violation of policy
by field personnel.

3.2.2 Remediating Interactions that Do Not Conform to Policy

In IMR-5, we reported:

“Again, we note that we have seen little evidence of a coherent “command and
control” function designed to foster clear, attainable, and reasonable processes
for supervisory and command review of officers’ in-field actions relating to
policing practices, particularly use of force.” The majority of problematic
instances noted in the last five site visits have not tended to result in appropriate
supervisory and/or command-level responses, i.e., reviews, assessments,
findings, and responses to behavior that occurs in contradistinction to the
requirements of the CASA.”



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This continues to be the case for IMR-6. Our noted failures of APD oversight,
particularly of use of force incidents, during this reporting period, based on our
review of material submitted by APD for this reporting period, extend beyond the
supervisor and command level and engulf the administrative processes and
functions of APD. During our site visit with APD in preparation for writing IMR-6,
we observed a Force Review Board meeting that addressed a case with which
the monitoring team was very familiar: a serious use of force involving a
handcuffed prisoner. Not only did the supervisory, mid-management, and
management levels of patrol operations apparently miss the seriousness of this
use of force, and miss deliberate attempts to rationalize the use of force by the
officer, when APD’s investigation into the event was presented at the Force
Review Board it resulted in a state of entropy, with no (at the time) findings or
recommendations related to the use of force and the agency’s response to
same. We are unaware of any action taken directly by APD at this point to
address the inappropriate use of force against a handcuffed prisoner. Nor are
we aware of any steps to counsel, reprimand, or discipline the levels of
supervision and/or command who simply “missed” an inappropriate and out-of-
policy use of force by an APD officer. This case, perhaps, is the perfect symbol
of APD’s current problems with oversight of improper use of force: the agency
has a difficult time knowing an improper use of force when it sees it.

3.2.3 Building Meaningful Learning Cycles to Spur Developmental
      Systems for Integrating Training, Supervision, Discipline, and
      Follow-up Process Development

In IMR-4, the monitor noted: “Based on the monitor’s experience in
assessing compliance in other police agencies, the process of
compliance requires an integrated approach to organizational
development and planned change. Creation of disparate and un-related
individual “systems” simply does not work. A complete whole is needed
to address fully the issues raised in the CASA. To date, the product
produced by the City, and under evaluation at this point in time, appears
to be a “collection of parts,” as opposed to what is needed: an
integrated system consisting of policy-driven policing, well supervised,
carefully self-audited, self-correcting, and evolving along carefully
thought-out paths as the policing environment changes, i.e., a learning
organization, responding to nascent situational cues in a thoughtful,
coherent, integrated manner.” In IMR-5, we noted, again, that “Based on
the information we have reviewed for the fifth monitor’s report, the APD
has yet to forge a concept of what the “complete whole” would look like,
and accordingly has not yet forged a holistic approach to reform.”

The entropy noted in the Force Review Board session we attended for
IMR-6 indicates that nothing seems to have improved relative to APD’s
ability to recognize improper (or even illegal) use of force used by some
of its officers. This inability or unwillingness extends well into the
command level at APD.
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3.2.4 Creating a Culture of Accountability within APD: Feedback
Loops and Trend Analysis

In the monitor’s Fifth report, we noted: “The critical issue confronting the
monitoring team and the APD is to identify why critical components of
CASA compliance are continually running behind expectations, and, as a
result push problems “down-line.” This is particularly critical given the
accelerated timeline the City has given itself for compliance with the
CASA.”

We further noted in IMR-5 that “the one critical thing still missing from
APD’s compliance efforts is the insistence to carefully and neutrally
assess behavior based against articulated expectations” e.g., policies
and training. Again, with IMR-6 the monitoring team has noted ‘clusters’
of mismanaged opportunities to note problematic behaviors related to
use of force, to respond to those in a meaningful way, and to articulate
those response processes as expected behavior among supervisory and
command personnel.

The entropy at APD related to its ability to recognize improper use of
when it sees it extends beyond sergeants, lieutenants, and
commanders. It pervades its administrative force-review systems as
well: FIT, CIRT, FRB and other mechanisms designed, purportedly, to
identify, “call,” and correct improper uses of force. Based on the
monitor’s past experience, such failures are cultural, and as such are
difficult to exterminate without substantial change at command levels
and administrative systems.

A careful reader of the monitor’s reports will recall that during IMR-4 we
recommended a specific set of assess-and-respond options that would
assist APD in meeting the requirements of the CASA. Few of those
have been adopted by the APD at this point. In IMR-5 we included 324
specific recommendations for APD as it plans responses to issues it
confronts. We view those as long-term recommendations.

As of this reporting period, we consider APD’s force management
system to be in a severe state of entropy, exhibiting problems that
extend well beyond supervision and involve issues of leadership,
command reliability, and critical systems support mechanisms such as
FIT, CIRT, the Force Review Board, and administrative support
mechanisms. These issues are discussed in greater detail in the
treatment of individual paragraphs of Section 4.0, below.




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4.0 Current Status

As part of the monitoring team’s normal course of business, it established a
base-line assessment of all paragraphs of the CASA for the Independent
Monitor’s first report, (IMR-1). This was an attempt to provide the Parties with a
snapshot of existing compliance levels and, more importantly, to provide the
Parties with identification of issues confronting compliance as the APD
continues to work toward full compliance. As such, the baseline analysis is
considered critical to future performance in the APD’s reform effort as it gives a
clear depiction of the issues standing between the APD and full compliance.
This report, IMR-6, provides a similar assessment, and establishes a picture of
progress on APD goals and objectives since the last report.

4.1 Overall Status Assessment

Section 4.1 provides a discussion of the overall status of APD as of the
Sixth reporting period. As of the end of the Sixth reporting period, APD
continues to make progress overall, having achieved primary compliance
in 97 percent of the tasks it agreed to by implementation of the CASA
process with the Department of Justice. Primary compliance relates
mostly to development and implementation of acceptable policies
(conforming to national practices). APD is in 71 percent Secondary
Compliance as of this reporting period, which means that effective
follow-up mechanisms have been taken to ensure that APD personnel
understand the requirements of promulgated policies, e.g., training,
supervising, coaching, and disciplinary processes to ensure APD
personnel understand the policies as promulgated and are capable of
implementing them in the field. APD is in 53 percent Operational
compliance with the requirements of the CASA, which means that 95
percent of the time, field personnel either perform tasks as required by
the CASA, or that, when they fail, supervisory personnel note and
correct in-field behavior that is not compliant with the requirements of the
CASA.

Figure 4.1.1, below depicts APD’s compliance performance over the last
six reporting periods.

Figure 4.1.1 indicates some deceleration from compliance findings
exhibited previous monitor’s reports, as APD’s failure to follow-through
on recommendations on those reports have resulted in loss of
compliance in some paragraphs for this reporting period. Again, we
cannot emphasize enough that APD needs to stop viewing monitoring
reports as “events,” ending with issuance of the report, and needs to
begin to see this as a process, requiring assessment, planning, and
follow-up on each issue identified in each monitor’s report.



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Figure 4.1.1 Percentage Compliance by Reporting Period

 120


 100


  80
                                                         Primary
  60
                                                         Secondary
                                                         Operational
  40


  20


   0
       IMR-1   IMR-2   IMR-3     IMR-4   IMR-5   IMR-6


4.2 Dates of Project Deliverables

Project deliverables are defined by the Settlement Agreement governing
the parties’ response to the CASA, (DOJ, the City, APD, and the
Albuquerque Police Officers’ Association (APOA). Each deliverable is
discussed in detail below in section 4.7.

4.3 Format for Compliance Assessment

The Monitor’s Reports are organized to be congruent with the structure
of the Agreement, and specifically reports, in each section, on the City’s
and APD’s compliance levels for each of the 276 individual requirements
of the CASA.

For example, the monitor’s reports will be structured into nine major
sections, following the structure of the Agreement:

         I. Use of Force;

        II. Specialized Units;

       III. Crisis Intervention;

       IV. Policies and Training;

        V. Misconduct Complaint Intake, Investigation and Adjudication;

       VI. Staffing, Management, and Supervision;

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       VII. Recruitment, Selection and Promotions;

      VIII. Officer Assistance and Support; and

       IX. Community Engagement and Oversight;

All future monitor’s reports will deal with each of these nine major areas
in turn, beginning with APD’s response and performance regarding
reporting, supervising, and managing its officers’ use of force during the
performance of their duties, and ending with APD’s efforts at community
engagement and its ability to facilitate community oversight of its policing
efforts.

4.4 Structure of the Task Assessment Process

Members of the monitoring team have collected data concerning the
APD’s compliance levels in a number of ways: through on-site
observation, review, and data retrieval; through off-site review of more
complex items, such as policies, procedures, testing results, etc.;
through review of documentation provided by APD or the City which
constituted documents prepared contemporaneously during the normal
daily course of business. While the monitoring team did collect
information provided directly by APD in response to the requirements of
the Agreement, those data were never used as a sole source of
determination of compliance, but were instead used by the monitoring
team as explanation or clarification of process. All data collected by the
monitoring team were one of two types:

•   Data that were collected by using a structured random sampling
    process; or

•   Selecting all available records of a given source for the “effective
    date.”

Under no circumstances were the data selected by the monitoring team
based on provision of records of preference by personnel from the City
or APD. In every instance of selection of random samples, APD
personnel were provided lists of specific items, date ranges, and other
specific selection rules, or the samples were drawn on-site by the
monitor or his staff. The same process will be adhered to for all following
reports until the final report is written.

4.5 Operational Definition of Compliance

For the purposes of the APD monitoring process, “compliance” consists
of three parts: primary, secondary, and operational. These compliance
levels are described below.

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   •   Primary Compliance: Primary compliance is the “policy” part of
       compliance. To attain primary compliance, APD must have in
       place operational policies and procedures designed to guide
       officers, supervisors and managers in the performance of the
       tasks outlined in the CASA. As a matter of course, the policies
       must be reflective of the requirements of the CASA; must comply
       with national standards for effective policing policy; and must
       demonstrate trainable and evaluable policy components.

   •   Secondary Compliance: Secondary compliance is attained by
       implementing supervisory, managerial and executive practices
       designed to (and effective in) implementing the policy as written,
       e.g., sergeants routinely enforce the policies among field
       personnel and are held accountable by managerial and executive
       levels of the department for doing so. By definition, there should
       be operational artifacts (reports, disciplinary records, remands to
       retraining, follow-up, and even revisions to policies if necessary,
       indicating that the policies developed in the first stage of
       compliance are known to, followed by, and important to
       supervisory and managerial levels of the agency.

   •   Operational Compliance: Operational compliance is attained at
       the point that the adherence to policies is apparent in the day-to-
       day operation of the agency e.g., line personnel are routinely held
       accountable for compliance, not by the monitoring staff, but by
       their sergeants, and sergeants are routinely held accountable for
       compliance by their lieutenants and command staff. In other
       words, the APD “owns” and enforces its policies.

As is true, in the monitor’s experience, with all of these complex
organizational change projects, change is never simple or quick. A great
deal of work lies ahead. The monitoring team is committed to assisting
APD command staff by working closely with the APD in forging new, and
revising old policies, articulating clear guidelines and practices for APD’s
intensive training of the department’s supervisors and managers,
assisting APD in building assessment tools designed to identify
problematic behaviors, and advising on “best practices” that can be
adapted by APD as it moves forward in its efforts to meet the individual
and global requirements of the CASA.




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4.6 Operational Assessment

The following sections of the Monitor’s Sixth Report articulate processes
and findings related to each of the 276 4 active elements of the CASA.

The APD and the City have agreed to comply with each of the articulated
elements. The monitoring team has provided the Parties with copies of
the team’s monitoring methodology (a 299-page document) asking for
comment. That document was then revised, based on comments by the
Parties. This document reflects the monitor’s decisions relative to the
parties’ comments and suggestions on the proposed methodology, and
is congruent with the final methodology included in Appendix One of the
monitor’s first report 5. The first operational paragraph, under this rubric,
is paragraph 14, as paragraph 13 is subsumed under paragraph 14’s
requirements.

4.6.1 Methodology

The monitor assessed the City and APD’s compliance efforts during the
third reporting period, using the Monitor’s Manual, included as Appendix
A, in the monitor’s first report (see footnote 7). The manual identifies
each task required by the CASA and stipulates the methodology used to
assess compliance.

4.7 Operational Assessment

APD’s compliance with individual tasks for the sixth reporting is
described in the sections that follow.

4.7.1 Assessing Compliance with Paragraph 14

Paragraph 14 stipulates:

“Use of force by APD officers, regardless of the type of force,
tactics, or weapon used, shall abide by the following requirements:

a)   Officers shall use advisements, warnings, and verbal
     persuasion, when possible, before resorting to force;
b)   Force shall be de-escalated immediately as resistance
     decreases;
c)   Officers shall allow individuals time to submit to arrest before
     force is used whenever possible;


4  Tasks accruing to the United States or the Monitor were not included in this methodology, as
the monitor sees his role as evaluating APD and the City entities supportive of APD in meeting
its responsibilities under the CASA.
5 Available at: https://www.justice.gov/usao-nm/file/796891/download



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d)   APD shall explicitly prohibit neck holds, except where lethal
     force is authorized;
e)   APD shall explicitly prohibit using leg sweeps, arm-bar
     takedowns, or prone restraints, except as objectively
     reasonable to prevent imminent bodily harm to the officer or
     another person or persons; to overcome active resistance; or
     as objectively reasonable where physical removal is
     necessary to overcome passive resistance and handcuff the
     subject;
f)   APD shall explicitly prohibit using force against persons in
     handcuffs, except as objectively reasonable to prevent
     imminent bodily harm to the officer or another person or
     persons; to overcome active resistance; or as objectively
     reasonable where physical removal is necessary to overcome
     passive resistance;
g)   Officers shall not use force to attempt to effect compliance
     with a command that is unlawful;
h)   Pointing a firearm at a person shall be reported in the same
     manner as a use of force, and shall be done only as
     objectively reasonable to accomplish a lawful police
     objective; and
I)   immediately following a use of force, officers, and, upon
     arrival, a supervisor, shall inspect and observe subjects of
     force for injury or complaints of pain resulting from the use of
     force and immediately obtain any necessary medical care.
     This may require an officer to provide emergency first aid
     until professional medical care providers arrive on scene.”

Methodology

APD SOP’s related to use of force 6 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained under negotiation until June 2017, when the monitor
approved each of the four (4) use of force related policies. While the
policies included substantive structural changes (i.e. The use of force
“Definitions” section of SOP 2-52 was moved to the front of SOP 2-55),
certain critical topics that have lingered for APD were resolved 7 in terms
of policy provisions: Specifically, 1) “Low Ready” was defined to help
clarify what constitutes a reportable show of force; and 2) “Show of
Force” was defined better and supervisor investigative responsibilities
relating to Show of Force events were delineated 8 in SOP 2-54-5-B (This

6 APD and the monitoring team have commonly referred to their use of force policies collectively
as the “use of force suite of policies”.
7 Our intent here is to list changes to the policies that are relevant to this paragraph and not

every policy change that occurred.
8 Later we comment about our concern that APD leaving a supervisor response to the scene of
a show of force up to their discretion as a probable critical shortcoming in their operating
procedures.
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has definition had been a significant obstacle to APD’s compliance
efforts).

Over the course of our engagement with APD, our reviews have consistently
revealed serious deficiencies in the oversight and accountability process,
particularly with respect to force reporting, supervisory-level investigations and
chain of command reviews, which we reported in IMR-2, IMR-3, IMR-4, and
IMR-5, as well as in a Special Report that was first provided to APD on August
19, 2016. As detailed herein, the monitoring team was presented with a case
during this reporting period that, in our opinion, implicated and amplified
deficiencies throughout the entire APD use of force oversight system. That
case, [IMR6-001] was of such significance to the monitoring team that it had a
direct impact on the team’s approach to assessing multiple paragraphs.

During IMR-5 we introduced Tabular reporting of data, which we used in great
measure to provide operational feedback on use of force reporting and case
reviews. In keeping with past activities, the monitoring team requested use of
force report ledgers, use of force reports and related materials to conduct case
reviews that would serve as an additional assessment of APD’s progress.
Ultimately, for IMR-6 the monitoring team did not conduct case reviews for the
following reasons:

1. During this reporting period the monitoring team learned, for the first time,
   that APD has not been accurately reporting the total number of use of force
   cases. In preparation of past reports the monitoring team requested a list of
   use of force and show of force cases that occurred during a specific
   timeframe. From that list of cases, the monitoring team would select a
   random sample of cases to review. We uncovered the fact in May 2017 that
   APD was only reporting those serious use of force cases that were closed,
   not all cases that were reported. That shielded the fact that there were
   numerous cases pending 9 and those cases left significant gaps in the data
   available to the monitor. This “force gap” also raised serious questions as to
   why cases were pending for such extended periods of time.

2. We met with the Chairperson of APD’s Force Review Board (FRB) during our
   June 2017 site visit. At that time, we alerted him to the use of force reporting
   data discrepancy and the fact that the monitoring team had not been
   provided accurate data for the past five monitoring periods. During our
   meeting, we asked if the 10% sample of supervisory use of force cases the
   FRB reviews is from the entire list of cases, or only those that are completed.
   We learned that neither he, nor another command level representative of the
   FRB, knew that the FRB was not reviewing a 10% sample of all use of force
   cases. In fact, it took an APD analyst to come to the meeting to make them
   aware of this fact. Such a lack of operational awareness at the highest levels

9 We learned that some supervisory use of force cases were still pending and in the chain
review process 4-5 months after the original event occurred.
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     of APD is more than a bit troubling to the monitor. The ten percent FRB
     sample was approved by the monitor in advance. What concerns us is that
     leadership of APD seems to be unaware of the fact that they are only
     reviewing a “sample” of a “sample,” e.g. ten percent of completed cases, and
     not the complete universe of serious use of force complaints. Further, it
     appears there is no meaningful administrative review of supervisory use of
     force investigations. We noted in IMR-5 clear and distinct failures at the
     supervisory and command levels of APD. That failure extends now to the
     highest levels of the organization.

3. There is a significant backlog of supervisory use of force investigations
   dating back to at least January 2017, which effectively prevents the
   monitoring team from making an objective assessment of the investigative
   outcomes since the cases are not submitted and complete. Arguably, cases
   that are incomplete for extended periods of time are of greater interest since
   they may reveal deficiencies from many different perspectives. 10
   Nonetheless, the process established by APD was substantively different
   from the process suggested by the monitoring team when we first discussed
   sampling methodologies with APD. This system needs a serious and
   substantial “reset” before monitoring team review of use of force cases will
   be accurate and meaningful.

4. APD has received more-than-extensive feedback over the course of the past
   two years on the quality of their force reporting and investigation capabilities.
   There is a trove of information they can consider, so providing more similar
   feedback seems unnecessary for this reporting period. To date many of the
   lessons learned and reported to APD from our review of sampled cases have
   gone un-assessed and un-responded to by APD, so these exercises are,
   unfortunately, of little value at this point in time.

5. Follow-up activities by APD associated with past feedback the monitoring
   team has provided has been, and continues to be, deficient in the extreme.
   One would not be exaggerating to label follow-up as deliberately non-
   responsive.

6. APD training gaps still exist, and as of the date of this report, complete,
   focused, and highly defined feedback provided to APD about its training
   processes (particularly related to use of force) has been virtually ignored by
   APD. As a result, the organization is still not in Secondary Compliance on
   many paragraphs related to use of force. This, by definition, precludes
   assessment of Operational Compliance relating to use of force processes,
   which cannot be evaluated for this reporting period. Use of force case
   reviews, especially given APD’s substantial resistance to following up on
   advice provided by the monitor, have been repetitive for the last five reports,

10As of August 1, 2017, none of the reported supervisory use of force cases for the months of
May, June or July 2017 were completed.
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   with the same problems being noted over and over, and with APD seemingly
   refusing to remedy issues brought to their attention.

7. APD has introduced the concept of “De Minimis force” that we believe will
   have a direct and negative impact on APD’s compliance in force reporting, as
   well as investigating and oversight of uses of force. We note that this
   concept was introduced merely as a definition with no observed policy,
   procedure, appropriate training or implementation modalities supporting the
   change. We have long argued that this type of policy promulgation is a
   recipe for failure. This, in and of itself, violates hard-won “practice”
   modifications at APD based on the monitoring team’s provision of
   unprecedented (in the monitor’s experience) technical assistance and
   coaching on the use of force issues confronting APD. As an example of the
   difficulties engendered by this insertion of a poorly defined concept, we note
   that APD began training on the concept in January 2017, even though the
   “De Minimis” force definition was not approved by the monitor until June
   2017. This violates every accepted training practice known to the monitor.
   The sine qua non of every effective function is that it first must be
   underpinned by acceptable policy before training begins. We are befuddled
   by APD’s process on this point, given that we provided models of effective
   course planning and description processes early on in the monitoring
   process.

8. APD has presented a case [IMR6-001], that involved both a use of force and
   a serious use of force. That case was mishandled from the initial event up to
   and including the FRB review of the case. 11 The case represents an
   indictment of the effectiveness of APD’s entire use of force oversight and
   accountability system, to include IA. 12 To date, we have accurately and
   copiously noted APD’s failures relating to use of force investigations and
   process. Adding more copiously annotated “notice” is not an effective use of
   the monitoring team’s time, until such time that APD exhibits an ability to do
   something about the critical issues we note in our reports. To date that
   ability seems to have been deliberately suppressed.

9. Following IMR-5’s feedback and the monitoring team’s June 2017 site visit
   we believe APD is currently re-assessing its entire force reporting system.
   We will reserve comment on individual cases until we receive the APD’s
   recommendations regarding that re-assessment.

A more comprehensive explanation is provided in the Paragraph 14 Opening
section of this report.



11 Following the FRB meeting the monitoring team met with several APD commanders that

described the FRB meeting, and the handling of this case, as “embarrassing” and a “complete
debacle”.
12 Details surrounding [IMR6-001] are provided elsewhere within this report.


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Results

In the past, APD has been given extensive feedback and technical assistance
concerning their inability to effectively report, track, and investigate legitimate
use of force cases. In the monitor’s experience, which now covers reform at
four different agencies, the Los Angeles (CA) Police Department, the Pittsburgh
(PA) Police Department, the New Jersey State Police and the APD, APD’s
response to that feedback has been deliberately indifferent. Likewise, the
monitoring team have predicted many of the issues APD has, and is,
encountering. None were more prevalent than when we alerted APD to
significant deficiencies in its use of force training in early 2016. This “alert” has
gone un-remedied to this day, despite repeated discussions with APD’s training
command about these difficulties over the past 18 months. It is not surprising to
the monitoring team that APD has continued to struggle during this monitoring
period, since in our opinion many supervisors and command personnel continue
to view their activities (related to force and organizational accountability) through
the same lens that got them into their current situation in the first place.

APD retained its Primary Compliance on all the requirements set forth in this
paragraph with the monitor’s approval of APD’s use of force suite of policies in
June 2017. The monitoring team made three separate data requests related to
this paragraph and reviewed submissions that APD made in response to those
requests. The data submissions consisted principally of training materials and
records, and in response to our third request a number of use of force case files
were provided. First, the information provided was reviewed by the monitoring
team to determine if the specific training gaps that were identified in IMR-5 (and
prior) were remediated through supplemental training. As delineated in
Paragraphs 86–88, some training gaps were closed and others were opened
during this reporting period. As such, APD has not yet achieved Secondary
Compliance with this paragraph. We are now in the third year of this project,
and to have training gaps remain that were noted to APD early on in the
monitoring process is inexplicable. We can only view this discrepancy as
deliberate, given the number of warnings, the amount of coaching provided, and
the number of “mentions” in previous reports.

A specific treatment of “pending” training compliance areas are made in
Paragraphs 86 through 88, below.

An area that has lingered with APD policy and training compliance has centered
on show of force procedures and clarifying the term “low-ready”. As noted
above, the use of force suite of policies has been approved, and those policies
included definition refinements and procedures for the report and investigation of
show of force cases. The monitoring team has reviewed these procedures and
noted that APD has left to the discretion of supervisors whether they will
respond to the scene of a show of force. During our June 2017 site visit the
monitoring team expressed concern over this provision of the policy, and we
offer technical assistance again here as a cautionary message. The ability to
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remotely screen events and ensure that a proper assessment of facts is a
technical skill that requires a great deal of knowledge, experience and focus.
Knowing what probing questions to ask to ensure that a full, accurate and clear
picture of an event is gathered by a supervisor, is not a strength of APD
supervisors at this point in the APD reform process. As with other issues the
monitoring team has noted, we are concerned that allowing supervisors the
latitude to decide whether to respond to a reported show of force may create
“blind spots” to proper oversight. Those “blind spots” may create Operational
Compliance issues down the road for APD. In our experience, the axiom in
police reform is “trust but verify.” In our work with APD since mid-2015, it is
clear that APD has prodigious amounts of trust in its supervisors, but has
insufficient policy, training and practice to verify that trust. This continues,
despite warnings to APD command by the monitoring team highlighting weak
policy, procedure and process among its supervisory levels (see IMRs 1-5).

During past reporting periods the monitoring team conducted in-depth
reviews of APD use of force cases that involved various types of force.
The results of those case reviews were communicated to APD for
consideration as they continued to implement new policy provisions
through training and operational oversight. For IMR-5 the monitoring
team conducted in-depth case reviews for this paragraph and then
calculated a compliance rate for sixteen (16) use of force cases that was
81%.

Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that the revisions pertinent to this
paragraph were introduced while APD remained in non-compliance, the
new policy provisions have a direct and serious negative impact on
APD’s Secondary Compliance status for this reporting period. Based on
our review of materials, APD remains in Primary Compliance with
respect to this paragraph, and additional work is needed to bring all
related use of force training into alignment with the CASA.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.1a: We reiterate that APD should develop and
implement a comprehensive training plan to simultaneously
address all training gaps that are delaying Secondary Compliance.

Recommendation 4.7.1b: Training for downstream units, such as
CIRT, FIT, etc. should also be assessed in light of the persistent
failures we have noted in IMRs 3, 4, and 5.




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4.7.2 Assessing Compliance with Paragraph 15: Use of Force
Policy Requirements

Paragraph 15 stipulates:

“APD shall develop and implement an overarching agency-wide
use of force policy that complies with applicable law and comports
with best practices. The use of force policy shall include all force
techniques, technologies, and weapons, both lethal and less lethal,
that are available to APD officers, including authorized weapons,
and weapons that are made available only to specialized units. The
use of force policy shall clearly define and describe each force
option and the factors officers should consider in determining
which use of such force is appropriate. The use of force policy will
incorporate the use of force principles and factors articulated
above and shall specify that the use of unreasonable force will
subject officers to discipline, possible criminal prosecution, and/or
civil liability.”

Methodology

APD SOP’s related to use of force 13 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. During past site visits we met with
representatives of APD and communicated our concerns for certain
critical omissions in their policies and how APD must reconcile those
issues to properly influence field performance of its officers and
supervisors. APD policy has been silent to certain crucial topics (i.e.,
Distraction Strikes) until very recently, and we have cautioned that once
the issues were resolved in policy, meaningful training must follow.
During its November 2016 site visit, the monitoring team met with APD
personnel and city attorneys to discuss their policy development process
and modifications APD intended to propose for their use of force suite of
policies; however, we specifically centered our attention on SOP 2-52.
At that time, we were told that APD intended to include many of the
recommendations we made during a June 2016 site visit. The update of
APD’s use of force suite of policies remained pending until June 2017,
when the monitor finally approved each of the four (4) use of force related
policies. While the policies included substantive structural changes (i.e.,
The use of force “Definitions” section of SOP 2-52 was moved to the front
of SOP 2-55), certain critical topics that have lingered for APD were
resolved 14 in terms of policy provisions: Specifically, 1) “Distraction
Technique” was included and recognized as a reportable use of force; 2)

13 APD and the monitoring team have commonly referred to their use of force policies collectively

as the “use of force suite of policies”.
14 Our intent here is to list some of the more critical changes to the policies and not to list every

policy change that occurred.
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“Low Ready” was defined to help clarify what constitutes a reportable
show of force; 3) “Neck Hold” was further defined and clarified; 4) “Show
of Force” was defined better and supervisor investigative responsibilities
relating to Show of Force events were delineated in SOP 2-54-5-B (This
has been a significant obstacle to APD’s compliance efforts); and 5) A
term, “De Minimis force” was introduced to APD policy 15.
Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that these policy revisions were
introduced while APD remained in non-compliance, APD’s Secondary
Compliance status for this reporting period was impacted.

The monitoring team requested information from APD to determine if they
closed the gap on training issues that were identified and documented in IMR -
5. In preparation of this report the monitoring team requested a host of training
materials centered on determining whether APD had reached Secondary
Compliance. The status of APD training gaps related to use of force and
supervisory force investigations have been reported on extensively in
paragraphs 86 – 88.

Results

During the monitoring team’s June 2016 site visit, we identified a set of
concerns that impacted Secondary Compliance. We communicated our
concerns extensively in numerous communications16 leading up to,
during, and after the delivery of APD’s 2016 40-hour Use of Force and
24-hour Supervisory Force Investigation Courses. Since APD left
certain policy provisions unclear, and other provisions were not
developed (i.e. Show of Force procedures), Secondary Compliance was
not achieved until supplemental training was developed and delivered to
clarify those provisions. 17

During one site visit the monitoring team sat through the 40-hour course
to assess compliance and to assess the quality of the training.
Likewise, the monitoring team has previously reviewed videotaped
portions of the 24-hour supervisory use of force course. 18 Following our

15 This concept was introduced, strangely enough, by insertion into the “definitions” section of
the Use of Force main policy. We also note that the “De Minimis” force definition was included
at the last possible minute, and included no examples or structured policy to guide
implementation.
16 We provided technical assistance through emails, memorandum and in person meetings on
numerous occasions. We have also recommended that APD develop a comprehensive training
plan in the past four monitor reports. To date, we have been provided no evidence that APD has
completed a comprehensive organizational training plan.
17 The areas of concern have been communicated to APD on several occasions both before,

during and after the delivery of the courses that are cited.
18 This course occurred outside a normal site visit. It was through the review of the videotaped
24-hour Supervisory Use of Force Course that we found blocks of instruction not associated with
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review of the 40-hour training course we met with and discussed specific
concerns that we had with the training curriculum content and delivery.
APD was responsive to the feedback and adjusted the training
curriculum midstream. We cautioned then that by doing this APD
created two populations of people, one that received the original
curriculum and the second that received updated material. We alerted
APD, at that time, that it would be critical for them to identify those two
populations of people and determine how they would mitigate the
inconsistent information delivered to the two groups. We have asked
APD to provide information that demonstrates they have made efforts to
distinguish the two populations of people, but to date have been
provided no data that delineates what specific training (i.e., Lesson
Plans, etc.) APD officers received during its 2016 training programs.
Issues such as these inform the treatment of supervisory training in
Paragraph 209. This fits a long-standing pattern at the Training
Academy, of seeming to note our concerns, but failing to respond to
them. We note here, for example, the Academy’s continued refusal to
respond to our discussions, document production, and suggestions
related to preparing Academy lesson plans in a manner reflective of
national standards and practices, i.e., appropriately constructed lesson
plans that follow accepted practice (see for example, the Law
Enforcement Management Institute’s “Developing Effective Lesson
Plans for Training Law Enforcement,” Northwestern University’s
“Training the Teachers for Police …Training” lesson plan, etc. The
monitor has personally provided the training academy director with the
CALPOST (California Police Officer Standards and Training) lesson plan
for cadet training. Despite all of this technical assistance, we find that
APD’s academy “lesson plans” are simply outlines of the “talk” to be
given, absent any performance standards, measurements to ensure
learning has taken place, or listing of resources to be used. We
provided our first TA to the Academy on this gap in 2015. Two years
later we see virtually no results of our multiple attempts to get acceptable
lesson planning processes integrated into Academy training product. At
this stage, we can only consider this significant and troubling refusal as
deliberate.

In IMR-4 and IMR-5, in our work related to this paragraph, we listed four
separate pending training issues that have been left unresolved. 19 The
training gaps remain, but APD is making strides to close those gaps.
We cannot stress more emphatically that APD should develop a
comprehensive organizational training plan that collects all unresolved
training issues, and identifies appropriate responses to same. In our


the topic, instructors including information not contained in lesson plans and ad hoc comments
inconsistent with the CASA. These items were all reported in IMR – 4.
19 We noted numerous other training gaps in other paragraphs and collected them in Paragraphs

86-88.
                                                                                           29
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opinion, only then will APD be able to clearly demonstrate they have met
the training requirements to achieve Secondary Compliance. Thus far,
APD has approached training remediation in a disconnected, haphazard
and non-strategic manner. Those open training gaps from IMR-5 are
serious, and included:

1. Show of Force – APD’s definition of a show of force, and “low-ready”
   needed to be remediated through training. To wit: Show of force
   procedures and pointing a firearm at a person and “acquiring a
   target” had not been addressed and remediated through training.
   Procedures have been implemented, and some training has occurred
   following the approval of APD’s use of force suite of policies, but we
   provide a cautionary note to APD concerning their procedure of
   allowing an APD supervisor the discretion of responding to the scene
   of a show of force. We see this as a potential operational issue and
   comment more extensively on our concerns elsewhere in this report.

2. TWO SCOTUS firearms cases were included in the instruction of the
   40-hour Use of Force training, though they do not align closely with
   APD use of force policy. In response to our comments in IMR-4 and
   IMR-5, we were provided with an APD interoffice memorandum, dated
   October 24, 2016, from the instructor of that block of instruction.
   Instead of taking cognizance of the feedback provided by the
   monitoring team, and simply mitigating the issue with some form of
   supplemental training, APD provided this memorandum to justify the
   initial delivery of the training.

3. Distraction Strikes – As we previously noted, there was significant confusion
   about the place of a distraction technique in APD’s tactical array and its
   classification as a reportable use of force.

4. Un-resisted handcuffing and escort holds required further clarification. As
   noted in IMR – 4 and IMR - 5, the term “secondary action” was used in
   APD’s 2016 24-hour Supervisory Use of Force Investigations Curriculum in
   an attempt to demarcate the point at which those two techniques escalate to
   a reportable use of force or a serious use of force. While “secondary action”
   was not defined in policy or procedures, APD may have been on the right
   track by using that term. Instead, APD has pivoted to the adoption of the
   term “De Minimis force” in its use of force assessents. We write extensively
   in Paragraphs 86-88 on APD’s adoption of this concept and how it has
   created significant enough training gaps to keep APD out of Secondary
   Compliance.



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With the monitor approval of APD’s use of force policies we find APD to be in
Primary Compliance. We have written previously of APD’s propensity to train to
“proposed policy revisions”, and have cautioned against that practice. We noted
that type of activity continued during this reporting period. APD continues that
practice, which we have seen in no other police department, to this day. The
monitoring team reports its impression of APD training overall in Paragraphs 86-
88. Any training of “proposed policy revisions” was not considered when
determining if a past training gap was remediated or that a new policy provision
was properly delivered through training. (We note, well past the point of tedious
repetition, that training without proper policy, procedure, and planning is not an
accepted modality.) We have alerted APD on several occasions that until a
policy is written and approved, training will not count toward Secondary
Compliance. To accept training of organizational policies in that manner would
be inconsistent with widely recognized training standards and would be the
endorsement of a broken business process. We simply refuse to do so, and
have advised APD repeatedly of that fact.
As documented extensively in Paragraphs 86-88, APD will not achieve
Secondary Compliance until open training issues (enumerated above and in
other sections of this report) are settled with appropriate supplemental training.
As we noted in IMR-5: “Issues such as these inform the treatment of
supervisory training in Paragraph 209. The reader is reminded of the differences
in training for patrol officers (addressed here) and for supervisory personnel
(addressed in Paragraph 209).” We have found, and still find, APD’s training
academy deliberately resistant to national practice on this point.


       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.2a: Develop an organization-wide training
plan that contemplates all identified training gaps. Based on that
plan, and any other training needs that are identified, develop an
audience appropriate curriculum to close all the pending gaps we
have identified in this report. This recommendation continues,
having not been addressed since it was made in IMR-5.

Recommendation 4.7.2b: APD should immediately cease the
practice of training “proposed policy revisions”. This
recommendation continues, having not been addressed since it
was made in IMR-5.

Recommendation 4.7.2c: APD should adopt the CASA language of
“anything above un-resisted handcuffing” into its use of force

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calculus to better delineate the type of activities that constitute a
reportable use of force. That language should be included in APD
policies and training.

Recommendation 4.7.2d: Any APD training centered on “De
Minimis force” should include practical scenarios, video and case
reviews, and include “lessons learned” from APD use of force
cases. The training program should include a legitimate
mechanism to measure a transfer of knowledge in the classroom
and pre-established field implementation measures.

4.7.3 Assessing Compliance with Paragraph: Weapons Protocols

Paragraph 16 stipulates:
“In addition to the overarching use of force policy, APD agrees to
develop and implement protocols for each weapon, tactic, or use
of force authorized by APD, including procedures for each of the
types of force addressed below. The specific use of force
protocols shall be consistent with the use of force principles in
Paragraph 14 and the overarching use of force policy.”

Methodology

APD SOPs related to use of force 20 (2-52 “Use of Force”; 2-53 “Electronic
Control Weapon”; 2-54 “Use of Force Reporting and Supervisory Force
Investigation”; and 2-55 “Use of Force Appendix”) were previously approved by
the monitor and were due for review and revision in December 2016. During
past site visits we met with representatives of APD and communicated our
concerns regarding certain critical omissions in their policies and procedures,
and how APD must reconcile those issues to properly influence field
performance of its officers and supervisors. APD policy had been silent
regarding certain crucial topics (i.e. Show of force procedures, and the proper
instruction of “low-ready” weapon positions) and we cautioned that once the
issues were resolved in policy, meaningful training must follow. During its
November 2016 site visit, the monitoring team met with APD personnel and city
attorneys to discuss their policy development process and the modifications
APD intended to propose for their use of force suite of policies. We were told
that APD intended to include many of the recommendations we made during a
June 2016 site visit. The update of APD’s use of force suite of policies remained
pending until June 2017, when the monitor approved each of the four (4) use of
force related policies. While the policies included substantive structural changes
(i.e. the use of force “Definitions” section of SOP 2-52 was moved to the front of
SOP 2-55), certain critical topics that have lingered for APD were resolved 21 in

20 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
21 Our intent here is to list changes to the policies that are relevant to this paragraph and not

every policy change that occurred.
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terms of policy provisions. Specifically, 1) “Low Ready” was defined to help
clarify what constitutes a reportable show of force; and 2) “Show of Force” was
defined better and supervisor investigative responsibilities relating to Show of
Force events were delineated 22 in SOP 2-54-5-B (These have been significant
obstacles to APD’s compliance efforts).

Results

Notwithstanding concerns with some elements of APD training, in IMR-4 the
monitoring team found that APD is in both Primary and Secondary Compliance
on the requirements in Paragraph 16. APD will retain Secondary Compliance
status, but as we note elsewhere, with the promulgation of new policies and
investigative procedures related to “show of force” APD must now communicate
those provisions through effective training. We will look to the IMR-7 reporting
period to ensure APD has communicated the new policy requirements to its
personnel. Operational compliance will require evidence that APD is
thoughtfully, routinely and effectively responding to events not in compliance
with use of force requirements that should be noted and corrected at the field
(sergeant’s) and managerial (lieutenant and commander) level.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.3a: Ensure new procedures are appropriately
trained to retain Secondary Compliance.

4.7.4 Assessing Compliance with Paragraph 17: Weapons
Modifications

Paragraph 17 stipulates:
“Officers shall carry only those weapons that have been
authorized by the Department. Modifications or additions to
weapons shall only be performed by the Department’s Armorer as
approved by the Chief. APD use of force policies shall include
training and certification requirements that each officer must meet
before being permitted to carry and use authorized weapons.”

Methodology

The monitoring team reviewed more than two hundred entries on APD’s
SharePoint database for supervisors’ monthly inspection reports. No indications
were found regarding an officer carrying non-agency or altered/modified firearms
or ammunition. Based on the information provided to the monitor to date, APD

22 Later we comment about our concern that APD leaving a supervisor response to the scene of

a show of force up to their discretion as a probable critical shortcoming in their operating
procedures.
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appears to have adopted recently a formalized audit/review/reporting policy or
process for these data.
Results

The City’s comments on this paragraph, as well as paragraphs 18 and 19
indicate a need for “clarification on how this assessment relates to the
compliance definition and sources” from the Methodology. The “sources”
identified in the Methodology are: policy, training, officer-supervisor use of force
statements, OBRD reviews, and supervisor use of force statements and field
observations. The monitor makes note of no formalized audit/review/reporting
or process for inspections of authorized and non-modified weapons.
Secondary Compliance would require APD to be able to point to specific training
for supervisors related to how they are expected to review this requirement (by
roll-call inspection, by “drive-by” in-field inspections, by OBRD review
comments, etc.) Despite specific requests, the APD has not provided the
monitoring team with documentation of any APD training, policy or other
mechanism currently established to effect such inspection, review, and
remediation, other than some policy and practice processes that require after-
the-fact official inspection of firearms used in officer-involved shootings. After-
the-fact inspections are not routinely viewed as acceptable policy
implementation. Further, we note no internal audit of these after-the-fact field
supervisory inspections.
In effect, we have no documentation that APD has changed this process or
provided any type of training to supervisors regarding the inspection process or
documentation of same, since our report in IMR-5.
We note with concern that the Department’s performance on this issue is
unchanged since our site visit for IMR-5, despite clear articulation to the
department regarding the problematic nature of their process for compliance
with this paragraph, which was clearly noted in IMR-5.
       Primary:          In Compliance
       Secondary:        Not In Compliance
       Operational:      Not In Compliance

Recommendation 4.7.4a: APD should evaluate modalities for
developing formal audit/review/reporting policy for “carry and use”
assessments and inspections regarding modified or altered
weapons outlined in this paragraph, including known “successful”
similar programs in other police agencies, using modalities
established for Completed Staff Work (CSW) 23.

23 The monitor has provided APD with an example of CSW applied to law enforcement issues,
and recommends this format be followed in all CSW recommendations contained in this—and
future—reports. All suggested CSW documents should be submitted to, and reviewed and
annotated by, the Chief of Police prior to submission to the monitor.
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Recommendation 4.7.4b: APD should develop formal policy,
training, supervision, inspections and audit, and response
modalities to ensure conformance and compliance processes with
this paragraph.

Recommendation 4.7.4c: APD should transition to a routinely
reported “inspections and audit” process responsive to this
paragraph’s requirements.

4.7.5 Assessing Compliance with Paragraph 18: On-duty Weapons

Paragraph 18 stipulates:

“Officers shall carry or use only agency-approved firearms and
ammunition while on duty.”

Methodology

The monitoring team reviewed hundreds of entries on APD’s SharePoint
database for supervisors’ monthly inspection reports. No indications were found
regarding an officer carrying non agency-approved firearms or ammunition.
Based on the information provided to the monitor to date, APD appears not to
have a formalized audit/review/reporting policy or process for this data. While
APD reports “inspections” we see no evidence of any organized system of
tracking, analyzing or responding to issues when noted. The existing “system”
suffers from incomplete documentation and tracking.

Results

       Primary:     In Compliance
       Secondary: Not in Compliance
       Operational: Not in Compliance

Recommendation 4.7.5a: APD should evaluate modalities for
developing formal audit/review/reporting policy for “carry and use”
assessments and inspections regarding modified or altered
weapons outlined in this paragraph, including known “successful”
similar programs in other police agencies, using modalities
established for Completed Staff Work.

Recommendation 4.7.5b: APD should transition to a routinely
reported “inspections and audit” process responsive to this
paragraph’s requirements.




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4.7.6 Assessing Compliance with Paragraph 19: On Duty Weapons

Paragraph 19 stipulates:
“APD issued Special Order 14-32 requiring all officers to carry a
Department- issued handgun while on duty. APD shall revise its
force policies and protocols to reflect this requirement and shall
implement a plan that provides: (a) a timetable for implementation;
(b) sufficient training courses to allow officers to gain proficiency
and meet qualification requirements within a specified period; and
(c) protocols to track and control the inventory and issuance of
handguns.”

Methodology

Paragraph 19, sub-section b) requires APD to provide sufficient training
courses to allow officers to gain proficiency and meet qualification
requirements. During the June 2017 site visit, members of the IMT
attended firearms training. APD Range Staff have changed range hours
to enable officers to practice firearms in a low-light environment and
integrated monitoring team recommendations into its policy and
procedures. During the last reporting period, the monitoring team found
documentation of at least 2 officers who failed to qualify and then failed
an immediate requalification attempt. These officers were ordered to
surrender their firearms and police vehicles and placed in an
administrative position until they returned to the range to qualify.
Additionally, documentation was found that officers failing to qualify with
rifle or shotgun were required to surrender the firearm until they returned
to the range to qualify. The monitoring team sees this as a positive
example of a staff making changes in order to meet the requirements of
the CASA. We note that during this reporting period, the monitor
approved a “Special Order” clarifying established procedure on this
process, and take this as a positive sign.

Paragraph 19, sub-section c) requires APD to develop a protocol to
“track and control the inventory and issuance of handguns.” The
monitoring team was provided a copy of an Interoffice Memorandum
from an APD Fiscal Officer to the APD Planning unit, dated January 8,
2016, that verified that the required tracking system is fully in
place. APD also continues to work with the City Department of
Technology to upgrade the current system to enhance security and
streamline annual inventory procedures. During future site visits, the
monitoring team will meet with the appropriate personnel and conduct a
walk-through of the system to further validate and/or elevate compliance
levels under the planned new system.

The monitoring team also reviewed APD Administrative Order 3-75
Department Property, dated November 6, 2012, which set forth detailed
procedures for the issuance and control of Department property,
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including all items within the Department’s Tactical Array. APD has
reviewed and updated this order to ensure that it is consistent with any
changes to related policies and CASA requirements.

Results

A database for the Supervisors Monthly Inspection Report has been
created and is in use by APD Supervisors. Monthly firearm inspection is
included in this database; however, APD has not created a
review/audit/reporting process for the data. Collecting the inspections
into a database is only the first step. The monitoring team expects APD
to utilize the data to identify and correct violations of policy, if any. This
would be required to attain Operational Compliance.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.6a: APD should evaluate modalities for
developing formal audit/review/reporting policy for “on duty
weapons” assessments and inspections regarding modified or
altered weapons outlined in this paragraph, including known
“successful” similar programs in other police agencies, using
modalities established for Completed Staff Work.

Recommendation 4.7.6b: APD should transition to a routinely
reported “inspections and audit” process responsive to this
paragraph’s requirements.

4.7.7 Assessing Compliance with Paragraph 20: Weapons
Qualifications

Paragraph 20 stipulates:

“Officers shall be required to successfully qualify with each
firearm that they are authorized to use or carry on-duty at least
once each year. Officers who fail to qualify on their primary
weapon system shall complete immediate remedial training. Those
officers who still fail to qualify after remedial training shall
immediately relinquish APD-issued firearms on which they failed
to qualify. Those officers who still fail to qualify within a
reasonable time shall immediately be placed in an administrative
assignment and will be subject to administrative and/or
disciplinary action, up to and including termination of
employment.”




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Methodology

Members of the monitoring team reviewed firearms training records
related to this paragraph. It was discovered that on May 9, 2017—4
officers failed to qualify and records indicated a requalification attempt
the following day, in violation of the CASA requirement of immediate
remedial training. The Academy Commander explained that extreme
weather conditions prohibited an immediate requalification and the next
day, all officers re-qualified. The monitoring team finds this to be an
acceptable explanation for the incident, but suggest that APD document
future similar incidents on the requalification sheet showing the reason
for dates other than “Immediate remedial training”.

Results

Based on the CASA requirements and recommendations of the
monitoring team, the APD Firearms staff have made commendable
strides in their efforts to train, retrain, document and evaluate their
operation. During the monitoring teams site visit to the APD range, we
met a professional staff open and willing to explain any issues and
accept recommendations. APD Firearms Training for the 2017 cycle has
been completed, excluding the personnel on various types of leave:
medical, military, etc. The monitoring team finds APD in continuing
compliance with the requirements of this paragraph.

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.8 Assessing Compliance with Paragraph 21: Firearms Training

Paragraph 21 stipulates:

“APD training shall continue to require and instruct proper
techniques for un-holstering, drawing, or exhibiting a firearm.”

Methodology

APD SOP’s related to use of force 24 (2-52 “Use of Force”; 2-53 “Electronic
Control Weapon”; 2-54 “Use of Force Reporting and Supervisory Force
Investigation”; and 2-55 “Use of Force Appendix”) were previously approved by
the monitor and were due for review and revision in December 2016. During
past site visits we met with representatives of APD and communicated our
concerns for certain critical omissions in their policies and procedures, and how


24 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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APD must reconcile those issues to properly influence field performance of its
officers and supervisors. APD policy has been silent to certain crucial topics i.e.
Show of force procedures, and the proper instruction of “low-ready” weapon
positions, and we cautioned that once the issues were resolved in policy,
meaningful training must follow. During its November 2016 site visit, the
monitoring team met with APD personnel and city attorneys to discuss their
policy development process and modifications APD intended to propose for their
use of force suite of policies. We were told that APD intended to include many
of the recommendations we made during a June 2016 site visit. The update of
APD’s use of force suite of policies remained pending until June 2017, when the
monitor approved each of the four (4) use of force related policies While the
policies included substantive structural changes (i.e. The use of force
“Definitions” section of SOP 2-52 was moved to the front of SOP 2-55), certain
critical topics that have lingered for APD were resolved 25 in terms of policy
provisions: specifically, 1) “Low Ready” was defined clearly to help clarify what
constitutes a reportable show of force; and 2) “Show of Force” was more clearly
defined and supervisor investigative responsibilities relating to Show of Force
events were delineated 26 in SOP 2-54-5-B (This has been a significant obstacle
to APD’s compliance efforts).

Since APD has been unable to achieve Secondary Compliance because of
lingering training gaps, and the fact that the revisions pertinent to this paragraph
were introduced while APD remained in non-compliance, the new policy
provisions have a direct impact on APD’s Secondary Compliance status for this
reporting period. In preparation of this report the monitoring team requested a
host of training materials centered on determining whether APD had reached
Secondary Compliance. While training to incumbent police officers is crucial, we
additionally saw the need to train academy cadets to new policy provisions as
well. We specifically requested the following 27:

a. Provide any changes that have been made to the academy’s lesson plan
   entitled, “Handgun Training and Certification”.

b. Copy of any COB documentation (Staff Work) related to paragraph 21
   compliance, outlining compliance issues and developing recommendations to
   remedy those activities.

c. Copy of the current academy lesson plan that teaches holstering, un-
   holstering and low-ready.



25 Our intent here is to list changes to the policies that are relevant to this paragraph and not
every policy change that occurred.
26 Later we comment about our concern that APD leaving a supervisor response to the scene of

a show of force up to their discretion as a probable critical shortcoming in their operating
procedures.
27 Training materials provided by APD relative to Paragraphs 86 – 88 were also reviewed.


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d. Copy of academy attendance and performance records (For any cadet
   classes in this time frame) that correlate training of that lesson plan (Daily
   recruit schedules and performance reports)

APD’s monitor approved Use of Force policy covers the requirements of
this paragraph. The monitoring team reviewed Basic Academy lesson
plans for the 117th and 118th Cadet classes. The first, entitled, "Handgun
Training and Certification – Instructor Guide" was prepared by the APD
Academy staff. We also reviewed a “2016 Revision - Basic Firearms”
lesson plan which was prepared by the New Mexico DPS Training
Center. In addition, we reviewed firearms handling performance records
of Academy cadets, which included remediation comments by Academy
instructors when there were identified performance deficiencies. During
our June 2017 site visit, members of the monitoring team met with
Academy staff who are responsible for implementing the provisions of this
paragraph. As with past visits we found the Academy staff to be engaged
and fully committed to their work.

Results

The lesson plans that we were provided break down the various steps for
holstering, drawing, exhibiting a firearm, and placing a firearm in a “low-
ready” position. As we noted in IMR-5, during academy classes, cadets
are required to pass a Limited Scope Performance Test (LSPT) where
they must demonstrate their proficiency in this area. The LSPT is a
practical examination where each cadet is expected to demonstrate their
skills, and is provided two opportunities to do so while being observed by
an academy instructor. The results of the instructor’s observations are
captured on a performance scoring sheet, where instructors indicate
whether a cadet passed a performance competency on the first or second
attempt, and provide written comments where necessary. The monitoring
team reviewed training records for 34 cadets of the 117th class and found
that 34 of the 34 (100%) cadets passed the performance competencies
on either the first or second attempt. 28 Throughout the training records
the monitoring team saw examples of the academy documenting cadets
needing more than one attempt to pass different performance
competencies, and examples of instructors providing comments of their
observations of a recruit’s performance.

We note that within the lesson plan we reviewed was the definition of "low
ready" which, as noted in IMR-4 and IMR-5, has had direct relevance to
APD's performance with respect to show of force. As noted in IMR-4
and 5, the APD lesson plan is clear that a “low-ready” position means “…

28 The tests were conducted on February 17, 2017. We note that similar records for the 118 the

class were not available for monitor review. We saw similar records and results for the 116th
class during the IMR-5 reporting period.
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The handgun is driven forward and downward at an approximate 45
degree angle (below the level of the feet of the target, or so the muzzle
does not cover anything you have made the decision to destroy),
depending on the proximity to the suspect being challenged, or the terrain
being searched." 29 Now that the definition of “low-ready” and show of
force reporting and investigation procedures are codified in SOP 2-54 and
2-55, those provisions need to be addressed through training for the
entire population of APD officers, since they are clearly methods of
“exhibiting” a firearm. Since the policies were approved in June 2017, any
"proposed policy provisions” that were trained by APD before the monitor
approved the policies was not accepted. To do so, would be to endorse a
training business process that is inconsistent with national standards.
APD's propensity for training programs that include anticipated policy
changes has been addressed in Paragraphs 86-88. We consider this to
be a serious flaw in training process, and know of no other police agency
in the United States that allows such risky and erratic training processes.

        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance

Recommendation 4.7.8: APD should train all academy cadets and
incumbent officers on the new approved policy provisions related
to show of force, show of force investigation procedures and low-
ready position. Training before approved policies are available is
remarkably risky, and exposes APD to certain and inevitable
litigation risks.

4.7.9 Assessing Compliance with Paragraph 22: Firearm
Discharges from Moving Vehicles

Paragraph 22 stipulates:

“APD shall adopt a policy that prohibits officers from discharging
a firearm from a moving vehicle or at a moving vehicle, including
shooting to disable a moving vehicle, unless an occupant of the
vehicle is using lethal force, other than the vehicle itself, against
the officer or another person, and such action is necessary for
self-defense, defense of other officers, or to protect another
person. Officers shall not intentionally place themselves in the
path of, or reach inside, a moving vehicle.”




29The monitoring team noted that the definitions are different between the policy and lesson
plan, but did not see the difference as significant.
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Methodology

In IMR – 5 we recommended that APD “…produce a piece of Completed
Staff Work assessing why it has been unable to meet the requirements
of paragraph 22, and recommending a way forward on this critical
oversight paragraph. The CSW should be presented to the Chief of
Police for review, comment and action.” Therefore, in preparation for
this report we submitted three separate data requests for the following
type of information:

During our June 2017 site visit we were advised that APD intended to
develop a mechanism to capture and record instances of firearms
discharges related to vehicles. We were provided no COB “proofs” of
record keeping as articulated by the CASA for this paragraph.

In response to our first data request, APD submitted a copy of its expired
SOP 2-52 Use of Force policy, which certainly does not meet our
request—in spirit or in fact. In response to our third request the
monitoring team was provided two separate items to review. The first,
was a “ledger” that displays discharged firearms at/from a motor vehicle
and included three separate APD cases ranging from June 2016 to
January 2017. Also, the monitoring team was provided a series of
screenshots from its IA Pro system to demonstrate that APD is capturing
information relevant to this paragraph. What the monitoring team was
not provided was a piece of "completed staff work". In short, compliance
efforts related to this paragraph for this reporting period were haphazard,
incomplete, incoherent, and inconsistent. We are befuddled by this
ineffectual response to a clear and articulated serious flaw in APD’s
compliance efforts.

Results

We have previously reported our concern at the lack of record keeping for
“firearms discharges from moving vehicles,” as articulated by the CASA.
That lack of routinized record keeping and reporting could expose APD to
the vagaries of “narrative report review” as its only mechanism to identify,
review, assess, categorize, and report various firearms discharges.
APD's failure to put time toward a "completed staff work" process
demonstrates one of two things: 1) They do not understand the value of
that type of critical assessment and approval process, or 2) They do not
intend to use the product of that type of critical assessment and approval
process. When the monitor makes this type of recommendation, it is not
just an administrative exercise to create “busy work”. Approaching tasks
through systematic means can many times reveal critical shortcomings
for an organization within processes they have in place that may have a
direct impact on the issue at hand. Departmental needs can be better
assessed. There was no specific requirement that APD follow the
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recommendation of the monitor; however, we will refer to that
recommendation should there be shortcomings with any system APD
puts in place to capture information relevant to this paragraph. Again, we
refer APD to a plethora of sources on completed staff work, including, but
not limited to: GovernmentLeaders.org’s outline at
http://govleaders.org/completed-staff-work.htm . A simple Google search
will provide APD with more than 15 million “how to” resources on this
topic. We are befuddled by APD’s continued failure to follow up on our
recommendations for meaningful work on this topic, as firearms
discharges at moving vehicles is prohibited by the CASA, and presents
serious liability, training, supervision, and leadership issues in policing.
At this point we judge this non-compliance to be deliberate.

The ledger that was provided included notations in the final column that
included, "Vehicle was in motion, offender pointed gun at officer, officer
returned fire while in motion, offender not hit” [IMR6-044]; "Vehicle Pit,
offender fired rounds at officers, officers returned fire at offender in
vehicle" [IMR6-045]; "Vehicle was stopped at red light, offender held gun
to drivers (sic) head, officers fired to protect driver" [IMR6-046]. It is
unclear, based on the ledger that was provided, to what extent APD
made specific assessments as to the appropriateness of these events.
We caution, that even in cases that have been presented to the District
Attorney's Office, who will principally be evaluating cases from a legal
perspective, APD has the additional responsibility to assess these cases
against their governing policies and the CASA. Those responsibilities are
more stringent and require close Command-level oversight. In
preparation for IMR – 7, the monitoring team will ask APD to provide
documentation that ensures that these specific assessments were made,
at the time of the investigation, for those three cases.

The IA Pro screenshots that APD provided to the monitoring team were
reviewed. It appears that APD has created a mechanism to capture
firearms discharges that are at a person, at a vehicle, from a vehicle, at
an animal and discharges that are accidental in nature. The screenshots
are helpful and demonstrate progress on APD's part. There are serious
and substantive policy distinctions between capturing data, tracking data
and analyzing data that are not self-evident in the documents we were
provided. In future data requests we will ask APD to provide specific
policy provisions related to this new system and how APD intends to use
the data to meet the provisions of this paragraph. We note that APD,
while it tends to collect massive amounts of data, appears not to be a
data-driven organization. We refer the reader to our “Paragraph 298
report, published in August of 2017 for a full treatment of this issue.

With the promulgation of APD's new use of force policies, APD is in
primary compliance with Paragraph 22. Secondary Compliance will be
achieved once all training for mediation efforts are completed.
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       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.9a: APD should produce a piece of
Completed Staff Work assessing why it has been unable to meet
the requirements of paragraph 22, and recommending a way
forward on this critical oversight paragraph. The CSW should be
presented to the Chief of Police for review, comment and action.

Recommendation 4.7.9b: APD should ensure that any shooting
case that implicates the provisions of this paragraph includes a
specific, investigative assessment articulated in reports as to
whether provisions of APD policy related to this paragraph were
appropriate and objectively reasonable.

Recommendation 4.7.9c: APD should ensure that information
captured in its IA Pro system is tracked and analyzed. The manner
in which this information is captured, tracked and analyzed should
include an auditing schedule and be specifically codified in policy.

4.7.10 Assessing Compliance with Paragraph 23: Tracking Firearm
Discharges

Paragraph 23 stipulates:

“APD shall track all critical firearm discharges. APD shall include
all critical firearm discharges and discharges at animals in its Early
Intervention System and document such discharges in its use of
force annual report.”

Methodology

As in the last three monitoring reports, we noted that APD has been
attempting to build a comprehensive Early Intervention and Reporting
System (EIRS) and an accompanying EIRS policy to meet the
requirements of Paragraph 23. In preparation for this report the
monitoring team requested the following:

“Any new/updated EIRS related policy (monitor approved)/procedure/Special
Order or memo issued by APD related to P23 compliance.”

In response to our data request the monitoring team was provided a draft
of its EIRS policy, dated January 21, 2017, and a series of screenshots
from its “Early Intervention” function within the IA Pro system. The
monitoring team was also provided an Interoffice Memorandum dated
June 6, 2017, to review.
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As of the end of this monitoring period APD, had not yet submitted a
workable EIRS policy that the monitor could approve. APD will remain
out of compliance with this task until this issue is resolved.

Results

The Interoffice Memorandum provided to the monitoring teams stated, “A new
EIRS updated policy is currently being reviewed by the legal department. The
internal affairs department regularly requests updates regarding the review
status. Upon completion of review, further action will be taken from Internal
Affairs in the effort of finalizing the new EIRS policy.” It appears there may be a
disconnect between the policy development and operational component within
IA, who has the ultimate oversight of the system. The monitoring team reviewed
the draft Early Intervention and Recognition System SOP 3-33. We did not see
a specific reference to the provisions of this paragraph in the draft policy.

In the screenshots of the “Early Intervention” function within IA Pro there is a
mechanism in place to capture firearms discharges. The documentation we
were provided stated, "As you can see there is no differentiation between types
of discharges in the screenshot, so all entries added under the Firearm
Discharge Incident Type Will be accounted for in the Early Intervention
[system]." The monitoring team will explore further why there would not be a
function in the system to differentiate between discharge types, and will follow-
up this information during our next site visit. 30 We note that the thresholds for
the data APD does highlight in the documents it sent, do allow for the
manipulation of thresholds, and since proper thresholds for APD's EIRS have
not been resolved this paragraph remains pending.

We previously highlighted the need for the proper implementation of a
comprehensive Early Intervention Reporting System (EIRS). We have
commented extensively in past reports that APD’s EIRS will be only a
part of an overarching performance and force oversight system. It is not
intended to be a “catch all” solution. That said, the proper adoption and
implementation of a meaningful EIRS is essential to APD’s overall
compliance, particularly in terms of operational performance in the field.
The monitor has advised APD on numerous occasions that their
proposed review frequencies do not comply with national standards, yet
we continue to be faced with resistance in revising the policy to meet
acceptable standards. That resistance continued through APD’s
submission of the latest version of its EIRS policy, which the monitor
found deliberately non-compliant and refused to approve. Once resolved,
APD must remediate existing training gaps (in Paragraphs 86 – 88) and

30Within the screenshots APD also provided an illustration taken from the Use of Force Annual
Review for 2015 wherein they documented information concerning firearms discharges at a
person, animals and vehicles.
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train its personnel in the provisions of any new EIRS policy to achieve
Secondary Compliance.

        Primary:     In Compliance 31
        Secondary: Not In Compliance
        Operational: Not In Compliance

Recommendation 4.7.10a: Write a revised EIRS policy that can be
approved by the Parties and the monitor as responsive to
established policy in the field, e.g., New Orleans PD and Seattle PD.

Recommendation 4.7.10b: Ensure provisions of this paragraph are
contemplated and included in any revised EIRS policy.

4.7.11 Assessing Compliance with Paragraph 24: Use of ECWs

Paragraph 24 stipulates:

“ECWs shall not be used solely as a compliance technique or to
overcome passive resistance. Officers may use ECWs only when
such force is necessary to protect the officer, the subject, or
another person from physical harm and after considering less
intrusive means based on the threat or resistance encountered.
Officers are authorized to use ECWs to control an actively
resistant person when attempts to subdue the person by other
tactics have been, or will likely be, ineffective and there is a
reasonable expectation that it will be unsafe for officers to
approach the person within contact range.”

Methodology

APD SOP’s related to use of force 32 (2-52 “Use of Force”; 2-53 “Electronic
Control Weapon”; 2-54 “Use of Force Reporting and Supervisory Force
Investigation”; and 2-55 “Use of Force Appendix”) were due for review in
December 2016. This use of force suite of policies remained pending until June
2017, when the monitor approved each of the four (4) use of force related
policies, inclusive of 2-53 (Electronic Control Weapon).

The monitoring team reviewed the "2017 Electronic Control Weapon
Update and Recertification” materials, inclusive of its lesson plan,
PowerPoint, and watched its corresponding videos. This review is
captured more specifically in Paragraph 87. While we will not restate
verbatim the detailed review noted in Paragraph 87, we will highlight
here how the ECW instructor addressed how historical ECW training

31 APD will maintain compliance based on the extant policy, which was approved by the monitor,
as long as there are no recurrences of “trigger shutdowns,” etc. are noted again by the monitor.
32 APD and the monitoring team have commonly referred to their use of force policies collectively

as the “use of force suite of policies”.
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encouraged the utilization of a five second "window of opportunity" to
handcuff a person under power of an ECW. Instructing away from that
concept, the instructor highlighted how this time period may have
inadvertently created a sense of urgency on officers to close the gap on
a suspect too early in an event. The instructor’s handling of this
particular issue coincided well with officer safety and reinforced ways to
avoid unnecessary uses of force. Addressing this type of issue is one of
the reasons why providing officers with annual ECW recertification and
updates is so important.

APD’s Use of Force Phase I training, which contains the ECW
recertification component, has been completed for 2017. 98.5% of APD
personnel have attended training, with only those few on various leaves
(military, medical, etc.) to attend training upon their return to duty. The
ECW curriculum effectively covered the requirements of this paragraph,
(and other ECW related paragraphs) and the testing materials were also
adequate.

During past reporting periods, the monitoring team conducted in-depth
reviews of APD use of force cases that involved the use of ECWs. The
results of those case reviews were communicated to APD for
consideration as they continued to implement new policy provisions
through training and operational oversight. APD’s subsidiary policy on
Electronic Control Weapons (ECW) was approved by the monitor and
DOJ in January 2016, bringing APD into policy compliance on CASA
requirements in Paragraphs 24 through 36. These Paragraphs are also
presently in Operational Compliance.

Results

We commend APD on its integration of ECWs into its force continuum,
and recommend the process of that integration be used with other, still-
pending, use of force policies and practices. Figure 4.7.11, below,
reports in detail the compliance elements and performance of APD’s
ECW integration, as noted by our assessments this reporting period.

During IMR-5, our review of APD’s operational ECW practices indicated
that across reviews of eight known uses of ECWs that reporting period,
APD officers’ performance with the ECW application and use conformed
with established policy and training 100 percent of the time. Out of the
reviewed cases, we found no instances in which APD personnel used an
ECW as a pain compliance instrument, nor any indications that APD
personnel used ECWs to overcome passive resistance. In none of the
eight incidents involving ECW applications did we find it used for any
reason other than to protect the officer or others. Similarly, we found
each of the ECW uses to contain evidence that other, less intrusive
means were considered prior to use of the ECW, e.g., verbal de-
                                                                              47
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escalation, etc. Further, we found ECWs to have been used to control
overt resistance only, as required by best practices and APD policy on
Electronic Control Weapons. ECW uses were 100 percent in
compliance with the requirements of policy and training, and were used
in lieu of other techniques more likely to cause injury to the suspect. Our
findings regarding ECW for IMR-5 hold true for IMR-6. Training and
supervision regarding ECW applications continues to be in compliance
with the requirements of the CASA

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.12 Assessing Compliance with Paragraph 25: ECW Verbal
Warnings

Paragraph 25 stipulates:

“Unless doing so would place any person at risk, officers shall
issue a verbal warning to the subject that the ECW will be used
prior to discharging an ECW on the subject. Where feasible, the
officer will defer ECW application for a reasonable time to allow the
subject to comply with the warning.”

Methodology

APD’s subsidiary policy on Electronic Control Weapons (ECW) was
previously approved by the monitor and DOJ in January 2016, bringing
APD into policy compliance on CASA requirements in Paragraphs 24
through 36. These Paragraphs are also presently in operational
compliance.

Results

APD SOP 2-53 (Electronic Control Weapon) was due for review in December
2016. This SOP remained pending until June 2017, when the monitor approved
this SOP, along with three other policies within APD’s use of force suite of
policies.

During IMR-5, our review of APD’s operational ECW practices related to
this paragraph indicated that across reviews of eight known uses of
ECWs that reporting period, APD officers’ performance with the ECW
application and use conformed with established policy and training 100
percent of the time.

The monitoring team reviewed the "2017 Electronic Control Weapon
Update and Recertification” training materials and watched its
corresponding videos. This review, which is captured more specifically in
                                                                              48
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Paragraph 87, revealed a well-constructed training video demonstrating
an officer providing verbal warnings to a subject that the ECW will be
used prior to discharging an ECW on the subject. The video also
demonstrated the officer giving very clear instruction to the subject about
complying with warnings and direction he provided. The written test for
the Use of Force also addressed this issue of verbal warnings.

Our review of in-field applications of ECW indicates that practice follow
policy and training.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.13 Assessing Compliance with Paragraph 26: ECW Limitations

Paragraph 26 stipulates:

“ECWs will not be used where such deployment poses a
substantial risk of serious physical injury or death from situational
hazards, except where lethal force would be permitted. Situational
hazards include falling from an elevated position, drowning, losing
control of a moving motor vehicle or bicycle, or the known
presence of an explosive or flammable material or substance.”

Methodology

APD’s subsidiary policy on Electronic Control Weapons (ECW) was
previously approved by the monitor and DOJ in January 2016, bringing
APD into policy compliance on CASA requirements in Paragraphs 24
through 36. These Paragraphs are also presently in operational
compliance.

Results

APD SOP 2-53 (Electronic Control Weapon) was due for review in December
2016. This SOP remained pending until June 2017, when the monitor approved
this SOP, along with three other policies within APD’s use of force suite of
policies.

During IMR-5, our review of APD’s operational ECW practices related to
this paragraph indicated that across reviews of eight known uses of
ECWs that reporting period, APD officers’ performance with the ECW
application and use conformed with established policy and training 100
percent of the time.

The monitoring team reviewed the "2017 Electronic Control Weapon
Update and Recertification” materials and watched its corresponding
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videos. This review, which is captured more specifically in Paragraph 87,
revealed discussion about the use of an ECW and specific references to
increased deployment risks attributed to the situational hazards outlined
in this Paragraph. Our review of OBRD tapes for this reporting period
indicate no compliance issues with ECW applications.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.14 Assessing Compliance with Paragraph 27: ECW Cycling

Paragraph 27 stipulates:

“Continuous cycling of ECWs is permitted only under exceptional
circumstances where it is necessary to handcuff a subject under
power. Officers shall be trained to attempt hands-on control tactics
during ECW applications, including handcuffing the subject during
ECW application (i.e., handcuffing under power). After one
standard ECW cycle (5 seconds), the officer shall reevaluate the
situation to determine if subsequent cycles are necessary.
Officers shall consider that exposure to the ECW for longer than 15
seconds (whether due to multiple applications or continuous
cycling) may increase the risk of death or serious injury. Officers
shall also weigh the risks of subsequent or continuous cycles
against other force options. Officers shall independently justify
each cycle or continuous cycle of five seconds against the subject
in Use of Force Reports.”

Methodology

APD’s subsidiary policy on Electronic Control Weapons (ECW) was
approved by the monitor and DOJ in January 2016, bringing APD into
policy compliance on CASA requirements in Paragraphs 24 through 36.
These Paragraphs are also presently in operational compliance.

Results

APD SOP 2-53 (Electronic Control Weapon) was due for review in December
2016. This SOP remained pending until June 2017, when the monitor approved
this SOP, along with three other policies within APD’s use of force suite of
policies.

During IMR-5, our review of APD’s operational ECW practices related to
this paragraph indicated that across reviews of eight known uses of
ECWs that reporting period, APD officers’ performance with the ECW
application and use conformed with established policy and training 100
percent of the time.


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The monitoring team reviewed the "2017 Electronic Control Weapon
Update and Recertification” materials and watched its corresponding
videos. This review, which is captured more specifically in Paragraph 87,
revealed numerous references to the continuous cycling of ECW’s as
outlined in this Paragraph. The training material also contained
references to best practices in law enforcement that established 15
seconds of exposure (attributable to multiple applications or continuous
cycling) as a significant safety point, thus buttressing the efficacy of the
provision of this Paragraph.

Our review of OBRD tapes for this reporting period indicate no
compliance issues with ECW applications.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.15 Assessing Compliance with Paragraph 28: ECW Drive-Stun
Mode

Paragraph 28 stipulates:

“ECWs shall not be used solely in drive-stun mode as a pain
compliance technique. ECWs may be used in drive-stun mode only
to supplement the probe mode to complete the incapacitation
circuit, or as a countermeasure to gain separation between officers
and the subject, so that officers can consider another force
option.”

Methodology

APD’s subsidiary policy on Electronic Control Weapons (ECW) was
approved by the monitor and DOJ in January 2016, bringing APD into
policy compliance on CASA requirements in Paragraphs 24 through 36.
These Paragraphs are also presently in operational compliance.

Results

APD SOP 2-53 (Electronic Control Weapon) was due for review in December
2016. This SOP remained pending until June 2017, when the monitor approved
that SOP, along with three other policies within APD’s use of force suite of
policies.

During IMR-5, our review of APD’s operational ECW practices related to
this paragraph indicated that across reviews of eight known uses of
ECWs that reporting period, APD officers’ performance with the ECW
application and use conformed with established policy and training 100
percent of the time.
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The monitoring team reviewed the "2017 Electronic Control Weapon
Update and Recertification” materials and watched its corresponding
videos. This review, which is captured more specifically in Paragraph 87,
revealed numerous references to the restrictions associated with utilizing
an ECW in the “drive-stun mode.”

Our review of OBRD tapes for this reporting period indicate no
compliance issues with ECW applications related to “drive-stun mode”.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.16 Assessing Compliance with Paragraph 29: ECW
       Reasonableness Factors

Paragraph 29 stipulates:

“Officers shall determine the reasonableness of ECW use based upon all
circumstances, including the subject’s age, size, physical condition, and
the feasibility of lesser force options. ECWs should generally not be used
against visibly pregnant women, elderly persons, young children, or
visibly frail persons. In some cases, other control techniques may be more
appropriate as determined by the subject’s threat level to themselves or
others. Officers shall be trained on the increased risks that ECWs may
present to the above-listed vulnerable populations.”

Methodology

APD’s subsidiary policy on Electronic Control Weapons (ECW) was
approved by the monitor and DOJ in January 2016, bringing APD into
policy compliance on CASA requirements in Paragraphs 24 through 36.
These Paragraphs are also presently in operational compliance.

Results

APD SOP 2-53 (Electronic Control Weapon) was due for review in December
2016. This SOP remained pending until June 2017, when the monitor approved
that SOP, along with three other policies within APD’s use of force suite of
policies.

During IMR-5, our review of APD’s operational ECW practices related to
this paragraph indicated that across reviews of eight known uses of
ECWs that reporting period, APD officers’ performance with the ECW
application and use conformed with established policy and training 100
percent of the time.


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The monitoring team reviewed the "2017 Electronic Control Weapon
Update and Recertification” materials and watched its corresponding
videos. This review, which is captured more specifically in Paragraph 87,
revealed discussion about the use of an ECW and specific references to
the increased deployment risks attributed to the vulnerable populations
enumerated in this Paragraph. Our review of OBRD tapes for this
reporting period indicate no compliance issues with ECW applications.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.17 Assessing Compliance with Paragraph 30: ECW Targeting

Paragraph 30 stipulates:

“Officers shall not intentionally target a subject’s head, neck, or
genitalia, except where lethal force would be permitted, or where
the officer has reasonable cause to believe there is an imminent
risk of serious physical injury.”

Methodology

APD’s subsidiary policy on Electronic Control Weapons (ECW) was
approved by the monitor and DOJ in January 2016, bringing APD into
policy compliance on CASA requirements in Paragraphs 24 through 36.
These Paragraphs are also presently in operational compliance.

Results

APD SOP 2-53 (Electronic Control Weapon) was due for review in December
2016. This SOP remained pending until June 2017, when the monitor approved
that SOP, along with three other policies within APD’s use of force suite of
policies.

During IMR-5, our review of APD’s operational ECW practices related to
this paragraph indicated that across reviews of eight known uses of
ECWs that reporting period, APD officers’ performance with the ECW
application and use conformed with established policy and training 100
percent of the time.

The monitoring team reviewed the "2017 Electronic Control Weapon
Update and Recertification” materials and watched its corresponding
videos. This review, which is captured more specifically in Paragraph 87,
did detail a concern with a lack of clarity as it pertained to "preferred
target areas" for an ECW. However, the X26 User Course we reviewed


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does specifically and properly address the target zones addressed in this
Paragraph.

Our review of OBRD tapes for this reporting period indicate no
compliance issues with ECW applications.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.18 Assessing Compliance with Paragraph 31: ECW Restrictions

Paragraph 31 stipulates:

“ECWs shall not be used on handcuffed subjects, unless doing so is necessary to
prevent them from causing serious physical injury to themselves or others, and if
lesser attempts of control have been ineffective.”

APD’s subsidiary policy on Electronic Control Weapons (ECW) was
approved by the monitor and DOJ in January 2016, bringing APD into
policy compliance on CASA requirements in Paragraphs 24 through 36.
These Paragraphs are also presently in operational compliance.

Results

APD SOP 2-53 (Electronic Control Weapon) was due for review in December
2016. This SOP remained pending until June 2017, when the monitor approved
this SOP, along with three other policies within APD’s use of force suite of
policies.

During IMR-5, our review of APD’s operational ECW practices related to
this paragraph indicated that across reviews of eight known uses of
ECWs that reporting period, APD officers’ performance with the ECW
application and use conformed with established policy and training 100
percent of the time.

The monitoring team reviewed the "2017 Electronic Control Weapon
Update and Recertification” materials and watched its corresponding
videos. This review, which is captured more specifically in Paragraph 87,
revealed discussion about immediately ceasing any force once a subject
has surrendered or is captured, handcuffed, and controlled.

Our review of OBRD tapes for this reporting period indicate no
compliance issues with ECW applications.

       Primary:        In Compliance
       Secondary:      In Compliance

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       Operational: In Compliance

4.7.19 Assessing Compliance with Paragraph 32: ECW Holster

Paragraph 32 stipulates:

“Officers shall keep ECWs in a weak-side holster to reduce the
chances of accidentally drawing and/or firing a firearm.”

Methodology

In our review of the 2017 ECW recertification training curriculum and
testing materials, we noted the requirements of this paragraph were
thoroughly covered. Members of the monitoring team have reviewed
scores of APD sworn personnel during site visits to Area Commands and
in multiple reviews of On Body Recording Device video. We noted no
instances of violations of this requirement during this reporting period.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.20 Assessing Compliance with Paragraph 33: ECW
Certifications

Paragraph 33 stipulates:

“Officers shall receive annual ECW certifications, which should
consist of physical competency; weapon retention; APD policy,
including any policy changes; technology changes’ and scenario-
and judgment-based training.”

Methodology

The 2017 training cycle for ECW recertification, Use of Force, Phase I
has been successfully completed for 886 of 899 APD personnel—
(98.5%). The remaining personnel are on various types of leave—i.e.
military, medical, etc., and all personnel missing duty more than 30 days
are required to attend and complete any missed training prior to returning
to duty. The monitoring team reviewed APD training and testing materials
and found the training incorporated the ECW provisions of this paragraph.

Additionally, during its June 2017 site visit members of the monitoring
team continued to interact with APD officers in a host of settings,
including conducting visits at Area Commands, meetings at
headquarters, and informal observations of APD uniformed officers

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during site visits. We found no instances of violations of approved ECW
provisions (weak side carry) during those video reviews or site visits.

Results

Based on previous performance and “current” observations, APD
remains in compliance with this task.

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.21 Assessing Compliance with Paragraph 34: ECW Annual
Certification

Paragraph 34 stipulates:

“Officers shall be trained in and follow protocols developed by
APD, in conjunction with medical professionals, on their
responsibilities following ECW use, including:

a)      removing ECW probes, including the requirements
        described in Paragraph 35;
b)      understanding risks of positional asphyxia, and training
        officers to use restraint techniques that do not impair the
        subject’s respiration following an ECW application;
c)      monitoring all subjects of force who have received an ECW
        application while in police custody; and
d)      informing medical personnel of all subjects who: have
        been subjected to ECW applications, including prolonged
        applications (more than 15 seconds); are under the
        influence of drugs and/or exhibiting symptoms associated
        with excited delirium; or were kept in prone restraints after
        ECW use.”

Methodology

APD SOP’s related to use of force 33 (2-52 “Use of Force”; 2-53 “Electronic
Control Weapon”; 2-54 “Use of Force Reporting and Supervisory Force
Investigation”; and 2-55 “Use of Force Appendix”) were previously approved by
the monitor and were due for review and revision in December 2016. The
update of APD’s use of force suite of policies remained pending until June 2017,
when the monitor approved each of the four (4) use of force related policies.
While the policies included substantive structural changes (i.e. The use of force
“Definitions” section of SOP 2-52 was moved to the front of SOP 2-55), certain



33APD and the monitoring team have commonly referred to their use of force policies collectively
as the “use of force suite of policies”.
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critical topics that have lingered for APD were resolved 34 in terms of policy
provisions: Specifically, 1) “Low Ready” was defined to help clarify what
constitutes a reportable show of force; and 2) “Show of Force” was defined
better, and supervisor investigative responsibilities relating to Show of Force
events were delineated 35 in SOP 2-54-5-B (This has been a significant obstacle
to APD’s compliance efforts).

During IMR-5 the monitoring team requested copies of all reports and
associated materials related to ten (10) ECW cases, which constituted
15% of an entire data set. 36 A comprehensive review and assessment
was conducted of each reported case, and a comparison was made
between the activities of APD officers, with respect to ECW use, and the
provisions of this paragraph.

Additionally, during its June 2017 site visit members of the monitoring
team interacted with APD officers in a host of settings, including
conducting visits at Area Commands.

Results

With the monitor’s approval of SOP 2-53, APD retains Primary
Compliance with this paragraph. We note one issue that should be
considered in future policy revisions. While reviewing various training
materials APD provided, we saw that an instructor drew a distinction
between an ECW deployment and an ECW application. This distinction
is critical in the assessment of whether or not an ECW use of force is
considered a serious use of force. 37 We reviewed APD’s SOP 2-55,
which contains definitions pertaining to the use of force suite of policies.
We found no definition of “Application;” however, CASA Paragraph 12t
defines an “ECW application” as follows: “…the contact and delivery of
an electrical impulse to a subject with an Electronic Control Weapon.”
We note that APD’s instruction was correct and recommend that the
definition be adopted into SOP 2-55.

34 Our intent here is to list changes to the policies that are relevant to this paragraph and not
every policy change that occurred.
35 Later we comment about our concern that APD leaving a supervisor response to the scene of

a show of force up to their discretion as a probable critical shortcoming in their operating
procedures.
36 There was a discrepancy in initial reporting into cases reviewed by the monitoring team.

Therefore, for purposes of this paragraph we report the results of 8 ECW cases. APD provided
documentation that they fixed the reporting error and in the process identified two additional
cases that were improperly reported as an ECW use of force. The monitoring team was notified
that a programmatic shortcoming of their system did not allow officers to properly input ECW
shows of force. That technological issue has since been resolved.
37 CASA Paragraph 12qq defines (in part) a serious use of force to include more than two

applications of an ECW on an individual during a single interaction, regardless of the mode or
duration of the application, and regardless of whether the applications are by the same or
different officers.
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In Paragraph 88 we reported the monitoring team reviewed training
curriculum, specifically, the Phase 1 2017 Use of Force Review, that
contained topics relevant to this Paragraph. A separate lesson plan was
created to specifically address the requirement that APD officers receive
an annual ECW recertification and update. The monitoring team
reviewed the "2017 Electronic Control Weapon Update and
Recertification” lesson plan and watched its corresponding video.
Generally, the lesson was well delivered by the instructor. He directly
addressed the requirement that Tasers be worn on an officer's weak side
away from their primary weapon. He also addressed how historically
ECW training encouraged the utilization of a five second "window of
opportunity" to handcuffed a person under power of an ECW. He
instructed away from that concept indicating that it may have
inadvertently created a sense of urgency on officers to close the gap on
a suspect too early in an event. His handling of that particular issue
coincided well with officer safety and reinforced ways to avoid
unnecessary uses of force.

The monitoring team did note that an illustration within the PowerPoint
and lesson plan, which depicts "preferred target areas" for an ECW, did
not specifically preclude an intentional targeting of a subject's genital
area. The lesson plan stated, "When deploying the ECW reasonable
attempts should be made to avoid striking sensitive target areas with the
probes. The back is always the preferred target zone." We note this
deficiency, but the monitoring team does not see the issue as significant,
as the instructor later stated the requirement to not intentionally target a
suspect’s groin area. However, like past training programs the
monitoring team has reviewed, we cannot be certain that distinction was
made in every training program because it is not specifically included in
the course materials. We note this issue here as a cautionary message
to APD that precision in its training materials is critical to their ability to
retain Secondary Compliance. This is an issue that we have
experienced and noted with APD training during our first site visit, and
have provided several pieces of illustrative technical assistance
regarding preparation of “lesson plans,” which APD seems to have
simply ignored.

Following our review of cases in IMR-5, APD’s performance related to
this paragraph resulted in a 100% compliance rate for the eight cases
we reviewed. Overall, APD demonstrated strong operational compliance
with respect to the provisions of this paragraph. APD officers were seen
to routinely, and immediately seek medical attention in cases involving
ECW deployment. For reasons enumerated in the Paragraph 41
Overview, the monitoring team did not specifically review ECW cases
during this monitoring period; therefore, the status of Operational

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Compliance remains in place for this reporting period. The monitoring
team will revisit ECW case reviews for the next reporting period.

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.22 Assessing Compliance with Paragraph 35

Paragraph 35 stipulates:

“The City shall ensure that all subjects who have been exposed to
ECW application shall receive a medical evaluation by emergency
medical responders in the field or at a medical facility. Absent
exigent circumstances, probes will only be removed from a
subject’s skin by medical personnel.”

Methodology

APD SOP’s related to use of force 38 (2-52 “Use of Force”; 2-53 “Electronic
Control Weapon”; 2-54 “Use of Force Reporting and Supervisory Force
Investigation”; and 2-55 “Use of Force Appendix”) were previously approved by
the monitor and were due for review and revision in December 2016. The
update of APD’s use of force suite of policies remained pending until June 2017,
when the monitor approved each of the four (4) use of force related policies.
The monitoring team also reviewed training that APD provided to its members
during the Phase 1 2017 Use of Force Review that related to this paragraph.

During IMR-5 the monitoring team requested copies of all reports and
associated materials related to ten (10) ECW cases, which constituted
15% of an entire data set. 39 A comprehensive review and assessment
was conducted of each reported case, and a comparison was made
between the activities of APD officers, with respect to ECW use, and the
provisions of this paragraph.

Additionally, during its June 2017 site visit members of the monitoring
team interacted with APD officers in a host of settings, including
conducting visits at Area Commands.



38 APD and the monitoring team have commonly referred to their use of force policies collectively
as the “use of force suite of policies”.
39 There was a discrepancy in initial reporting into cases reviewed by the monitoring team.

Therefore, for purposes of this paragraph we report the results of 8 ECW cases. APD provided
documentation that they fixed the reporting error and in the process identified two additional
cases that were improperly reported as an ECW use of force. The monitoring team was notified
that a programmatic shortcoming of their system did not allow officers to properly input ECW
shows of force. That technological issue has since been resolved.
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Results

With the monitor’s approval of SOP 2-53, APD retains Primary
Compliance with this paragraph. In Paragraph 88 we reported the
monitoring team reviewed training curriculum, specifically, the Phase 1
2017 Use of Force Review, that contained topics relevant to this
Paragraph. A separate lesson plan was created to specifically address
the requirement that APD officers receive an annual ECW recertification
and update. The monitoring team reviewed the "2017 Electronic Control
Weapon Update and Recertification” lesson plan and watched its
corresponding video. Previously identified concerns notwithstanding, we
determined that APD retained its Secondary Compliance.

Following our review of cases in IMR-5, APD’s performance related to
this paragraph resulted in a 100% compliance rate for the eight cases
we reviewed. Overall, APD demonstrated strong operational compliance
with respect to the provisions of this paragraph. APD officers were seen
to routinely, and immediately seek medical attention in cases involving
ECW deployment. For reasons enumerated in the Paragraph 41
Overview, the monitoring team did not specifically review ECW cases
during this monitoring period, therefore, the status of Operational
Compliance remains in place for this reporting period. The monitoring
team will revisit ECW case reviews for the next reporting period.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.23 Assessing Compliance with Paragraph 36: ECW
Notifications

Paragraph 36 stipulates:

“Officers shall immediately notify their supervisor and the
communications command center of all ECW discharges (except
for training discharges).”

Methodology

APD SOP’s related to use of force 40 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained pending until June 2017, when the monitor approved

40APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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each of the four (4) use of force related policies. The monitoring team
also reviewed training that APD provided to its members during the
Phase 1 2017 Use of Force Review that related to this paragraph.

During IMR-5 the monitoring team requested copies of all reports and
associated materials related to ten (10) ECW cases, which constituted
15% of an entire data set. 41 A comprehensive review and assessment
was conducted of each reported case, and a comparison was made
between the activities of APD officers, with respect to ECW use, and the
provisions of this paragraph.

Additionally, during its June 2017 site visit members of the monitoring
team interacted with APD officers in a host of settings, including
conducting visits at Area Commands.

Results

With the monitor’s approval of SOP 2-53, APD retains Primary
Compliance with this paragraph. In Paragraph 88 we reported the
monitoring team reviewed training curriculum, specifically, the Phase 1
2017 Use of Force Review, that contained topics relevant to this
Paragraph. A separate lesson plan was created to specifically address
the requirement that APD officers receive an annual ECW recertification
and update. The monitoring team reviewed the "2017 Electronic Control
Weapon Update and Recertification” lesson plan and watched its
corresponding video. Aside from previously identified concerns we
determined that APD retained its Secondary Compliance.

Following our review of cases in IMR-5, APD’s performance related to
this paragraph resulted in a 100% compliance rate for the eight cases
we reviewed. Overall, APD demonstrated strong operational compliance
with respect to the provisions of this paragraph. APD officers were seen
to routinely, and immediately seek medical attention in cases involving
ECW deployment. For reasons enumerated in the Paragraph 41
Overview, the monitoring team did not specifically review ECW cases
during this monitoring period, therefore, the status of Operational
Compliance remains in place for this reporting period. The monitoring
team will revisit ECW case reviews for the next reporting period.

       Primary:         In Compliance
       Secondary:       In Compliance

41There was a discrepancy in initial reporting into cases reviewed by the monitoring team.
Therefore, for purposes of this paragraph we report the results of 8 ECW cases. APD provided
documentation that they fixed the reporting error and in the process identified two additional
cases that were improperly reported as an ECW use of force. The monitoring team was notified
that a programmatic shortcoming of their system did not allow officers to properly input ECW
shows of force. That technological issue has since been resolved.
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       Operational: In Compliance

4.7.24 Assessing Compliance with Paragraph 37: ECW Safeguards

Paragraph 37 stipulates:

“APD agrees to develop and implement integrity safeguards on the
use of ECWs to ensure compliance with APD policy. APD agrees to
implement a protocol for quarterly downloads and audits of all
ECWs. APD agrees to conduct random and directed audits of ECW
deployment data. The audits should compare the downloaded data
to the officer’s Use of Force Reports. Discrepancies within the
audit should be addressed and appropriately investigated.”

Methodology

APD’s subsidiary policy on Electronic Control Weapons (ECW) SOP 2-53
was approved in January 2016, but the specific provisions of this
paragraph were not included. APD's use of force suite of policies, which
included SOP 2-53, was reviewed and re-approved by the monitor in
June 2017. During its June 2017 site visit members of the monitoring
team met with APD representatives responsible for this paragraph to
discuss their progress with respect to conducting random and directed
audits of ECW data. APD COB documentation was also reviewed and
compared against the requirements of this paragraph.

Previously, APD submitted to the monitoring team an internal memo
dated August 29, 2016, that was directed to the Chief of Police outlining
an audit agenda for downloaded ECW data. We were also provided with
an audit methodology APD developed for an "audit program" that was
dated August 30, 2016. Finally, the monitoring team reviewed a
comprehensive memorandum, dated September 30, 2016, from APD's
Audit Coordinator that was directed to the Chief of Police. These
documents were all reviewed and compared against the provisions of this
paragraph to conduct a qualitative determination if APD has met a
compliance standard with the provisions of Paragraph 37. Our
impressions concerning this documentation were reported in IMR -5.

In preparation of this report the monitoring team made three separate
requests for information as requested the following documentation:

a. “IMR-5 documented an internal memo entitled “Electronic Control Weapon
   Download Data Audit”, in which the Chief of Police was provided specific,
   actionable recommendations based on the outcome of the assessment.
   Please provide any COB documents that demonstrate APD has followed up
   these recommendations and implemented changes as a result.



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b. Copies of any new directed ECW Audits. COB documentation that
   demonstrates downloaded data was compared against use of force reports
   by officers.

c. Copies of any random ECW audits. COB documentation that demonstrates
   downloaded data was compared against use of force reports by officers.

d. Copies of any COB documentation that demonstrates APD has developed
   processes, articulated in written policy and supported with protocols that
   guide the audit unit as it compares operational requirements with operational
   practice, allowing the audit unit to identify and address any discrepancies in
   audit reports via recommendation of training or retraining, follow-up, or
   discipline, if necessary and appropriate.

e. COB documentation that demonstrates that APD has remedied the two
   reporting discrepancies of ECW use of force reports as reported in IMR-5
   (See relevant ECW paragraphs), if those remedies exist.

f. COB documentation (I.e. Policy / training / counseling) as to how APD has
   addressed the issue of the incorrectly reported ECW cases documented in
   IMR-5 to alleviate the possibility of it occurring in the future.

g. COB on any other case where a discrepancy existed, and any follow up
activities that were taken by APD.

APD provided in response to our requests, an Interoffice Memorandum
and an Excel spreadsheet for a June 7, 2017 ECW Quarterly download.

Results

As we documented in IMR-5, the monitoring team reviewed a
comprehensive matrix and protocol to conduct directed, quarterly audits
of ECW data. Likewise, APD's Audit Coordinator delivered a
comprehensive assessment of audit findings to the Chief of Police in the
form of an internal memo entitled, "Electronic Control Weapon Download
Data Audit.” The memorandum specifically indicated that the purpose of
the audit was to assess compliance with department policies and
procedures as they relate to quarterly ECW downloads, spark test
protocols, and the comparison of ECW download data to use of force
reports. 42 The Chief of Police was provided specific, actionable
recommendations based on the outcome of the assessment. We
commented, “If replicated and continued, this audit methodology and
findings stand as a strong foundation for APD to demonstrate
operational compliance with respect to directed audits conducted at the

42We note that the audit included comparisons of downloaded ECW data against show of force
cases as well.
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organizational level. The report presented to the monitoring team
included an outline of its methodology, a summary of findings, specific
objectives, and comparison data that were used to asses reported use
and show of force reports. The report contained specific findings that led
to recommendations to the Chief of Police concerning potential follow-up
actions he could take. The monitoring team is interested to see what
follow-up activities occurred as a result of this audit, specifically, what
APD did in response to the recommendations of ECW use audit.”

We asked APD to supply documentation to demonstrate that the
recommendations to the Chief were acted upon (or responded to), but
APD provided no data to suggest that the report that was prepared had
any meaning to the leadership to the organization. In IMR-5 we wrote,
“The ultimate value of the audit will be found in follow-up activities
wherein APD should demonstrate they have "closed the loop" on their
assessment. The follow-up activities will show if APD has the capacity
to replicate this process in the future, and reveal if the program has a
meaningful place in an overarching oversight and accountability
process.” We see the lack of responsiveness as a critical shortcoming
to the audit function in APD, which delegitimized the value of the auditing
report that was prepared. It also negated the attempts the report made
to set protocols for ECW audits. We do not presuppose that every
recommendation within a particular audit report can be implemented,
however, we do expect that there would be some level of documented
responsiveness to the reports that are prepared to “close the loop”. If
not, the report constitutes a one-off product that does not serve as a
course of business document. As a consequence, APD cannot
demonstrate it has a legitimate business process in place when these
types of audits cannot, or are not, replicated. Frankly, we are befuddled
that APD continues to balk at taking meaningful action when they are
confronted by written, well-documented notice of critical issues (whether
outlined in monitor’s reports or internal audit processes). Such refusal to
act leads inevitably to non-compliance.

While on-site in June 2017, the monitoring team met with members of
APD's Audit Unit. As usual, we find them to be engaged and sincerely
interested in doing their job to the top of their ability. We learned that
members of the Audit Unit have been assigned to different areas of the
organization (i.e. The training Academy) which we believe is a positive
step in the auditing function of the organization. Regular communication
between these different organizational functions will be an important
aspect of their job responsibilities. The sharing of information within and
among organizational units that have an audit function should have a
positive impact on APD’s future. We highly recommend that APD
consider routine reporting of information to the training Academy and IA
using these auditors.

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Work still remains for APD to reach compliance with this paragraph.
While APD developed the makings of a comprehensive, directed audit
program, the product they produced has not been followed up in any
meaningful way. We mentioned in IMR-5, “The steps they (APD) took
need to be codified in policy, and followed up by implementation and
routinization of current and suggested policy and practice. Absent these
steps, their positive activities could end up being an ad hoc assessment
and not a required and routine process.” Our concerns appear to have
come to pass. SOP 2-53-4-J does contain protocols for quarterly
administrative uploads of ECW data, but the auditing function remains a
work in progress for APD. We see this as one of the most critical issues
keeping APD from compliance with a (relatively large) number of
paragraphs.

The monitoring team has not been provided evidence (as of the close of
this reporting period) that effective procedures and policy have been
developed for random reviews of ECW data. In the new ECW policy
there is reference to random audits, but there are no protocols listed for
those types of audits. While on-site in June 2017, members of the
monitoring team learned that APD's intent is to perform quarterly
downloads of ECW data and then conduct a single audit of the
information at the end of the calendar year. We cautioned APD that
conducting business in this fashion could leave unaddressed ECW
issues unresolved for extended periods of time. We have neither seen
nor heard a response to that concern.

In IMR-5 the monitoring team discovered that within its use of force
reviews there were two cases where APD officers incorrectly recorded
using their ECW. We requested documentation to ensure that these
reporting discrepancies were fixed. In response to our request, APD
provided an Interoffice Memorandum indicating that the two instances
have been fixed within their systems. In addition, APD found additional
cases with similar reporting discrepancies. 43 We also learned that the
reporting discrepancies resulted from a technology shortcoming in their
reporting mechanisms that has since been rectified.

We reiterate, the monitoring team found APDs auditing team to be
engaged and invested in the development of procedures to meet the
provisions of Paragraph 37. We feel that this unit, if supported properly,
could be the centerpiece of APD’s organizational reform efforts. That
said, APD still has unresolved issues regarding the “random and
directed audits.” Processes need to be developed, articulated in written
policy, and supported with protocols that guide the Audit Unit. When the
Audit Unit identifies discrepancies or performance deficiencies in audit

43 Both Interoffice Memorandums are dated May 22, 2017, from an APD Program Analyst to the
Lieutenant of the CIRT.
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reports, their recommendations need to be addressed through training or
retraining, policy reviews or assessments, process modifications,
procurement follow-up, or discipline, if necessary and appropriate. The
table below outlines “checkpoints” for the work remaining to be done.

                                     Table 4.7.24

Pending        Develop       Articulate   Develop      Compari-        Address
Process        Integrity     Audit        Random       son of          and
               Audit         Protocols    and          Down-           Investigate
               Processes                  Directed     loaded Data     Discre-
                                          Audit        viz. a viz      pancies
                                          Protocols    UoF             Download
                                                       Reports         v. Report
Implement           N            N            N             N               N
Y/N?
Report Y/N          N            N            N             N               N
Follow-up &         N            N            N             N               N
Evaluate
Y/N

We note with a modicum of frustration that this is the same table we
produced for APD in IMR-5. We have seen no movement on this critical
issue, despite clear and well documented evidence to APD that a
response is required. As a result, we find the non-compliance to be
deliberate.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.24: Develop needs assessments, articulate
needed improvements in written policy, and support with protocols
that guide the audit unit as it compares operational requirements
with operational practice, allowing the audit unit to identify and
address any discrepancies in audit reports via recommendation of
training or retraining, follow-up, or discipline, if necessary and
appropriate.

4.7.25 Assessing Compliance with Paragraph 38: ECW Reporting

Paragraph 38 stipulates:

“APD agrees to include the number of ECWs in operation and
assigned to officers, and the number of ECW uses, as elements of
the Early Intervention System. Analysis of this data shall include a
determination of whether ECWs result in an increase in the use of
force, and whether officer and subject injuries are affected by the
rate of ECW use. Probe deployments, except those described in

                                                                                     66
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Paragraph 30, shall not be considered injuries. APD shall track all
ECW laser painting and arcing and their effects on compliance
rates as part of its data collection and analysis. ECW data analysis
shall be included in APD’s use of force annual report.”

Methodology

APD’s SOP on Electronic Control Weapons (ECW) 2-53 was approved by
the monitor and DOJ in January 2016. The monitor approved a revised
version of SOP 2-53 in June 2017. APD’s EIRS SOP 3-33 had not been
approved by the close of this monitoring period. The provisions of this
paragraph are not currently addressed in either standing policy. During
its June 2017 site visit, members of the monitoring team met with APD
representatives responsible for this paragraph to discuss their progress
with respect to compliance. In preparation for this monitoring report we
requested that APD provide the following:

“COB (course of business) documentation that demonstrates that APD is
conducting the type of analysis required by this (P38) paragraph.”44

Documentation provided by APD in response to our request was
reviewed and compared against the requirements of this paragraph.

Results

As noted in previous monitoring reports, Paragraph 38 stipulates that
APD conduct several types of analyses to determine the level of ECW
use over time, the rate of suspect and officer injuries in relation to the
rate of ECW use, and the effect of ECW “painting and arcing” on
compliance rates. We believe there are APD personnel capable of doing
the required analysis with appropriate direction, training, and expert
support. Members of the APD Audit Unit have the capacity and interest
to conduct these assessments with the proper staffing and
organizational support. APD must look across the entire CASA and
strategically approach the auditing role within the organization. While
on-site, we recommended APD consider developing an “auditing plan” to
ensure all the relevant CASA requirements are covered and
redundancies of effort are eliminated. We have not been presented with
any auditing plan to date, but highly encourage APD consider that
approach to their work.

We have previously reported the lack of credibility of APD’s use and show
of force data, and that relying on that data for purposes of determining
CASA compliance will not be possible until such time that the department
expends its full effort toward greater accountability in its reporting of use

44 The monitoring team asked for additional documentation concerning ECW reporting
discrepancies. We comment on their response in Paragraph 37 and elsewhere in this report.
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of force. As we reported in IMR-5, the monitoring team reviewed a total
of ten (10) ECW uses of force and found two of the events reported as
ECW cases did not actually include the use of an ECW against a person.
While APD provided an Interoffice Memorandum indicating the issue was
resolved, those type of discrepancies in reporting certainly impact the
credibility of APD’s data reporting.

With the components of APD’s EIRS still unresolved in both policy and
practice, this paragraph remains not in compliance. In IMR-5 the
monitor recommended that APD “…commission externally or complete
internally a focused, thoughtful and meaningful “Completed Staff Work”
document analyzing this problem and submit it to the Chief of Police for
review, assessment and action.” We are unaware of any effort APD put
toward that recommendation.

                                    Table 4.7.25

Reporting   # ECWs       ECW       Use       Analysis   Impact      Track         ECW
Period      Assigned     Uses/     Data in   of ECW     of ECW      Painting &    Use in
No.                      Mo        EIRS      Effect     on          Arcing        Annua
                                             on         Injuries                  l
                                             Force
                                                                                  Report
                                             Rate
                No         No        No         No         No           No          No

        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance

Recommendation 4.7.25a: We reiterate, APD should either
commission externally or complete internally a focused, thoughtful
and meaningful “Completed Staff Work” document analyzing this
problem and submit it to the Chief of Police for review, assessment
and action. 45

Recommendation 4.7.25b: APD should develop a comprehensive
auditing plan that contemplates all their CASA and policy related
requirements.

4.7.26 Assessing Compliance with Paragraph 39: Crowd Control
Policies


45 The monitor has previously provided APD with nationally accepted formats and “product” for
these CSW projects, so that they can be familiar with expectations of such documents. We
recommend a format similar to the one the monitor provided APD from the Tyler, Texas Police
Department. We see it as entirely conceivable that individuals from APD command and staff
levels may need external training on this process, which they should contract for with reputable
outside consultants and trainers.
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Paragraph 39 stipulates:

“APD shall maintain crowd control and incident management
policies that comply with applicable law and best practices. At a
minimum, the incident management policies shall:

   a) define APD’s mission during mass demonstrations, civil
      disturbances, or other crowded (sic) situations;
   b) encourage the peaceful and lawful gathering of individuals
      and include strategies for crowd containment, crowd
      redirecting, and planned responses;
   c) require the use of crowd control techniques that safeguard
      the fundamental rights of individuals who gather or speak
      out legally; and
   d) continue to prohibit the use of canines for crowd control.”

Methodology

APD SOP 1-46 Emergency Response Team (ERT) was approved by the
monitor and DOJ on May 12, 2016, bringing the Department into primary
compliance on the requirements in Paragraph 39. As we noted in prior
monitoring reports, although a brief block of instruction was provided in the 40-
hour Use of Force Curriculum in mid-2016, that was based upon a single-page
directive (this appeared to be a Field Services Bureau (FSB) SOP) that was
outdated and extremely limited in content. The ERT SOP 4-21 was retitled as
Response to First Amendment Assemblies and was approved by the monitor on
May 23, 2016. We note the need for supplemental training based upon the
approved, more extensive FSB policy in our review of the 40-hour Use of Force
Curriculum later in this report.

In preparation for this report the monitoring team made five separate data
requests for the following:

a. Any documentation that APD has conducted a multi-agency review and
   assessment of the incidents surrounding the May 2016 Trump rally that
   focuses on policy guidance for after-action event assessments, after-action
   upgrades to policy, training, and multi-agency responses,

b. Any newly developed policy / procedure / guidance that is responsive to
   partner-agency concerns guiding after-action reviews, assessments, and
   revisions to existing policy.

c. Any documentation that demonstrates APD has submitted policy/procedures
   to partner agencies for review and comment, and any changes that were
   made to accommodate partner agency concerns (or explain why changes
   were not made).

d. Copies of any training materials that are responsive to the comments in IMR-
   5. After action upgrades to policy, practice and training.

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e. Copies of any training materials and attendance records related to SOP 1-46.

In response the monitoring team received and reviewed the following: 1) Lesson
Plan entitled, “Use of Force-Crowd Control Policies: Albuquerque Police
Academy Core Curriculum”; 2) Video tape of APD's 2017 Use of Force Review
wherein the lesson plan was delivered; 3) Donald Trump Presidential Rally
After-Action Report, dated May 26, 2017, prepared by an ERT Commander; 4) A
Multi-Agency Review and Assessment report prepared by a Captain from the
Bernalillo County Sheriff’s Office; 5) APD Interoffice Memorandum, dated June
10, 2016, from an ERT lieutenant to the Chief of Police entitled, "Lessons
learned from Trump Rally/New Demonstration Protocol; 6) APD Interoffice
Memorandum, dated April 7, 2017, from an ERT lieutenant to a member of the
monitoring team entitled, "Independent Monitor Report 5 Response"; 7) An
“After – Action Report for the Presidential Candidate Donald Trump Rally on
May 24, 2016, prepared by an APD commander, dated July 28, 2017; and 8) An
APD Incident Action Plan and After-Action Report, dated March 8, 2017, for an
UNM Women’s March. Members of the monitoring team also met with ERT
personnel responsible for the provisions of this paragraph while on site in June
2017.

We note here that APD must satisfy the provisions of Paragraph 87 that also
carries a mandate to provide training on crowd control in the context of use of
force, constitutional principles and APD policy.

Results

The monitoring team has communicated the need for a legitimate and formal
review of the May 2016 Trump Rally in the past two monitoring reports, due to
obvious failures on the part of APD's coordination and response efforts toward
that event. The after-action report was imperative in view of apparent failures
and the need to extract every lesson that the Department can glean from the
experience. Like other follow up activities that linger with APD, this is a task that
should have been resolved many months ago. As we commented in IMR-5, the
Trump Rally incident underscored the fact that well-conceived and well-written
policies are not self-executing. At the heart of the issues APD encountered was
the fact that an effective policy was not in place, nor had the agency provided
meaningful training to its individual units that could be expected to respond to a
significant demonstration event. Weaknesses in pre-event preparation and
incident command shortfalls, in the monitoring team’s judgment, were major
contributing factors in APD’s problematic response to the Trump Rally/protests.
The monitoring team initially reviewed an internal After-Action Review of the
Trump Rally/Protest that was prepared by an ERT Lieutenant, which was
unusable as a true “course of business” document.

We viewed the report as a reasonable effort, but the report was written solely
from the perspective of the APD Lieutenant. There was no section explaining
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the report’s methodology or listing of the participants who provided input on its
content, and there were no specifics regarding key decisions and the
responsible decision-makers. We know from our engagement with APD that
there were significant shortcomings with the event (shortcomings felt by other
external law enforcement agencies that provided personnel and assets for the
event) that went virtually unchecked for lessons learned. We provided extensive
feedback concerning that initial After-Action review in IMR-5 and outlined
specific activities that needed to be conducted before APD would receive either
secondary or operational compliance with this paragraph. Specifically, we
stated in IMR-5 that: “APD’s current policies on after-action critiques of
responses to Civil Disorder appear to need substantial review and revision,
particularly where they deal with multi-agency responses and organized civil
unrest. APD will not be in Secondary Compliance or Operational Compliance on
the requirements in Paragraph 39 until a full, competent review of the Trump
Rally response is completed and appropriate actions are taken, including
incident command training, to improve its capabilities to plan for, manage, and
extract important lessons from each experience. Any remediation should
include authentic, scenario-based incident command exercises that stress
advance planning and preparation, command post operations, and large-scale
tactical maneuvering to respond to dynamic aspects of modern-day protests
while operating within Constitutional bounds.”

In late May 2017, members of the monitoring team were contacted by an ERT
commander who was tasked with the responsibility of following up the
comments we provided with respect to the initial 2016 Trump Rally After-Action
Report. 46 Following that conversation the monitoring team received a second
iteration of an After – Action Report pertaining to the May 2016 Donald Trump
Presidential Rally. Members of the monitoring team reviewed that second report
and on June 5, 2017 (a week prior to our site visit) the monitoring team provided
specific feedback concerning the quality of the After-Action Report. The
monitoring team found certain deficiencies with the report and provided APD
with a number of different resources that they could turn to when deciding how
to properly structure and write an effective After-Action report. Specifically, we
noted a lack of a methodology for the report, the fact that there was no timeline
of events, and the fact that the report was still APD – centric and did not
sufficiently take into consideration feedback from "partner agencies" who
supported the event. Another observation we made was the fact that the writing
style of the document was difficult to read and did not lend itself to easily
extracting “lessons learned” from the event. That would make difficult the task

46 We note that this communication with the ERT commander took place after the delivery of
IMR-4 and the draft of IMR -5 to the parties. The apparent disinterest to follow up on the initial
comments the monitor provided concerning the 2016 Trump Rally After Action Report are
evidenced in the timing of this communication. However, we note that this disinterest is
centered on the organizational coordination of the issue not the attitude of this specific
commander. We note that when we met with the Commander during our June 2017 site visit we
learned that he was only tasked with the responsibility of following up on monitor comments
weeks before we arrived; that time frame coincided with the late May 2017 communication.
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of taking the lessons learned and collating, tracking and building policy revisions
and using those lessons to develop organizational training programs centered
on crowd control and uses of force related to crowd control. This latter fact is
critical for building effective business processes that result in meaningful policy
revisions and training that help the organization avoid repeating past mistakes.

Prior to our June 2017 site visit the monitoring team made a request to meet
with ERT members responsible for the terms of this paragraph. While on site
we met with the Commanding Officer who authored the most recent iteration of
the 2016 Trump Presidential Rally After – Action Report. Our impression of the
Commander, based on our conversation, was that he was a well-qualified and
professional member of the organization. He was very receptive to feedback the
monitoring team provided during the meeting. 47 By no fault of his own, it was
evident that he was tasked with preparing a report “as quickly as possible”, to
satisfy monitoring team comments and to meet self-imposed APD time-lines that
were obviously the result of poor coordination when responding to monitoring
team feedback. This prevented the Commander from preparing a more
thoughtful, well-structured and comprehensive report. We note the Commander
indicated that the report he initially submitted to the monitoring team was meant
to be a "draft". We would appreciate that perspective were it not for the fact that
work related to this task has been lingering with APD for nearly a year.

The monitoring team reviewed training materials related to APD’s crowd control
policy and a video of the delivery of that lesson plan to its members. This
material was provided to the monitoring team in response to our request for
training related to this paragraph. That training was included in APD's Phase 1
“2017 Use of Force Review” that commenced in late January 2017. 48 The
training lesson plan documented three specific "Instructional Objectives", and
stated that "Upon completion of this block of instruction the participant will be
able to:

     1. Discuss objectively reasonable and justified uses of force related to
        crowd control.
     2. Analyze known situations for appropriate levels of force related to crowd
        control.
     3. Discuss crowd control policies as stated in SOP and CASA.”

In the monitoring team's opinion, the lesson plan and training provided to APD
failed to meet objectives #1 and #2, and in fact focused no attention on those

47 We note that he has been moved to an operational command that would not necessarily
continue his ERT responsibilities.
48 We have noted in past monitoring team reviews of APD training curriculum that training is
assessed on the content AND quality to ensure it includes the proper policy provisions and
applicable law, and that the training meets qualitative standards that can reasonably be
expected to impact operations in the field. We have seen several instances where an APD
instructor has either gone “off script” or delivered materials not contained in a lesson plan.
Quality of training is equally important as the content of the material being presented.
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objectives. The entire lesson plan was focused on a quick recitation of APD
SOP 4-21. This was done despite the importance of this topic to APD’s
compliance, and the extensive writing we have provided in the past two
monitoring reports. APD relegated, on paper, the topic of “Use of Force - Crowd
Control” to a 30-minute presentation within the “2017 Use of Force Review”.
However, a review of the actual video of the training showed that APD
condensed the topic further, as the video we watched was only 16 minutes in
length. There were certain qualitative aspects of the training that were deficient
as well. For instance, the instructor opens his presentation by saying that the
topic was "repetitive and a little bit boring" which certainly sets the tone for the
block of instruction. Likewise, the instructor provided very little in terms of
instructional dynamics and provided little perspective outside of the content
within the PowerPoint slides. The instructor relied heavily on reading each
PowerPoint slide to the audience without providing any APD context or
contemporary “lessons learned”. Also, the monitoring team saw no interaction
between the instructor and the audience. In our view, this block of instruction is
critically important to all members of the organization, not just ERT members.
We mention this for a host of reasons; however, one specific issue stands out
among the rest. Within the training material APD indicated that it will take
"approximately one hour" for various critical resources to reach APD field
personnel for an event that was not pre-planned. Within the list of agencies they
list that could take an hour to respond was APD's own Emergency Response
Team. That fact is crucial when deciding how much time to commit to this topic
of instruction. There were no scenarios, practical exercises or other hands-on
instructional techniques when delivering this block of instruction. Likewise, the
training did not meet the instructional objectives. The monitoring team sees this
training to be ineffective and note that it does not meet an acceptable
compliance standard. Likewise, APD provided no clear documentation to
demonstrate how lessons learned from APD responses to events connected to
its training or policy revisions.

The monitoring team reviewed the “After – Action Report for the Presidential
Candidate Donald Trump Rally” that was prepared on July 28, 2017 by an APD
Commander. While certain refinements are still needed for future After Action
reports, we feel APD has adequately addressed monitoring team comments with
respect to follow-up activities by the department. In his report the Commander
noted nine (9) specific issues with corresponding recommendations for APD to
implement. The monitoring team will follow up, during the next year, with APD
to determine what specific activities they took to address the nine
recommendations included in its after-action report. 49


49 The monitoring team will follow up to determine what type of policy revisions occurred, and
what specific learning objectives related to future APD crowd control training, that relate to these
recommendations. This will assess whether APD’s ERT responses and after-action critiques
contain specific business processes that "close the loop” when modifications to operations are
appropriate. That said, the monitoring team will look for different types of internal COB
documents that meet that specific end.
                                                                                                 73
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Finally, the monitoring team was provided one After-Action Report entitled,
“UNM Women’s March”, dated March 8, 2017. This particular event took place
before APD received its most recent monitoring team feedback concerning the
content and structure of its After-Action Reports. Consequently, the quality of
this documentation was considerably below what we found in the final iteration
of the 2016 Trump Rally critique. We caution APD, and strenuously recommend,
they ensure that all ERT After-Action Reports follow a consistent and structured
outline, and incorporate the Multi-Agency Review and Assessment form they
eveloped. In the past, we have recommended to APD that it avoid stand-alone
reports, like the Multi-Agency Review and Assessment form, and instead
append that document to its corresponding SOP. That should help the agency
with consistency and accountability for its use.

APD will achieve Secondary and Operational Compliance on the
requirements in Paragraph 40 only when it demonstrates that it has in
place standardized procedures to conduct objective, thorough reviews of
protest events and the police response to each, and appropriate training
incorporating that policy.
                               Table 4.7.26

Topic                                   Yes     No       Comment
1. Define Mission Statement              1        0      Achieved in policy 1-46
2. Encourage Peaceful & Lawful           1        0      Achieved in policy 1-46
Gatherings
3. Safeguard Fundamental Rights           1        0     Achieved in policy 1-46
4. Prohibit Canines for Crowd             1        0     Achieved in policy 1-46
Control
5. “Train” the Policy                     0        1     We were presented an
                                                         unacceptable training product
                                                         related to SOP 1-46
6. After-action Event Assessments         0        1
7. After-action upgrades and             0 50      1
revisions to policy and training
8. After-action modifications to          0        1
practice based on event
assessments, policy revisions and
training
N, %=Y/N                                .50       .50

        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance




50 We are not aware of after-action upgrades to departmental capacity for response to civil

demonstrations in the form of revised policy, improved Multi-Agency response planning, or
incident evaluation-assessment-critique-practice modification.
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Recommendation 4.7.26a: APD must develop and deliver a
meaningful training program to its Field Services members that is
centered on crowd control policies. That training should include
scenarios, practical exercises, and lessons learned from previous
APD responses to events. Training must meet the instructional
objectives documented within APD lesson plans.

Recommendation 4.7.26b: APD should append its Multi-Agency
Review and Assessment form to its corresponding SOP.

Recommendation 4.7.26c: APD must ensure that its After-Action
Reports follow a standard structure and include mechanisms for
communicating needed revisions to policy and training within the
agency.

Recommendation 4.7.26d: Any recommendations made from After-
Action reporting should follow a logical and repetitive cycle
wherein APD can demonstrate it adequately “closes the loop” on
lessons learned.

4.7.27 Assessing Compliance with Paragraph 40: After-Action
Reviews

Paragraph 40 stipulates:

“APD shall require an after-action review of law enforcement
activities following each response to mass demonstrations, civil
disturbances, or other crowded situations to ensure compliance
with applicable laws, best practices, and APD policies and
procedures.”

Methodology

APD SOP 1-46 Emergency Response Team (ERT) was approved by the
monitor and DOJ on May 12, 2016, bringing the Department into primary
compliance on the requirements in Paragraph 39. As we noted in prior
monitoring reports, although a brief block of instruction was provided in the 40-
hour Use of Force Curriculum in mid-2016, that was based upon a single-page
directive (this appeared to be a Field Services Bureau (FSB) SOP) that was
outdated and extremely limited in content. The ERT SOP 4-21 was retitled as
Response to First Amendment Assemblies and was approved by the monitor on
May 23, 2016. We noted the need for supplemental training based upon the
approved, more extensive FSB policy in our review of the 40-hour Use of Force
Curriculum later in this report.

In preparation for this report the monitoring team made three separate data
requests for the following:

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a. Copies of any after-action reports prepared during this time frame to a mass
   demonstration, civil disturbance or crowd control that are relevant to P40.

b. Copies of any COB documents that demonstrate APD have incorporated
   lessons learned from AA reports into policy and procedures, and/or training.

c. Copies of any ERT specific training materials and attendance records for
   SOP 4-21 and 1-46.
d. Copy of any APD-wide training materials and attendance records for SOP 4-
   21 and 1-46 (if different than c)

e. COB ledger of all APD responses to mass demonstrations, civil disturbances,
   or other crowded situations.

In response the monitoring team received and reviewed the following: 1) Lesson
Plan entitled, “Use of Force – Crowd Control Policies: Albuquerque Police
Academy Core Curriculum”; 2) Video tape of APD's 2017 Use of Force Review
wherein the lesson plan was delivered; 3) Donald Trump Presidential Rally After
– Action Report, dated May 26, 2017, prepared by an ERT Commander; 4) A
Multi – Agency Review and Assessment report prepared by a Captain from the
Bernalillo County Sheriff’s Office; 5) APD Interoffice Memorandum, dated June
10, 2016, from and ERT lieutenant to the Chief of Police entitled, "Lessons
learned from Trump Rally/New Demonstration Protocol; 6) APD Interoffice
Memorandum, dated April 7, 2017, from an ERT lieutenant to a member of the
monitoring team entitled, "Independent Monitor Report 5 Response"; 7) An
“After – Action Report for the Presidential Candidate Donald Trump Rally on
May 24, 2016, prepared by an APD commander, dated July 28, 2017; 8) An
APD Incident Action Plan and After-Action Report, dated March 8, 2017, for an
UNM Women’s March. Members of the monitoring team also met with ERT
personnel responsible for the provisions of this paragraph while on site in June
2017.

We note here that APD must satisfy the provisions of Paragraph 87 that
also carries a mandate to provide training on crowd control in the context
of use of force, constitutional principles and APD policy.

Results

The monitoring team reviewed training materials related to APD’s crowd control
policy and a video of the delivery of that lesson plan to its members. This
material was provided to the monitoring team in response to our request for
training related to this paragraph. That training was included in APD's Phase 1
“2017 Use of Force Review” that commenced in late January 2017. 51 The

51We have noted in past monitoring team reviews of APD training curriculum that training is
assessed on the content AND quality to ensure it includes the proper policy provisions and
applicable law, and that the training meets qualitative standards that can reasonably be
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training lesson plan documented three specific "Instructional Objectives", and
stated that "Upon completion of this block of instruction the participant will be
able to:

    1. Discuss objectively reasonable and justified uses of force related to
       crowd control.
    2. Analyze known situations for appropriate levels of force related to crowd
       control.
    3. Discuss crowd control policies as stated in SOP and CASA.”

In the monitoring team's opinion, the lesson plan and training provided to APD
failed to meet objectives #1 and #2, and in fact focused no attention on those
objectives. The entire lesson plan was focused on a quick recitation of APD
SOP 4-21. This was done despite the importance of this topic to APD’s
compliance, and the extensive writing on these topics we have provided in the
past two monitoring reports. As noted in Paragraph 39, The monitoring team
saw this training to be ineffective and failing to meet an acceptable compliance
standard. Further, APD provided no clear documentation to demonstrate how
lessons learned from APD responses to events connected to its training or
policy revisions.

The monitoring team reviewed the “After – Action Report for the Presidential
Candidate Donald Trump Rally” that was prepared on July 28, 2017 by an APD
Commander. While certain refinements are still needed for future After-Action
reports, we feel that the report has adequately addressed monitoring team
comments with respect to follow-up activities by the department. In his report
the Commander noted nine (9) specific issues he identified in APD’s response,
with corresponding recommendations for APD to follow up. The monitoring
team will follow up with APD to determine what specific activities they took to
address these nine (9) recommendations. 52

Finally, the monitoring team was provided an After-Action Report entitled, “UNM
Women’s March”, dated March 8, 2017. This event took place before APD
received its most recent monitoring team feedback concerning the content and
structure of its After-Action Reports. Consequently, the quality of this
documentation was considerably below the quality we found in the final iteration
of the 2016 Trump Rally critique. We caution APD, and strenuously recommend,
they ensure that all ERT After-Action Reports follow a consistent and structured

expected to impact operations in the field. We have seen several instances where an APD
instructor has either gone “off script” or delivered materials not contained in a lesson plan.
Quality of training is equally important as the content of the material being presented.
52 Specifically, the monitoring team will look to see what type of policy revisions occurred, and
specific learning objectives within future APD crowd control training that relate to these
recommendations. This will demonstrate that APD’s ERT responses and After – Action critiques
contain specific business processes that "close the loop” when modifications to operations are
appropriate. That said, the monitoring team will look for different types of internal COB
documents that meet that specific end.
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outline, and incorporate the Multi-Agency Review and Assessment form they
developed. In the past, we have recommended to APD that it avoid stand-alone
reports, like the Multi-Agency Review and Assessment form, and instead
append that type of document to its corresponding SOP. That should help the
agency with consistency and accountability for its use.

As noted above, when preparing to assess this paragraph the monitoring team
requested: 1) Copies of any after-action reports prepared during this timeframe
to a mass demonstration, civil disturbance or crowd control that are relevant to
paragraph 40 of the CASA; and 2) COB ledger of all APD responses to mass
demonstrations, civil disturbances, or other crowded situations. We received
only one (1) After-Action Report (detailed herein) and we were not provided a
ledger that captured all APD responses to demonstrations. That said, we expect
that APD has provided all documentation that would have been responsive to
our request, and that no other After-Action reports relative to our request exist.
By inference, that would mean there were no other APD responses to mass
demonstrations, civil disturbances, or other crowded situations during the
monitoring period. We will follow up with APD to obtain any COB ledger that
captures these types of events to ensure our data are complete.

 APD will achieve Secondary and Operational Compliance on the requirements
in Paragraph 40 when it demonstrates that it has in place standardized
procedures to conduct objective, thorough reviews of protest or disturbance
events and the police response to each, and appropriate training incorporating
that policy.

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendation 4.7.27a: APD must develop and deliver a
meaningful training program to its members that is centered on
crowd control policies. That training should include scenarios,
practical exercises, and lessons learned from previous APD
responses to events. Training must meet the instructional
objectives documented within APD lesson plans.

Recommendation 4.7.27b: APD should append its Multi-Agency
Review and Assessment form two it's corresponding SOP.

Recommendation 4.7.27c: APD must ensure that its After – Action
Reports follow a standard structure and include mechanisms for
communicating revisions to policy and training within the agency.

Recommendation 4.7.27d: Any recommendations made from After-
Action reporting should follow a logical and repetitive cycle

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wherein APD can demonstrate it adequately “closes the loop” on
lessons learned.

Assessing Compliance with Paragraph 41-59: Supervisory Review
of Use of Force Reporting (Overview)

The series of related Paragraphs 41 through 59 encompasses requirements for
reporting, classifying, and investigating uses of force that require a supervisory-
level response based upon the type and extent of force used. The CASA
delineates this larger group of paragraphs into three separate sub-groups: Use
of Force Reporting – Paragraphs 41-45; Force Investigations – Paragraphs 46-
49; and Supervisory Force Investigations – Paragraphs 50-59.

Over the course of our engagement with APD, our reviews have consistently
revealed serious deficiencies in the department’s oversight and accountability
processes, particularly with respect to force reporting, supervisory-level
investigations and chain of command reviews, on which we reported extensively
in IMR-2, IMR-3, IMR-4, IMR-5 as well as in a Special Report that was first
provided to APD on August 19, 2016.

As detailed herein, the monitoring team was presented with a case during this
reporting period that, in our opinion, implicated and amplified deficiencies
throughout the entire APD use of force oversight system. That case [IMR6-001]
was of such significance to the monitoring team that it had a direct impact on its
approach to assessing multiple paragraphs. The fact that APD mishandled this
case in such significant ways, on so many levels, is a watershed moment for
APD’s various failures in its organizational reform efforts. Considering the
significance of this case, in the opinion of the monitoring team, APD would be
wise to step back and take stock of its entire use of force oversight system, and
implement a department-wide, omnibus assessment-revision-retraining-
documentation-evaluation reform effort. We realize this is a significant
recommendation, but we fear without such an omnibus assessment, APD is
condemned to a continuing cycle of failure in its use-of-force decision-making
processes. We come to this conclusion based on our work in previous IMRs,
our special report, and our process review for IMR-6.

In keeping with past activities, the monitoring team requested use of force report
ledgers, use of force reports and related materials to conduct case reviews that
would serve as an assessment of APD’s progress. Ultimately, for IMR-6 the
monitoring team decided not to conduct detailed case reviews for the following
reasons:

1. During this reporting period the monitoring team learned, for the first time,
   that APD has not been accurately reporting the total number of use of force
   cases. In preparation of past reports the monitoring team requested a list of
   use of force and show of force cases that occurred during a specific
   timeframe. From that list of cases, the monitoring team would select a
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     random sample of cases to review. We learned in May 2017 that APD was
     only reporting closed cases, not all cases that were reported. This reporting
     methodology shielded the fact there were numerous cases pending53 and
     those cases left significant gaps in the data. It also raised serious questions
     as to why cases were pending for such extended periods of time.

2. We met with the Chair of APD’s Force Review Board (FRB) during our June
   2017 site visit. At that time, we alerted him to the problematic discrepancies
   in the use of force reporting methodology and the fact that the monitoring
   team had not been provided accurate data for the past monitoring periods.
   During our meeting, we asked if the 10% sample of supervisory use of force
   cases the FRB reviews is from the entire list of cases, or only those that are
   completed. We learned that neither he, nor another command level
   representative of the FRB, knew that the FRB was not reviewing a 10%
   sample of all use of force cases. In fact, it took an APD analyst to come to
   the meeting to make them aware of this problematic methodology that also
   undermined their own accountability structure.

3. There is a more than significant backlog of supervisory use of force
   investigations dating back to January 2017, many of which effectively
   prevent the monitoring team from making an objective assessment of the
   investigative outcomes since the cases are not submitted and complete. We
   have found that APD cases that are incomplete for extended periods of time
   are of greater risk for failure, since they often reveal deficiencies from many
   different perspectives.

4. APD has received extensive feedback from the monitoring team over the
   course of the past two years regarding the quality of their force reporting and
   investigation capabilities. In those recommendations, there is a trove of
   information APD can consider, so providing more similar feedback is
   redundant until APD exhibits an ability to assess and implement the
   monitor’s recommendations that have already made, and, where appropriate,
   implemented.

5. Follow-up activities by APD associated with past feedback the monitoring
   team has provided have been, and continue to be, deficient, and in some
   cases, non-existent.

6. APD training gaps still exist more than two years into the implementation
   phase, and as a result, the organization is not in Secondary Compliance in
   many aspects of its use of force and related training, removing previous
   assessments of Operational Compliance for this reporting period.



53 We learned that some supervisory use of force cases were still pending and in the chain
review process 5-6 months after the original event occurred.
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7. APD has introduced the concept of “De Minimis force” that we believe will
   have a direct and negative impact on APD’s compliance in force reporting, as
   well as investigating and oversight of uses of force.

8. APD has presented a case [IMR6-001], that involved both the use of force
   and serious use of force. That case was mishandled from the initial event, up
   to and including the FRB review of the case. 54 Many of the elements we
   identified as problematic with this case reflected on systems recently
   established by APD to review uses of force. The case represents an
   indictment of the effectiveness of APD’s entire use of force oversight and
   accountability system, to include IA. 55 Based on APD’s response to this
   case, we consider the use of force review, assessment and response
   functions at APD to be ineffective and unworkable.

9. Following IMR-5 feedback and the monitoring team’s June 2017 site visit it
   appears APD is currently reassessing its entire force reporting system. To
   date this seems to be an internal process. We strongly recommend that our
   salient comments from IMRs 3-6 be an integral part to this self-assessment.

In the past, APD has been given extensive feedback and technical assistance
concerning their inability to effectively report, track, and investigate legitimate
use of force cases. Likewise, the monitoring team has predicted many of the
issues APD has encountered, and is encountering. None was more prevalent
than when we alerted APD to significant deficiencies in its use of force training in
early 2016. It is not surprising to the monitoring team that APD has continued to
struggle during this monitoring period, since in our opinion, many supervisors
and command personnel continue to view their activities (related to force and
organizational accountability) through the same lens that got them into their
current situation, and was reflected in early training.

The monitoring team feels strongly that these continued breakdowns are
systemic and cultural in nature. We do not believe many in APD’s leadership
team have ever embraced this idea of systemic and cultural non-compliance.
That said, throughout our entire interaction with APD we have consistently been
met by command level personnel who treat our team professionally. The
apparent disconnect attributed to some of the command level attitudes, words
and actions leads us to believe that systemic and cultural dynamics, i.e. a direct
and deliberate resistance to change, are factors influencing APD failures. The
monitoring team is optimistic this disconnect is not attributable to all of the rank
and file members nor is it attributable to all command level personnel. We
collectively believe, and have at times observed the fact that, some command



54 Following the meeting the monitoring team spoke with several APD commanders anecdotally
who described the FRB meeting, and the handling of this case, as “embarrassing” and a
“complete debacle.”
55 Details surrounding [IMR6-001] are provided within this report.


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level staff seem to be able to affect change in a positive and meaningful way.
Unfortunately, the opposite is also true at times.

A lack of strategic intent by the leadership of the organization has resulted in a
disconnected approach to compliance. The organization mires itself in work that
at times competes against the monitoring team’s efforts instead of
complementing our efforts. For instance, APD tends to focus an exorbitant
amount of effort to debating feedback they receive from the monitoring team, as
opposed to accepting feedback as an objective assessment of their operational
compliance. If APD continues to view and assess their compliance through the
same lens that resulted in their current situation, they will plod along in a manner
that will only serve to frustrate officers at the operational level and build self-
imposed obstacles to success. These comments are not meant to diminish the
strong efforts of some people within the organization, both enlisted and civilian,
including some command level personnel, who simply "get it" and want
meaningful change for APD. As we have noted in the past, we continue to be
met with professionalism in many corners of the organization, but significant
work is left to be done. Marshaling the positive forces and retraining or retiring
the negative forces is a critical task for APD.

As noted in this report, APD continues to struggle to gain compliance with the
training programs they deliver to their officers. This issue has persisted for
years, in our experience. When some training gaps are closed, other gaps are
opened. In addition to failing to address some training gaps that were identified
by the monitor, during this reporting period the monitoring team learned that
APD introduced a new concept into their use of force calculus, complicating it
even further. 56 That term, “De Minimis force,” was apparently derived from
conversations APD had with representatives with the Seattle and Cleveland
police departments. It is the monitoring team's opinion that introducing this
concept, based on APD’s current capacity to develop salient policy, report and
investigate uses of force, could be a significant step backwards in their reform.
APD has not demonstrated the ability to properly train their officers in a timely
and meaningful manner in the past; therefore, this concept being introduced at
this stage will require a strategic approach to properly train officers and
supervisors to report, investigate and decide what actions constitute “De Minimis
force”. Since this concept was not mentioned to the monitoring team during its
June 2017 site visit, we doubt that it has been implemented strategically.
Defining the term and dropping it into a policy in the “definitions” section, with no
elaboration in the policy itself, and then simply communicating the definition to
APD officers and supervisors, has, in our opinion, little chance for positive
operational results. There are many issues APD must consider when
implementing such a concept.



56 SOP 2-55 “Use of Force Appendix” now contains a definition for “De Minimus Force” not
found in the CASA.
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To date, APD has struggled significantly in determining how to identify the
threshold for when an officer’s actions constitute force at the lower end, mostly
because they have failed to include basic terms of the CASA, specifically “un-
resisted handcuffing”. 57 To date, despite numerous suggestions, in numerous
settings, APD has yet to accept this relatively straightforward concept. 58 The
failure to accept this language has resulted in training gaps, operational
deficiencies and substantial confusion by officers and supervisors in the field.
Instead of accepting our past technical assistance, APD appears to have instead
turned to the concept of “De Minimis force” to accomplish the task. Equally
troubling is that APD trained “De Minimis force” before it was articulated, defined
and approved in clear APD policy, and before the concept was discussed with
the monitoring team. 59 To be clear, based on our experience with APD, the
monitoring team feels they could be traveling a path that leads to manifold
difficulties in training and operational compliance in the field.

We cannot emphasize enough how the improper implementation of the concept
of “De Minimis force” could result in further self-imposed obstacles on the path
toward operational compliance. The monitoring team has already seen one
instance where this concept was incorrectly applied in a use of force event 60,
and then was reinforced up to and including the command review of a case.
Command simply failed to grasp key issues involved with the De Minimis force
concept. Our concerns have already been communicated to APD.

As an example of how APD may have applied this concept incorrectly, or
incompletely, consider that the Seattle Police Department uses the term “De
Minimis force,” which is defined and articulated clearly and procedurally in its
use of force policy. However, Seattle PD also has a use of force reporting table
that specifically connects the term “un-resisted handcuffing” to “De Minimis
force” to help operationalize the concept and galvanize the types of actions
(meaning trivial or insignificant) that fall into that category. That metric was not
adopted by APD policy, and, while we understand that an SOP cannot be fully

57 CASA Paragraph 12yy - “Use of force” means physical effort to compel compliance by an
unwilling subject above un-resisted handcuffing, including pointing a firearm at a person.
(Emphasis added)
58 While on site in June 2017 the monitoring team met with APD’s use of force expert and broke
the concept of “…anything above un-resisted handcuffing” into three questions that could help
APD. Our technical assistance appeared to resonate with the instructor and it was clear our
suggested approach illuminated a training pathway for him. Specifically, we broke the issue into
a three-part assessment: 1) Is the officer handcuffing a suspect (or is the suspect handcuffed)?;
2) Is the suspect resisting arrest by APD definition?; 3) Is that officer performing any of the
activities that constitute force within their policy? We note that APD is not confined by this
calculus, but to date it seems unclear that they have attempted to break this force assessment
down in any manner. It was obvious that the APD use of force expert understood the technical
assistance and indicated he could translate it into training.
59 APD’s propensity to train “proposed policy changes” presents concerns and serves as a

means to confuse operations in the field. We have seen APD train “proposed policy changes” in
the past and highly discourage the practice.
60 The case is detailed herein.

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adopted from one agency to another, since agencies bring their own unique
needs and problems, we note that APD needs similarly “controlling and limiting”
language if the implementation of policy is to be effective. We are drawing no
conclusion on the effectiveness of this term and its operational use in any
organization other than APD. We know, from our experience, that APD regularly
falls short in its oversight of use of force, its ability to instill accountability as a
cultural principle, its capacity to objectively assess facts centered on uses of
force, and its ability to effectively train use of force concepts to officers and
supervisors. It is for that reason that we amplify this cautionary message to
APD.

Further we note that the tasks confronting APD are no different from those that
confronted LAPD and the Pittsburgh police, yet those agencies were able to
define, operationalize their definitions, train, supervise, and where necessary
discipline their way into compliance. The present APD approach of not
operationalizing their definitions through training, of developing substandard
training “plans” and documentation, of poorly assessing “learning,” and of poorly
supervising uses of force are a recipe for continuing failure.

In IMR-5, the monitoring team reported on a number of use of force cases that
contained deficiencies in performance, reporting errors, and failures to report
uses of force. In preparation of this report the monitoring team made specific
requests for data to determine what activities APD undertook to remediate
certain deficiencies we identified. Specifically, we asked for the following:

   1. “In IMR-5, [IMR-5-011& IMR-5-012] were incorrectly labeled as ECW
      cases. Please provide COB documentation if that administrative
      discrepancy was corrected.”

   2. “In IMR-5, [IMR-5-008] was deemed to have had unreported uses of
      force. Please provide copies of any/all COB documentation, internal
      memos and investigative reports related to APD follow up activities
      related to this case. Please include any APD training and/or counseling
      records of personnel involved, if they exist.”

With respect to cases [IMR-5-011 and IMR-5-012], APD prepared an Interoffice
Memorandum detailing their remediation efforts for the reporting discrepancies
in those cases. The memorandum, prepared by a Program Data Analyst within
Internal Affairs and dated May 22, 2017, details how APD's Blue team system
was incapable of differentiating between the display of an ECW and the
application of an ECW when an officer made an entry into the system. The
memorandum goes on to indicate that a selection entitled “ECW-Painting” has
been added to the system and is now being utilized in the field to properly
capture this data. The monitoring team is satisfied that this issue is being
remediated, but point out that this type of discrepancy has a direct impact on the
credibility of data collected by the organization since there may be other similar

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instances APD has not self-identified. 61 The issue of these specific cases being
improperly categorized defeats APD’s oversight measures, was only uncovered
when the monitoring team highlighted it, and diminishes monitoring efforts due
to data and methodology flaws. Simply put, even at this relative late date in the
reform process, APD has yet to build a critical self-assessment, analysis,
problem-identification, or problem-solving capacity when it comes to use of
force.

Conversely, the monitoring team is confounded by APD's lack of remediation
efforts with case [IMR-5-008], and feel APD has instead “doubled down” and
improperly applied and relied upon the term “De Minimis” to explain away a
reporting and investigative deficiency. 62 The case in question involved four APD
officers, one of whom utilized his ECW when assisting the other three, since
they were struggling with a suspect who was actively resisting arrest. The
subject was ultimately charged with myriad crimes including resisting an officer
and domestic abuse. The monitoring team noted in IMR-5 that APD only
reported the ECW as a use of force, and commented that three additional uses
of force went unreported in the same incident. We find it remarkable that APD
can charge an individual with resisting arrest, and at the same time contend that
no force was used in effecting the arrest. To anyone familiar with the basic
processes of policing, this contention simply defies all logic, yet APD continues
to insist no reportable force was used leading up to the use of the ECW.

In response to our request for additional information, APD submitted an
interoffice memorandum, dated May 1, 2017 (a date that was before the monitor
approved the definition of De Minimis in APD’s use of force policy submission)
that was prepared by an Area Commander. In his memorandum the
Commander stated, "In this case the first three Officers’ actions were considered
De-Minimis in nature and hence separate blueteam (sic) reports were not
completed." The Commander went on to reinforce his position by stating, "A
shortfall that I did identify is that the evaluation of the first three officers (sic) de-
minimis actions, which did not rise to a level that required a use of force entry,
should have been documented in BlueTeam.” The monitoring team views this
review as deficient, and based on the facts of the case clearly demonstrated that
the application of the term “De Minimis” in the context of a use of force is unclear
to APD officers and command-level staff. The Commander noted within his
report that a separate “Non-Use of Force” memorandum was prepared by a
lieutenant (Dated May 1, 2017, well after the original event) and was appended




61 We note that in another memorandum APD did self-identify additional cases that were
improperly reported, however, that does not satisfy potentially incorrect reporting over the past
several reporting periods that may still be unresolved.
62 In IMR-5 the monitoring team did not expound upon this case, but simply pointed out that
unreported uses of force existed. We fully expected that APD would review the case, recognize
the mistake and take remedial action. Apparently, that never happened.
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to his report. 63 It is unclear to what extent the Commander legitimately followed
up on this case. At best, the monitoring team views his effort as perfunctory and
as reflecting a lack interest in the remediation of a reporting error and
performance deficiency. We note that this Commander met with the monitoring
team while we were on site and we found him to be professional and engaging,
so it is particularly troublesome that his interpretation of the facts and
circumstances of this case would lead him to believe that the actions of the
officers did not rise to the level of a reportable use of force. 64 Based on our read
of the memorandum, we are equally concerned that he may have relied solely
on a review by his lieutenant instead of independently returning to the case to
review all the available data. Whichever is the case, the response reveals
significant issues relating to APD's ability to timely receive information and
properly remediate performance deficiencies on a 2016 case. 65 We note this
appears to continue to be a substantial and recurring issue, as described
elsewhere in this report.

The monitoring team was ultimately provided and reviewed the memorandum
prepared by an area command lieutenant, who was apparently tasked with
following up with this case. In his memorandum he stated, "I noted a couple of
times that the suspect was physically contacted by officers that were De Minimis
in nature and did not constitute a use of force.” As with case assessments we
have previously reported to APD, we could provide exhaustive detail as to the
events of the case, as well as comments made by officers within the case, to
illustrate why the actions of the three officers rose to the level of a use of force
under APD's use of force policy and the provisions of the CASA. We will not do
that here, but want to make clear that the memorandums prepared by these two
APD commanders, in our professional opinion, are not an accurate reflection of
the incident, nor do they adequately resolve many basic questions. 66 In our
opinion, they represent a deliberate attempt to “recast” the events documented
in this case and to minimize what, in our studied opinion, constituted clear and
convincing use of force. This is an exceptionally serious concern to the
monitoring team. In the calculus these Commanders used to determine that the
actions the officers were “De-Minimis” they do not resolve obvious conflicts of
facts. For instance: 1) If the first three officers’ actions were De Minimis, and a

63 The monitoring team was not provided a copy of the appended memorandum, despite the
unambiguous request we made for data. A subsequent, more specific, request was necessary
to obtain the “Non-Use of Force” memorandum that was prepared by the lieutenant.
64 This shortcoming is indicative of the type of assessments we reported on in IMR – 5, where
Command level reviews were found to be entirely deficient.
65 We note that the memo provided by the commander was dated May 1, 2017, and was

delivered in Microsoft Word. A review of the “properties” of the document indicate it was created
on June 19, 2017. It is unclear when the memo was created, but as we have seen in the past it
is most probable that it was created in response to our data request, which was delivered toward
the latter part of May 2017.
66 Had these commanders simply applied the basic concept that anything “above un-resisted

handcuffing” as defined in CASA paragraph 12yy, as well as “active resistance” as defined in
CASA Paragraph 12g, and “use of force reporting” as defined in CASA Paragraph 12aaa, it may
have been clearer to them.
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proportionate response to resistance they encountered from the suspect, then
how was it also objectively reasonable for the fourth officer to use his ECW
against the same suspect? 2) If the actions of the three officers were
reasonable, which the monitoring team believe they were, was the use of the
ECW by the fourth officer objectively reasonable and the minimum amount of
force necessary under the circumstances? 3) If so, how is that fact reconciled
against the notion that the officers were using “De Minimis” tactics before the
suspect was Tased? 4) If not, what was done to address the fact that an APD
officer used a Taser against a person whose actions only required a “De
Minimis” response by the first three officers? 5) How do the Commanders
reconcile that, during the event, the resistance by the subject was significant
enough that one of the first three officers called for the use of the ECW? These
issues are emblematic of the troubles APD is visiting on itself with the concept of
De Minimis force.

The Commanders either never considered, or ignored, the fact that the actions
of the suspect were significant enough that three officers could not control him.
In fact, the officer who ultimately used his ECW on the subject immediately
perceived the situation as needing an ECW response, thus debunking the notion
that the three officers’ could have been engaged in any type of “de minimis”
encounter with the suspect. Likewise, the actions of the suspect were so
significant that one of the initial three officers verbally called for the use of a
“Taser” during the altercation. 67

In the opinion of the monitoring team there were unreported uses of force that
have still gone unreported by APD, despite our expressed concerns. We also
believe that the actions of the initial three officers were objectively reasonable
under the circumstances. However, if APD views the actions of these three
officers as being “de minimis” in nature and not constituting a reportable use of
force, then their perspective has seriously problematic implications. [IMR-5-008]
will be followed up by the monitoring team during its next site visit to determine
what remediation efforts have occurred in terms of reporting, training, and
interventions for all members involved in this matter, inclusive of those who
reviewed this case. Inclusive in this follow-up in IMR-7, the monitoring team will
be looking for the specific learning elements in an APD training course the
supervisors/commanders relied upon in forming their rationale to support their
conclusions.

The monitoring team requested the data set for supervisory level use of force
cases that were reported between February 1, 2017, and July 31, 2017, to
conduct a comprehensive review of a sample of those cases. From that list we
intended to select a random sample of cases to review for a given reporting


67 Even after the initial use of ECW the three officers still struggled with the subject to the extent
that subsequent warnings were necessary so the suspect understood he would be “Tased”
again if he did not stop resisting.
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period. 68 However, in May 2017 we received an initial data set from APD where
they reported use of force cases. We immediately noticed a significant number
of cases that were incomplete dating back to the beginning of 2017. In past
data submissions, we found uninterrupted listings of case numbers, where in
this instance we observed significant gaps. 69 This caused the monitoring team
to suspend requesting specific cases to be reviewed for this reporting period.
As of August 2017, the monitoring team made the following observations of the
data reported by APD:

     1. APD reported a total number of 211 distinct use of force cases involving
        307 officers.
     2. As of August 1, 2017, none of the reported supervisory use of force cases
        for the months of May, June or July 2017 were completed!
     3. As of August 1, 2017, there were still approximately twenty (20) reported
        supervisory use of force cases pending from January 2017. 70
     4. Data was requested concerning reported show of force cases for the
        timeframe of February 1 through April 30, 2017. 71 When the data were
        reported in May 2017 there were still twelve (12) incomplete show of
        force investigations for the month of February.

The monitoring team feels these statistics demonstrate that APD’s oversight of
use and show of force has passed the point of critical failure. At this rate, the
quality of work associated with the investigation of cases will undoubtedly be
adversely impacted, given the passage of time. 72 Likewise, this type of case
backlog will undoubtedly result in instances of unaddressed performance
deficiencies (at all levels), out of policy uses of force, or even instances where
there is potential criminality on the part of officers. We see this as a clear,
serious and critical breakdown of oversight of use of force.

Review of Case [IMR6-001]

In preparation for its June 2017 site visit the monitoring team requested that
APD schedule a Force Review Board (FRB) meeting that centered on the review
of supervisory use of force investigations or serious use of force investigations

68  We note that we also made a request for use of force and show of force cases. However, the
factors that influenced our decision to not review those cases for this reporting period were not
fully understood until after the cases were received and reviews began.
69 During our site visit we learned that APD was now generating their case lists from Blue Team,
which presented the information in a complete manner.
70 We say “approximately”, instead of being more precise, due to the confusing manner in which
APD lists information. Regardless, numerous cases reported at the supervisory level are
pending in January 2017.
71 Because the data were presented differently, the data set reported on is more limited than the
cases of use of force; however, the numbers are further illustrations of the significant and
unacceptable investigative backlogs APD currently holds.
72 When reviewing cases for IMR-5 we noted one case in which a commander indicated that a
case was “delayed” due to him being 37 use of force cases behind!
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conducted by CIRT. Whenever possible, the monitoring team appreciates the
opportunity to sit in on routine meetings that are held by the FRB. Shortly after
our request, the monitoring team was made aware that, while we were on site,
the FRB would conduct a meeting that centered on the review of two serious
use of force cases. We requested materials related to those cases and were
provided a limited record. 73 We followed up with APD and requested that all
officer lapel videos associated with the case be provided, since the FRB was
only being provided a significantly condensed version of the available lapel
videos. It is important to note that the monitoring team did not dictate what
cases should be heard while we were on site; the cases were picked entirely at
the discretion of APD.

Case Facts: On May 10, 2016, an APD officer (O1) was detailed to a Walmart
for a reported shoplifting complaint. Upon his arrival, he met with store
employees and was provided a description of two suspects. Shortly thereafter,
the officer observed the two subjects walking out of the store, so he approached
them to investigate further. One suspect (S1) immediately ran away, while the
second suspect (S2) followed the officer’s directions and remained at the scene.
S1 was never identified or located, and S2 was placed into handcuffs. S2 was
charged with several crimes including fraud, identity theft and battery on a police
officer (et. al). S2 immediately alerted the officer to a preexisting injury to his
shoulder that made wearing handcuffs behind his back, and sitting in the patrol
car, painful. S2 exhibited an excited demeanor, and the officer’s ill-advised and
unprofessional attitude toward S2 appeared to contribute to, and exacerbated,
S2’s conduct, which quickly became combative and uncooperative.

On May 12, 2016, the officer's immediate supervisor prepared an Interoffice
Memorandum to a sergeant in CIRT indicating that he had just been told by
another supervisor that two days earlier O1 had been involved in a use of force
on a handcuffed person. As a result of that use of force, the suspect sustained
lacerations to the face and head. The supervisor indicated that he reviewed the
lapel video of O1 and identified actions that he believed “…fall within the
parameters of [an unreported] Serious Use of Force.”

On May 17, 2016, a CIRT detective forwarded an Interoffice Memorandum to his
sergeant, and simply alerted him to the fact that the Interoffice Memorandum
from the officer’s sergeant was received and that the Serious Use of Force
Report and 24-hour Notification reports to the Chief of Police were delayed.
There is no other indication that the CIRT detective conducted an independent
investigation at that time, despite the fact that O1’s supervisor alerted CIRT to
an unreported serious use of force.

73 Despite numerous recommendations that the FRB review a complete data set for cases they
hear in their meetings, the FRB continues to review a limited record. Specifically, the FRB relies
entirely on reports, presentations by CIRT and watching condensed clips of lapel videos (instead
of all available officer lapel videos). We have seen this as a critical failure on the part of APD
since the monitoring team has consistently found performance deficiencies by watching the
complete inventory of officer lapel videos relative to specific incidents.
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On July 11, 2016, a CIRT sergeant submitted an Interoffice Memorandum to the
Commander of the Professional Accountability Division requesting an extension
for the investigation. He wrote, “The reason for this request is to have the report
completed prior to submitting it to the Force Review Board to ensure compliance
with policy and procedure.” In his memorandum, the sergeant incorrectly
referred to the event as a use of force, not a serious use of force. Despite
obvious and serious policy violations APD failed to initiate an internal affairs
investigation.

On March 10, 2017, by way of interoffice memorandum, an APD CIRT lieutenant
unilaterally “suspended” the provisions of a monitor approved policy related to
misconduct investigations. His memo indicated that from that point forward, if
misconduct is identified by CIRT during a serious use of force investigation, the
CIRT detective would retain the investigation of misconduct and not refer the
case to IA, 74 a direct violation of approved policy. We are simply befuddled that
a lieutenant would, and more importantly could, “suspend” approved policy in
this matter.

The investigation into this serious use of force lay dormant, with no investigative
steps by CIRT, until February 2017, an unexplained delay of seven months! 75
The investigation was not submitted by the CIRT detective until April 28, 2017
(Nearly a year after the event). The CIRT detective identified numerous policies
violations, but determined that the use of force against a handcuffed person was
reasonable!

The case was reviewed by a CIRT lieutenant on April 28, 2017. The lieutenant
wrote, “… Forcefully pushing an individual into the wall, where the individual has
no ability to break that contact, raises the level of intrusiveness and risk.” The
lieutenant comes up short of finding that the force was not objectively
reasonable, but noted a recommendation to the FRB that the case be referred to
the Chief of Police for discipline and/or corrective action.” At this point APD still
had not initiated an internal affairs investigation.

On May 4, 2017, the IA Commanding Officer prepared a report and outlined
issues with the investigation. He noted an “apparent out of policy use of force”
(though not specific) and how the officer’s actions contributed to the need to use
force. He acknowledged the lack of timeliness of the investigation, and noted

74  The process by which APD moves serious use of force investigations and the investigation of
misconduct around was self-imposed. The monitoring team has commented about the
inefficient manner in which APD approaches these cases on numerous occasions. The issue is
not the appropriateness of the content of the CIRT lieutenant’s memorandum, it's the fact that
APD unilaterally suspended the provisions of a monitor-approved policy. Also, APD did not alert
the parties to the action, or communicate the change in procedure internally to its own members.
It remitted to the monitor the function of “catching the error.”
75 We note that the Evidence.com audit logs show the officer’s lapel video was reviewed by APD
and a city attorney in October and November 2016.
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that he conducted a review of O1’s activities; his review showed that O1 was the
“…top user of force for a six-month period from November of 2016 through April
2017.” At this point APD still had not initiated an internal affairs investigation!

The following is a non-exhaustive list of issues and failures related to the use of
force, force reporting, supervisory investigation, CIRT investigation, and FRB
oversight.

Failure to Report Force

1. O1’s attitude and demeanor was unprofessional from the beginning of the
   incident and contributed to the need to use force against a person.
2. O1 failed to properly address the complaints of pain by S1, and simply
   ignored and dismissed his complaints.
3. O1 failed to report a use of force at the scene of the Walmart.
4. O1 used force against a handcuffed person at the police station by forcefully
   swinging the handcuffed suspect face-first into a masonry wall. Since S1
   was defenseless because he was handcuffed (hands posterior), the actions
   of O1 caused obvious injuries to the suspect’s face and head. O1 failed to
   report the serious use of force.
5. In the memorandum prepared by O1’s immediate supervisor he wrote,
   “(Supervisor 2) did not recognize the incident as a serious use of force and
   was going to initiate a general use of force investigation, which explains the
   delay in notifying CIRT.” This is not supported by the statement by
   Supervisor 2 or the investigation later conducted by CIRT, and could
   constitute false reporting by Supervisor 2.
6. O1 wrote a report related to the uses of force inconsistent with the facts.
   O1’s supervisor approved O1’s initial report with the inconsistencies.
7. Supervisor 2 failed to address O1’s use of force or serious use of force when
   it occurred.
8. Supervisor 2 failed to accept a complaint from S1 that O1 slammed his head
   against a wall.
9. At no point is there any intervention by a lieutenant or commanding officer
   that supervises the sergeants and officers involved in this case. The initial
   interactions appear to be confined to sergeants from an area command and
   CIRT. To date, we have been presented with nothing that suggests that the
   lieutenant or Commander responsible for this Area Command interceded to
   ensure that proper accountability occurred.

CIRT Investigation Follow Up

1. CIRT failed to immediately initiate an internal affairs misconduct
   investigation, despite obvious and serious policy violations.
2. The investigation conducted by the CIRT detective did not constitute a
   legitimate IA investigation and can best be described as a quasi-IA
   investigation.

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3. CIRT failed to actively investigate an obvious serious use of force (that went
    unreported initially) for approximately 8 months.
4. A CIRT detective found reasonable an obvious out of policy serious use of
    force.
5. A CIRT detective failed to identify a use of force.
6. A CIRT detective failed to identify all policy violations associated with the
    case.
7. A CIRT detective failed to obtain a prosecution declination from the District
    Attorney before interviewing O1. This placed both the investigation and the
    officer’s rights in jeopardy.
8. During his interview of O1 the CIRT detective allowed the officer to read his
    own Garrity rights into the record. 76
9. A CIRT detective and chain of command failed to identify obvious candor
    issues on the part of the officer.
10. Despite the CIRT detective identifying numerous policy violations against O1
    and two sergeants he stated, “Due to multiple policy violations, the case will
    be reviewed by the Force Review Board for any follow up actions at that
    time.” By policy (and by accepted practice) there should have been an
    immediate referral to IA for an investigation.
11. There are obvious inconsistencies in and between the recorded CIRT
    statements of O1 and the supervisors.
12. CIRT failed to interview the other officers that where present in the station
    when S1 was under arrest.

IA Supervision and Investigation Follow Up

1. IA leadership failed to properly supervise this investigation and hold
   accountable CIRT personnel for failing to properly investigate the event.
2. IA allowed an unreported serious use of force to go uninvestigated for more
   than 8 months, thus impacting officer and supervisor accountability.
3. IA failed to initiate an internal investigation when they became aware of
   numerous, serious policy violations. Instead, the case was deferred to a
   FRB meeting on June 14, 2017 (more than a year after the event).
4. IA failure may lead to an inability to discipline an officer for using excessive
   force against a handcuffed person.
5. IA failed to identify obvious candor issues within the report and interview of
   O1.

FRB Meeting

1. The FRB failed to review a full investigative record to make a meaningful
   determination.
2. The CIRT lieutenant described the officer’s actions as an “unreasonable
   application of force”.


76   APD has struggled significantly with the proper application of Garrity rights.
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3. A member of the FRB expressed concern that APD introduced an
   assessment of the officer’s force that was unrelated to the case at hand.
   Consequently, he felt voting by the board may be tainted. An APD
   commanding officer argued against that perspective.
4. When the meeting began the Chairperson of the FRB asked if everyone had
   an opportunity to review the videos associated with the case. That question
   was met by a positive response in the room. Later in the meeting, when the
   presentation of the case was obviously becoming unraveled, a member of
   the monitoring team asked a similar question about whether the FRB
   members watched all the videos associated with the investigation, some
   members shook their heads no, others remained silent and one said
   explicitly that they could not open some of the videos.
5. The presentation by CIRT at the FRB meeting was not an accurate reflection
   of the event, thus validating the monitoring team’s recommendation that FRB
   members review all available data for a case.
6. It was obvious to the monitoring team that aside from members of CIRT and
   IA, other members of the FRB were unaware that CIRT unilaterally
   suspended provisions of the SOP related to misconduct investigations.
7. APD self-imposed a practice where the FRB is not a “safety net” to ensure
   an IA referral resulting from a use of force occurred (when appropriate), or
   that the lower level assessments of force were appropriate, but instead a
   place to make those types of determinations. Building a system in that
   manner is unsustainable and creates an atmosphere where performance
   management is ineffective and accountability nearly non-existent.
8. The case was centered on the use of force, thus omitting the many other
   policy violations that existed. Had the officer’s force been deemed
   reasonable by the FRB, it appears unlikely that the case would have been
   advanced to IA for other charges.

The 44 failures associated with this case cross commands, ranks and
organizational disciplines, and represent clear systemic failures in APD’s force
oversight. It seems inconceivable, given where we are in this multi-year process
(half-way through the four-year proposed life cycle of the CASA) that APD could
commit a combined 44 errors in a case that involves a clear and compelling set
of facts indicating serious applications of force against a handcuffed prisoner.

Numerous members of the organization interacted with this case up to and
including the June 14, 2017 FRB meeting and no commander interceded to
ensure the case was properly handled. Following the FRB meeting, members of
the monitoring team interacted with several APD personnel, all of whom
expressed some degree of embarrassment or confusion over the handling of the
case. In the summer of 2016 the monitoring team prepared a Special Report
outlining systemic failures by APD when addressing a specific series of uses of
force and a serious use of force incident by two officers. At the time, APD took
umbrage to the notion that systemic and cultural issues existed within the
department. Instead, APD suggested that the monitoring team was not taking
into consideration significant strides the organization had made following the
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delivery of use of force and force investigation training courses. 77 It is important
to note, those conversations occurred at the same point in time as the case
reported here was being mishandled alarmingly. If so inclined, the monitoring
team could write a Special Report about this case that rivals that which we
prepared in 2016. The cases related to the 2016 Special Report were
mishandled, and when done, APD’s IA admitted that the time for disciplining the
officers in those cases had passed; APD instead would have to rely on
misconduct in subsequent cases involving the same officer to execute discipline.
The case reported here may result in the same outcome, especially since the
monitoring team has been advised the officer in this case was APD’s top user of
force for a six-month period from November 2016 through April 2017. 78 It is
unclear what follow-up activities APD took toward this officer, or others, after
discovering this fact about O1. The monitoring team will request evidence that
APD has conducted legitimate remedial action with respect to O1 and other
personnel that demonstrated performance deficiencies in this matter, including
supervisory and command level officers.

We did review counseling memorandums prepared by an APD major to
members of IA and CIRT following the June 14, 2017, FRB Meeting. The
monitoring team does not find the effort at remediation compelling, and instead
believe it was done improperly and incompletely. APD continues to react tepidly
to critical mistakes involving important CASA related activities, and therefore,
should not be surprised if meaningful change in performance does not occur.
We are, frankly, befuddled by such timid and ineffectual supervisory, command,
and executive responses to clear and convincing violations of policy and
potential criminal activity.

The monitoring team specifically requested APD provide official documents or
communications from the FRB following the June 14, 2017, FRB meeting. We
were interested to see what activities they took to remediate the issues that
existed. We were provided a one-page Interoffice Memorandum, dated June 15,
2017, entitled, “Request for an Administrative “I” Number. The memorandum
listed a number of policy violations by O1, as well as one other officer and two
supervisors associated with the case. As noted above, we are also aware that
counseling memorandums were delivered to two IA/CIRT personnel. The
monitoring team could comment extensively about the shortcomings of these
responses, but will reserve comment until APD reports that it has completed its
efforts to remediate the performance deficiencies for all officers, detectives,
supervisors and commanding officers. Shortly after the June 14, 2017, FRB
meeting, APD was put on notice that there were significant concerns with the
handling of the case. The monitor requested that APD provide a plan for

77 We note that those cases were deemed deficient and still have outstanding gaps. We alerted
APD to issues with the training prior to the delivery but APD plunged forward in spite of technical
assistance the monitoring team attempted to provide.
78 It is unclear is a more comprehensive analysis was completed for this officer for other periods
of time, specifically, the time frame when the event in this case occurred.
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addressing the many facets of the case that need to be handled, but none was
ever presented for review. We consider this clear and convincing deliberate
non-compliance.

In IMR-5 the monitoring team provided general, but common, issues we
observed when we conducted our reviews of cases. Some of those
observations included:

•    A significant issue is the manner [in which] supervisors approach suspects to
     get statements concerning the use of force. We saw a situation (that was
     particularly troubling) where, in our opinion, the supervisor’s approach and
     demeanor toward the suspect would not reasonably lead to the suspect
     providing a statement concerning the use of force.
•    We encountered instances where all uses of force within a same event were
     not reported and investigated as force. Instances where the focus of an
     investigation was on an ECW deployment and there was a failure to
     document physical force in the same event.
•    Failures to address how an officer conducted the initial contact and how that
     may have contributed to the need to use force.
•    Failure to address tactical issues in a timely manner. In one case, a specific
     officer failed to properly control a situation by separating a suspect from
     potential victims/witnesses. That loss of control of the situation was a
     contributing factor to him ultimately resorting to an ECW deployment.
•    Some information in reports was not consistent with the videos we reviewed,
     for instance, in one case the officer documented that he asked to pat a
     suspect down, when in fact he told the suspect he was going to pat him
     down. This same officer did not identify what his reasonable articulable
     suspicion was to believe that the suspect was armed with a weapon. 79
•    In a case involving a highly-intoxicated person, while placing the suspect in
     the back of the patrol car (while handcuffed) the suspect’s face struck the top
     of the door frame and he fell to the ground. The officer should have taken
     more care after the initial incident, but didn’t, and when trying to put the
     person in the back of the car their face hit the top of the door frame a second
     time. This was not properly addressed during the chain of command
     reviews.
•    In one case supervisors at every level failed to adequately reconcile an injury
     to a suspect’s eye against officer actions that were obvious from review of
     the officer’s lapel video. 80
•    A commander indicated that a case was “delayed” due to him being 37 use
     of force cases behind.

79 We saw in more than one case that officers fail to properly articulate their RAS for conducting
a frisk.
80 The officer’s actions in the case were not unreasonable, but the chain of command seemed
predisposed to attribute an injury to an event that occurred prior to the officers arriving on the
scene. At an absolute minimum, the officer’s actions had to be addressed and discussed as a
possible contributing factor to the injury.
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•    A supervisor and the chain of command missed a material
     inconsistency in a report. One officer documented in his report that a
     suspect (who had resisted arrest and was handcuffed) lunged at the
     door with his head while being walked outside a business
     establishment in handcuffs. We saw on a lapel video that the suspect
     apparently struck the door with his face/head area, and that there was
     a vocal reaction by the suspect, but it was not identified or addressed
     by the supervisor or chain of command. 81 That factor and
     inconsistency among reports was not noted and addressed at any
     level of supervision. We also noted that it is documented in one report,
     but not in the reports of other officers that were in the position to see
     it.

We requested data from APD to demonstrate that issues (as listed
above) were addressed appropriately by APD following the delivery of
IMR-5. In the opinion of the monitoring team, the data submitted does
not adequately address monitor remarks, or address performance
deficiencies, but constitutes a half-hearted, “check the box” response by
APD. Frankly, we do not believe APD knows what to do at this point, and
may be overwhelmed as new use of force cases and monitor feedback on
cases accumulate behind them. We believe that progress has been
made to address the significant backlog of CIRT serious use of force
cases, but if the work done to accomplish that task is commensurate with
that we saw in [IMR6-001] then APD must question “What was actually
accomplished?” In the opinion of the monitoring team, providing more
feedback on cases to APD for this reporting period would have marginal
value at best. We believe APD has reached a point where they are over-
saturated with annotated errors and omissions. We see it as critical that
the agency rethink and re-assess its entire use of force oversight system
and the attitudes of supervisors and commanders within that system. To
date, this is the most mission-critical deficiency we have noted in the
agency: supervisory, managerial, and executive personnel often do not
realize excessive, unwarranted and/or improper use of force when they
see it.

4.7.28 Assessing Compliance with Paragraph 41: Use of Force
Reporting Policy

Paragraph 41 stipulates:

“APD shall develop and implement a use of force reporting policy
and Use of Force Report Form that comply with applicable law and
comport with best practices. The use of force reporting policy will

81 The event itself was obvious to the monitoring team when watching the lapel video of an
officer walking behind two officers that were escorting the suspect outside. It is unknown how it
could be missed by the chain of command, especially because it was specifically noted in one of
the officer’s reports.
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require officers to immediately notify their immediate, on-duty
supervisor within their chain of command following any use of
force, prisoner injury, or allegation of any use of force. Personnel
who have knowledge of a use of force by another officer will
immediately report the incident to an on-duty supervisor. This
reporting requirement also applies to off-duty officers engaged in
enforcement action.”

Methodology

APD SOP’s related to use of force 82 (2-52 “Use of Force”; 2-53 “Electronic
Control Weapon”; 2-54 “Use of Force Reporting and Supervisory Force
Investigation”; and 2-55 “Use of Force Appendix”) were previously approved by
the monitor and were due for review and revision in December 2016. The
update of APD’s use of force suite of policies remained pending until June 2017,
when the monitor approved each of the four (4) use of force related policies.
This delay was due principally to “debates” by APD regarding what constituted
approvable policy on these topics. While the policies included substantive
structural changes (i.e. The use of force “Definitions” section of SOP 2-52 was
moved to the front of SOP 2-55), certain critical topics that have lingered for
APD were resolved 83 in terms of policy provisions: Specifically, 1) “Low Ready”
was defined to help clarify what constitutes a reportable show of force; and 2)
“Show of Force” was defined better and supervisor investigative responsibilities
relating to Show of Force events were delineated 84 in SOP 2-54-5-B (These
issues had been significant obstacles to APD’s compliance efforts).

The monitoring team made three separate data requests related to this
paragraph and reviewed submissions that APD made in response to those
requests.

Results

In Paragraphs 87 and 88, we report outstanding training gaps that exist
for APD that are applicable to this Paragraph. We will not repeat here
those comments set forth in Paragraphs 87 and 88 in this section.
Instead, one issue will be addressed to demonstrate how recurring or
unresolved training gaps are obstructing reasonably good efforts to gain
Secondary Compliance.

Previously we noted that APD’s “blank sheet” approach to report writing
lacked the structure commonly used to ensure reporting consistency and

82 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
83 Our intent here is to list changes to the policies that are relevant to this paragraph and not

every policy change that occurred.
84 Later we comment about our concern that APD leaving a supervisor response to the scene of
a show of force up to their discretion as a probable critical shortcoming in their operating
procedures.
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completeness in a wide range of settings. We suggested, and have seen
APD shift to implementation of checklists. We previously noted that SO
16-99 made mandatory the use of the job aids (checklists) that were
introduced during the "Standardizing Use of Force Investigations" course
that was delivered in December 2016.

We have commented in past reports on the importance of reviewing a
complete record of lapel videos at the command level as well as with the
Force Review Board. We recognize the burden this places on higher
levels of review, since they are the central review point for all uses of
force under their scope of influence. However, as demonstrated in
[IMR6-001] (and evidenced in case reviews we conducted for IMR - 5)
there are still significant shortcomings in APD officers reporting and
supervisors identifying uses of force. By only requiring bookmarked
sections to be reviewed at the command level, APD's reliance upon
frontline and chain of command reviews will be critically important to their
Operational Compliance. We noted in IMR-5 the lack of effectiveness of
supervisory, mid-management, and command reviews, and consider this
a critical issue moving forward.

We caution again, that this could ultimately impact APD in the future and
we see this as something essential for them to regularly assess and
consider fully as they move forward. We have provided technical
assistance in this area, but have not seen evidence that APD has
operationalized any suggestions the monitoring team has provided. We
continually see many of our suggestions simply ignored or marginalized.
Specifically, we have recommended on numerous occasions that APD
consider implementing an independent “Review Team” whose sole
responsibility is to conduct reviews of uses of force and serious uses of
force cases. This team of APD personnel would review all cases of
reported uses of force, and provide, presumably, an independent
assessment of cases across the organization. This would also help APD
with disparate handling of cases across organizational commands. While
the FRB should serve that purpose, we have not seen evidence that the
FRB is capable of addressing that issue. Nor do we find it willing to do
so.

Parenthetically, the monitoring team discussed this concept with a Deputy
Chief following the IMR-6 reporting period and believe that he is having
internal discussions on this topic. The Deputy Chief hoped to have a
team of people working from his office who will conduct directed and
random reviews of use of force cases. Had he been successful,
significant change would have occurred gradually, and APD should have
seen positive dividends in the future. We cautioned the Deputy Chief that
adding a level of review is less important than ensuring that the reviews
they conduct are truly objective and a “legitimate” assessment. If not, the
effort will end up as an exercise in futility. Based on current information
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available to the monitoring team, that review process was never approved
and implemented by the chief of police.

During past reporting periods the monitoring team conducted in-depth
reviews of APD use of force cases that involved various types of force.
The results of those case reviews were communicated to APD for
consideration as they continued to implement new policy provisions
through training and operational oversight. For IMR -5 the monitoring
team conducted in-depth case reviews for this paragraph and the
calculated compliance rate for sixteen (16) use of force cases was 75%.

Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that the revisions pertinent to this
paragraph were introduced while APD remained in non-compliance on
training, the new policy provisions have a direct impact on APD’s
Secondary Compliance status for this reporting period. Based on our
review of materials, APD remains in Primary Compliance with respect to
this paragraph, and additional work continues to be needed to bring all
related use of force training into alignment with the CASA. Training on
these topics has been fragmentary, disjointed and piecemeal, and needs
to be completely reassessed, revised, and reviewed by APD to ensure
that all applicable elements of the CASA’s use of force paragraphs are
covered. We strongly caution APD that “gap training” mistakes not be
repeated in this new training calculus, and that training is supported with
actual lesson plans responsive to the GO-MAPS process we have
outlined for APD’s training personnel on multiple occasions: Goals,
Objectives, Measures, Assessments, and Product that has
Sustainability. Despite our repeated admonitions to the Academy, the
City has simply refused to provide consistent proposed training product
in a manner that complies with standards and practices in the field. The
results of those refusals are training “plans” that have no resemblance to
accepted work product related to organization, structure, and content of
law enforcement training plans. We have repeatedly reminded the City
and the management cadre at the Academy of this deficiency. We have
reason to believe this continued non-compliance is deliberate.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.28a: Ensure that all lapel video is viewed at
some point by trained and effective review staff, and that any noted
“policy outliers” are noted, in writing, and forwarded up the chain
of command.

Recommendation 4.7.28b: Ensure that Area Commanders consider
and track these “policy outliers” as part of their command
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oversight function, e.g., increasing “review rates,” increasing
supervisory field contacts with triggered personnel, increasing
report review and assessment frequency for triggered personnel,
assigning remedial training, ordering increased review frequencies,
etc.

Recommendation 4.7.28c: APD should implement a “Review Team”
that is an extension of the Chief’s office, whose sole responsibility
is to review complete records of random and directed use of force
cases. Those reviews should be reported directly to the Chief of
Police to ensure the organization’s strategic intent related to the
CASA is being implemented.

Recommendation 4.7.28d: Revise training academy work
processes related to use of and supervision of the use of force
training by developing lesson plans congruent with national
practice, and ensure that all training product conforms to the
processes articulated in response thereto.

4.7.29 Assessing Compliance with Paragraph 42: Force Reporting
Policy

Paragraph 42 stipulates:

“The use of force reporting policy shall require all officers to provide a
written or recorded use of force narrative of the facts leading to the use of
force to the supervisor conducting the investigation. The written or
recorded narrative will include: (a) a detailed account of the incident from
the officer’s perspective; (b) the reason for the initial police presence; (c) a
specific description of the acts that led to the use of force, including the
subject’s behavior; (d) the level of resistance encountered; and (e) a
description of each type of force used and justification for each use of
force. Officers shall not merely use boilerplate or conclusory language but
must include specific facts and circumstances that led to the use of
force.”

Methodology

APD SOP’s related to use of force 85 (2-52 “Use of Force”; 2-53 “Electronic
Control Weapon”; 2-54 “Use of Force Reporting and Supervisory Force
Investigation”; and 2-55 “Use of Force Appendix”) were previously approved by
the monitor and were due for review and revision in December 2016. The
update of APD’s use of force suite of policies remained pending until June 2017,
when the monitor approved each of the four (4) use of force related policies.
While the policies included substantive structural changes (i.e. the use of force
“Definitions” section of SOP 2-52 was moved to the front of SOP 2-55), and

85 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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certain critical topics that have lingered for APD were finally resolved, 86 in terms
of policy provision: Specifically, 1) “Low Ready” was defined to help clarify what
constitutes a reportable show of force; and 2) “Show of Force” was defined
better and supervisor investigative responsibilities relating to Show of Force
events were delineated 87 in SOP 2-54-5-B (This has been a significant obstacle
to APD’s compliance efforts).

Results:

The requirements in Paragraph 42 are included in APD’s approved suite
of force-related policies that recently received monitor approval.

During past reporting periods the monitoring team conducted in-depth
reviews of APD use of force cases that involved various types of force.
The results of those case reviews were communicated to APD for
consideration as they continued to implement new policy provisions
through training and operational oversight. For IMR -5 the monitoring
team conducted in-depth case reviews for this paragraph and the
calculated compliance rate for sixteen (16) use of force cases was 38%.
As demonstrated in [IMR6-001] for this reporting period (and evidenced
in case reviews we conducted for IMR-5) there are still significant
shortcomings in APD officers reporting and supervisors identifying uses
of force.

Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that the revisions pertinent to this
paragraph were introduced while APD remained in non-compliance, the
new policy provisions have a direct impact on APD’s Secondary
Compliance status for this reporting period. Based on our review of
materials, APD remains in Primary Compliance with respect to this
paragraph, and additional work is needed to bring all related use of force
training into alignment with the CASA.


        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance

Recommendation 4.7.29a: Prioritize the most frequent and most
serious use of force “misses,” and develop a response plan, using



86Our intent here is to list changes to the policies that are relevant to this paragraph and not
every policy change that occurred.
87 Later we comment about our concern that APD leaving a supervisor response to the scene of
a show of force up to their discretion as a probable critical shortcoming in their operating
procedures.
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the Completed Staff Work model, and present the results to the
Chief of Police for review, comment, and action.

Recommendation 4.7.29b: Continue these prioritized reviews until
the error rate drops below five percent.

Recommendation 4.7.29c: APD should implement a “Review Team”
that is an extension of the Chief’s office, whose sole responsibility
is to review complete records of random and directed use of force
cases. Those reviews should be reported directly to the Chief of
Police to ensure the organization’s strategic intent related to the
CASA is being implemented.

4.7.30 Assessing Compliance with Paragraph 43: Reporting Use of
Force Injuries

Paragraph 43 stipulates:

“Failure to report a use of force or prisoner injury by an APD officer shall subject
officers to disciplinary action.”

Methodology

APD SOPs related to use of force 88 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained pending until June 2017, when the monitor approved
each of the four (4) use of force related policies.

Results

The requirements in Paragraph 43 are included in APD’s approved suite
of force-related policies that remain under review and are pending
approval.

During past reporting periods the monitoring team conducted in-depth
reviews of APD use of force cases that involved various types of force.
The results of those case reviews were communicated to APD for
consideration as they continued to implement new policy provisions
through training and operational oversight. For IMR -5 the monitoring
team conducted in-depth case reviews for this paragraph and the
calculated compliance rate for sixteen (16) use of force cases was 75%.

88 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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As demonstrated in [IMR6-001] (and evidenced in case reviews we
conducted for IMR-5) there are still significant shortcomings in APD
officers reporting, and supervisors identifying, uses of force, and
accurately reporting injuries to persons they arrest.

Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that the revisions pertinent to this
paragraph were introduced while APD remained in non-compliance, the
new policy provisions have a direct impact on APD’s Secondary
Compliance status for this reporting period. Based on our review of
materials, APD remains in Primary Compliance with respect to this
paragraph, and substantial additional work is needed to bring all related
use of force training into alignment with the CASA.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.77.30a: Identify, in routine monthly reports,
officers who failed to report, or incompletely reported, a given Use
of Force, and supervisors who missed that failure, and provide
appropriate progressive discipline to the officers, supervisors, and
commanders.

Recommendation 4.77.30b: Reports responsive to this
recommendation should be compiled as part of APD’s CASA-
required reports, along with a listing of corrective responses
required by APD.

Recommendation: 4.77.30c APD should implement a “Review Team”
that is an extension of the Chief’s office, whose sole responsibility
is to review complete records of random and directed use of force
cases. Those reviews should be reported directly to the Chief of
Police to ensure the organization’s strategic intent related to the
CASA is being implemented.

4.7.31 Assessing Compliance with Paragraph 44: Medical Services
and Force Injuries

Paragraph 44 stipulates:

“APD policy shall require officers to request medical services immediately when
an individual is injured or complains of injury following a use of force. The policy
shall also require officers who transport a civilian to a medical facility for
treatment to take the safest and most direct route to the medical facility. The
policy shall further require that officers notify the communications command
center of the starting and ending mileage on the transporting vehicle.”


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Methodology

APD SOP’s related to use of force 89 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained pending until June 2017, when, after protracted
discussions and revisions, the monitor approved each of the four (4) use
of force related policies.

Results

The requirements in Paragraph 44 are included in APD’s approved suite
of force-related policies that recently received monitor approval.

During past reporting periods the monitoring team conducted in-depth
reviews of APD use of force cases that involved various types of force.
The results of those case reviews were communicated to APD for
consideration as they continued to implement new policy provisions
through training and operational oversight. For IMR-5 the monitoring
team conducted in-depth case reviews for this paragraph and the
calculated the compliance rate for sixteen use of force cases; that
compliance rate was 92%. As demonstrated in [IMR6-001] (and
evidenced in case reviews we conducted for IMR-5) there are still
significant shortcomings in APD officers reporting and supervisors
identifying uses of force, and accurately reporting injuries to persons they
arrest. These difficulties reach all the way to APD’s Force Review Board.
That said, we see APD officers routinely requesting medical assistance
when force is used against a person. That is a positive change that
should be continually reinforced by commanders in the field.

Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that the revisions pertinent to this
paragraph were introduced while APD remained in non-compliance, the
new policy provisions have a direct impact on APD’s Secondary
Compliance status for this reporting period. Based on our review of
materials, APD remains in Primary Compliance with respect to this
paragraph, and additional work is needed to bring all related use of force
training into alignment with the CASA.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

89 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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Recommendation 4.7.31a: Compliance statistics were near full
compliance, and outliers appear to be unusual, which would
mitigate for counseling of the individual officers(s) involved, rather
than full-scale organizational or unit interventions.

Recommendation 4.7.31b: APD should implement a “Review Team”
that is an extension of the Chief’s office, whose sole responsibility
is to review complete records of random and directed use of force
cases. Those reviews should be reported directly to the Chief of
Police to ensure the organization’s strategic intent related to the
CASA is being implemented.

Recommendation 4.7.31c: APD should conduct a detailed failure
analysis of use of force cases that do not meet the requirements of
the CASA (noted in detail in every monitor’s report) and identify
where the failure(s) occurred, what caused the failure (policy-
training-supervision-oversight).

Recommendation 4.7.31d: Where failures “cluster,” in the reporting
for 4.7.31c, above, APD should prepare Completed Staff Work
documents identifying the failures, the cause of the failures, and
providing recommendations for policy, training, structural, or
disciplinary responses to each failure.

4.7.32 Assessing Compliance with Paragraph 45: OBRD Recording
Regimens

Paragraph 45 stipulates:

“APD shall require officers to activate on-body recording systems
and record all use of force encounters. Consistent with Paragraph
228 below, officers who do not record use of force encounters
shall be subject to discipline, up to and including termination.”

Methodology

Members of the monitoring team reviewed SOP 1-39 Use of On-Body
Recording Devices, and subjected it to best established-practices in the
field, and to the requirements stipulated in the CASA. The monitoring
team provided extensive technical assistance to APD to guide
development of policies that would meet the provisions of the CASA.

Results

APD was found in non-compliance on this task in IMR-5, and to date we
have seen no substantive work product that indicate that any of the

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remedial work we recommended in IMR-5 has been started or
completed. APD remains in non-compliance for secondary and
operational levels.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

4.7.33 Compliance with Paragraph 46: Force Investigations

Paragraph 46 stipulates:

“All uses of force by APD shall be subject to supervisory force
investigations as set forth below. All force investigations shall
comply with applicable law and comport with best practices. All
force investigations shall determine whether each involved
officer’s conduct was legally justified and complied with APD
policy.”

Methodology

We note that the use of force polices were due for review and revision in
December 2016. Substantive issues previously reported in IMR-5 needed
to be resolved with respect to APD policies related to use of force before
the policies can be approved. Previously noted training gaps need to be
resolved for APD to achieve Secondary Compliance.

Results

The update of APD’s use of force suite of policies remained pending until June
2017, when the monitor finally was able to approve each of the four (4) use of
force related policies. While the policies included substantive structural changes
(i.e., the use of force “Definitions” section of SOP 2-52 was moved to the front of
SOP 2-55), certain critical topics that have lingered for APD were resolved in
terms of policy provisions. Some of the more critical changes to the policies
resulted in the inclusion of “Distraction Techniques” as a reportable use of force;
“Low Ready” was defined to help clarify what constitutes a reportable show of
force; “Neck Hold” was further defined and clarified; SOP 2-54-5-B now contains
a better definition of “Show of Force” and supervisor investigative responsibilities
relating to Show of Force events were better delineated, and “De Minimis force”
was introduced into APD policy.

In Paragraphs 87 and 88, we report outstanding training gaps that exist
for APD that are applicable to this Paragraph. As noted in these
Paragraphs, the monitoring team reviewed training curriculum,
specifically the 2017 Use of Force Review, that contained topics relevant
to this Paragraph. While all of the issues set forth in Paragraphs 87 and
88 will not going to be restated in this section, one issue will be
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addressed to demonstrate how recurring or unresolved gaps are
obstructing reasonably good efforts to gain Secondary Compliance.

This issue or gap has been APD's ability to adequately train the concept
of "un-resisted handcuffing” as a de facto line of demarcation when
determining whether an officer's actions constitute a reportable use of
force. In the opinion of the monitoring team, the 2017 Use of Force
Review training did not address the specific training gap we have
identified relative to “un-resisted handcuffing.”

We note that the foregoing open training issues have direct influence on
the Secondary Compliance of numerous other paragraphs. After careful
analysis and review, we find APD not in Secondary Compliance with this
Paragraph.

In looking forward to the next monitoring period, it should be noted that a
number of documents submitted pursuant to data requests from the
monitoring team for this reporting period were not completely responsive
to the data requests and often did not adhere to the period of time listed
in the data requests. As an example, a data request asked for
documentation for organizational assessment or remedial training during
the period of February 1 through April 30, 2017 that was responsive to
the Paragraph 46 commentary in IMR-5. An electronic folder for “April
2017” received by the monitoring team contained Additional Concerns
Memos (ACM’s) pertaining to OBRD’s (not mentioned in the Paragraph
46 commentary in IMR-5) from November and December 2016, as well
as ACM’s from February and March of 2017, but nothing from April
2017. This is pointed out merely to assist APD in honing its data
submission efforts to enhance its future efforts of attaining compliance.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.33a: APD should immediately cease the
practice of training “proposed policy provisions.”

4.7.34 Assessing Compliance with Paragraph 47: Quality of
Supervisory Force Investigations

Paragraph 47 stipulates:

The quality of supervisory force investigations shall be taken into
account in the performance evaluations of the officers performing
such reviews and investigations.




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Methodology

Members of the monitoring team reviewed multiple copies of APD
proposed Use of Force Policies, including SOP 2-54 Use of Force
Reporting and Supervisory Investigation Requirements, and subjected
them to best established pattern and practice in the field, and to the
requirements stipulated in the CASA. The monitoring team provided
extensive technical assistance to assist APD in developing force policies
that would meet the provisions of the CASA. During the fourth site visit,
members of the monitoring team attended “Talent Management”
(Performance Evaluations) training.

Results

This requirement is included in approved APD SOP 2-54 Use of Force
Reporting and Supervisory Force Investigation Requirements, which
moved the Department into Primary Compliance. The automated
Performance Evaluation system was scheduled to debut in October
2016, with all training having been completed. Initial review of the
system and the training indicate that it meets these requirements.
During future site visits, the monitoring team will assess whether this
provision is being reflected in performance reviews when a supervisor
continues to conduct sub-standard use of force investigations, such as
those we noted in Section 4.7.33, above.

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendation 4.7.34a: Given the scope of the failure rate on
the cases noted in 4.7.33 above, it is highly unlikely they are
supervisor or command specific; however, APD should carefully
assess, through Completed Staff Work processes, where these
errors occurred, what supervisory and command structure
permitted them, and should design a carefully thought out
response plan to ensure that the errors are communicated to the
appropriate command, that the command(s) assess(es) the errors
and submit(s) to the Chief of Police realistic responses designed to
eliminate an 87% error rate in such a critical process’ oversight,
review and remediation.

Recommendation 4.7.34b: Develop policy changes to APD’s use of
force policy that address distraction strikes, neck holds, and show
of force and include these topics in follow-up training to all
personnel.



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4.7.35 Assessing Compliance with Paragraph 48: Force
Classification Procedures

Paragraph 48 stipulates:

APD agrees to develop and implement force classification
procedures that include at least two categories or types of force
that will determine the force investigation required. The categories
or types of force shall be based on the level of force used and the
risk of injury or actual injury from the use of force. The goal is to
optimize APD’s supervisory and investigative resources on uses of
force. As set forth in Paragraphs 81-85 below, APD shall continue
to participate in the Multi-Agency Task Force, pursuant to its
Memorandum of Understanding, in order to conduct criminal
investigations of at least the following types of force or incidents:
(a) officer-involved shootings; (b) serious uses of force as defined
by the Memorandum of Understanding; (c) in-custody deaths; and
(d) other incidents resulting in death at the discretion of the Chief.

Methodology

We note that the use of force polices were due for review and revision in
December 2016. They were finally submitted in acceptable form, and
were approved by the monitor in January 2017. Substantive issues
previously reported in IMR-5 needed to be resolved with respect to APD
policies related to use of force before the policies could be approved.
Previously noted training gaps need to be resolved for APD to achieve
Secondary Compliance.

Results

As set forth in our analysis of Paragraph 46, the update of APD’s use of force
suite of policies remained pending until June 2017, when the monitor finally
approved each of the four (4) use of force related policies.

In Paragraphs 87 and 88, we report outstanding training gaps that exist
for APD that are applicable to this Paragraph. While all the issues set
forth in Paragraphs 87 and 88 will not be restated in this section, we
reiterate that APD needs to conduct training consistent with the revised
polices and address the training gaps noted in Paragraphs 86 – 88 before
Secondary Compliance can be granted for this paragraph. We note that
the foregoing open training issues have direct influence on the Secondary
Compliance of numerous other paragraphs, and that these open issues
have lingered for several reporting periods, despite clear and timely
notice to APD. After careful analysis and review, we find APD not in
Secondary Compliance with this Paragraph.

The monitoring team does take cognizance that APD conducted training
in July 2017 for its members assigned to FIT. The training, entitled, “FIT

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Manual Gap Training,” was provided to FIT’s four newest members. An
attendance sheet and a five-question multiple choice test were reviewed.
The test was entitled, “Force Investigation Team Unit Handbook.” This
differed from the name of the course on the attendance sheet. 90 Included
in the documents along with the “FIT Manual Gap Training,” was a
“Primary Training Requirements” form, an “On The Job Training
Requirements” form, and a “New Employee Orientation Checklist.”
These documents and forms were consistent with the spirit and content
of the CIRT training the monitor commented on in Paragraph 60. What
was missing from the package of documents reviewed was the actual
FIT Handbook, the PowerPoint or classroom presentation of the training
program, course curriculum complete with learning objectives, and the
job-task analysis for FIT detectives. Again we note the Academy’s strong
and deliberate penchant for ignoring the monitoring team’s request for
acceptable course documentation processes. We have continually
advised APD that its current training modalities fail to conform to
nationally accepted practice. To date, we have seen no attempt on the
training academy’s part to resolve this long-outstanding issue. FIT is
clearly starting to demonstrate that they are training FIT personnel on its
own policies and protocols. Once the issues cited in Paragraphs 86-88
are addressed and the appropriate work is documented and provided for
the FIT course as noted above, APD will be approaching Secondary
Compliance for this Paragraph.

As described elsewhere in this report, APD has adopted in policy “De
Minimis force” as a classification level by inserting language into the
definitions section of the policy. We note again the questionable wisdom
of introducing topics with wide ranging effects via mere definitions. The
concept of De Minimis force was drastically underdeveloped in terms of
the organizational “roll out” and training effectiveness. Notwithstanding
the fact APD has not achieved Secondary Compliance with this
Paragraph, the monitoring team cautions that if not properly addressed
through training and supervisory oversight, APD ultimately will encounter
great difficulty in its attempts to achieve Operational Compliance during
future reporting periods.

APD’s participation in the MATF, addressed in this Paragraph as well, is
more fully addressed in Paragraphs 81-85. Those Paragraphs continue
to be in Operational Compliance status.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance


90Subtle differences in course names and test names have been commented on before with
other courses by the monitoring team.
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Recommendation 4.7.35a: APD should cease immediately the
practice of training "proposed policy changes" for all policies that
require monitor approval.

Recommendation 4.7.35b: Resolve at the soonest point possible
the manner in which “De Minimis” force will be trained to the
organization, including written training plans with goals, objectives,
measures of learning, etc. All training development product should
comply with the GO-MAPS outline the monitor previously provided
APD.

Recommendation 4.7.35c: Perform a careful, comprehensive,
inclusive Job-Task Analysis (JTA) for FIT personnel.

Recommendation 4.7.35d: Once the JTA is complete, develop a
listing of needed skills and competencies;

Recommendation 4.7.35e: Identify current skill-sets possessed by
current IA personnel, and conduct a “Gap Analysis;”

Recommendation 4.7.35f: Determine what missing skill-sets need to
be remediated or developed;

Recommendation 4.7.35g: Assess external training modalities to
identify in advance which ones to train to and develop the missing
skill sets;

Recommendation 4.7.35h: Either develop the needed training in-
house or procure it by sending IAB personnel to external training
events that are known to provide needed skill sets that will fill IAB’s
skill-set deficiencies. Make no assignments to external training
unless APD can verify that the training venue or provider actually
has a plan and or course syllabus that includes an effective
treatment of the designated skill set.

Recommendation 4.7.35i: Maintain records regarding skill set
deficiencies and external training events skills training, and follow-
up with post-training analyses of each externally trained employee’s
ability to meet performance goals related to “new” skill sets.

4.7.36 Assessing Compliance with Paragraph 49

Paragraph 49 stipulates:

Under the force classification procedures, serious uses of force
shall be investigated by the Internal Affairs Bureau, as described
below. When a serious use of force or other incident is under

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criminal investigation by the Multi-Agency Task Force, APD’s
Internal Affairs Bureau will conduct the administrative
investigation. Pursuant to its Memorandum of Understanding, the
Multi-Agency Task Force shall periodically share information and
coordinate with the Internal Affairs Bureau, as appropriate and in
accordance with applicable laws, to ensure timely and thorough
administrative investigations of serious uses of force. Uses of
force that do not rise to the level of serious uses of force or that do
not indicate apparent criminal conduct by an officer will be
reviewed by the chain of command of the officer using force.

Methodology

We note that the use of force polices were due for review and revision in
December 2016. Substantive issues previously reported in IMR-5 need to
be resolved with respect to APD policies related to use of force before the
policies can be approved. Previously noted training gaps need to be
resolved for APD to achieve Secondary Compliance.

Results

As set forth in our analysis of Paragraph 46, the update of APD’s use of force
suite of policies remained pending until June 2017, when the monitor received
approvable versions each of the four (4) use of force related policies.

In Paragraphs 87 and 88, we report outstanding training gaps that exist
for APD that are applicable to this Paragraph. While all of the issues set
forth in Paragraphs 87 and 88 are not going to be restated in this
section, we reiterate that APD needs to conduct training consistent with
the revised polices and address the training gaps noted in Paragraphs
86 – 88 before Secondary Compliance can be confirmed.

APD continues to participate in the Multi-Agency Task Force (MATF)
under the terms of the original agreement.

        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance

Recommendation 4.7.36: Provide training as recommended in
Paragraphs 87 and 88 for members of the MATF.

4.7.37 Assessing Compliance with Paragraph 50: Supervisory
Response to Use of Force

Paragraph 50 stipulates:

“The supervisor of an officer using force shall respond to the
scene of the use of force to initiate the force investigation and

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ensure that the use of force is classified according to APD’s force
classification procedures. For serious uses of force, the
supervisor shall ensure that the Internal Affairs Bureau is
immediately notified and dispatched to the scene of the incident.”

Methodology

We note that the use of force polices were due for review and revision in
December 2016. Substantive issues previously reported in IMR-5 needed
to be resolved with respect to APD policies related to use of force before
the policies could be approved. Previously noted training gaps need to be
resolved for APD to achieve Secondary Compliance. APD policy in this
area was finally approved by the monitor, after extensive debate, revision
and re-write, in June 2017.

Results

As set forth in our analysis of Paragraph 46, the update of APD’s use of force
suite of policies remained pending until June 2017, when the monitor finally was
able to approve each of the four (4) use of force related policies.

As described elsewhere in this report, APD has adopted in policy “De
Minimis force” as a classification level. That concept was
underdeveloped in terms of the organizational “roll out” and training
effectiveness. Notwithstanding the fact that APD has not achieved
Secondary Compliance with this Paragraph, the monitoring team
cautions that if De Minimis force is not properly addressed through
training and supervisory oversight, APD will ultimately encounter great
difficulty in its attempts to achieve Operational Compliance during future
reporting periods. As noted earlier in this report we have seen many
instances in the past, as with [IMR6-001], where APD supervisors fail to
meet the provisions of this paragraph and that failure is not caught by
the chain of command.

In Paragraphs 87 and 88, we report outstanding training gaps that exist
for APD that are applicable to this Paragraph. While we will not restate
all of the issues set forth in Paragraphs 87 and 88 in this section, we
reiterate that APD needs to conduct training consistent with the revised
polices and address the training gaps noted in Paragraphs 86 – 88.
Therefore, APD remains in Primary Compliance with respect to this
Paragraph. Once this policy-compliant training is completed, Secondary
Compliance will be considered.


       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

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Recommendation 4.7.37: Complete policy-compliant training
congruent with recommendations provided in paragraphs 86-88,
above.

4.7.38 Assessing Compliance with Paragraph 51: Self-Review of
Use of Force
Paragraph 51 stipulates
“A supervisor who was involved in a reportable use of force,
including by participating in or ordering the force being reviewed,
shall not review the incident or Use of Force Reports for approval.”

Methodology

We note that the use of force polices were due for review and revision in
December 2016. After extensive debate and revision, those policies were
approved by the monitor in June of 2017. Substantive issues previously
reported in IMR-5 needed to be resolved with respect to APD policies
related to use of force before the policies could be approved. Previously
noted training gaps need to be resolved for APD to achieve Secondary
Compliance.

Results

As set forth in our analysis of Paragraph 46, the update of APD’s use of force
suite of policies remained pending until June 2017, when the monitor finally was
able to approve each of the four (4) use of force related policies.

In Paragraphs 87 and 88, we report outstanding training gaps that exist
for APD that are applicable to this Paragraph. While all of the issues set
forth in Paragraphs 87 and 88 are not going to be restated in this
section, we reiterate that APD needs to conduct training consistent with
the revised polices and address the training gaps noted in Paragraphs
86 – 88. Therefore, APD remains in Primary Compliance with respect to
this Paragraph. Once this policy-compliant training, i.e., the “gap
training” is completed and satisfactorily addressed the gaps identified by
the monitor, Secondary Compliance will be reassessed.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.37: Complete policy-compliant training
congruent with recommendations provided in paragraphs 86-88,
above.


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   4.7.39 Assessing Compliance with Paragraph 52: Supervisory
          Force Review

Paragraph 52 stipulates:
“For all supervisory investigations of uses of force, the supervisor
shall:

   a) Respond to the scene, examine all personnel and subjects
   of use of force for injuries, interview the subject(s) for
   complaints of pain after advising the subject(s) of his or her
   rights, and ensure that the officers and/or subject(s) receive
   medical attention, if applicable

   b) Identify and collect all relevant evidence and evaluate that
   evidence to determine whether the use of force was consistent
   with APD policy and identifies any policy, training, tactical, or
   equipment concerns;

   c) Ensure that all evidence to establish material facts related
   to the use of force, including audio and video recordings,
   photographs, and other documentation of injuries or the
   absence of injuries is collected;

   d) Ensure that a canvass for, and interview of, witnesses is
   conducted. In addition, witnesses are to be encouraged to
   provide and sign a written statement in their own words;

   e) Ensure that all officers witnessing a use of force incident
   by another officer provide a use of force narrative of the facts
   leading to the use of force;

   f) Separate all officers involved in a use of force incident until
   each has been interviewed and never conduct group interviews
   of these officers;

   g) Ensure that all Use of Force Reports identify all officers
   who were involved in the incident, witnessed the incident, or
   were on the scene when it occurred;

   h) Conduct investigations in a rigorous manner designed to
   determine the facts and, when conducting interviews, avoid
   asking leading questions and never ask officers or other
   witnesses any questions that may suggest legal justifications
   for the officers’ conduct;

   i)   Utilize on-body recording systems to record all interviews;

   j) Review all use of force narratives and ensure that all Use of
   Force Reports include the information required by this
   Agreement and APD policy;

   k) Consider all relevant evidence, including circumstantial,
   direct, and physical evidence, as appropriate, and make
   credibility determinations, if feasible;

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   l) Make all reasonable efforts to resolve material
   inconsistencies between the officer, subject, and witness
   statements, as well as inconsistencies between the level of
   force described by the officer and any injuries to personnel or
   subjects;

   m) Obtain a unique tracking number; and

   n) Where a supervisor determines that there may have been
   misconduct in the use of force, immediately notify the Area
   Commander and the Internal Affairs Bureau.”

Methodology

We note that the use of force polices were due for review and revision in
December 2016. Substantive issues previously reported in IMR-5 needed
to be resolved with respect to APD policies related to use of force before
the policies could be approved by the monitor (which occurred in June
2017). Previously noted training gaps need to be resolved for APD to
achieve Secondary Compliance.

Results

As noted in the preceding paragraphs, the update of APD’s use of force
suite of policies remained pending until June 2017, when the monitor
finally was able to approve each of the four (4) use of force related
policies.

In Paragraphs 87 and 88, we report outstanding training gaps that exist
for APD that are applicable to this Paragraph. While we will not restate
all the issues set forth in Paragraphs 87 and 88, we reiterate that APD
needs to conduct training consistent with the revised polices and
address the training gaps noted in Paragraphs 86 – 88. Therefore, APD
remains in Primary Compliance with respect to this Paragraph. Once this
policy-compliant training is completed, Secondary Compliance will be
assessed.

In IMR-5, we commented on our observations about APD’s performance
on this Paragraph yielding some of the poorest test scores the
monitoring team had observed to date. We further commented that
APD’s substantial level of non-compliance with this paragraph questions
the quality of related training, oversight, and management of the
requirements relating to supervisory and managerial response to
incidents of use of force.

In the opinion of the monitoring team, these significant concerns of non-
compliance and problems pertaining to the efficacy of training, oversight
and management were demonstrated at a June 14, 2017, Force Review
Board (FRB) meeting. A Use of Force case presented to the FRB
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outlined a matter where an APD member used force against a
handcuffed arrestee who was injured as the result of the force used by
the officer. In our opinion, the video evidence of the force utilized
(documented on the officer’s on-body recorder) contradicts the officer’s
written report. Despite the existence of this contradictory video evidence,
a supervisor who articulated he thought the officer’s Use of Force was
problematic, didn’t notify Internal Affairs, but instead approved the
officer’s inaccurate report. We find such procedure inexplicable,
unacceptable, and in violation of the CASA. To date, APD has taken no
remedial actions.

The supervisor presenting this case to the FRB stated the case “sat on the shelf”
for several months before the case was investigated. 91 This same supervisor
advised the FRB how the in-field supervisor that did the initial supervisory review
on this matter had not been to supervisory use-of-force training. 92 Since this
investigation “sat” for such an extended period of time, despite the knowledge
(or acknowledgment) of problematic officer and supervisory actions and
inactions, it is inconceivable that this case took 8 months to be assigned to an
investigator to conduct the Serious Use of Force investigation. Even then, when
a question arose about the officer’s conduct possibly rising to the level of
criminality, a FIT investigator was asked to review the case for possible criminal
actions; not a prosecuting entity or command-level officer. This represents the
convergence of problematic training, oversight and management efforts.
Furthermore, it underscores deficiencies in considering all relevant evidence,
resolving material inconsistencies between the statements of officers, subjects,
and witnesses to make credibility determinations, and proactively pursuing
appropriate interventions. In this particular case at the FRB, over one year had
passed since the Use of Force by the officer and no final determination had
been made about the actions of the officer and no interventions or discipline had
occurred during that intervening period of time.

We note that three data requests were submitted to APD requesting “any
remedial action taken toward any officer, supervisor, or commander related to
cases reported in IMR-5.” No data or documents were provided to the
monitoring team, only comments on a spreadsheet indicating, “Pending further
case review;” “Nothing for this reporting period;” and “No responsive documents
for July.” We are befuddled by such responses, given the obvious officer,
supervisor, and command deficiencies we revealed in this case. To the monitor,
this is reflective of complete entropy of APD’s use of force review processes at
this point in time.

Special Order 17-75 for “Mandatory Supervisor Use of Force Gap Training” was

91 As we note elsewhere the case remained dormant from May 2016 until February 2017, and
was not submitted by an investigator until April 28, 2017.
92 The monitoring team dismisses this explanation as insufficient. Based on the facts and
circumstances of this case, the failures and actions of the officer involved in this event would be
self-evident to any objectively reasonable officer or supervisor.
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submitted to the monitoring team as a response to address recommendations
related to this Paragraph in IMR-5. A detailed analysis of this training and its
pending issues are fully set forth in Paragraph 88.

APD’s behavior on this case is remarkably similar to behavior the monitor has
seen in other problematic police departments: a “bury it until it burns” approach
that simply ignores problematic in-field behavior until the internal policy-based
“statute of limitation” runs out, then dispense of it with findings and a notation
that no corrective action was ordered due to an expiration of the allowable
investigative timeline. Such defensive measures are common in poorly run
organizations, based on the monitor’s experience. APD appears to have made
an operational decision to resolve problematic events in this matter on a routine
basis. Obviously, we find this unacceptable and deliberate non-compliance.

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendation 4.7.39a: APD should assess, analyze, and “re-
vision” its force review processes, including reporting, intake,
assessment, classification, assignment, review and investigation,
outcome development and reporting, and findings development.
This assessment should be executed with all due diligence and
speed.

Recommendation 4.7.39b: The talent to develop this assessment
may require an outside consultant; however, whoever is tasked
with this assessment should be required to produce an actionable
report designed to build a system that can meet the quality and
timeline requirements of the CASA, and should take into
consideration “best practices” in the field.

Recommendation 4.7.39c: APD’s recent site visit to other PD’s
undergoing similar process as the CASA should be assessed for
“lessons learned” that could be adapted to APD’s internal affairs
and disciplinary/retraining processes.

Recommendation 4.7.39d: APD, eventually should develop a
clearly articulated plan for repairing its overwhelmed internal
investigative processes, replete with goals, objectives, timelines
and costs.

Recommendation 4.7.39e: The developed plan should be
implemented and achievement of goals and objectives should be
clearly and impartially evaluated for implementation.

4.7.40 Assessing Compliance with Paragraph 53: Force Review
Timelines
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Paragraph 53 stipulates:
Each supervisor shall complete and document a supervisory force investigation
Force Report within 72 hours of completing the on-scene investigation. Any
extension of this 72-hour deadline must be authorized by a Commander. This
Report shall include:

      a)   all written or recorded use of force narratives or statements provided
           by personnel or others;

      b)   documentation of all evidence that was gathered,
           including names, phone numbers, and addresses of
           witnesses to the incident. In situations in which there
           are no known witnesses, the report shall specifically
           state this fact. In situations in which witnesses were
           present but circumstances prevented the author of the
           report from determining the identification, phone
           number, or address of the witnesses, the report shall
           state the reasons why. The report should also include
           all available identifying information for anyone who
           refuses to provide a statement;

      c)   the names of all other APD employees witnessing the use of force;

      d)   the supervisor’s narrative evaluating the use of force,
           based on the supervisor’s analysis of the evidence
           gathered, including a determination of whether the
           officer’s actions complied with APD policy and state
           and federal law; and an assessment of the incident for
           tactical and training implications, including whether the
           use of force could have been avoided through the use
           of de-escalation techniques or lesser force options;
           and

      e)   documentation that additional issues of concern not
           related to the use of force incident have been identified
           and addressed by separate memorandum.


Paragraph 53 perhaps best represents the problems with data requests to and
data provision from, APD. All requests for data by the monitor are submitted in
a format agreed to by the Parties, based on direct requests from the APD. Data
provided to the monitors are often not the data requested, and at times, not in
the format requested. Data request and provision issues were significant this
reporting period. Paragraph 53 is a good example.

We note that we submitted data requests for 69 paragraphs, including
paragraph 53, for February and March 2017 to APD on 12 April, 2017, based on
a new data format and request transmission protocols requested by APD, and
outlined in detail by the monitor, in writing to the Parties. The new modality was
agreed to by the Parties. As of 5 May 2017, the monitoring team member
making the data request had received none of the requested data (18 days after
the request). On 14 May 2017 the monitoring team member responsible for the
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data analysis for Paragraph 53 notified the monitor that, as of 14 May 2017 no
data had been received. On 14 May, a day later, Director Slauson sent the
monitor’s data request for April 2017. Nine days later, on 24 April, the monitor is
sent a collection of “links” for seven paragraphs, none of which included
paragraph 53, and all of which required multiple additional steps to locate,
isolate, open, and download the links provided. On 2 June, 19 days after the
Paragraph 53 request, the monitor received an e-mail from a senior member of
APD’s Planning and Analysis unit. That e-mail attachment included “ledgers” for
February, March, and April. Despite a request for cases, not ledgers, and
despite a 51-day delay in APD’s response, we never received the cases we
asked for in writing. This is simply unacceptable, and we believe deliberate.

Instead of providing the data requested for this paragraph, APD provided the
data it wanted to provide: ledgers, not reports.

During our site visit in June, the monitoring team advised APD of the problems
with data provision, and specifically reinforced the nature of the request for case
files, not “ledgers.”

Despite reinforcing the nature of the request through in-depth personal
discussions in June, when we requested “cases” again. We followed up that
June discussion with a request for “cases” for the June reporting period (1 June-
30 June). In June’s data submission, APD submitted all data requested by the
monitor, except the data for Paragraph 53! We specifically asked, in writing and
in our June meeting for “every other” report of Use of Force. The data
requested in no way required a “completed” force review, but only assessed
whether they were reported within 72 hours, or an extension request and
commander approval of same. What we were provided was APD self-created
“ledgers,” not the reports as requested. Given the level of obtusity of APD’s
response to a clear and direct written request, we were never provided the data
we asked for relating to this paragraph. The monitor notes with some
exasperation similar problems with other data requested and provided under the
“new system” requested by APD, and adhered to by the monitor.

We are deeply concerned about APD’s new data provision protocols, and can
see no reason why APD would reply with “self-generated” legers instead of the
Use of Force Reports requested.

For the month of July, the monitor was supplied with 19 use of force cases.
Seven of those did not meet the requirements of the paragraph within the
material supplied to the monitor. See case numbers: [IMR6-002, IMR6-003,
IMR6-004, IMR6-005, IMR6-006, IMR6-007 and IMR6-008]

The compliance rate calculated for the use of force investigations that were
submitted is 78%, well below the required 95% threshold. The monitor accepted
the July reports for this reporting period even though the material was not

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submitted with the initial request and was subsequently submitted in mid August
upon a second request.

Such delays, confusions, and failures to respond directly to requests made by
the monitor, without explanation or reason are of serious concern to the monitor.
There are still issues that have to be cleared up with APD in reference to
paragraph 53 in addition to receiving material in timely fashion. The monitoring
team must be assured that it is receiving only the data requested and that only
material asked for is sent to monitor. Many folders are included in the data
submission and embedded in those folders are numerous files causing the
monitoring team to review extensive amounts of unnecessary material. The
material provided by APD to the monitor must be streamlined so the monitoring
team can assess the information requested without reviewing this unnecessary
and often un-related barrage of data. APD’s provision of data for this reporting
period are strongly reminiscent of an old tried-and-true procedure of police
departments flooding the requestor with un-related (and unrequested) “data,”
thus creating a “hunt-for-it” process that is unnecessarily time consuming and
laborious. We remind APD that we cannot accept “purpose-built” summaries,
but must be provided data that is created during the normal course of daily
business, a fact we covered with them very early on in the monitoring process.
Ledgers instead of requested official reports are unacceptable.

In addition to a serious lack of timeliness, there are still issues that need to be
clarified regarding Paragraph 53 specifically, and other paragraph’s data in
general. Data provided by APD are often “nested,” requiring the monitor to open
and assess multiple pieces of material to determine if any of it includes a
response to the monitor’s original request. We will work with APD to insure that
data provided in response to the monitor’s requests are specifically tailored


       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.40: APD should carefully provide to the
monitor data that is directly responsive to the monitor’s requests,
and is appropriately labeled and structured.

4.7.41 Assessing Compliance with Paragraph 54: Command
Review of Force

Paragraph stipulates:
Upon completion of the Use of Force Report, investigating
supervisor shall forward the report through his or her chain of
command to the Commander, who shall review the report to
ensure that it is complete and that the findings are supported
using the preponderance of the evidence standard. The

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Commander shall order additional investigation when it appears
that there is additional relevant evidence that may assist in
resolving inconsistencies or improving the reliability or credibility
of the findings.

Methodology

APD SOP’s related to use of force 93 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained pending until June 2017, when the monitor was finally
able to approve each of the four (4) proffered use of force-related
policies.

In preparation of this report the monitoring team requested the following:

     1. “Any retraining that has occurred in response to recommendations
        in IMR-5 related to this paragraph.

     2. COB documentation concerning any newly established monitoring
        system, process or procedure concerning the implementation of
        any executive level review protocols for Commander use of force
        reviews. If so implemented, copies of any executive level reviews
        and reports demonstrating the protocol has been implemented.”

Results

The requirements in Paragraph 54 are included in APD’s approved suite
of force-related policies that remain under review and are pending
approval. During past reporting periods the monitoring team conducted
in-depth reviews of APD use of force cases that involved various types of
force. The results of those case reviews were communicated to APD for
consideration as they continued to implement new policy provisions
through training and operational oversight. For IMR -5 the monitoring
team conducted in-depth case reviews for this paragraph and the
calculated compliance rate for sixteen (16) use of force cases was 0%.
As demonstrated in [IMR6-001] (and evidenced in case reviews we
conducted for IMR - 5) there are still significant shortcomings in APD
officers’ reporting, and supervisors’ and commanders’ identifying uses of
force. We expect this to be exacerbated by new provisions in APD’s use
of force policies. i.e. creation of a new category of force, De Minimis.



93 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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We are aware that APD developed and delivered a training course
directed at APD commanders (Delivered on June 1, 2017), but we were
provided no evidence that APD collated the data they received in IMR-5
and conducted a specific and targeted training and/or counseling to
individual commanders, lieutenants or sergeants. The results from IMR-5
should have prompted an in-depth review of cases, which would have
resulted in some degree of precise counseling and remediation
throughout the FSB chains of command. 94 We have seen no data in the
record indicating that occurred.

Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that the revisions pertinent to this
paragraph were introduced while APD remained in non-compliance, the
new policy provisions have a direct impact on APD’s Secondary
Compliance status for this reporting period. Based on our review of
materials, APD remains in Primary Compliance with respect to this
paragraph, and additional work is needed to bring all related use of force
training into alignment with the CASA.

        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance

Recommendation 4.7.41a: Establish by policy, training, and internal
monitoring specific requirements for command review of
supervisory force reviews, ensuring that the new policy, training
and internal monitoring conform to the requirements of the CASA
for this paragraph.

 Recommendation 4.7.41b: Ensure that policy outliers are brought
to the attention of commanders failing to conform, and to their
immediate superiors and the Chief of Police.

Recommendation 4.7.41c: Require commanders who fail to
conform with Paragraph 54’s requirements to undergo retraining in
policy requirements and to develop a correction-plan for ensuring
that policy adherence is achieved.

Recommendation 4.7.41d: Executive-level personnel for those
commanders completing such retraining and corrective planning
measures should monitor commanders under their supervision to
ensure they meet the requirements of Paragraph 54’s stipulations
relative to are brought into compliance.

94  The lack of specific remediation though counseling and/or training could mean: 1) APD saw
the generalized training of all commanders as being sufficient; 2) APD reviewed the cases and
still sees no performance deficiencies to remediate, which presents a different set of issues.
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Recommendation 4.7.41e: Executive-level personnel so tasked
should develop quarterly reviews of commanders under their
chains of command, stating their levels of compliance with
Paragraph 54’s requirements. Those reviews should be forwarded
to the Chief of Police, for development of actions plans to remedy
identified issues.

4.7.42 Assessing Compliance with Paragraph 55: Force Review
Evidence Standard

Paragraph 55 stipulates:
“Where the findings of the Use of Force Report are not supported
by a preponderance of the evidence, the supervisor’s chain of
command shall document the reasons for this determination and
shall include this documentation as an addendum to the original
investigation. The supervisor’s superior shall take appropriate
action to address the inadequately supported determination and
any investigative deficiencies that led to it. Commanders shall be
responsible for the accuracy and completeness of Use of Force
Reports prepared by supervisors under their command. “

Methodology

APD SOP’s related to use of force 95 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained pending until June 2017, when the monitor was finally
able to approve each of the four (4) use of force related policies.

In preparation of this report the monitoring team requested the following:

     1. Any COB document, Special Order or policy that implements a
        procedure or protocol that proposes specific, tangible, and
        evaluable policy revisions, supervisory and commander re-training
        or discipline to rectify errors related to command level reviews of
        uses of force.

     2. COB documentation that demonstrates APD has been responsive
        to the specific recommendations provided in IMR-5 related to this
        paragraph. Please correlate any documentation to the relevant
        recommendation.



95 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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Results

The requirements in Paragraph 55 are included in APD’s approved suite
of force-related policies that recently gained approval by the monitor.

Previously, we noted that the movement of use of force cases throughout
the chain of command is captured in Blue Team and can be published
and collated in a way that can provide meaningful oversight data. The
data APD collects could provide an understanding of performance
deficiencies and allow APD to determine the frequency that an officer,
lieutenant or sergeant has their reports “kicked back” for corrections, and
the reasons it occurred. To date, we are unaware of APD conducting
routine internal analysis or auditing, at either the organizational or Area
Command levels, to identify officers or supervisors that commonly submit
reports through Blue Team that are incomplete, contain deficiencies or
need better articulation. Considering the considerable backlog of use of
force investigations, these are areas that need to be explored in detail if
APD is ever to connect individual performance (related to use of force or
force investigations) to employee work plans. During our June 2017 site
visit we learned that the Blue Team system can be used for this purpose,
but currently APD has not conducted a comprehensive assessment.

We are aware that APD developed and delivered a training course
directed at APD commanders (Delivered on June 1, 2017), but we were
provided no evidence that APD collated the data they received in IMR-5
and conducted a specific and targeted training and/or counseling to
individual commanders, lieutenants or sergeants. The results from IMR-5
should have prompted an urgent and in-depth review of use of force
cases reported on in IMR-5, which would have resulted in some degree of
precise counseling and remediation throughout the FSB chains of
command. 96 We have no record that such a review was conducted or
used.

APD provided an Excel spreadsheet that was prepared by a FSB
lieutenant who has also been tasked with assisting with administrative
needs related to CASA compliance. The monitoring team reviewed the
document, entitled “IMR-5 Recommendations” which breaks down FRB
recommendations from IMR-5, and includes a number of related
categories related to a recommendation, including a category “Proposed
Solution”. We see this as a good step toward organizing feedback APD
receives in monitoring reports. We encourage this approach and expect
that the spreadsheet will be refined over time. However, like many other
internal processes APD puts into place, the value will result from

96 The lack of specific remediation though counseling and/or training could mean: 1) APD saw
the generalized training of all commanders as being sufficient; or, 2) APD reviewed the cases
and still sees no performance deficiencies to remediate, which presents a different set of issues.
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documented outcomes and “closing the loop” on recommendations. We
will follow up with APD on the progress they make with this approach
during the next monitoring period.

For IMR-5 the monitoring team conducted in-depth case reviews for this
paragraph and the calculated compliance rate for sixteen (16) use of
force cases was 6%. As demonstrated in current [IMR6-001] (and
evidenced in case reviews we conducted for IMR - 5) there are still
significant shortcomings in APD officers reporting, supervisors and
commanders identifying uses of force.

Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that the revisions pertinent to this
paragraph were introduced while APD remained in non-compliance, the
new policy provisions have a direct impact on APD’s Secondary
Compliance status for this reporting period. Based on our review of
materials, APD remains in Primary Compliance with respect to this
paragraph, and additional work is needed to bring all related use of force
training into alignment with the CASA.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.42a: Identify the factors causing the most
errors in command review and require a completed CSW document
that proposes specific, tangible, and evaluable policy revisions,
supervisory and commander re-training or discipline to rectify
given error categories.

Recommendation 4.7.42b: Forward the CSW document to the Chief
of Police for review, assessment and implementation of remedial
processes.

Recommendation 4.7.42c: Require follow-up and analysis to
determine if recommended processes have alleviated the identified
problems, and repeat steps a through c until issues have been
reduced to less than 95 percent.

4.7.43 Assessing Compliance with Paragraph 56: Force Review
Quality

Paragraph 56 stipulates:
“Where a supervisor repeatedly conducts deficient supervisory
force investigations, the supervisor shall receive the appropriate
corrective and/or disciplinary action, including training, demotion,
and/or removal from a supervisory position in accordance with

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performance evaluation procedures and consistent with any
existing collective bargaining agreements, personnel rules, Labor
Management Relations Ordinance, Merit System Ordinance,
regulations, or administrative rules. Whenever a supervisor or
Commander finds evidence of a use of force indicating apparent
criminal conduct by an officer, the supervisor or Commander
shall suspend the supervisory force investigation immediately
and notify the Internal Affairs Bureau and the Chief. The Internal
Affairs Bureau shall immediately take over the administrative.”

Methodology

APD SOP’s related to use of force 97 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained pending until June 2017, when the monitor finally was
able approved each of the four (4) use of force related policies.

In preparation of this report the monitoring team requested the following:

     1. COB documentation that demonstrates APD automated systems
        relating to paragraphs 41-56 have provided a meaningful
        recording, assessment, and tracking system to ensure that each
        incident of a noted failure to comply within the command structure
        is documented, addressed, and followed up to ensure such errors
        are mitigated. (I.E. Beginning to end documentation of events
        where errors were identified by APD); and

     2.   COB documentation demonstrating corrective action was taken
          with command and/or supervisory personnel concerning each
          deficient use of force investigation or review that was identified in
          IMR-5.

Results

The requirements in Paragraph 56 are included in APD’s approved suite
of force-related policies that recently gained approval by the monitor.
We reviewed documentation APD provided in response to our data
requests and found it to be insufficient to show that APD has built, or is
building, the type of processes and systems to collect and connect
supervisory performance (related to use of force investigations) with
employee work plans; we also found no evidence that individual
supervisors or command level personnel have received appropriate
counseling or discipline as a result of conducting deficient supervisory

97 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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force investigations. We do not believe APD conducts any internal
analysis or audit, at either the organizational or Area Command levels, to
identify supervisors that commonly submit use of force reports that are
incomplete, contain deficiencies or need better articulation (for example).
These are all areas that need to be explored if APD is ever to connect
individual performance (related to use of force or force investigations) to
employee work plans. We believe that the makings of this type of
internal assessment are possible with the adoption of Blue Team;
however, many additional components of such a system need to be built,
codified, trained, implemented and provided oversight at the command
level. We have seen no indication that APD has conceptualized or
implemented such a quality control process.

Based on our review of materials, APD remains in Primary Compliance
with respect to this paragraph, and additional work is needed to bring all
related use of force training into alignment with the CASA.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.43a: Ensure that APD automated systems
relating to paragraphs 41-56 are supported by a meaningful
recording, assessment, and tracking system to ensure that each
incident of a noted failure to comply within the command structure
is documented, addressed, and followed up to ensure such errors
are mitigated and reduced to a level below five percent.

Recommendation 4.7.43b: Ensure that deficiencies in APD’s
systems relating to paragraphs 41-56 are monitored and noted, and
result in corrective action taken with the responsible command and
supervisory personnel.

Recommendation 4.7.43c: If necessary, consult with external
resources to design a formalized system of monitoring supervisory
and command-level responses to policy violations.

4.7.44 Assessing Compliance with Paragraph 57: Force Review
Board

Paragraph 57 stipulates that:
“When the Commander finds that the supervisory force
investigation is complete and the findings are supported by the
evidence, the investigation file shall be forwarded to the Force
Review Board. The Force Review Board shall review the
supervisory force investigation to ensure that it is complete and
that the findings are supported by the evidence. The Force Review

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Board shall ensure that the investigation file is forwarded to the
Internal Affairs Bureau for recordkeeping.”

Methodology

APD SOP’s related to use of force 98 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation;” and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained pending until June 2017, when the monitor was finally
able to approve each of the four (4) use of force related policies. The
Force Review Board was recast as SOP 2-56, which better aligns it
within the use of force suite of SOPs.

In preparation of this report the monitoring team requested the following:

     1. Any COB documentation in the form of a recommendation(s) for agency-
        wide, or officer, supervisor or commander training that resulted from a
        case reviewed by the FRB. Include any return documentation that
        demonstrates the FRB request was implemented or followed up.

     2. Any COB documentation in the form of a recommendation for an IA
        investigation that resulted from a FRB case review. Please include the
        specific request and guidance given to IA by the FRB in those instances,
        and any IA investigative plans related to those cases, if they exist.

     3. The monitoring team reviewed the documentation APD provided.

Results

As we noted previously, the first requirement in this paragraph appears to
conflict with the Force Review Board’s (FRB) practice of reviewing a 10%
sample of supervisory force investigations every 90 days. Through
discussions with the Parties that issue was resolved and was reiterated
during our November 2016 site visit. The Parties agreed that the review
of a 10% random sample of use of force cases is acceptable dependent
upon the quality of the methodology used to select those cases. During
this reporting period the monitoring team learned, for the first time, that
APD has not been accurately reporting the total number of use of force
cases. In preparation of past reports the monitoring team requested a list
of use of force and show of force cases that occurred during a specific
timeframe. From that list of cases the monitoring team would select a
random sample of cases to review. We learned in May 2017 that APD
was only reporting those cases that were closed, not all cases that were

98 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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reported. That shielded the fact that there were numerous cases
pending 99 and those cases left significant gaps in the data. It also raised
serious questions as to why cases were pending for such extended
periods of time.

During our June 2017 site visit we met with the Chairperson of APD’s Force
Review Board (FRB). At that time, we alerted him to the use of force data
discrepancy and the fact that the monitoring team had not been provided
accurate data for the past monitoring periods. During our meeting, we asked if
the 10% sample of serious use of force cases the FRB reviews is from the entire
list of cases, or only those that are completed. We learned that neither he, nor
another command level representative of the FRB, knew that the FRB was
reviewing a 10% sample of all use of force cases. In fact, it took an APD analyst
to come to the meeting to make them aware of this fact. This is a critical failure
on the part of APD’s FRB process, and the fact that there is a significant backlog
of serious use of force investigations (dating at least back to January 2017)
effectively negates the legitimacy of the FRB’s methodology of choosing cases.
If a random sample of cases is going to be legitimate, every use of force case
reported during a set timeframe must have an equal chance of being chosen for
review. Arguably, cases that are incomplete for extended periods of time are of
greater interest since they may reveal more significant policy violations or other
salient issues. That fact appears to have been completely lost on APD, and the
fact that the commanders specifically responsible for the implementation of the
FRB ’s were unaware of this critical shortcoming is incomprehensible to the
monitor.

As of August 2017, the monitoring team made the following observations of the
use of force data reported by APD:

        1. APD reported a total number of 211 distinct use of force cases
              involving 307 officers.
        2. As of August 1, 2017, none of the reported supervisory use of force
              cases for the months of May, June or July 2017 were
              completed.
        3. As of August 1, 2017, there were still approximately twenty (20)
              reported supervisory use of force cases pending from January
              2017. 100
        4. Data were requested concerning reported show of force cases for the
               timeframe of February 1 through April 30, 2017. 101 When the data

99  We learned that some supervisory use of force cases were still pending and in the chain
review process 4-5 months after the original event occurred.
100 We say “approximately”, instead of being more precise, due to the confusing manner APD
lists information. Regardless, numerous cases reported at the supervisory level are pending in
January 2017.
101 Because the data was presented differently the data set reported on is more limited than the
cases of use of force, however, the numbers are further illustrations of the significant
investigative backlogs APD currently holds.
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             were reported in May 2017 there were still twelve (12) incomplete
             show of force investigations for the month of February.

The monitoring team feels that these statistics demonstrate that APD’s FRB
oversight of use and show of force has reached a point of critical failure.

For IMR-5 the monitoring team reviewed FRB reports from their August
23, 2016, meeting. We documented numerous deficiencies in the
manner the FRB is conducted and issues related to FRB member
comments in their reporting sheets. For instance, we saw examples
where the FRB documented board members "refraining from answering”.
Whether the instances of FRB members "refraining from answering" are
oversights, or are purposeful, was left as an open question. We
commented that the fact that we saw “refrained from answering” on more
than one occasion and during more than one FRB meeting was
disconcerting. We followed up on this fact during our June 2017 site
visit. While meeting with the Chairperson of the FRB we opened the
meeting by asking if he had any specific questions or concerns from IMR
- 5 (related to the FRB). He commented that he did not agree with some
of the feedback we provided, and when asked to provide an example he
specifically stated that he disagreed that some members of the FRB
“refrained from answering” during meetings. When told that that specific
phrase was taken directly from documents APD provided he appeared to
be completely unaware of that fact.

On a positive note, during this reporting period, the monitoring team
reviewed twelve (12) FRB referrals that resulted from meetings APD
conducted in March 2017. We see evidence that APD is assigning
specific responsibilities that result from FRB meetings and found
documentation that FRB referrals are being addressed in the field. This
is a significant step and demonstrates that this aspect of the FRB is
continuing to improve. Likewise, APD provided an Excel spreadsheet
that was prepared by a FSB lieutenant who has also been tasked with
assisting with administrative needs related to CASA compliance. The
monitoring team reviewed the document, entitled “IMR-5
Recommendations” which breaks down FRB recommendations from
IMR-5, and includes a number of related categories related to a specific
recommendation, including the category “Proposed Solution”. We see
this as a good step toward organizing feedback APD receives in
monitoring reports.

Secondary compliance for this paragraph is not attained due to training
gaps that previously existed or emerged during this monitoring period
(See Paragraphs 86 - 88). These items will need to be remediated
before APD achieves secondary compliance with this paragraph. Until
Secondary compliance is attained Operational compliance will remain
pending.
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       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.44a: APD should ensure that the FRB process
is integrated and methodical, requiring each “out of policy” action
to be assessed for causes, remaining issues, and recommended
responses to ensure that organization-wide implications are
addressed in their problem response modalities as well as officer-
specific, supervisor-specific and command-specific responses;

Recommendation 4.7.44b: APD should assess other similar
processes in other police agencies known to be effective at dealing
with such issues and review their processes for “lessons learned”
that can be applied to APD’s processes.

Recommendation 4.7.44c: APD should make it clear that “refrain
from answering” is not a viable response. If APD cannot get a
decision about a given use of force issue at this level, it suggests
either a lack of training, a lack of structuring of the process, or a
lack of commitment to improving.

Recommendation 4.7.44d. APD should assess its FRB panelists to
ensure they understand current policy and practice and are clear
about the FRB’s purpose. To the extent that they find members
who continually “refrain from answering” they should be re-trained
or removed from FRB participation, with appropriate notation why
in their APD personnel files.

4.7.45 Assessing Compliance with Paragraph 58: Reassignment of
Force Review

Paragraph 58 stipulates that:

“At the discretion of the Chief, a supervisory force investigation
may be assigned or re-assigned to another supervisor, whether
within or outside of the Command in which the incident occurred,
or may be returned to the original supervisor for further
investigation or analysis. This assignment or re-assignment shall
be explained in writing.”

Methodology

APD SOP’s related to use of force 102 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and

102 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained pending until June 2017, when the monitor approved
each of the recently submitted four use of force related policies. The
Force Review Board was recast as SOP 2-56, which better aligns it
within the use of force suite of SOPs.

Results

Secondary compliance is not attained due to items missing or processes
incorrectly done during the Use of Force and Supervisory Investigation
of Use of Force training identified in the “Gap Analysis” provided to the
City). 103 These items will need to be remediated before APD achieves
secondary compliance with this paragraph.

          Primary:     In Compliance
          Secondary: Not In Compliance
          Operational: Not In Compliance

Recommendation 4.7.45a: APD should initiate a systems-wide
failure analysis regarding this case and determine at what points
the most critical systems failed to perform as expected or required.

 Recommendation 4.7.45b: Once the failure points are identified, a
thorough review of any cases with similar fact circumstances,
similar command reviews, or other similar issues are noted.

Recommendation 4.7.45c: Once the failure analysis is complete,
APD should identify lessons learned and recommend policy,
training, systemic, supervisory, and/or management oversight
systems that need to be revised, upgraded, or otherwise modified.
Recommendation 4.7.45d: Assessments outlined above should not
be restricted to the case giving rise to these recommendations, but
should address all similarly situated FRB reviews.

Recommendation 4.7.45e: Revise policy, training, supervision and
command issues reflecting similar outcomes accordingly.

4.7.46 Assessing Compliance with Paragraph 59: Abuse of Force
Discipline

Paragraph 59 stipulates:



103   See Paragraphs 86 - 88.
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“Where, after a supervisory force investigation, a use of force is
found to violate policy, the Chief shall direct and ensure
appropriate discipline and/or corrective action. Where the use of
force indicates policy, training, tactical, or equipment concerns,
the Chief shall also ensure that necessary training is delivered and
that policy, tactical, or equipment concerns are resolved.”

Methodology

APD SOP’s related to use of force 104 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. The update of APD’s use of force suite of
policies remained pending until June 2017, when the monitor approved
each of the four (4) use of force related policies. The Force Review
Board was recast as SOP 2-56, which better aligns it within the use of
force suite of SOPs.

Results

Operational compliance is not calculated for this paragraph because of
outstanding training issues. However, we note that this paragraph builds
upon information that would be gleaned from data contained in earlier
paragraphs of the CASA. APD can gain insight as to their current
operational compliance posture by reviewing past feedback the
monitoring team has provided and the tables of compliance in IMR - 5.

Secondary compliance is not attained due to training gaps that still exist
or emerged during this reporting period. These items will need to be
remediated carefully before APD achieves Secondary Compliance with
this paragraph.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.46a: APD should initiate a systems-wide
failure analysis regarding [IMR6-001] and determine at what point
the most critical systems failed to perform as expected or required.

 Recommendation 4.7.46b: Once the failure points are identified, a
thorough review of any cases with similar fact circumstances,
similar command reviews, or other similar issues should be
conducted.

104 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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Recommendation 4.7.46c: Once the failure analysis is complete,
APD should identify lessons learned and recommend policy,
training, systemic, supervisory, and/or management oversight
systems that need to be revised, upgraded, or otherwise modified.

Recommendation 4.7.46d: Assessments outlined above should not
be restricted to the case giving rise to these recommendations, but
should address all similarly situated FRB reviews.

Recommendation 4.7.456e: Revise policy, training, supervision
and command issues reflecting similar outcomes accordingly.

Recommendation 4.7.46f: APD must ensure that specific
performance deficiencies, throughout the chain of command,
associated with [IMR6-001] are properly addressed through
counseling, training and/or discipline.


Assessing Compliance with Paragraph 60-77: Force Investigations
by the Internal Affairs Bureau

The series of related Paragraphs 60 through 77 encompasses requirements for
Internal Affairs. These requirements direct members of Internal Affairs to
respond to the scene and conduct investigations of serious uses of force, uses
of force indicating apparent criminal conduct by an officer, uses of force by APD
personnel of a rank higher than sergeant, or uses of force reassigned to Internal
Affairs by the Chief.

APD’s Professional Accountability Bureau (PAB) oversees the Internal Affairs
Division (IAD), which has three subordinate units, the Internal Affairs Section
and Critical Incident Review Team (CIRT) Unit, and also, the Force Investigation
Team (FIT). CIRT handles all administrative investigations, focusing on
“lessons learned” from its case reviews, and is the initial IA responder to
investigate serious uses of force. Thus, APD has functionally placed CIRT in the
center of the duties and responsibilities the agency carries with respect to CASA
compliance. APD uses its Force Investigation Team (FIT) to investigate all
criminal implications of uses of force, the underlying incident that led to a
specific serious use of force, Officer-Involved Shootings (OIS), or In-custody
Deaths, and as APD’s representative on the Multi-Agency Task Force (MATF).
Both CIRT and FIT typically respond to the same incidents, but for different
purposes. This is not a function of the CASA, but an APD construct for
addressing its CASA responsibilities.

In the ensuing paragraphs related to IA, the monitoring team determined, based
on a careful review of training materials provided by APD, that the organization
has reached Secondary Compliance within this series of paragraphs. In keeping
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with past activities, the monitoring team requested serious use of force report
ledgers, use of force reports and related materials to conduct case reviews that
would serve as an assessment of APD’s operational progress. During this
monitoring period, notable occurrences have reinforced the opinion of the
monitoring team that significant work is left to be done in APD’s investigations
into serious uses of force. The monitoring team requested five separate serious
use of force investigations to review. 105 Based on a number of key observations
we have made concerning the current state of APD’s overall use of force
oversight system, the monitoring team did not conduct in-depth reviews of each
of the serious use of force cases we were presented. 106

The monitoring team has commented in past reports and during site visits on the
extraordinary workload that is often placed on CIRT and FIT. In the professional
opinion of the monitoring team, the increased responsibilities placed on
personnel assigned to these Units strained staffing levels given the CASA
imposed deadlines and quality requirements, and the organizational culture in
which CIRT and FIT operate on a daily and long-term basis. Each of these
factors contribute to our consistently noted serious deficiencies in the oversight
and accountability process, particularly with respect to force reporting,
supervisory-level investigations and chain of command reviews. The monitoring
team reviewed an Excel spreadsheet that APD provided in response to a data
request. The specific request was to provide the monitoring team with a ledger
of serious use of force cases that occurred throughout the year, up to and
including July 31, 2017. APD accommodated that requested and provided a
detailed Excel spreadsheet that listed 38 separate CIRT case numbers, the date
that each case was opened by CIRT and/or FIT, the date that the case was
closed, and the date that the serious use of force case was delivered to the FRB
(et.al.). A review of that ledger revealed that as of August 1, 2017, APD had 31
separate serious use of force cases were open/pending in one manner or
another. Between the dates of January 1, 2017 and June 1, 2017, APD
reported 23 serious use of force cases, 17 of which (74 percent) were still
pending. 107 The ledger reviewed illustrated that APD's responses to serious use
of force events are still untimely overall. As we have articulated in previous
reports, we believe that this is a result of three problems: insufficient staffing,
lack of effective training, and ineffective business processes (policies,
procedures and processes).



105 We intended to include [IMR6-001] for a total of six serious use of force reviews. That case
was provided prior to the June 2017 site visit concerning a FRB meeting we attended, and is
detailed in more detail elsewhere in this report.
106 In addition to specific separate points of justification noted in Paragraphs 14 and 41, two
serious use of force cases that were reviewed inform this decision. [IMR6-001 & IMR6-009]
107 These numbers translate to a 13.5% case completion rate within 60 days of a reported
serious use of force. Paragraph 71 requires IA to complete an administrative investigation within
two months after learning of the use of force. Investigations are not complete until final approval
occurs.
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As detailed earlier in this report, the monitoring team was presented with a case
during this reporting period that, in our opinion, implicated and amplified
deficiencies throughout the entire APD use of force oversight system. That case
[IMR6-001] was of such significance to the monitoring team that it had a direct
impact on its approach to assessing multiple paragraphs. Considering the
significance of this case, in the opinion of the monitoring team, APD would be
wise to step back and take cognizance of its entire use of force oversight system
including the handling of serious uses of force. A “failure analysis” is highly
recommended (see for example:
http://research.me.udel.edu/~jglancey/FailureAnalysis.pdf. )

Another critical issue the monitoring team encountered is the initial handling and
follow-up activities of [IMR6-009]. This use of force took place on March 26,
2017. An officer from the Northeast Area Command was the principal officer in
the incident and the only officer who utilized physical force; by all accounts a
non-complex application of force. A sergeant conducted the front-line
supervisory use of force investigation, a lieutenant conducted the Lieutenant’s
Review, and a commander conducted the Commander Review. Everybody who
reviewed the case was apparently comfortable in handling the case as a
supervisory use of force investigation and subsequently closing the case.

Three months after this incident occurred, an Albuquerque Assistant City
Attorney completed a critical review of the closed investigation and forwarded to
an APD staff member in the Field Services Bureau (FSB) 22 problems or
questionable behaviors he gleaned from his review. These 22 points included a
failure to activate the OBRD consistent with SOP, a supervisor providing an
officer with a Garrity card as well as failing to obtain a phone number and
address for civilian witnesses (and discouraging a written statement from at
least one civilian), and a number of points that support his claim of a superficial
investigation and analysis of the incident. The City Attorney specifically pointed
out that when being interviewed by the sergeant, the officer’s description of his
knee slipping into the subject’s jaw is not supported by the recording of a civilian
cell phone video. The Assistant City Attorney found the officer can be seen in
that video holding the subject’s arm into the air while he places his knee directly
onto the side of the subject’s head, pinning him to the concrete, after which the
subject’s head “began to bleed more profusely.” The Assistant City Attorney
opined there is no slipping and the placement of the knee on the head was
intentional.

The commander who conducted the initial Commander’s Review in this case is
now assigned to APD Headquarters. This commander, in his new role, received
the communication from the Assistant City Attorney and then coordinated
communications with the acting commander of the Northeast Area Command on
this matter in which he was directly involved in handling and making a final
determination. At a minimum, best practices in law enforcement and government
operations dictate that this member had a duty to recuse himself from further

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oversight of this matter. However, he stayed in the communication “loop”
throughout the subsequent reviews, inclusive of communicating with CIRT.

A review of the various communications pertaining to this incident and
subsequent field “re-reviews” reveals field supervisors allege CIRT was
contacted immediately after the use of force incident and CIRT declined to
respond. When providing additional clarification on June 30, 2017, about his
actions and inactions pertaining to this incident, the sergeant who contacted
CIRT the night of the incident affirmed that he supported the decision of CIRT
not to respond to the scene. Even though this response to the scene is a
responsibility of CIRT and a determination to be made by CIRT, the sergeant
articulated in his memo that he recommended “...it was not a CIRT callout.”

Interestingly, a review of case facts as peripherally discussed here reveals the
problematic confluence of formal and informal communications, and directives
and their collateral, sometimes unintended, adverse impacts. This use of force
incident occurred approximately two weeks after the CIRT supervisor
proclaimed in a March 10, 2017, memo that his Unit would handle misconduct
investigations (despite a recognizably heavy workload with a troublesome
backlog), instead of handing them off to a more traditional Internal Affairs group
whose responsibility by SOP is to handle misconduct. 108 While on one hand
CIRT decided on its own to take on the added burden of continuing CIRT
investigations and investigating misconduct (without taking an “I” case number
to identify and track a misconduct case), it appears members of CIRT shirked
their responsibility to respond for the callout of this incident at a time when they
were embarking on also handling misconduct.

What the monitoring team views as a culturally hypersensitive approach to
investigating misconduct seems to be taking its toll on APD resources. This use
of force seems to be another exemplar of this organizational attribute. Despite
an Assistant City Attorney pointing out significant issues (including legal
implications) in the way a use of force was used, investigated, reviewed, and
closed, the communication was not transmitted in a confidential manner to
Internal Affairs, but by email to a wide swath of individuals. Notably, none of
these individuals are CIRT, IAD, or PAB personnel. The first person to respond
to the email (two minutes after receiving the email) is the same person who
conducted the Commander Review of the supervisory investigation in the first
place. This person did not send or formally notify CIRT, IAD, or PAB personnel
about this communication from the Assistant City Attorney; he immediately
sends it back to the same chain of command involved in the initial supervisory
investigation.




108Although CIRT decided it would handle misconduct cases in March 2017, the May 2017
Internal Affairs Force Investigation Training provided by the CIRT supervisor asserted CIRT is
“NOT A MISCONDUCT UNIT.”
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Nothing we have reviewed here indicates any improper intent on the part of this
APD member. We simply illustrate this point to demonstrate how APD seems to
have an intense cultural resistance to referring matters to Internal Affairs that
should be referred. In fact, when the FSB representative finally refers the “re-
review” of this matter outside of the FSB, he sends it to CIRT and affirms that
this should have been a CIRT case. More importantly, when the CIRT
supervisor receives the email transmittal of documents pertaining to this case,
he communicated immediately with the IAD Commander, the logical command
that should have received this information in the first place. The CIRT supervisor
briefly summarized the dilemma as he saw it, adding “I would think now that the
case is closed by the Commander, it would take reassignment by the Chief to IA
if it is to be further investigated (whether that happens through FRB or simply
the Chief himself).

This “referral” is further complicated in that there is an apparently false claim by
the chain of command that CIRT was consulted on the night of the use of force,
but the supervisor ultimately classified the case as non‐serious.” Two points to
highlight here about this communication are: 1) The CIRT supervisor believed
the only way this debacle gets investigated is by request of the Force Review
Board (FRB) or the directive of the Chief; and 2) The fact that CIRT may have
violated SOP by not responding to the scene on the night of the incident. Across
the nation, law enforcement executives empower their internal affairs
professionals to initiate internal affairs misconduct investigations when there is
indicia of administrative or criminal conduct. This seems to be a problematic
concept for APD. Furthermore, the information that indicated CIRT was
contacted on March 26, 2017, when this incident occurred and did not respond
for whatever (possibly legitimate) reasons, would provide internal affairs
professionals the impetus to recuse themselves from participating in this
reinvestigation. However, as documents provided to the monitoring team
indicate, CIRT opened an investigation into this matter on June 27, 2017, and
began the investigation while at the same time the FSB was conducting its re-
review. 109 The FSB re-review concluded one week later. As of August 10, 2017,
the CIRT investigation was not available to the monitoring team because it was
still being reviewed by the CIRT chain of command. 110

The amount of time this case has consumed, the carefully constructed memos
provided by various APD personnel (especially above the rank of officer), and
109 In the same manner how CIRT and FIT respond to the same incidents, but for different

purposes, can confound law enforcement professionals and efficiency experts alike, here a CIRT
(not administrative misconduct) case is initiated at the very same time field commanders are
reviewing their work and recasting their previous lack of diligence in the form of another quasi-
supervisory investigation. Again, just like the CIRT/FIT joint response for differing purposes is
not a function of the CASA, but an APD construct, the simultaneous initiation of the CIRT
investigation while the field reinvestigation of the incident is occurring is not only not CASA-
driven, but inefficient and improper.
110 Since this case was still be reviewed, we have intentionally refrained from commenting on the

original investigation and review of this incident, inclusive of the scope and verbiage of the
memos provided to date.
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the vulnerabilities it has revealed generate extreme concerns among the
monitoring team. Certainly, future data requests will contemplate these
vulnerabilities. We believe the continued deference to Area field command
personnel on CASA-audited actions central to the CASA (e.g., what constitutes
force, reprieves for OBRD noncompliance, etc.) will continue to deliver variability
that will make full compliance a remarkably elusive goal. APD should also take
pause to consider a critically central and wide-ranging concern:

         The APD has reached a point where they must consider
         the efficacy of their entire use of force oversight system
         and how it aligns with the reform progress to date,
         especially given the attitudes of supervisors and
         commanders within that system to excuse behavior that
         contravenes and undermines compliance efforts.

Follow-Up - Past Monitoring Reports:

The monitoring team, over the last several reports, turned to members of
IA/CIRT to provide us with an understanding of the follow-up activities APD took
with respect to three specific use of force cases 111 [IMR-5-22, IMR-5-024, IMR-
5-023 112]. These cases, all of which include the use of an ECW, were first
reported in Paragraph 46 for IMR-3, then reiterated in IMR-4, wherein the
monitoring team expressed deep concerns over the content and accuracy of the
initial reports by the officers and follow-up investigations conducted by their
supervisors. Initially, the monitoring team intended to address these cases
during its June 2016 site visit, but as we have previously reported IA/CIRT had
just received IMR-3 days before the visit and they did not have an opportunity to
review our comments. 113 We deferred our discussion for a later time with the
expectation that APD would appropriately address the cases, and our concerns,
in some legitimate fashion.

In preparation for our site visit in November 2016, we provided APD with a
proposed schedule and indicated within that schedule that we wanted to discuss
the same three cases. When we met with members of IA/CIRT it was apparent

111  This practice has been the most effective because of the significant interrelationship IA/CIRT
has with all use of force investigations.
112 We note that [IMR-5-023] was reported as being satisfactorily handled in IMR – 5, save for
counseling that we believe was appropriate, but APD was not aware of that determination by the
time the monitoring team arrived on site in June 2017.
113 Excerpt from Paragraph 46, IMR-4: “With respect to the Use of Force and Show of Force
cases reported in IMR-3, the monitoring team notes that APD did not have an adequate amount
of time to read and assess the information in that report prior to our June 2016 site visit --- since
the report had only been provided a few days before that visit. Typically, the monitoring team
will review the cases it comments on with APD, particularly if cases had significant deficiencies.
Since the monitoring team provided sufficient detail in IMR-3 for APD to self-assess and make
determinations as to the proper follow up actions that may be necessary in each case, we will
review these cases in detail during our November 2016 site visit to determine any follow up
activities APD has conducted and report on those activities in IMR-5.”
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not only that they were unfamiliar with the cases, but more importantly, it was
immediately clear to the monitoring team that nothing had been done to address
the multiple critical issues raised by those cases. Instead, we were referred to
the Area Commands to determine what had been done with the cases, but there
was no indication that any referral had been made back to the Area Commands
(following our previous reports)! We find such a conundrum unsupportable in a
modern American police department. Since the issue was not reconciled during
the site visit we followed up that meeting with an additional data request in
preparation for IMR-5. In response, we were provided with a two-page
interoffice memorandum from APD, dated January 23, 2017. The memoranda
acknowledged the conversation that occurred while the monitoring team was at
APD in November 2016 and the fact that these three cases were discussed.

In IMR-5 we noted, “It is nearly incomprehensible that after five attempts114 to
prompt a legitimate follow-up on cases that the monitoring team has identified as
problematic, two of the three remain unresolved after nine months.” We also
noted: “At a minimum, these findings denote a basic failure to receive and
comprehend information the monitoring team provides (either through
monitoring reports, Special Reports or in-person meetings), break that
information down into tasks to be addressed by members of the department,
address issues meaningfully, ensure that proper remediation of performance
deficiencies occurs, and document the process.” In the interim, that situation
has only become worse!

Along a similar vein, while on site in June 2017, APD requested a meeting with
the monitoring team to discuss steps they had taken toward reconciling
concerns the monitoring team raised in past reports about
[IMR-5-022, IMR-5-024, IMR-5-023]. This was an impromptu meeting, and the
monitoring team were not provided copies of reports ahead of time. Shortly into
the presentations the meeting ended and the monitoring team requested copies
of the reports that were prepared to have an adequate opportunity to assess the
actions that APD took to remediate concerns the monitoring team first
documented in IMR -3. (Parenthetically, we note that IMR-3 was filed with the
Court in July 2016, nearly a year prior.)

As noted in IMR-5, the concerns raised concerning [IMR-5-023] were
adequately addressed by APD, as that case principally involved a reporting
discrepancy over the duration of an ECW deployment in the initial supervisory
force investigation. The investigating supervisor indicated that the ECW
deployment of an officer lasted 30 seconds, where ECW ledgers indicate the
cycle lasted 5 seconds. If the incident did include a 30 second cycle of an ECW
it would have constituted a serious use of force. The follow up activities, and the
findings therein, were consistent with observations the monitoring team made of

114  1) Reported in IMR-3; 2) Discussed during our June 2016 site visit; 3) Listed in our proposed
November site visit schedule; 4) Discussed at our November 2016 site visit; 5) Requested any
follow up in preparation for IMR-5.
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the lapel camera footage, but since the documentation indicated otherwise the
discrepancy needed to be documented.

The monitoring team reviewed an Interoffice Memorandum dated, July 5, 2017,
that documented efforts an Area Commander took to review monitor comments
related to [IMR-5-024]. That memorandum addressed potential performance
deficiencies he recognized with the initial event. Essentially, the Area
Commander agreed with each of the assessments the monitoring team
reported 115, and made eight separate “Recommendations” as a result of his
observations. However, there is nothing in the documentation the monitoring
team reviewed to suggest that any of the “Recommendations” have been
followed up. This is certainly a serious incident of failing to “close the loop!”

The monitoring team reviewed an Interoffice Memorandum dated May 12, 2017,
and associated materials, that documented efforts an Area Commander took to
review monitor comments related to [IMR-5-023]. Within the associated
materials were additional Interoffice Memorandums prepared by members of
APD's Academy staff. In our opinion the documentation related to this case,
and the actions taken to remediate this case, are unacceptable. The reports we
reviewed failed to adequately address basic elements of the actions taken by
officers involved in the event, and reconcile those actions against those officers’
official reports. We have long since passed the point in time where any
meaningful performance remediation can occur in this case since the cases date
back to December of 2015! APD has offered perspectives on this case that we
may have to refer to in future reports.

For the past year and a half the monitoring team has been following up these
cases with the ultimate goal that some measure of meaningful oversight and
review would occur. There will be times that the views of APD personnel and the
monitoring team will differ, but in the end APD has a responsibility to ensure that
cases are properly reported, investigated and documented. It is clear in the
documentation of all three cases that APD recognized that proper
documentation, and proper investigation, did not occur. The monitoring team
does not believe that any further reporting on these cases will reveal meaningful
value. However, we will follow up with Academy personnel during our next site
visit to discuss the perspectives offered in response to monitoring team
feedback.

4.7.47 Assessing Compliance with Paragraph 60: IAB Force Review

Paragraph 60 stipulates that:



115 The Area Commander did not agree that officers at the scene “lost control” of the situation at
the scene. At this point we see little value trifling over such a detail since the Area Commander
validates each other observation by the monitoring team.
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“The Internal Affairs Bureau shall respond to the scene and
conduct investigations of serious uses of force, uses of force
indicating apparent criminal conduct by an officer, uses of force
by APD personnel of a rank higher than sergeant, or uses of force
reassigned to the Internal Affairs Bureau by the Chief. In cases
where the Internal Affairs Bureau initiates a criminal investigation,
it shall ensure that such investigation remains separate from and
independent of any administrative investigation. In instances
where the Multi-Agency Task Force is conducting the criminal
investigation of a serious use of force, the Internal Affairs Bureau
shall conduct the administrative investigation.”

Methodology

The Internal Affairs “suite of policies” has been re-numbered, and now
includes policies covering several different entities related to the
administrative and/or criminal investigation of uses of force, misconduct
that may be identified as a result of those investigations, and the
imposition of discipline. SOP 2-05 has been recast as SOP 7–1; IA has
instituted a handbook; the Critical Incident Review Team (CIRT)
responsibilities are now codified in SOP 7-2; the Force Investigation
Team (FIT) responsibilities are now codified in SOP 7-3; Complaints
Involving Department Policy or Personnel is now codified in SOP 3-41;
and the Discipline System is now codified SOP 3-46. We note that the
Investigative Response Team (IRT) has reverted back to its previous
name, the Force Investigation Team (FIT). Because these policies
provide the foundation for training and field implementation, the
monitoring team requested copies of any documentation pertaining to
training PAB personnel have received with respect to their relevant
SOP's, during the IMR 5 reporting period. The monitoring team was
provided with two “lesson plans” (actually little more than outlines) and
PowerPoint presentations, PowerDMS records related to a number of IA
related policies and also an interoffice memorandum, dated October 12,
2016, entitled "Garrity Advisements" authored by the commander of IAD
to his personnel. We were provided with numerous certificates of
attendance, primarily originating from courses developed outside of APD,
which we expect were intended to demonstrate their personnel were
appropriately trained. We were also provided with a series of interoffice
memorandums that were prepared by a member of FIT. These
memorandums were purported assessments of external training courses
attended by FIT personnel, presumably with the intention of
demonstrating the content of the courses met certain provisions of the
CASA.

To reach Secondary Compliance, APD must first demonstrate that it
adequately trained PAB personnel on its own policies and protocols,
inclusive of the handbook, or “System Manual,” that was created by IA.
While external training is important, it cannot, by definition, fill this critical
“systems” need.
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Results

In preparation of this report the monitoring team requested numerous
sets of data for this Paragraph. Many of the requested records pertain to
this Paragraph, as well as other Paragraphs within this section of the
report that focus on Internal Affairs and use of force investigations. Our
review of these records will appear in the various “Results” sections of
subsequent Paragraphs. What immediately follows is the analysis of
records submitted to the monitoring team that allows us to evaluate how
APD approaches its continuing responsibility to train their own policies
and procedures. This is a cornerstone of reaching Secondary Compliance
for this as well as several other paragraphs. Therefore, we address this
matter of Internal Affairs training in this paragraph.

During our site visit, the monitoring team was briefed on the emergence
of a number of policies and procedures that were approved and being
implemented in the weeks before our site visit and planned for the period
immediately following our visit. This included the May 10, 2017 delivery
of the “IA Force Investigations Training Program.” This one-day training
program was tailored for the CIRT. Attendance records reveal all active
duty sergeants and detectives assigned to CIRT attended the training.
Additionally, supervisory personnel and detectives assigned to the
Internal Affairs Section (IAS) also attended the training. The 110-slide
PowerPoint presentation addressed the elements of supervisory force
investigations inclusive of critical tasks for investigators, such as:
ensuring investigations include information required by the CASA;
considering all relevant evidence and making credibility determinations,
and making reasonable efforts to resolve material inconsistencies
between officers and other involved persons. The training materials
included small group exercises, samples of reports, a video from an
OBRD during an interview and subsequent use of force incident, and a
multiple-choice test (for which the average test score was 97.4).
Objectives for the training program (as listed in the program’s syllabus)
focused on: 1. The policies and procedures of the unit, 2. the
Supervisory Force Investigation process; 3. Similarities as well as
differences between CIRT and Supervisory Investigations; 4. How to
make credibility determinations 5. Analyzing officer actions (and
documenting this in a Supervisory use of force investigation); and 6.
How to identify and follow-up on areas of concern. The objectives were
written slightly differently in the “Instructor’s Outline.” For example,
Objective #4 in the program’s syllabus states, “Demonstrate the
methodologies for making credibility determinations.” Objective #4 in the
“Instructor’s Outline” states, “Explain how to make credibility
determinations.” While the language used in the two versions of the
same learning objective might seem slight, the learning activities
associated with reinforcing this objective in a training course are quite
different, item construction (test questions) for each version of the
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learning objective will be different, and the expected performance in the
field from this type of variation in the learning objective language can be
compromised. This incongruity needs to be resolved. Similarly, objective
#5 in the program’s syllabus states, “Explain how to properly prepare a
Serious Use of Force narrative write-up,” while Objective #5 in the
“Instructor’s Outline” states, “Analyzing officer actions and documenting
a Supervisory Use of Force investigation.” The analysis of officer actions
and preparation of a written narrative are different learning objectives.
This needs to be clarified or corrected. We are seriously concerned that,
this late in the compliance process, we have the need to “explain” such
rudimentary issues to training staff.

While nuances with the learning objectives need to be addressed to
optimize the efforts put forth in developing and delivering the training,
APD has demonstrated it has adequately conducted a needs
assessment and subsequently trained PAB personnel on its own policies
and protocols. This is further evidenced by the CIRT Handbook being
disseminated at this training and being central to the training program’s
learning objectives. Included in this handbook were copies of relevant
SOP’s, inclusive of: 2-8 (Use of On-Body Recording Devices/
Management of Recordings); 2-52 (Use of Force); 2-53 (Electronic
Control Weapon--ECW); 2-54 (use of force Reporting & Supervisory
Force Investigation Requirements); 2-55 (use of force Appendix); 2-56
(Force Review Board); 7-1 (Internal Affairs Section), 7-2 (Critical Incident
Review Team – CIRT); 7-3 (Force Investigation Team - FIT); and
pertinent paragraphs from the USDOJ Settlement Agreement.

Based on the records we reviewed for this and other related courses as
noted in other Paragraphs of this monitoring report, APD has
demonstrated they have developed and delivered adequate training to
address their governing policies, procedures and processes, thus
securing secondary compliance for this Paragraph.

APD has required courses in its training matrix for personnel assigned to
the PAD. A number of these courses, to include courses by IPTM and
John Reid and Associates, are well-known and highly regarded within
professional law enforcement circles. However, no evidence was
provided or reviewed that established APD’s efforts to vet or conduct
due diligence on externally provided courses and how they may impact
CASA-required actions as they relate to force and misconduct
investigations. We have noted this critical issue repeatedly. This effort
must be prioritized because even reputable programs developed by
private vendors will provide instruction that may not be consistent with
New Mexico state law, the directives contained in the CASA and/or APD
policy. This fact has been communicated in the form of technical
assistance to APD on numerous occasions in the past, yet it still remains
an issue. At the risk of being redundant, developing a systematic vetting
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process for external training is vital to securing long-term compliance.
This type of training oversight system will protect APD from exposing its
members to external training sources that provide content inconsistent
with its reform efforts, policy or state law. Despite the import of these
recommendation, we still note resistance to that advise. We can only
see this as deliberate, given the number of times we have raised this
with APD.

During our site visit, APD members advised members of the monitoring
team of FIT’s fluctuating staffing levels. APD members indicated in
November 2016, FIT had four detectives doing serious Use of Force
investigations. Subsequently, staffing rose to ten investigators, but FIT
was currently staffed by eight investigators of which six investigators are
currently assigned to conduct serious Use of Force investigations.

The monitoring team also learned that Internal Affairs Division personnel
apparently unilaterally suspended parts of the APD directive on CIRT
investigations, thus placing CIRT protocols in conflict with monitor-
approved policy regarding misconduct investigations related to Use of
Force investigations. Internal Affairs Division personnel also discussed
not taking an Internal Affairs Section “I number” when a serious Use of
Force case had indicia of misconduct, instead waiting for the Force
Review Board to rule on the matter. Documents submitted to the
monitoring team pertaining to these matters have been reviewed. These
documents, which affirm the monitor was not advised about amending
any policy, include the actual March 10, 2017 memo from the CIRT
supervisor suspending parts of the APD policy on CIRT investigations,
as well as rescission orders neutralizing the March 10 memo. The
rescission order (made only after the monitor notified APD of the issue)
neutralizing the March 10 memo was addressed in weekly briefings to
CIRT members on June 27 and July 11, 2017, and followed up with a
written order from the CIRT supervisor on July 12, 2017. The issue of
not taking an “I number” when a serious Use of Force case had indicia of
misconduct was addressed and guidance provided (consisting of a
referral to IAS) during the July 11, 2017 weekly CIRT meeting.
Additionally, the monitoring team reviewed written documentation of
“coaching” provided to two senior APD members to ensure an Internal
Affairs Section “I number” is taken when a serious Use of Force case
had indicia of misconduct.

We have noted repeatedly that our impression is that staffing currently
may be sub-optimal to handle the present workload, based upon the work
flow data we have reviewed. As we have noted previously, this causes
concern for several reasons: Timely feedback is delayed, which means
that deficiencies take longer to detect and remediate. We have noted
that this is especially crucial during early stages of an organizational
reform process. Although the Force Review Board (FRB) does review a
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small sample of investigations, for a number of reasons, the monitoring
team does not regard that as a sufficiently robust level of oversight.
During IMR-5 the monitoring team was advised of a proposal to create a
“Central Oversight Unit” that may address some of these issues. The
monitor’s requests for copies of the proposal to create this Unit and
information about where the Unit would reside within the APD table of
organization have not been produced to date. This seems to be a
recurring problem at APD under present leadership: we frequently hear
of extenuating “plans” designed to ameliorate a given problem identified
by the monitoring team, only to find a failure to follow through with
specific remedial efforts. We remind APD yet again, we monitor
execution, not intention. This is but another indication of organizational
entropy at APD.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.47a: The language of the learning objectives
need to be addressed to optimize the efforts put forth in developing
and delivering the “IA Force Investigations Training Program.”

Recommendation 4.7.47b: Prioritize efforts to vet or conduct due
diligence on externally provided courses and how they may impact
CASA-required actions as they relate to force and misconduct
investigations.

4.7.48 Assessing Compliance with Paragraph 61: Criminal and Civil
Force Investigations

Paragraph 61 stipulates:

“The Internal Affairs Bureau will be responsible for conducting
both criminal and administrative investigations, except as stated in
Paragraph 60. The Internal Affairs Bureau shall include sufficient
personnel who are specially trained in both criminal and
administrative investigations.”

Methodology

The Internal Affairs “suite of policies” have been re-numbered, and now
include policies covering several different entities interconnected to the
administrative and/or criminal investigation of uses of force, misconduct
that may be identified as a result of those investigations, and the
imposition of discipline.

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As we have noted previously, from our reviews and discussions with FIT,
CIRT and IA staff, APD has erected a strong firewall that permits a one-
way flow from FIT to IA, but not the reverse. During our November 2016
site visit the monitoring team discussed information breakdowns that
occurred in a specific, previously reported, serious use of force case and
how a FIT investigation into potential criminal liability was hindered (even
diminished) because they were not privy to the same information as
another organizational entity. The monitoring team respects APD's
desire to segregate the information between criminal and administrative
investigations, and the differences between voluntary and compelled
statements. We were told that APD continues to refine the interaction
between FIT and CIRT and have discussed extensively how the two units
will interact and share information appropriately and within policy. We
have seen no tangible results of those intents.

Results

APD has demonstrated they have developed and delivered adequate
training to address their governing policies, procedures and handbook,
thus securing Secondary Compliance for Paragraph 60.

Despite APD choosing not to perform a careful, comprehensive, and
inclusive job task analysis of all currently assigned IA job classes, a
review of documents by the monitoring team revealed a critical job task
analysis was conducted for CIRT. This analysis considered the primary
function of CIRT and appropriately categorized the critical
tasks/functions. This information was utilized to develop a list of
knowledge, skills, and abilities needed for current CIRT staff. An April
21, 2017 memo discussed the unorganized and costly manner in which
early training efforts prepared personnel for performing their duties in
CIRT. This recognition and understanding by management and
leadership at APD of where it was in the early phases of its court-
approved reform efforts is an important milestone in its organizational
development along a reform continuum. The memo that cites this
recognition and understanding, in addition to other supporting
documentation, contribute to a needs assessment for, and outline the
creation of, a standardized training progression for CIRT personnel. This
three-tiered training regimen includes a mandatory primary training level,
a subsequent “Secondary Enhancement Training” phase, followed by a
subsequent professional development component of training. The
mandatory, primary training phase consists of mostly APD developed
training courses, augmented by external courses by reputable providers
such as IPTM and John Reid and Associates. For APD members who
attend training provided by external vendors, a vetting rubric reportedly
is currently being developed. The rubric will be utilized to determine if
APD will send other employees to the external courses and if APD
should examine and/or incorporate any information from such courses
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into its current practices and protocols. This type of rubric, if properly
developed and utilized, could be a standardized way for assessing
training opportunities. Such training oversight systems should be
assessed and considered for agency-wide implementation by the
training academy.

The review of the Internal Affairs Handbook and applicable Standard
Operating Procedures, as well as a guided supervision of case
preparation, management, and processing are all part of the APD-
developed training courses. Additionally, a new employee orientation
checklist was developed to ensure newly assigned CIRT staff are
properly outfitted for and briefed on their new roles. Newly assigned
members are also evaluated on various tasks relative to their new
position. Supervisors must sign off on this new checklist, thereby
providing supervisory oversight of the qualifications and “readiness” of
their personnel to conduct use of force investigations. The monitoring
team has seen evidence of checklists like this in other areas of APD (e.g.,
SID) and considers this type of supervisory oversight a positive
development in the reform efforts of the agency. The monitoring team will
inquire about the implementation of this new checklist and its
organizational impact through data requests for future IMR’s.

Collectively, these measures have secured Secondary Compliance for
Paragraph 61.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.48: Complete the development cycle by
ensuring the training recently delivered is implemented.

4.7.49 Assessing Compliance with Paragraph 62: Revision of IAB
Manual

Paragraph 62 stipulates:

  “Within six months from the Effective Operational Date, APD
   shall revise the Internal Affairs Bureau manual to include the
   following:

   a) definitions of all relevant terms;

   b) procedures on report writing;

   c) procedures for collecting and processing evidence;

   d) procedures to ensure appropriate separation of criminal
   and administrative investigations in the event of compelled
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   subject officer statements;

   e) procedures for consulting with the District Attorney’s
   Office or the USAO, as appropriate, including ensuring that
   administrative investigations are not unnecessarily delayed
   while a criminal investigation is pending;

   f)   scene management procedures; and

   g) management procedures.”


Methodology

To reach Secondary Compliance, APD must first demonstrate that it
adequately trained PAB personnel on its own policies and protocols,
inclusive of its handbook – or System Manual - that was created by IA.
We focused our review accordingly.

Results

The review of the Internal Affairs Handbook and applicable Standard
Operating Procedures, as well as a guided supervision of case
preparation, management, and processing are all part of the APD-
developed training courses. In addition to a myriad of policies contained
within the handbook, the monitoring team takes cognizance of APD’s
positive efforts to emphasize certain aspects of the handbook. For
example, although definitions are listed throughout various policies
contained within the handbook, a separate, reference list of definitions
was incorporated into the handbook as a quick reference guide.
Additionally, a new employee orientation checklist, derived from
elements of the handbook, was developed to ensure newly assigned
staff are properly outfitted for and briefed on their new roles. Newly
assigned members are also evaluated on various tasks relative to their
new position. Supervisors must sign off on this new checklist, thereby
providing appropriate supervisory oversight of the qualifications and
“readiness” of their personnel conducted use of force investigations.

As noted in previous paragraphs, the CIRT Handbook was disseminated
at the May 2017 delivery of the “IA Force Investigations Training
Program” and was central to the training program’s learning objectives.
Included in this handbook were copies of relevant SOP’s, inclusive of: 2-8
(Use of On-Body Recording Devices/Management of Recordings); 2-52
(Use of Force); 2-53 (Electronic Control Weapon - ECW); 2-54 (Use of
Force Reporting & Supervisory Force Investigation Requirements); 2-55
(use of force Appendix); 2-56 (Force Review Board); 7-1 (Internal Affairs
Section), 7-2 (Critical Incident Review Team – CIRT); 7-3 (Force
Investigation Team - FIT); and pertinent paragraphs from the USDOJ
Settlement Agreement. These SOPs and directives succinctly address
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the seven elements outlined in this Paragraph, thus securing Secondary
Compliance for Paragraph 62.

Data requests for future IMRs will focus on assessing the organizational
impact of implementing the elements (e.g., procedures for report writing,
collecting and processing evidence, etc.) of this Paragraph for purposes
of determining Operational Compliance.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.49: Integrate policy and training and
implement operations required therein on a routine basis.

4.7.50 Assessing Compliance with Paragraph 63: Staffing IAB

Paragraph 63 stipulates:

“Within ten months from the Effective Date, APD shall ensure that
there are sufficient trained personnel assigned to the Internal
Affairs Bureau to fulfill the requirements of this Agreement. APD
shall ensure that all serious uses of force are investigated fully and
fairly by individuals with appropriate expertise, independence, and
investigative skills so that uses of force that are contrary to law or
policy are identified and appropriately resolved; that policy,
training, equipment, or tactical deficiencies related to the use of
force are identified and corrected; and that investigations of
sufficient quality are conducted so that officers can be held
accountable, if necessary. At the discretion of the Chief, APD may
hire and retain personnel, or reassign current APD employees,
with sufficient expertise and skills to the Internal Affairs Bureau.”

Methodology

To reach Secondary Compliance, APD must first demonstrate that it
adequately trained PAB personnel on its own policies and protocols,
inclusive of its handbook, or System Manual, that was created by IA.

Results

As noted in previous paragraphs, the CIRT Handbook was disseminated
at the May 2017 delivery of the “IA Force Investigations Training
Program” and was central to the training program’s learning objectives.
Included in this handbook were copies of relevant SOP’s.

The monitoring team assumes the question of whether IAD has sufficient trained
personnel to handle its workload, to ensure the timely processing of quality force
investigations and CIRT reviews, is a continual APD assessment. As noted

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earlier, we see adequate staffing and training for personnel as a critical issue in
the compliance process. For these reasons, a comprehensive, inclusive job-task
analysis of all IA job classes would be beneficial to future planning efforts to
improve the efficiency and quality of IAD investigations. A workload analysis will
also help define the human resources (both investigative as well as supervisory
members) needed to address APD’s struggles with its current case backlog and
future projected caseloads. APD may need to enlist external resources to
complete these processes.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.50 Integrate policy and training and implement
operations required therein on a routine basis

4.7.51 Assessing Compliance with Paragraph 64: Training IAB
Personnel

Paragraph 64 stipulates:

“Before performing force investigations, Internal Affairs Bureau
personnel shall receive force investigation training that includes,
at a minimum, the following areas: force investigation procedures;
call-out and investigative protocols; proper roles of on-scene
counterparts such as crime scene technicians, the Office of the
Medical Investigator, District Attorney staff, the Multi-Agency Task
Force, City Attorney staff, and Civilian Police Oversight Agency
staff; and investigative equipment and techniques. Internal Affairs
Bureau personnel shall also receive force investigation annual in-
service training.”

Methodology

To reach Secondary Compliance, APD must first demonstrate that it
adequately trained PAB personnel on its own policies and protocols,
inclusive of its handbook – or System Manual - that was created by IA.

Results

With respect to Compliance levels with this paragraph, as noted in
previous paragraphs, the CIRT Handbook was disseminated at the May,
2017 delivery of the “IA Force Investigations Training Program” and was
central to the training program’s learning objectives. Included in this
handbook were copies of relevant SOP’s, inclusive of: 2-8 (Use of On-
Body Recording Devices/Management of Recordings); 2-52 (Use of
Force); 2-53 (Electronic Control Weapon - ECW); 2-54 (Use of Force
Reporting & Supervisory Force Investigation Requirements); 2-55 (Use of
Force Appendix); 2-56 (Force Review Board); 7-1 (Internal Affairs
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Section), 7-2 (Critical Incident Review Team – CIRT); 7-3 (Force
Investigation Team - FIT); and pertinent paragraphs from the USDOJ
Settlement Agreement. A combination of the training courses (inclusive of
annual in-service training) and the SOP’s and directives previously
discussed in this report succinctly address the call-out and investigative
protocols; proper roles of on-scene counterparts, and investigative
equipment and techniques needed for force investigations. Therefore, the
monitor notes Secondary Compliance for Paragraph 64.

Data requests for future IMR’s will focus on assessing the organizational
impact of implementing the elements (e.g., call-out and investigative
protocols, etc.) of this Paragraph for purposes of determining Operational
Compliance.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.51: Continue implementation of training and
supervisory process to ensure compliance to extant policy and
training.

4.7.52 Assessing Compliance with Paragraph 65: Referral of Force
Investigations to MATF

Paragraph 65 stipulates:

“Where appropriate to ensure the fact and appearance of
impartiality and with the authorization of the Chief, APD may refer
a serious use of force or force indicating apparent criminal
conduct by an officer to the Multi-Agency Task Force for
investigation.”

Methodology

In preparation for this report, the monitoring team made three separate data
requests for the following:

   •   Case ledger that lists any/all serious use of force cases that were referred
       to the MATF for investigation.

   •   Copies of any MATF investigated serious use of force investigation (To
       include, documents, reports and videos, as well as final determinations)
       submitted and completed during this time frame.


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Results

During our site visit, members of the monitoring team attended a
meeting with members of the various agencies that comprise the Multi-
Agency Task Force (MATF). It was outlined to us that during a MATF
investigation, CASA-centric tasks (the canvassing of neighborhoods,
separating witnesses, etc.) remain with APD members on the task force
or MATF personnel are partnered with APD members when these tasks
are handled. Personnel from the New Mexico State Police stated the
task force is operating better now than it ever has in the past due to the
coordination and collaboration of all the partner agencies. An Assistant
District Attorney from Bernalillo County was present at the meeting and
discussed the backlogged cases at his office.

The monitoring team learned during the meeting that members of the
MATF from other agencies had never been formally briefed on all of the
provisions of the CASA. MATF members seemed uninformed of the
many requirements APD must meet, thus exposing APD to potential
CASA compliance risks during investigations. APD members
responsible for compliance with this Paragraph indicated they planned
on formally briefing MATF members at a future meeting about the
expanse of APD’S CASA-related responsibilities. Documents provided to
the monitoring team subsequent to our June site visit revealed this
formal briefing occurred on July 10, 2017. Members of the MATF from
the New Mexico State Police, Bernalillo County Sheriff’s Office, and Rio
Rancho Department of Public Safety were briefed on the elements of the
MATF Memorandum of Agreement, as well as FIT’s applicable CASA-
related responsibilities, and CIRT’s responsibilities. Written meeting
minutes note the questions that were raised and addressed at the
briefing (e.g., call-out protocols, general MATF member responsibilities,
etc.) or subsequent to the briefing. MATF members were asked to
formally brief other members from their respective agencies that were
not present at the briefing.

Data received from APD reveals seven APD cases were submitted to
the MATF for investigation during this monitoring period. At the close of
the period, six cases were listed as “pending” and one case was listed
as “complete.” Two MATF “Investigative Briefing/Call Out - Sign In”
sheets were submitted to fulfill a monitoring team data request. One of
the sheets reflected the date of 02/10/17, which coincided with an officer
involved shooting on the same date (as listed on the APD ledger of
MATF cases). The other sheet reflected a date of 03/06/17. This date
was not reflected as the ‘date of incident” on any APD ledger listing
MATF cases. At this time, we cannot explain this incongruity.

The policy and training components of this Paragraph have been
demonstrated and Secondary Compliance is hereby noted.
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Data requests for future IMR’s will examine the conditions (e.g., ensure
fact, ensure the appearance of impartiality, etc.) on which a referral is
made to the MATF.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not in Compliance

Recommendation 4.7.52a: Assess timeliness and completion of
MATF investigations and identify causes of delays, inconsistencies
and related issues.

Recommendation 4.7.52b: Develop recommendations to eliminated
avoidable delays and improve reporting and review process.

4.7.53 Assessing Compliance with Paragraph 66: MATF Assistance
to IAB

Paragraph 66 stipulates:

      “To ensure that criminal and administrative investigations
      remain separate, APD’s Violent Crimes Section may
      support the Internal Affairs Bureau or the Multi-Agency
      Task Force in the investigation of any serious use of force,
      as defined by this Agreement, including critical firearm
      discharges, in-custody deaths, or police-initiated actions in
      which a death or serious physical injury occurs.”

Methodology

The monitoring team requested data on any internal procedures or
protocols implemented regarding the flow of information between CIRT
and FIT, based upon previously discussed information breakdowns in
IMR 5.

Results

To address this matter of interaction and information sharing/security, a
January 16, 2017 memo from CIRT to the APD Emergency
Communications Center requested Communication protocols to be
revised so Communications personnel notify both CIRT and FIT at the
same time for callouts for serious use of force occurrences. Another
January 16, 2017 memo notes that CIRT will begin their investigation
immediately upon being notified of any serious use of force matter
(except for lethal matters such as an officer involved shooting) to avoid
inefficiencies when investigating and managing CIRT investigations.


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Documentation reviewed by the monitoring team was indicative of FIT’s
support of CIRT and the MATF. As evidenced by their close working
relationship with the MATF, FIT members briefed MATF members (at the
July 10, 2017 briefing) about their CASA-related roles and how they can
ensure the goals of the MATF Memorandum of Agreement (MOA) and
CASA can be jointly served.

Based upon the foregoing information, Secondary Compliance has been
attained by APD for Paragraph 66.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendation 4.7.53a: Perform a careful, comprehensive,
inclusive Job-Task Analysis of all currently assigned IA job classes
(this may require external assistance).

Recommendation 4.7. 53b: Once the JTA is complete, develop a
listing of needed skills and competencies;

Recommendation 4.7. 53c: Identify current skill-sets possessed by
current IA personnel, and conduct a “Gap Analysis;”

Recommendation 4.7.53d: Determine what missing skill-sets need
to be developed;

Recommendation 4.7. 53e: Assess external training modalities to
identify in advance which ones train and develop the missing skill
sets;

Recommendation 4.7.53f: Either develop the needed training in-
house or procure it by sending IAB personnel to external training
events that are known to provide effectively needed skill sets that
will fill IAB’s skill-set deficiencies. Make no assignments to external
training unless APD can verify that the training venue or provider
actually has a plan and or course syllabus that includes an effective
treatment of the designated skill set.

Recommendation 4.7. 53g: Maintain records regarding skill set
deficiencies and external training events skills training, and follow-
up with post-training analyses of each externally trained employee’s
ability to meet performance goals related to “new” skill sets.

4.7.54 Assessing Compliance with Paragraph 67: Notice to
External Agencies of Criminal Conduct in Use of Force

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Paragraph 67 stipulates:

“The Chief shall notify and consult with the District Attorney’s
Office, the Federal Bureau of Investigation, and/or the USAO, as
appropriate, regarding any use of force indicating apparent
criminal conduct by an officer or evidence of criminal conduct by
an officer discovered during a misconduct investigation.”

Methodology

The monitoring team requested APD provide copies of any documentation that
demonstrates they are consulting with either the District Attorney's Office or the
US Attorney's Office. The request was to determine whether APD, during the
course of a serious use of force investigation, seeks an opinion where there is
potential criminal liability for an APD officer.

Results

The monitoring team was provided with copies of ledger entries revealing 12
cases have been submitted to the District Attorney’s Office for review. Absent
from this list was CIRT [IMR6-010]. However, other records submitted to the
monitoring team reveal this case was sent to the District Attorney’s Office for
review of the potential criminality of actions in this matter or
prosecution/declination determinations. These records reveal the District
Attorney’s Office received this case for review via Evidence.com on July 19,
2017.

           Primary:     In Compliance
           Secondary: In Compliance
           Operational: Not In Compliance

Recommendation 4.7.54a: APD should develop policy and training
requiring such referrals to track the exact inventory of items that go
back and forth for these reviews and provide more specificity and
accuracy. 116

4.7.55 Assessing Compliance with Paragraph 68: Consultation with
External Agencies and Compelled Statements

“If the Internal Affairs Bureau determines that a case will proceed
criminally, or where APD requests a criminal prosecution, the
Internal Affairs Bureau will delay any compelled interview of the
target officer(s) pending consultation with the District Attorney’s
Office or the USAO, consistent with Paragraph 186. No other part
of the investigation shall be held in abeyance unless specifically
authorized by the Chief in consultation with the agency conducting
the criminal investigation.”


116   Receipts of information may exist but they were not provided to the monitoring team.
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Methodology

For this monitoring period, the monitoring team requested copies of any
documentation that demonstrated that APD is consulting with either the
District Attorney's Office or the US Attorney's Office. Specifically
requested were:

a. Ledgers depicting any/all pending IA cases (including, at a minimum,
   date, officers involved, case number (s) where officers involved are
   currently under prosecution criminally; and

b. List/ledger of any IA cases closed during this time frame that were
   originally held pending a criminal prosecution.

Results

Cases that implicate the consultation requirement with the DA clearly
should call for high-level review and approval. It is still unclear to the
monitoring team at what level this decision is currently being made. As
we noted in IMR-4 and IMR-5, if the decision is never elevated expressly
to the Chief Executive’s level, it will be impossible for APD to comply with
the requirements in Paragraphs 67 and 68. Thus, policy work remains to
be done.

During our site visit in June 2017, a presentation was made by a CIRT
member to the Force Review Board (FRB). The case involved what the
monitoring team finds to be a number of problematic behaviors on the
part of the officer involved, supervisors, and the way APD executive-level
failed to prioritize the case or take any disciplinary action. During the
presentation, the monitoring team asked if the case was ever reviewed by
the City Attorney’s office or the District Attorney’s office about the
existence of criminality. Such a case reasonably needs this type of review
to determine if the case will proceed criminally, or where APD will need to
delay any compelled interview of the target officer(s). The CIRT member
presenting the case responded by stating he contacted a sergeant from
FIT (not the District Attorney or City Attorney) to determine criminality.
The sergeant reviewed the video where an officer used substantial
physical force against a handcuffed male, injuring his head, face and arm
on the exterior wall of the police station, and determined no criminality
was involved in the matter, inclusive of the officer’s subsequent failure to
accurately report the force used and what appears to be obvious candor
issues in the officer’s report. Therefore, no legal review was obtained on
the matter and no prosecutorial declination was obtained on any of the
issues with the case. Therefore, the viability of the case and the
procedural due process rights of the officer may be potentially
compromised, especially since over one full year has passed since the
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incident and no officer or supervisor has been disciplined or even brought
up on charges. The monitor sees this as a serious force review lapse of
a potentially criminal matter.

Data received pursuant to the monitoring team requests for documents
reveal a haphazard response of disparate and incomplete information
indicative of a lack of prioritization. The first data request for the period of
February 1 through April 30, 2017 sought ledgers depicting any/all
pending IA cases (including, at a minimum, date, officers involved, and
case numbers) where officers involved are currently under prosecution
criminally. The spreadsheet provided for this period listed the names of
officers involved and eight “I” case numbers, but no dates. The second
data request for the period of May 1 through June 30, 2017 sought
ledgers depicting any/all pending IA cases (including, at a minimum,
date, officers involved, and case numbers) where officers involved are
currently under prosecution criminally. This data request was filled by
providing the monitoring team with a one page Word document, which
clearly is not a COB document and contributes to a haphazard manner
of tracking important data and filling data requests for the monitoring
team. This form of “data” transmittal is absolutely unacceptable, and
APD was advised of this very early on in the monitoring process. This
document contained dates for three cases, but no names of officers and
case numbers that were not “I” cases (as were provided in the first data
request). The final (third) data request for this period requested the same
information as the first two requests for data. The spreadsheet provided
looked different than the previous two submissions, but contained the
requested information. The issue with this spreadsheet, though, was it
contained cases dating back to August 2016, requiring a manual search
of the list for the six cases that were opened during the month of July
2017. APD needs to ensure that all of its data submission match
agreed-upon protocols.

Observation of the FRB during our June site visit headlined that the way
APD determines criminality in cases and the disparate manner in which
data requests are filled will continue to preclude APD from reaching
secondary compliance with this Paragraph. APD must have effective
policy on how a case will proceed criminally, who makes the
determination about criminality, and who on behalf of APD
communicates with a prosecuting entity for purposes of requesting a
criminal review. Personnel need training in such policies and procedures
and they have received it. Documents received from APD reveal that a
June 15, 2017 memo documents a Major counseling or “coaching” a
Lieutenant about consulting with a Sergeant about evaluating an officer’s
criminal exposure in a misconduct investigation. This investigation was a
focal point in a FRB presentation the monitoring team observed. The
takeaway from the advice provided to the lieutenant is to ensure the FIT
personnel providing guidance on criminality do so not just verbally, but in
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writing so it can be included in the case file. This advice, or “coaching,”
neglects to offer what APD has written in policy, trained to, and what is
the guidance of generally accepted best law enforcement practice in
such matters: misconduct matters with indicia of criminality get reviewed
by a prosecuting entity, thus allowing the entity to also provide guidance
on the parameters of obtaining statements in such matters. APD needs
to closely monitor the impact of the training in this area of misconduct,
criminality, immunity, and compelled statements. What may be the most
important point in this matter is that the recommendation of a law
enforcement executive overseeing integrity issues for APD steers clear
of counseling a subordinate to obtain appropriate prosecutorial review in
such cases of possible criminality in favor of having investigative
personnel offering an unqualified opinion about criminality and simply
providing written justification for this opinion.

Table 4.7.55, below, depicts APD’s performance in correctly providing the
monitoring team the data it requests. We note a 35 percent success rate,
obviously well below acceptable standards. Such “lapses” are absolutely
unacceptable. If APD data provision is 65 percent inaccurate, monitor’s reports
cannot provide good guidance to the consumers of those reports regarding
problem assessment-response-evaluation processes needed to achieve
compliance.

                               Table 4.7.55

Data Request #                     Yes   No      Comment
Data Request #1                     0      8     No dates
Date, Names, Case #
Data Request #2                     0      3     No names or “I” case #
Date, Names, Case #
Data Request #3                     6      0     All requested info present
Date, Names, Case #
N, %=Y/N                          35%     65%



       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.55a: APD must develop and deliver
meaningful policy and procedures that delineate roles and
responsibilities for assessing criminality in a case and how
referrals to determine criminality are made.

Recommendation 4.7.55b: APD must develop and deliver a
meaningful training program that delineates roles and
responsibilities for assessing criminality in a case and how
referrals to determine criminality are made.
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Recommendation 4.7.55c: APD executive level staff need to
monitor and take an active role in referrals to prosecuting entities
to determine if criminality exists in a case.

Recommendation 4.7.55d: APD should standardize its records to
facilitate a coherent and consistent procedure to satisfy data
requests.

Recommendation 4.7.55e: APD should develop a clear,
demonstrative, objective process to ensure that data provided to
the monitor are responsive to given requests, accurately completed
and compiled, and clearly labeled as to what request the data are
responsive.

4.7.56 Assessing Compliance with Paragraph 69: IAB
Responsibilities in Serious Uses of Force

Paragraph 69 stipulates:

     “In conducting its investigations of serious uses of force,
     as defined in this Agreement, the Internal Affairs Bureau
     shall:

     a) respond to the scene and consult with the on-scene
     supervisor to ensure that all personnel and subject(s) of
     use of force have been examined for injuries, that
     subject(s) have been interviewed for complaints of pain
     after advising the subject(s) of his or her rights, and that all
     officers and/or subject(s) have received medical attention,
     if applicable;

     b) ensure that all evidence to establish material facts
     related to the use of force, including but not limited to
     audio and video recordings, photographs, and other
     documentation of injuries or the absence of injuries is
     collected;

     c) ensure that a canvass for, and interview of, witnesses is
     conducted. In addition, witnesses should be encouraged to
     provide and sign a written statement in their own words;

     d) ensure, consistent with applicable law, that all officers
     witnessing a serious use of force by another officer
     provide a use of force narrative of the facts leading to the
     use of force;

     e) ensure that all officers involved in a use of force
     incident remain separated until each has been interviewed
     and never conduct group interviews of these officers;

     f) review all Use of Force Reports to ensure that these

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      statements include the information required by this
      Agreement and APD policy;

      g) ensure that all Use of Force Reports identify all officers
      who were involved in the incident, witnessed the incident,
      or were on the scene when it occurred;

      h) conduct investigations in a rigorous manner designed to
      determine the facts and, when conducting interviews, avoid
      asking leading questions and never ask officers or other
      witnesses any questions that may suggest legal
      justifications for the officers’ conduct;

      i) record all interviews;

      j) consider all relevant evidence, including circumstantial,
      direct, and physical evidence, as appropriate, and make
      credibility determinations, if feasible;

      k) make all reasonable efforts to resolve material
      inconsistencies between the officer, subject, and witness
      statements, as well as inconsistencies between the level of
      force described by the officer and any injuries to personnel
      or subjects; and

      l) train all Internal Affairs Bureau force investigators on the
      factors to consider when evaluating credibility,
      incorporating credibility instructions provided to jurors.”

Methodology

During previous reporting periods, the monitoring team was provided
with PowerDMS records, numerous certificates of attendance (primarily
originating from externally-developed courses), and a series of interoffice
memorandums that were prepared by FIT intended to demonstrate the
content of courses met certain provisions of the CASA. A review of these
documents did not demonstrate that APD adequately trained PAB
personnel on its own policies and protocols.

During previous reporting periods, the monitoring team was provided
with PowerDMS records, numerous certificates of attendance primarily
originating from externally-developed courses, and a series of interoffice
memorandums that were prepared by FIT intended to demonstrate the
content of courses met certain provisions of the CASA. A review of these
documents for IMR-5 concluded APD did not demonstrate that PAB
personnel were adequately trained on its own policies and protocols.

Results

To reach Secondary compliance, APD must first demonstrate that it
adequately trained PAB personnel on its own policies and protocols.

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During our site visit, the monitoring team was briefed on the emergence
of a number of policies and procedures that were approved and being
implemented in the weeks before our site visit and planned for the period
immediately following our visit. This included the May 10, 2017 delivery
of the “IA Force Investigations Training Program.” Based on the records
we reviewed for this and other related courses as noted in preceding
paragraphs of this monitoring report, APD has demonstrated they have
developed and delivered adequate training to address their governing
policies, procedures and handbook, thus securing Secondary
Compliance in this Paragraph.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendaiton 4.7.56: Implement diligently approved policy and
training, and evaluate performance, identify out-of-policy
processes, and engineer practices to bring out-of-policy processes
into conformance.

4.7.57 Assessing Compliance with Paragraph 70: Use of Force
Data Reports

Paragraph 70 stipulates:

“The Internal Affairs Bureau shall complete an initial Use of Force
Data Report through the chain of command to the Chief as soon as
possible, but in no circumstances later than 24 hours after learning
of the use of force.”

Methodology

Members of the monitoring team reviewed IAB training records related to
completion of the Initial Use of Force Data Report.

Results

Based on the records we reviewed, including records for the May 10,
2017 delivery of the “IA Force Investigations Training Program,” as well
as for other related courses as noted in preceding paragraphs of this
monitoring report, APD has demonstrated they have developed and
delivered adequate training to address the completion of the Initial Use
of Force Data Report as specified in their governing policies, procedures
and handbook.

Data requests for future IMR’s will examine the completeness and
timeliness of the initial Use of Force Data Report.

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        Primary:     In Compliance
        Secondary: In Compliance
        Operational: Not In Compliance

Recommendation 4.7.57: Formalize and document IAB training
protocols relative to internal policy requirements. Such training
cannot be outsourced to external training providers unless they are
specifically tailored to APD IAB internal policy requirements.

4.7.58 Assessing Compliance with Paragraph 71: IAB Investigative
Timelines

Paragraph 71 stipulates:

“The Internal Affairs Bureau shall complete administrative
investigations within two months after learning of the use of force.
Any request for an extension to this time limit must be approved
by the commanding officer of the Internal Affairs Bureau through
consultation with the Chief or by the Chief. At the conclusion of
each use of force investigation, the Internal Affairs Bureau shall
prepare an investigation report. The report shall include:

a) a narrative description of the incident, including a precise
description of the evidence that either justifies or fails to justify the
officer’s conduct based on the Internal Affairs Bureau’s
independent review of the facts and circumstances of the incident;


b) documentation of all evidence that was gathered, including
names, phone numbers, addresses of witnesses to the incident,
and all underlying Use of Force Data Reports. In situations in
which there are no known witnesses, the report shall specifically
state this fact. In situations in which witnesses were present but
circumstances prevented the author of the report from determining
the identification, phone number, or address of those witnesses,
the report shall state the reasons why. The report should also
include all available identifying information for anyone who
refuses to provide a statement;

c) the names of all other APD officers or employees witnessing
the use of force;

d) the Internal Affairs Bureau’s narrative evaluating the use of
force, based on the evidence gathered, including a determination
of whether the officer’s actions complied with APD policy and state
and federal law; and an assessment of the incident for tactical and
training implications, including whether the use of force could
have been avoided through the use of de-escalation techniques or
lesser force options;

e) if a weapon was used by an officer, documentation that the

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officer’s certification and training for the weapon were current at
the time of the incident; and

f) the complete disciplinary history of the target officers involved
in the use of force.”

Methodology

PAB SOP 2-05 was approved by the monitor on June 5, 2016, bringing
APD into Primary Compliance on the requirements in Paragraph 71. The
monitoring team will assess if the PAB has developed and delivered
adequate training to address its own governing policies, procedures and
handbook. The monitoring team will also assess APD data to determine
if CIRT use of force investigations comply with the requirements of this
Paragraph.

Results

Based on the records we reviewed as set forth in previous Paragraphs,
APD has in fact demonstrated they developed and delivered adequate
training to address their own governing policies, procedures and
handbook.

The monitoring team requested data on serious use of force investigations that
occurred between February 1, 2017, and July 31, 2017 and reviewed records
compiled by FIT and CIRT. For 34 CIRT cases opened during this period, FIT
reported they handled 24 of these cases. As of July 31, FIT reported it had
closed 18 of their 24 cases, while six cases were still pending. The average
completion time to close the 18 cases is 34 days. In IMR 5, the average amount
of days it took FIT to complete their investigation was 14 days from an incident
date. During the last site visit for IMR 5, the monitoring team discussed different
contributing factors to the overall delay of serious use of force investigations
being submitted and CIRT noted the initial investigation conducted by FIT has a
direct impact on their ability to complete the administrative investigation into a
specific case. The monitoring team had this same conversation with CIRT and
others during the June 2017 site visit. APD outlined various actions it had taken
to mitigate the amount of time it takes to complete FIT investigations and the
adverse impact on CIRT cases. Obviously, the actions of APD has not had the
desired effect and during this period the length of time to complete a FIT
investigation has more than doubled. This pattern is troubling and will be
detrimental to compliance efforts.

Of the 34 CIRT cases (involving 66 officers) opened during this period, all of the
cases initiated since April 17 are still pending. For the 20 cases that exceeded
the sixty-day mark at some point during the monitoring period, Extension
Request Memos have been provided for all but two [IMR6-047 and IMR6-048]
of the cases, a 10 percent “error rate”. On May 23, 2017, the Chief of Police
issued a memo to the Internal Affairs Commander as a standing authorization
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for the Commander to approve extensions on CIRT cases provided the
Commander continues to verbally consult with him and provide the Chief of
Police with a verbal summary of extensions on a regular basis. The Chief of
Police notes in his memo that he understands “…the need for extensions on
backlogged CIRT cases. I understand that CIRT has changed their processes
and are able to now complete most cases within timelines.”

Despite the belief of the Chief of Police that CIRT completes most of its cases
within CASA guidelines, CIRT reported that on July 31, 2017, it had closed only
5 of the 34 cases it opened between February 1 and July 31, 2017. The average
amount of time to close these five cases is 87 days. One of these, 5 closed
cases was classified as a non-serious use of force case. When this one case is
backed out of the five closed cases to reflect only closed serious use of force
cases, the average number of days for CIRT to complete a serious use of force
case swells to 101 days. Three of the 5 closed CIRT cases were completed in
less than 60 days (29, 54, and 59 days). The CIRT case closed in 29 days was
the case classified as a non-serious use of force. This would equate to a 60%
compliance rate in completing investigations within a two-month period. On face
value, this might seem to be a considerable improvement over the 11%
compliance rate noted in IMR 5. However, that compliance rate for closed CIRT
cases examined the total cases closed during the period of IMR 5, not just cases
that were opened in the period. For the period encompassing IMR 6, CIRT
closed a total of 31 cases. Of these 31 cases, only three were completed in less
than 60 days, equating to a 9.7% compliance rate. Most disappointing is the fact
that two of the three cases completed in less than sixty days were not assigned
to CIRT at the time of the serious use of force. One serious use of force
occurred 14 months before being assigned to CIRT; the other serious use of
force occurred two months before being assigned to CIRT. When those two
cases are discounted, only one of the 31 CIRT cases was truly completed within
sixty days of the force being used. This results in a 3% compliance rate. Again,
such minimal compliance is indicative of entropy in the CIRT process.

To put the state of closing CIRT cases into perspective, the 31 cases closed
between February 1 and July 31, 2017 were open for an average of 7.3 months.
Data reviewed by the monitoring team revealed the six CIRT cases closed
between May 1 and June 30, 2017 took almost 10 months to close. This was
during the time period that CIRT had suspended the provisions of the monitoring
team-approved SOP to optimize investigative efficiencies. It is also noted that as
of June 30, only two of these six cases were addressed by the Force Review
Board. This has compounding, detrimental impacts on the positive intent of any
timely remediation on performance deficiencies in the field and the imposition of
appropriate discipline. Numbers such as these militate for upgraded staffing,
supervision and/or management. APD should carefully consider which of these
are the case and respond accordingly. We view the ballooning case back log as
critical and highly probable to affect compliance. It affects the ability of APD to
perform one of its most critical internal functions, and reflects, further, entropy of
the current system.
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The monitoring team has previously commented on several significant
concerns that we believe are general in nature. These issues have
included APD improperly extending Garrity provisions to witness officers,
and extending Garrity provisions much earlier than required by case law
or standard practice in the field. In December 2016, CIRT delivered a
supervisor course entitled, “Standardizing Use of Force Investigations”
wherein the application of Garrity was addressed. On September 6, 2016,
the monitoring team was asked by APD to review and comment on a
training video they prepared concerning the department’s use of Garrity in
its business processes. It was our understanding that the video would be
shared with the entire department. While most major points were correctly
addressed, there were refinements that we felt were necessary and
would further clarify APD’s use of Garrity in the future.

Data reviewed by the monitoring team reveals the revised video and
curriculum delivered via PowerDMS (entitled, “What is Garrity?”) was
revised in February 2017. A “signature summary” reveals the names of
847 APD members. Another document represents 889 members
completed the ten-question true/false test for the training video. Although
this meets the 95% threshold, APD needs to address how 889 of its
members took the test when only 847 members logged in to view the
video! This will be the focus of a future data request. Obviously, this is a
serious issue deserving immediate audit, assessment and resolution.
The monitor should be copied on the work product of this process.

The monitoring team will continue to evaluate APD's use of Garrity to
ensure it is applied properly during use of force investigations.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.58a: Complete or contract for a detailed
workload and staffing analysis for CIRT. Said analysis should be
completed according to established standards for such work, and a
copy should be submitted to the monitor.

Recommendation 4.7.58b: Deal with the discrepancy in PowerDMS
record keeping re test takers and number logged in to view the
subject matter of the test. Provide results in writing to the monitor.


4.7.59 Assessing Compliance with Paragraph 72: IAB Report
Review

Paragraph 72 stipulates:
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“Upon completion of the Internal Affairs Bureau investigation
report, the Internal Affairs Bureau investigator shall forward the
report through his or her chain of command to the commanding
officer of the Internal Affairs Bureau. The Internal Affairs Bureau
commanding officer shall review the report to ensure that it is
complete and that, for administrative investigations, the findings
are supported using the preponderance of the evidence standard.
The Internal Affairs Bureau commanding officer shall order
additional investigation when it appears that there is additional
relevant evidence that may assist in resolving inconsistencies or
improve the reliability or credibility of the findings. “

Methodology

To reach Secondary compliance, APD must first demonstrate that it
adequately trained PAB personnel on its own policies and protocols.

Results

A review of the Internal Affairs Handbook, applicable Standard Operating
Procedures, and the guided supervision of case preparation,
management, and processing that are components of the APD-
developed training course, “IA Force Investigations Training Program,”
reveals APD sufficiently addressed the elements needed for Secondary
compliance for this Paragraph. The "Mandatory Use of Force Job-Aids”
addressed in the December 2016 training bolsters the standardization
needed in force investigations across APD. This is manifested in a job-
aid (Supervisory Checklist) that notes in six different areas that the
standard by which conclusions and determinations are made shall be
based upon a preponderance of evidence. Additionally, the new Internal
Affairs employee orientation checklist, derived from elements of the
handbook, was developed to ensure newly assigned staff are properly
outfitted for and briefed on their new roles. Newly assigned members are
also evaluated on various tasks relative to their new position.
Supervisors must sign off on this new checklist, thus appropriately
providing supervisory oversight of the qualifications and “readiness” of
their personnel conducting use of force investigations. APD executive
staff will need to monitor this “readiness” and evolving staff needs to
maintain and enhance compliance for this Paragraph.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.59: Implement approved policies via effective
management and supervisory oversight focused on approved
policy and training.

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4.7.60 Compliance with Paragraph 73: IAB Findings Not Supported
by Preponderance of the Evidence

Paragraph 73 stipulates:

“For administrative investigations, where the findings of the
Internal Affairs Bureau investigation are not supported by a
preponderance of the evidence, the Internal Affairs Bureau
commanding officer shall document the reasons for this
determination and shall include this documentation as an
addendum to the original investigation report. The commanding
officer of the Internal Affairs Bureau shall take appropriate action
to address any inadequately supported determination and any
investigative deficiencies that led to it. The Internal Affairs Bureau
commanding officer shall be responsible for the accuracy and
completeness of investigation reports prepared by the Internal
Affairs Bureau.”

Methodology

To reach Secondary compliance, APD must first demonstrate that it
adequately trained PAB personnel on its own policies and protocols.

Results

As noted in the preceding Paragraph, a review of the Internal Affairs
Handbook, applicable Standard Operating Procedures, and components
of an APD-developed training course reveals APD sufficiently addressed
the elements needed for Secondary compliance for this Paragraph.
However, recommendations from IMR-5 succinctly outlined how 95% of
all IAB investigators must score at least a passing score on tests
applicable to their assignment. A review of test scores supplied by APD
for the Garrity training that commenced in March 2017 revealed
investigators (at the Detective rank) assigned to Internal Affairs Division
averaged only an 84 on the test, with two members failing the test and
no test score provided for another Detective. While this test average may
seem disappointing, the average score of the executive/command staff
listed on the 2017 Organizational Chart for the Internal Affairs Division
(dated May 26, 2017) was only an 80, with one member failing the test.
The failure of key personnel precludes APD from obtaining Secondary
Compliance for this Paragraph. Such issues need to be addressed. APD
executive staff, especially the Internal Affairs Bureau Commanding
Officer, will need to monitor and respond to any training need or trends
of inaccurate or incomplete investigation reports prepared by members
of the Internal Affairs Bureau in order to secure Secondary Compliance
for this Paragraph.

Data requests for future IMR’s will examine how the Commanding Officer
of the Internal Affairs Bureau takes appropriate action to remediate
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testing failures of persons assigned to Internal Affairs. These
performance factors are of critical concern to the monitor.

See Table 4.7.60, below.

                                  Table 4.7.60

“What is Garrity” Test
                                     Pass   Fail     Comment
Investigators                         6       2      No test results for one
                                                     investigator
%=Y/N                                75%     25%

        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance

Recommendation 4.7.60a: Ensure that >95% of all IAB
investigators score at least a passing score on the issued exam
process outlined in 4.7.59 of IMR 5 Report.

Recommendation 4.7.60a: Implement a quality control function in
IA case investigation, documentation and reporting process and
develop and identify-classify-rectify cycle to ensure quality
improvement.

4.7.61 Assessing Compliance with Paragraph 74: IAB Quality
Control

Paragraph 74 stipulates:

“Where a member of the Internal Affairs Bureau repeatedly
conducts deficient force investigations, the member shall receive
the appropriate corrective and/or disciplinary action, including
training or removal from the Internal Affairs Bureau in accordance
with performance evaluation procedures and consistent with any
existing collective bargaining agreements, personnel rules, Labor
Management Relations Ordinance, Merit System Ordinance,
regulations, or administrative rules.”

Methodology

Members of the monitoring team reviewed IAB training records.
Results

To reach Secondary compliance, APD must first demonstrate that it
adequately trained PAB personnel on its own policies and protocols.
Based on the records we reviewed, including records for the May 10,
2017 delivery of the “IA Force Investigations Training Program,” as well
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as for other related courses as noted in preceding paragraphs of this
monitoring report, APD has demonstrated they have developed and
delivered adequate training to its Internal Affairs personnel. However, a
substantial number of “trainees” failed the exams on the training
proffered. This remains to be remediated, either through remedial
training, coaching, supervision or transfer.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.61: Comply with recommendations in
sections 4.7.59-4.7.60, above.

4.7.62 Assessing Compliance with Paragraph 75: IAB Quality
Control

Paragraph 75 stipulates:

“When the commanding officer of the Internal Affairs Bureau
determines that the force investigation is complete and the
findings are supported by the evidence, the investigation file shall
be forwarded to the Force Review Board with copy to the Chief.”

Methodology

Records were analyzed to determine when and if closed CIRT cases are
forwarded to the FRB and the Chief.

Results

Analysis of the ledger data supplied by APD reveals CIRT closed 25
CIRT investigations of serious uses of forces between February 1 and
July 31, 2017. All of the cases were forwarded to both the FRB as well as
the Chief. The average amount of time that elapsed between when the
cases were closed to the transmittal date of the case to the FRB and the
Chief was 19 days. This seems inordinately lengthy to the monitoring
team. APD should perform an internal assessment of the reasons for
these delays, and copy the monitor on same.

See Table 4.7.61




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                                  Table 4.7.61

                                      Closed    Closed   Comment
                                      CIRT      CIRT
                                      Cases     Cases
                                                to FRB
                                                &
                                                Chief
CIRT S/UOF Investigations               25         25    Average amount of time
                                                         elapsed between case
                                                         closed date and the
                                                         transmittal date to the FRB
                                                         and Chief is 19 days.
                                                 1.00

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.63 Assessing Compliance with Paragraph 76: Force
Investigations by MATF or FBI

Paragraph 76 stipulates:

“At the discretion of the Chief, a force investigation may be
assigned or re- assigned for investigation to the Multi-Agency Task
Force or the Federal Bureau of Investigations, or may be returned
to the Internal Affairs Bureau for further investigation or analysis.
This assignment or re-assignment shall be confirmed in writing.”

Methodology

Records are analyzed to determine when and if APD serious use of
force cases are referred to the MATF or FBI for investigation.

Results

The monitoring team requested data for any serious use of force cases
that were referred to and/or investigated by the MATF between February
1 and July 31, 2017. We were provided with internal case ledgers that
indicated five officer-involved shootings and three in-custody death cases
were referred to the MATF for investigation. Additionally, member
agencies of the MATF (specifically BCSO) submitted four officer-involved
shootings to APD for investigation. It is our understanding that all but one
of these cases is still pending investigation. Additionally, the ledgers
indicate two of the four cases referred to APD by the BCSO are complete.
Data requests for future IMR’s will examine written confirmations of
assignments and re-assignments of investigations.

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       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.63a: Train or re-train IAB personnel based on
the expectations for performance related to SOPs 2-05, SOP 7-1,
SOP 7-2, SOP 7-3 and SOP 3-41, and test for learning as outlined in
sections 4.7.59-4.7.60, above.

4.7.64 Assessing Compliance with Paragraph 77: Discipline on
Sustained Investigations

Paragraph 77 stipulates:

“Where, after an administrative force investigation, a use of force
is found to violate policy, the Chief shall direct and ensure
appropriate discipline and/or corrective action. Where a force
investigation indicates apparent criminal conduct by an officer, the
Chief shall ensure that the Internal Affairs Bureau or the Multi-
Agency Task Force consults with the District Attorney’s Office or
the USAO, as appropriate. The Chief need not delay the imposition
of discipline until the outcome of the criminal investigation. In use
of force investigations, where the incident indicates policy,
training, tactical, or equipment concerns, the Chief shall ensure
that necessary training is delivered and that policy, tactical, or
equipment concerns are resolved.”

Methodology

To reach Secondary compliance, APD must first demonstrate that it
adequately trained PAB personnel on its own policies and protocols.
Records were analyzed to determine if any APD members consulted
with the District Attorney’s Office or the U.S. Attorney’s Office to review
any serious use of force cases.

Results

The monitoring team requested APD to provide copies of any documentation
that demonstrates they are consulting with either the District Attorney's Office or
the US Attorney's Office. The request was made to determine whether APD,
during the course of any serious use of force investigations, sought an opinion
about potential criminal liability for an APD officer. Information received from
APD indicated no such consultations occurred with either entity during the
period of February 1 and July 31, 2017. However, when specific information was
requested about any such consultation occurring for CIRT [IMR6-049] relating to
the criminality of actions in this matter or prosecution/declination determinations,
a copy of a “District Attorney Case Review List” was presented. The document
indicates the District Attorney’s Office received this case for review via
Evidence.com on July 19, 2017. At a minimum, the monitoring team finds APD’s
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lack of responsiveness with the general request for this information indicative of
a haphazard approach to seeking and providing this information, and at worst, a
complicity (within APD) in a lack of transparency when it comes to disclosing its
interactions or referrals to prosecuting entities. For this reason, future requests
for APD’s consultation with prosecuting entities will also be copied to the
respective prosecuting entities.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.65a: Train or re-train IAB personnel based on
the expectations for performance related to SOPs 2-05, SOP 7-1,
SOP 7-2, SOP 7-3 and SOP 3-41, and test for learning as outlined in
sections 4.7.59-4.7.60, above.

Recommendation 4.7.65b: APD should commission an in-depth review of
FRB policy, staffing, leadership and operations to ensure that the issues
addressed in the paragraph are assessed internally, and, for each issue
identified above, APD should craft a thoughtful, detailed, and effective
piece of Completed Staff Work.

Recommendation 4.7.65c: APD should reach out to other similarly
situated police agencies to discuss successful modalities for
overcoming such critical issues as we have observed with the FRB.

Recommendation 4.7.65d: APD should conduct a careful needs
assessment of the skill sets needed for FRB participation, and
develop training to ensure that FRB members receive this training
prior to assuming their FRB-related duties.

4.7.65 Assessing Compliance with Paragraph 78: Force Review
Board Responsibilities

Paragraph 78 stipulates that:

   “APD shall develop and implement a Force Review Board to
   review all uses of force. The Force Review Board shall be
   comprised of at least the following members: Assistant Chief
   of the Professional Accountability Bureau, the Deputy Chief of
   the Field Services Bureau, the Deputy Chief of the
   Investigations Bureau, a Field Services Major, the Training
   Director, and the Legal Advisor. The Force Review Board shall
   conduct timely, comprehensive, and reliable reviews of all use
   of force investigations. The Force Review Board shall:

   a) review each use of force investigation completed by the
   Internal Affairs Bureau within 30 days of receiving the
   investigation report to ensure that it is complete and, for

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   administrative investigations, that the findings are supported
   by a preponderance of the evidence;

   b) hear the case presentation from the lead investigator and
   discuss the case as necessary with the investigator to gain a
   full understanding of the facts of the incident. The officer(s)
   who used the force subject to investigation, or who are
   otherwise the subject(s) of the Internal Affairs Bureau
   investigation, shall not be present;

   c) review a sample of supervisory force investigations that
   have been completed and approved by Commanders every 90
   days to ensure that the investigations are complete and timely
   and that the findings are supported by a preponderance of the
   evidence;

   d) order additional investigation when it appears that there is
   additional relevant evidence that may assist in resolving
   inconsistencies or improve the reliability or credibility of the
   force investigation findings. For administrative investigations,
   where the findings are not supported by a preponderance of
   the evidence, the Force Review Board shall document the
   reasons for this determination, which shall be included as an
   addendum to the original force investigation, including the
   specific evidence or analysis supporting their conclusions;

   e) determine whether the use of force violated APD policy. If
   the use of force violated APD policy, the Force Review Board
   shall refer it to the Chief for appropriate disciplinary and/or
   corrective action;

   f) determine whether the incident raises policy, training,
   equipment, or tactical concerns, and refer such incidents to
   the appropriate unit within APD to ensure the concerns are
   resolved;

   g) document its findings and recommendations in a Force
   Review Board Report within 45 days of receiving the
   completed use of force investigation and within 15 days of the
   Force Review Board case presentation, or 15 days of the
   review of sample supervisory force investigation; and

   h) review and analyze use of force data, on at least a quarterly
   basis, to determine significant trends and to identify and
   correct deficiencies revealed by this analysis.”

Methodology

APD SOP 3-67 Force Review Board (FRB) was approved by the monitor on
April 25, 2016, which brought the Department into Primary Compliance on the
requirements in Paragraph 78. That policy was recast as SOP 2-56 while APD
continued refining its SOP cataloguing system. SOP 2-56 was due for review in
October 2016, but that review remained pending through this reporting period.
The monitoring team has reported extensively on FRB activities in IMR–3, IMR–

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4, and IMR–5. Those reports provided insight as to issues we found with FRB
business processes, case reviews and FRB activities during meetings. We
attended a June 14, 2017 117 FRB meeting and during its June 2017 site visit the
monitoring team met with representatives of the FRB, including the Chairperson
of the FRB. Finally, the monitoring team requested various records for SOD
deployment reviews, as well as supervisory and serious use of force cases that
were reviewed by the FRB between the dates of February 1, 2017 and July 31,
2017 and were provided those records. The records included FRB meeting
agendas, meeting minutes, referrals that occurred during meetings, additional
concern memorandums, as well as reports and videos from cases that were
reviewed. The monitoring team was also provided with a Site Visit report that
was prepared by an APD representative following conversations and meetings
with members of the Seattle Police Department. Finally, the monitoring team
reviewed an Excel spreadsheet that was designed to track IMR–5 FRB
recommendations and follow-up activities on the part of APD related to those
recommendations.
Results

SOP 2-56 dictates that FRB representatives will be provided "case packets" one
week before a meeting. 118 Their responsibilities include reviewing the written
case report and during the meeting each case is presented by a lead
investigator from CIRT. The chief obligations the FRB has, as per SOP 2 – 56,
include reviewing each case to determine:

1. Whether it is thorough and complete;
2. Whether the force was consistent or inconsistent with department policy and
   training;
3. Whether the investigator's findings are supported by a preponderance of
   evidence; and
4. Whether there are equipment, tactical, training, policy or supervision
   considerations that need to be addressed.

During its November 2016 site visit, the monitoring team met with
representatives of the FRB to discuss its status and reported its findings in IMR–
5. As noted above, the monitoring team requested APD schedule a FRB
meeting while we would be on site in June 2017. APD accommodated our
request and scheduled a CIRT FRB meeting for June 14, 2017. Prior to our visit
APD forwarded to the monitoring team the same materials FRB members were
provided to consider in their review prior to that meeting. The monitoring team

117 We previously attended a FRB meeting focused on SOD operations on June 8, 2016. Prior
to our June 2017 site visit we specifically requested that APD schedule a FRB meeting focused
on either supervisory or CIRT force investigations. APD accommodated that request by
scheduling a FRB focused on CIRT investigations. At the meeting two separate cases were
reviewed.
118 Based on our conversations with APD it appears that the “case packets” do not include a
complete inventory of officer and supervisor lapel videos.
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made a subsequent request for all officer lapel videos associated with [IMR6-
001]. 119

As we note elsewhere, for IMR-6 the monitoring team did not conduct
comprehensive case reviews and delineated nine reasons for consideration.
Some have a direct relationship to the FRB and deserve to be repeated here
and include 120:

1. During this reporting period the monitoring team learned, for the first time,
that APD has not been accurately reporting the total number of use of force
cases. In preparation of past reports the monitoring team requested a list of use
of force and show of force cases that occurred during a specific timeframe.
From that list of cases the monitoring team would select a random sample of
cases to review. We learned in May 2017 APD was only reporting those cases
that were closed, not all cases that were reported. That shielded the fact that
there were numerous cases pending 121 and those cases left significant gaps in
the data. It also raised serious questions as to why cases were pending for
such extended periods of time.

2. We met with the Chairperson of APD’s Force Review Board (FRB) during our
June 2017 site visit. At that time, we alerted him to the use of force reporting
data discrepancy and the fact that the monitoring team had not been provided
accurate data for the past monitoring periods. During our meeting, we asked if
the 10% sample of supervisory use of force cases the FRB reviews is from the
entire list of cases, or only those that are completed. We learned that neither
the Chairperson, nor another command level representative of the FRB, knew
that the FRB was not reviewing a 10% sample of all use of force cases. In fact,
it took an APD analyst to come to the meeting to make them aware of this fact.
Previously, the parties and monitor agreed that the strict language of the CASA
suggested that APD would review all use of force cases, however, with a
legitimate review methodology APD could review a 10% sample of cases which
would be more operationally manageable. We now know that there is a
significant number of use of force cases, particularly within the category of
supervisory-reviewed uses of force, that simply appear to be “lost” in APD’s
databases. These cases are significantly difficult to find and quantify at this
point, and some of them, apparently, have been mired in the supervisory review

119 We have reported extensively that we believe that the FRB’s reliance on a limited record
impacts the quality of their review and final decisions. APD has responded that to review entire
records of lapel videos would be time prohibitive. We recognize the time commitment
associated with reviewing entire case files, but at this point of APD’s reform and based on the
extensive feedback they have received, the FRB should have little confidence that there is a
consistently proper application of force related policies by APD. The monitoring team did not
dictate which cases should be presented during our visit.
120 We note that these factors are a reflection of the process and not individual members
assigned to the FRB.
121 We learned that some supervisory use of force cases were still pending and in the chain

review process 5-6 months after the original event occurred.
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period for at least five months. We strongly recommend APD conduct a
“damage assessment,” and identify:

      a. The number of supervisory use of force investigations that are overdue;

      b. The nature of, length of delay, and command structure responsible for
               “tardy” supervisory use of force investigations;”

      c. The reasons for the delays; and

      d. Articulation of remedial actions to be taken and a timeline for those
                 actions.

3. There is a significant backlog of supervisory use of force investigations dating
back to January 2017 which effectively prevents the monitoring team from
making an and complete, and consequently, prevents us from making a
comprehensive assessment of the appropriateness of cases the FRB reviews.
Arguably, cases that are incomplete for extended periods should be of greater
interest to the FRB since they may reveal serious deficiencies from many
different perspectives. 122 It is obvious that this fact has not been contemplated
by APD when choosing cases to review for a FRB meeting.

4. APD training gaps still exist and as a result the organization is not in
   Secondary Compliance, therefore, Operational Compliance could not be
   achieved for this reporting period.

5. APD has introduced the concept of “de minimis force” that we believe will
   have a direct impact on APD’s compliance in force reporting, as well as
   investigating and oversight of uses of force up to and including the FRB.

6. APD has presented a case [IMR6-001], that involved both the use of force
   and serious use of force. That case was mishandled from the initial event up
   to and including the FRB review of the case. 123 The case represents a
   serious indictment of the effectiveness of APD’s entire use of force oversight
   and accountability system, to include IA. 124

7. Following IMR–5 feedback and the monitoring team’s June 2017 site visit we
   believe APD is currently re-assessing its entire force reporting system.
Additionally, as of August 2017 the monitoring team made the following
observations of the data reported by APD:



122  As of August 1, 2017, none of the reported supervisory use of force cases for the months of
May, June or July 2017 were completed.
123 Following the meeting the monitoring team met with several APD commanders that described

the FRB meeting, and the handling of this case, as “embarrassing” and a “complete debacle”.
124 Details surrounding [IMR6-001] are provided in the Paragraph 41 Overview within this report.


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1. APD reported a total number of 211 distinct use of force cases involving 307
officers.

2. As of August 1, 2017, none of the reported supervisory use of force cases for
the months of May, June or July 2017 were completed.

3. As of August 1, 2017, there were still approximately twenty (20) reported
supervisory use of force cases pending from January 2017. 125

4. Data was requested concerning reported show of force cases for the
timeframe of February 1 through April 30, 2017. 126 When the data were
reported in May 2017 there were still twelve (12) incomplete show of force
investigations for the month of February.

The monitoring team feels these statistics demonstrate that APD’s oversight of
use and show of force has reached a point of critical failure. At this rate, the
quality of work associated with the investigation and oversight of use of force
cases will undoubtedly be adversely impacted, as will the legitimacy of oversight
the FRB maintains in the process. 127 Likewise, this type of case backlog will
undoubtedly result in instances of unaddressed performance deficiencies (at all
levels), out of policy uses of force, or even instances where there is potential
criminality on the part of officers. These failures are more evidence of
organizational entropy when it comes to use of force review.

With respect to the handling of [IMR6-001], in the Paragraph 41 Overview we
outlined concerns as to how the case was handled from the perspective of the
FRB. 128 The issues pertaining to the FRB include:

      1. The FRB failed to review a full investigative record to make a meaningful
         determination.

      2. The CIRT lieutenant described the officer’s actions as an “unreasonable
         application of force.” Along with other policy violations, IA was not alerted
         to take an “I” number until following the FRB meeting on June 14, 2017.
         During this visit, we learned that even despite obvious and serious policy
         violations some cases are being delayed a referral to IA until they are

125  We say “approximately”, instead of being more precise, due to the confusing manner APD
lists information. Regardless, numerous cases reported at the supervisory level are pending in
January 2017.
126 Because the data was presented differently the data set reported on is more limited than the
cases of use of force, however, the numbers are further illustrations of the significant
investigative backlogs APD currently holds.
127 When reviewing cases for IMR – 5 we noted one case where a commander indicated that a
case was “delayed” due to him being 37 use of force cases behind.
128 We note that during the CIRT presentation of the case there were very insightful questions
asked by members of the FRB and APOA. The questions we heard served to amplify concerns
the monitoring team found leading up to the actual June 14, 2017 FRB meeting.
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         reviewed and referred by the FRB. Parenthetically, the monitoring team
         was provided an Interoffice Memorandum from IA to the FRB Chair
         wherein a sustained, out of policy, neck hold occurred. 129 The purpose of
         the memorandum was to “…recommend that [Sergeant Name] be
         sustained in regard to a violation of the use of force policy regarding neck
         holds.” We acknowledge there is an attempt to holding an officer
         accountable for a serious policy violation, but question its timeliness and
         efficiency by having such decisions deferred to the FRB.

      3. A member of the FRB expressed concern that APD introduced an
         assessment of the officer’s force (for a set period) that was unrelated to
         the case at hand. Consequently, he felt voting by the board may taint the
         outcome of the case under review. An APD commanding officer argued
         against that perspective. The issue seemed unresolved when the FRB
         made its recommendation to IA.

      4. When the meeting began the Chairperson of the FRB asked if everyone
         had an opportunity to review the videos associated with the case. That
         question was met by a positive response in the room. Later in the
         meeting, a member of the monitoring team asked a similar question about
         whether the FRB members watched all the videos associated with the
         investigation, some members shook their heads no, others remained
         silent and one said explicitly that they could not open some of the
         videos. 130

      5. The presentation by CIRT at the FRB meeting was not an accurate
         reflection of the event, thus validating the monitoring team’s
         recommendation that FRB members review all available data for a case.

      6. It was obvious to the monitoring team that, with the exception of members
         of CIRT and IA, other members of the FRB were unaware that CIRT
         unilaterally suspended provisions of the SOP related to misconduct
         investigations. 131

      7. APD self-imposed a practice where the FRB is not a “safety net” to
         ensure an IA referral resulting from a use of force occurred (when
         appropriate), or that the lower level assessments of force were
         appropriate, but instead interjected the FRB into the normal supervisory
         and command review of use of force, effectively removing the
         responsibility from supervision and command to make those types of
         determinations. In doing so, APD has built a system that is unsustainable


129  Dated May 24, 2017, reference [IMR6-011].
130  This exchange is reflected in the Meeting Minutes prepared by APD following the meeting.
131 This concerns the March 10, 2017, Interoffice Memorandum that was prepared by CIRT that
is discussed elsewhere in this report.
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        and creates an atmosphere where performance management is
        ineffective and accountability nearly non-existent.

Parenthetically, the monitoring team reviewed reports that were prepared by
APD following the June 14, 2017, FRB meeting. It is our understanding that
[IMR6-001] was referred to IA on June 15, 2017, by the FRB 132 (More than one
year after the event!) and that counseling notices were prepared for members of
CIRT and IA. Within the same Force Review Board Referral, in the section
entitled, “Corrective Action Taken” there is a narrative that states, [IMR6-012]
was officially opened. The case is complete and has been sent out to the
respective area commands for disciplinary recommendations up the chain of
command to the Chief.” The monitoring team reviewed the initial CIRT report.
We caution, that if that constitutes the entirety of the investigation that was
conducted into the case, there is a strong possibility that all relevant policy
violations have not been identified, or all investigative steps have been
exhausted. The monitoring team also reviewed the “Meeting Minutes” APD
prepared following the meeting and found them to be a generally accurate
reflection. 133 Investigative processes employed by CIRT on this case were
remarkably substandard.

The following are a sample of points we highlighted in IMR–5 and a brief
commentary following our review of materials for this report:

1. The monitoring team continues to see strong involvement in the FRB and
   note the meeting turnout and the participation of high-ranking members. We
   also note that APD use-of-force subject matter experts are present and
   participate fully. These continue to be important factors in the future of the
   FRB’s success.

2. In IMR–5 we reported on one serious use of force case reviewed by the FRB
   that was very familiar to the monitoring team, as it was interrelated to a
   Special Report APD was presented during the summer of 2016. In a review
   of the CIRT investigation, the IA Commander identified seven (7) separate
   and distinct issues with the handling of this case. One such issue was under
   the section “Discipline” where he stated, "The window for effective and timely
   corrective action in this case has passed. Significant issues were dealt with
   in a manner inappropriate for the specific officer. Issues with the specific
   officer are being addressed in more current cases. The opportunity for early
   intervention lay with the chain of command, and the commander who set the
   tone for that command is ultimately responsible.” The monitoring team
   concurred with the IA commander’s assessment and note that APD’s overall
   response to [IMR6-001] could have the same result.

132   Force Review Board Referral June 15, 2017. There is a notation that the referral was
received by CIRT on June 27, 2017.
133 We noted one comment attributed to the monitoring team that was partially inaccurate, but of
little significance overall.
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3. We commented that when reviewing cases, we saw several instances where
   FRB members "refrained from answering" (without providing a reason or
   qualification) critical questions in the review process. We questioned the
   Chairperson of the FRB during our June 2017 site visit and he seemed
   unaware that language was found within FRB paperwork. We were later told
   a FRB member may have a conflict with a case and not vote, but that wasn’t
   captured anywhere in the documentation we reviewed. We saw one
   example in data that was provided for IMR–6 134 where a sergeant on the
   FRB recused himself from a case review that he investigated. We stand by
   our original concern.

4. The monitoring team notes again that PowerPoint presentations and
   abbreviated lapel video reviews are, by themselves, “thin” representations of
   any incident. 135 To appreciate each incident in detail, it is essential that the
   officer’s reports, the supervisor’s investigation, and the chain of command
   reviews be read in conjunction with complete video reviews. We appreciate
   the administrative burden this creates, but until lower level case reviews can
   be relied upon, the FRB cannot have confidence that the presentation they
   receive is complete. We did note that within the FRB data presented for
   IMR-6 we were presented with some cases that included the actual officer
   lapel video footage. We cannot, however, assume that the videos presented
   represent all videos that are available for a case.

5. The FRB has (in the past) maintained a narrowly focused approach to its
   force oversight, meaning, it is principally concerned with reviewing cases.
   We discussed with APD different additional ways that the FRB could have a
   direct impact on operational compliance. We reported that we saw this as a
   critically missed opportunity if the scope of influence the FRB maintains is
   over case reviews alone. However, our review of data for IMR-6 revealed
   some strides are being made. We saw the FRB making recommendations
   for case follow-up by supervisors in the field, remedial training, policy
   reviews, and referrals to APD commands (to include IA). We also saw
   responses from supervisors concerning activities they took to address
   performance the FRB identified as questionable or problematic. Because
   comprehensive reviews were not conducted of the specific cases we cannot
   determine if the corrective actions were comprehensive or sufficient, but the
   fact that this type of coordination between the FRB and field commands is
   occurring is a positive sign. The monitoring team saw one other positive
   referral 136 concerning the policy question “What is considered a successful
   Taser deployment?” following a specific case review. While the data
   reviewed did not include an answer to that question, the monitoring team
   reviewed use of force training (reported elsewhere in this report) where this

134 FRB Agenda for June 21, 2017.
135[IMR6-001] is a perfect example of what the monitoring team means.
136 Force Review Board Referral, dated July 4, 2017 pertaining to a policy question.

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      question was answered. 137 This is a positive training outcome from a
      question in a FRB meeting.

6. We reported that we were advised that APD intended to assign six (6) new
   sergeants to conduct case reviews to increase the number of use of force
   cases that are reviewed under the umbrella of the FRB. It was our
   understanding that the assignment of those six sergeants was pending at the
   time of our site visit, so we decided to follow this potential activity up during
   our IMR-6 monitoring period to see if it ever occurred. APD provided the
   monitoring team with an Interoffice Memorandum, dated June 2, 2017,
   wherein we were made aware that APD assigned six sergeants to perform
   those activities to CIRT and that our understanding that those six sergeants
   would be assigned to the FRB was a miscommunication.

7. The FRB has considered including the Commander and/or sergeant of an
   officer whose force is being reviewed in future meetings. The purpose would
   be to provide real-time feedback for investigations that were done properly or
   had performance deficiencies. Based on the record provided to the
   monitoring team it appears that the FRB is now including Commanders and
   sergeants associated with specific cases being reviewed in their meetings.
   Again, the monitoring team finds this to be a positive stride. We are hopeful
   that requiring field supervisors to make presentations of their own cases to
   the FRB will hopefully influence the way that supervisor approaches work in
   the field. However, we caution: based on APD’s current capacity to fully and
   properly investigate uses of force, some cases presented may reveal minor
   or serious policy infractions. It will be the responsibility of the FRB to ensure
   that such cases are handled appropriately and that proper IA referrals occur
   prior to the presentation of any case to the FRB. Presumably, in those cases
   an APD member involved in the case will not be asked to conduct the
   presentation.

The monitoring team reviewed an Excel spreadsheet that was created to
capture the recommendations the monitoring team made during IMR–5. It
appears that the purpose of this spreadsheet is to document and track
recommendations the monitoring team has made to APD regarding the FRB and
proposed solutions to those recommendations. Many of the comments we
reviewed are pending further action, but the spreadsheet is a positive
administrative step to catalogue and track monitoring team feedback.

The monitoring team also reviewed a Site Visit Report, dated July 31, 2017, that
was prepared by APD following their meetings with representatives from the



137 We noted in Paragraphs 86 – 88 that ECW Application was clarified in supervisory use of
force training in July 2017. We note, however, that precision of terms is critical since there have
been instances during past case reviews where we’ve seen officers interchanging the terms
“display”, “discharge”, and “deploy”.
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Seattle Police Department. 138 In that report APD documented summaries of
meetings that occurred with the following personnel/divisions at the Seattle
Police Department:

1.    Introduction to Compliance
2.    Education and Training Section
3.    Office of Professional Accountability
4.    Policy Development
5.    Force Review Unit
6.    Force Investigation Team
7.    Force Review Board
8.    Community Outreach

The monitoring team reviewed this report and find it to be a thoughtful report.
The report outlined several components of an Action Plan and recommendations
for APD to consider regarding its current business processes. The report
documented:

"The site visit provided us with a perspective on how SPD has resolved many of
the same issues that we have yet to successfully resolve at APD. Not all of their
processes or procedures are implementable at APD because of significant
structural and contractual differences between the two agencies.” The report
continued, “Some of the changes would require significant personnel investment
from the Department (which could be mitigated somewhat by repurposing
personnel already within certain areas). Additionally, some of the major changes
would require agreement amongst the Parties to modify the Settlement
Agreement and then overhaul existing policies. The Department may not wish to
go this route but based on what I have seen with regard to our current process,
and based on coming off delivering the latest in (sic) training to supervisors for
use of force, I am convinced we will not achieve compliance with the Settlement
Agreement unless significant process overhaul is done."

Notwithstanding the reference to altering the terms of the Settlement
Agreement, we feel that this report has succinctly encapsulated APD’s current
state of affairs and we take cognizance of the author essentially acknowledging
that which the monitoring team has been communicating to the department in
the past several monitoring reports. The monitoring team feels strongly the
alteration of the Settlement Agreement is not a necessary condition to APD
achieving compliance. This report represents the most contemplative and
professional approach to organizational reform we have seen to date at APD.
We have written extensively on creating strategic plans to properly organize the
many issues that APD is experiencing relating to its use of force oversight. It is
noteworthy to cite another direct excerpt from the “Introduction” section of the
report. It stated the following:


138   APD reported that the visits took place on July 17 & 18, 2017, following our last site visit.
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“The Albuquerque Police Department recently appointed an APD Deputy Chief
to oversee the implementation phase of the Settlement Agreement. [Monitor’s
Note: That appointment lasted only a few weeks.] The Department has had
particular difficulty implementing an effective and sustainable process to
investigate, review, and appropriately follow-up on officer Uses of Force. On a
larger scale, the problems with the Use of Force investigation (sic) are
symptoms of a systemic failure thus far in the reform process: we have not yet
successfully engineered processes that ensure effective, trackable
documentation between various sections of the Department. In simpler terms,
the interrelated paragraphs of the SA require the coordination of multiple chains
of command within APD and our current lack of organized information flow has
resulted in one section of the Department (such as training) not always being
aware of what another section (such as FSB) needs in order to improve their
identified problems in a timely manner.”

While the monitoring team will reserve comment on the efficacy and
implementation of the recommendations within the report, we do acknowledge
the importance of this report since it demonstrates an affirmative step forward in
acknowledging the current state of affairs for APD. We previously commented
that the June 14, 2017, FRB meeting (and improper handling of [IMR6-001]
could be a watershed moment. Since this report was authored at the very end
of this reporting period, we will track the progress APD makes with respect to
assessing and implementing recommendations contained within this report.

For IMR-5 the monitoring team reviewed 50% (three of six cases) of the
supervisory use of force investigations and 43% (three of seven) serious use of
force cases that the FRB reviewed within our data set. 139 We have made
several key observations that demonstrate that the FRB still has work ahead of it
before it reflects the capacity to provide meaningful oversight of all force related
issues facing APD. 140 As documented extensively in Paragraphs 86-88, APD
will not achieve Secondary Compliance until open training issues (enumerated
above and in other sections of this report) are settled with appropriate
supplemental training. At this point, inadequate, incomplete, and ineffective
training is creating a significant and difficult obstacle to compliance by not
clearly, effectively, and efficiently responding to the monitor’s notices of “gaps”
or ineffective training documentation processes.

Results

        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance

139 We purposely chose three supervisory use of force investigations that the FRB reviewed that
occurred at the end of, or after, APD’s 40-hour Use of Force and Supervisory Use of Force
training courses concluded.
140 The overall compliance rate was determined to be 25% for IMR–5.

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Recommendation 4.7.65: APD should conduct a careful needs
assessment of the skill sets needed for FRB participation, and develop
training to ensure that FRB members receive this training prior to
assuming their FRB-related duties. That training should be documented
and “tested” based on national best practices.

4.7.66 Assessing Compliance with Paragraph 79: Annual Use of
Force Report

Paragraph 79 stipulates that:

“At least annually, APD shall publish a Use of Force Annual
Report. At a minimum, the following information should be
included in the Annual Use of Force Report:

a)     number of calls for service;

b)     number of officer-initiated actions;

c)     number of aggregate uses of force;

d)     number of arrests;

e)     number of custodial arrests that involved use of force;

f)     number of SWAT deployments by type of call out;

g)     number of incidents involving officers shooting at or from
       moving vehicles;

h)     number of individuals armed with weapons;

i)     number of individuals unarmed;

j)     number of individuals injured during arrest, including APD
        and other law enforcement personnel;

k)     number of individuals requiring hospitalization, including
       APD and other law enforcement personnel;

l)     demographic category; and

m)   geographic data, including street, location, or Area
Command.”



Methodology

The provisions of this Paragraph were contained within SOP 2-05 which
was approved by the monitor in June 2016 and was recast as SOP 7-1-
14C as APD changed its cataloging system over the past year. We
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requested APD provide us with their Annual Use of Force Report for
2016, but to date, nine months after the close of 2016, that report has not
been completed.

In past reports the monitoring team has requested data sets for
supervisory level use of force cases to conduct comprehensive reviews of
a sample of those cases. While the purpose is to assess the quality of
force reporting and supervisory force investigations in the field, we also
obtain valuable information that has a direct impact on the quality of data
reporting. We have noted that until officers completely and accurately
report their uses of force, and until supervisors review those reports with
an eye toward adherence to established policy (and eventually training or
retraining), the APD’s use of force “statistics” will remain problematic, in
the monitor’s view.

Results

The results of our review of the Annual Use of Force Report for 2015 were
reported extensively in IMR-4. APD’s 2016 Annual Use of Force Report was not
completed by the close of this reporting period. As APD prepares their 2016
report we expect they will take cognizance of the feedback they previously
received. APD has previously indicated that they are not only collecting the
data, but are taking steps to verify the validity of the data before completing their
report. Understanding the validation process APD used in preparing the 2016
Annual Use of Force Report will be critical to compliance determinations in this
paragraph since we have written extensively in this and past reports about the
lack of accuracy of APD use of force and show of force reporting. Similar
problems proved to be exceptionally difficult to resolve in preparation of the
monitor’s “298 Report,” which includes a global analysis of use of force reporting
and assessment.

There are no substantive training requirements associated with this paragraph.
Primary Compliance was established previously and the provisions of this
paragraph are now found in SOP 7-1-14C. Therefore, the monitoring team will
assess Operational Compliance in the next monitoring period to determine if
APD can adjust their Annual Report consistent with previous feedback they have
received from the monitor, and that legitimate and effective quality assurance
mechanisms have been put in place to address the reoccurring issue of
accurate force reporting. Again we refer the reader to the monitor’s 2017
“Outcomes Assessment” report for additional discussion of the complexities and
reliability issues related to APD use-of-force reporting.

       Primary:     In Compliance
       Secondary: Not Applicable
       Operational: Not In Compliance



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Recommendation 4.7.66a: APD should conduct a comprehensive
assessment of all policy and CASA provisions that require EIRS
analysis and/or Annual Reporting to ensure that the 2016 report
includes all necessary data points.

Recommendation 4.7.66b: APD should conduct a comprehensive
assessment of the monitor’s “Outcomes Assessment” report to
ensure that it identifies and corrects issues with data quality
outlined in that report.

4.7.67 Assessing Compliance with Paragraph 80: Tracking System
for Officer Use of Force

Paragraph 80 stipulates that:

APD shall be responsible for maintaining a reliable and accurate tracking
system on all officers’ use of force; all force investigations carried out by
supervisors, the Internal Affairs Bureau, or Multi-Agency Task Force; and
all force reviews conducted by the Force Review Board. APD shall
integrate the use of force tracking system with the Early Intervention
System database and shall utilize the tracking system to collect and
analyze use of force data to prepare the Use of Force Annual Report and
other reports, as necessary.

Methodology

During its November 2016 and June 2017 site visits the monitoring team
met members of APD responsible for the provision of this paragraph.
APD’s Blue Team implementation was discussed to determine what the
current status of its operational use was in the Area Commands. In
response to a data request we reviewed spreadsheets entitled,
“Paragraph 298H Blue Team Communication Review” and a series of
Excel spreadsheets documenting data sets for uses of force for the 2016
calendar year. The monitoring team was also provided with a Site Visit
report that was prepared by an APD representative following
conversations and meetings with members of the Seattle Police
Department. Finally, we note here that APD’s EIRS policy is still being
revised and has not been approved by the monitor.

Results

The monitoring team reviewed “Paragraph 298H Blue Team
Communication Review” reports for the date range of May 1, 2017 and
July 31, 2017. This is a report that was run from within the Blue Team
system which allows APD to capture data concerning the movement of
use and show of force cases through the chain of command. The report
provided two views of information:


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   1) “Communication Summary by Month” that gave a summary of
      data as follows: by year, number of incidents, incidents with no
      problems, number of problems detected, number of transactions.
   2) “Communication Detail by Incident” that provided a summary of
      information by each APD incident number. The data included: the
      date an incident occurred, the number of “bounce backs”, the
      number of communications, and the number of participants
      involved in those communications.

As we noted in IMR-5, the statistics contained in the report are
meaningful, and allow APD to get a general overview of the movement
of cases throughout the chain of command and the number of times a
case is moved back and forth because of issues within the report. Like
any statistic, the report is limited in its utility to the command staff and its
ability to make operational and administrative decisions. As we have
noted in previous monitoring reports, the value of statistical data will be
found by asking the question, "what does this information mean?” For
instance, it would be equally important to segregate this information not
only by incident number but also by officer, supervisor and commander.
APD may find positive or negative performance trends, pockets of
excellence at various commands, or problematic officers or supervisors.
That type of detailed and meaningful review of the data would allow APD
to identify personnel who were experiencing performance deficiencies in
their reporting and/or investigation of use of force or show of force
events. This process allows the isolation of data and APD can
strategically focus its resources to address specific issues.

The other documents reviewed by the monitoring team included a series
of Excel spreadsheets that are designed to act as cross-referencing
tools when verifying the validity of use of force reporting. We know that
an exorbitant amount of time and effort goes into the completion of these
documents and recognize that there is valuable information collected
and documented in these spreadsheets. That said, the spreadsheets we
reviewed are limited by the quality of information that is collected in the
field, documented within APD computer systems and overseen by APD's
use of force systems. Compliance with this paragraph is intrinsically
connected to the reliability of information that is collected in the field and
investigated by an officer's chain of command.

The monitoring team also reviewed a Site Visit Report, dated July 31,
2017, that was prepared by APD following their meetings with
representatives from the Seattle Police Department. The monitoring
team reviewed this report and find it to be a well-constructed synopsis of
events. The report outlined several components of an Action Plan and
recommendations for APD to consider regarding its current business
processes. The report documented:


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“The Albuquerque Police Department recently appointed [APD Deputy
Chief] to oversee the implementation phase of the Settlement
Agreement.” 141 [Monitor’s Note: that Deputy Chief resigned that
appointment about a month later] “The Department has had particular
difficulty implementing an effective and sustainable process to
investigate, review, and appropriately follow-up on officer Uses of Force.
On a larger scale, the problems with the Use of Force investigation (sic)
are symptoms of a systemic failure thus far in the reform process: we
have not yet successfully engineered processes that ensure effective,
trackable documentation between various sections of the Department. In
simpler terms, the interrelated paragraphs of the SA require the
coordination of multiple chains of command within APD and our current
lack of organized information flow has resulted in one section of the
Department (such as training) not always being aware of what another
section (such as FSB) needs in order to improve their identified
problems in a timely manner.”

The “down-stream” implications will be significant if APD is to ever rely
on EIRS triggers, CIRT data or Force Review Board recommendations
when attempting to remediate performance in the field or develop
meaningful training. Likewise, APD's Annual Use of Force reporting will
be adversely impacted if force reporting and data tracking are not
accurate and verifiable through clear and succinct data sources and
linked to the APD EIRS. We refer the reader to the monitor’s “298
Report” regarding data reliability and utility. There are no substantive
training requirements associated with this paragraph. During the next
reporting period the monitoring team will request data proofs to
determine if the EIRS and use of force tracking systems are integrated
and used in preparation of the Annual Use of Force Report. We note the
monitor was unable to approve the APD’s latest provided EIRS policy
due to problems with “trigger” thresholds, and removal of key “cross
checks” on EIRS reporting.

          Primary:     In Compliance 142
          Secondary: Not Applicable
          Operational: Not In Compliance

Recommendation 4.7.67: APD should conduct a comprehensive
assessment of all policy and CASA provisions that require EIRS
analysis and/or Annual Reporting to ensure that the 2016 includes
all necessary data points.

4.7.68 Assessing Compliance with Paragraph 81: MATF
Participation by APD

141   That appointment has recently been rescinded.
142   The existing EIS policy remains operational until approval of the new policy is attained.
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Paragraph 81 of the CASA stipulates:

“APD shall continue to participate in the Multi-Agency Task Force
for as long as the Memorandum of Understanding continues to
exist. APD agrees to confer with participating jurisdictions to
ensure that inter-governmental agreements that govern the Multi-
Agency Task Force are current and effective. APD shall ensure that
the inter-governmental agreements are consistent with this
CASA.”

Methodology

No changes in the MATF requirements and agreement have been made
since the last reporting period. APD remains in compliance based on
past performance.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.69 Assessing Compliance with Paragraph 82: Investigative
Protocols for the MATF

Paragraph 82 stipulates that:

“APD agrees to consult with participating jurisdictions to establish
investigative protocols for the Multi-Agency Task Force. The
protocols shall clearly define the purpose of the Multi-Agency Task
Force; describe the roles and responsibilities of participating
agencies, including the role of the lead investigative agency; and
provide for ongoing coordination among participating agencies
and consultation with pertinent prosecuting authorities.”

Methodology

No changes in the MATF requirements and agreement have been made
since the last reporting period.

Documentation reviewed by the monitoring team was indicative of APD’s
support of the MATF. As evidenced by their close working relationship
with the MATF, APD members briefed MATF members (at the July 10,
2017 briefing) about their CASA-related roles and how they can
collectively ensure the goals of both the MATF Memorandum of
Agreement (MOA) and CASA can be jointly served.

APD remains in compliance with this Paragraph.

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Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.70 Assessing Compliance with Paragraph 83: Coordination
with MATF

Paragraph 83 stipulates:

“APD agrees to consult and coordinate with the Multi-Agency Task
Force on the release of evidence, including video recordings of
uses of force, and dissemination of information to preserve the
integrity of active criminal investigations involving APD
personnel.”

Methodology

No changes in the MATF requirements and agreement have been made
since the last reporting period. APD remains in compliance based on
past performance.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.71 Assessing Compliance with Paragraph 84: Briefing with
MATF

Paragraph 84 of the CASA stipulates:

“APD agrees to participate in all briefings of incidents involving
APD personnel that are investigated by the Multi-Agency Task
Force.”

Methodology

No changes in the MATF requirements or agreement have been made
since the last reporting period.
Documentation reviewed by the monitoring team reveals eight (8)
different briefings conducted by the MATF during this monitoring period.
APD was in attendance at each briefing.

APD remains in compliance with this Paragraph.

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Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.72 Assessing Compliance with Paragraph 85: Expiration of
MOU re MATF

Paragraph 85 stipulates:

“If the Memorandum of Understanding governing the Multi-Agency
Task Force expires or otherwise terminates, or APD withdraws
from the Multi-Agency Task Force, APD shall perform all
investigations that would have otherwise been conducted
pursuant to the Memorandum of Understanding. This Agreement
does not prevent APD from entering into other investigative
Memoranda of Understanding with other law enforcement agencies
to conduct criminal investigation of officer-involved shootings,
serious uses of force, and in- custody deaths.”

Methodology

No changes in the MATF requirements and agreement have been made
since the last reporting period. APD remains in compliance based on
past performance.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.73 Assessing Compliance with Paragraph 86: Review of Use of
Force Policies and Training

Paragraph 86 stipulates:

“APD will review all use of force policies and training to ensure
they incorporate, and are consistent with, the Constitution and
provisions of this Agreement. APD shall also provide all APD
officers with 40 hours of use of force training within 12 months of
the Operational Date, and 24 hours of use of force training on at
least an annual basis thereafter, including, as necessary, training
on developments in applicable law and APD policy.”

Methodology


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APD SOP’s related to use of force 143 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. During past site visits we met with
representatives of APD and communicated our concerns regarding
critical omissions in their policies and how APD must reconcile those
issues to properly influence field performance of its officers and
supervisors. APD policy has been silent to certain crucial topics (i.e.,
Distraction Strikes) and we cautioned that once the issues were resolved
in policy, meaningful training must follow. During its November 2016 site
visit the monitoring team met with APD personnel, and city attorneys, to
discuss their policy development process and modifications APD
intended to propose for their use of force suite of policies; however, we
specifically centered our attention on SOP 2-52. At that time, we were
told that APD intended to include many of the recommendations we made
during a June 2016 site visit. The update of APD’s use of force suite of
policies remained pending until June 2017, when the APD finally
submitted policies that the monitor could approve. These policies
consisted of four (4) use of force related policies. The policies approved
by the monitor included substantive structural changes (i.e., The use of
force “Definitions” section of SOP 2-52 was moved to the front of SOP 2-
55), as well as resolution of certain critical topics that have lingered for
APD. These included, specifically, the following revisions:
1) “Distraction Technique” was included and recognized as a reportable
use of force; 2) “Low Ready” was clearly operationally defined to help
clarify what constitutes a reportable show of force; 3) “Neck Hold” was
further defined and clarified; 4) “Show of Force” was defined better and
supervisor investigative responsibilities relating to Show of Force events
were delineated in SOP 2-54-5-B (This has been a significant obstacle to
APD’s compliance efforts); and 5) A term, “De Minimis force”, was
introduced, by “definition” to APD policy, sans process, structure, or
elaboration.

Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that all of these policy revisions
were introduced while APD remained in non-compliance on use of force
issues and policies, the new policy provisions have a direct impact on
APD’s Secondary Compliance status for this reporting period.

In preparation of this report the monitoring team requested a host of
training materials centered on determining whether APD had reached



143 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
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Secondary Compliance 144. The status of APD training gaps related to
use of force and supervisory force investigations have been collectively
reported in Paragraphs 15 and 86 – 88 in past monitoring reports.
Examples of the type of materials the monitoring team requested for this
reporting period included:

a. In IMR -5 the monitor identified four (4) specific training gaps related
   to Paragraph15. We asked APD to provide any new training
   materials, and attendance records, that address the specific gaps
   identified in IMR - 5. We further requested APD to identify and
   highlight the specific training section/provisions in the materials that
   APD developed to address the gaps identified in IMR-5. 145

b. Copies of any updated policy, or Special Order, memos or other COB
   documentation that was promulgated related to Use of Force or Show
   of Force reporting or supervisory investigations. 146

c. Video tapes of the Standardizing Use of Force investigations and
   2017 Use of Force Review courses.

d. Training materials and attendance records for the training programs in
   “c,” above. If training materials for either program changed AFTER
   the programs commenced, please direct to and highlight the changes.
      147


e. If APD has disseminated their videotape (or updated version)
   concerning handcuffing procedures and guidance (previously
   reviewed by the monitor), please provide the associated training
   materials and attendance records.

f. Copies of all Training Committee meeting agendas and minutes.



144  The training function at APD has been plagued from the outset of the reform project by
fragmented, incoherent, and poorly documented process, leading to multiple, frequent, and, at
times, seriously deficient and poorly documented training practices. Over the years, we have
documented serious “gaps” in APD’s training product and have repeatedly recommended that
the agency ameliorate these “gaps.” APD’s progress toward that end, to date, has been
fragmented, poorly documented and structured, and still leaves substantial deficiencies in
training support of CASA required processes.
145 The latter “direct and highlight” request was made to benefit APD, since their training
materials are commonly disorganized, uncoordinated and/ or incomplete. We reiterated that
specific request on two occasions during our June 2017 site visit. We note that despite this
specific request APD did not provide the materials in a manner that made compliance
determinations less complicated.
146 In response to this request APD provided the newly enacted SOP 2-52, but no other updated
use of force policy.
147 Ibid.

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g. Copy of any needs assessments related to use of force training for
   either recruits or active members of the APD.

h. Attendance records and any after action report (s) from training
   programs.

i.    We also noted that “IMR-5 noted numerous paragraphs that did not
      meet training compliance and required that either initial or
      supplemental use of force training was necessary. Likewise, the
      concept of developing a training plan (completed staff work) to track
      and address these specific gaps was recommended in IMR-5. Please
      provide any training plan (completed staff work) that was developed to
      address the gaps identified in IMR-5 during this time frame.”

j.    Training materials and attendance records for use of force training
      delivered during this time that APD believes addresses each of the
      gaps identified in IMR-5 (P15 & 86-88). Please direct to and highlight
      the specific provisions in the materials for each gap that was
      addressed: (i.e., Gap identified in IMR – 5; How that gap has been
      addressed through training. (I.e. Methods, block of instruction and/or
      course name); Copy of specific training materials that address each
      gap; Please highlight the specific place in the materials that the gap
      was addressed; attendance records. 148

In response to our data request the monitoring team received various
materials from several different training courses including: 1)
"Standardizing Supervisory Use of Force Investigations” – December
2016; 2) "2017 Use of Force Review” – Delivered in phases throughout
2017 149; 3) A “June 1 Commander Course”150 – Focused on high level
commanders of APD; 4) “Supervisor Force Investigation Training
Supplemental” 151 – July 2017; and 5) Training Committee Materials for

148 Ibid.
149 We note that we were provided a lesson plan for the Phase 1 Classroom portion of the 2017
Use of Force Review. That lesson plan addressed use of force topics, specifically ECW.
However, no lesson plan for the Phase 2 RBT portions of the training were provided. We did,
however, receive numerous rosters and practical exercise scoring sheets for Phase 2, which we
comment on in this paragraph.
150 While training materials were provided, there was no lesson plan that accompanied those
materials. We were, however, provided a PowerPoint presentation and “Instructor’s Outline”.
Despite concentrated and repeated efforts, we have yet to have APD’s training academy submit
to us a single training plan that conforms to accepted national standards. We have repeatedly
advised the training academy’s directing major of this deficiency. Those advisements
notwithstanding, we continue to receive training “outlines” that fail to conform to established
practice for such documents. By this point, we have no choice but to assess this lack of
compliance as deliberate.
151 We noted some instances in APD’s documentation where this course was referred to as
“2017 Supervisor Use of Force Gap Training”. While on-site in June 2017 we discussed with
APD the importance of ensuring course materials, in particular the name of a course, remain
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February 8 and May 3, 2017. In addition to the materials we reviewed we
had an opportunity to meet with and discuss the status of APD’s training
development, and gap remediation efforts, with the Academy
Commander while we were on site in June 2017.

Results

As reported in both IMR-4 and IMR-5, APD has a host of outstanding
training gaps that have gone effectively un-addressed over multiple
reporting periods. This has had a serious and an adverse impact on
secondary compliance in numerous paragraphs of the CASA. During this
monitoring period, we have found that APD has developed training to
address some of these gaps. In most instances, the gaps remain,
because sufficient people have not been trained in a particular topic,
training materials were not produced to the monitor (as requested), the
quality of training was unsatisfactory, or the training was provided prior to
the promulgation of an approved policy. APD has demonstrated a
propensity for training “proposed policy changes” before they are
reviewed and approved by the monitor. We reiterate again, well past the
point of monotony, the danger of such unconventional practices. We
have cautioned APD about this practice in the past, since those being
trained will receive mixed messages as to the standard by which they
should report or investigate uses of force. Additionally, the monitoring
team cannot accept business practices that do not adhere to nationally
accepted standards for training development. Specifically, policy must be
in place before training is delivered by APD, and that training must be
documented in a form that allows individual assessment of individual
training blocks by reviewing course documentation before the training can
receive Secondary Compliance. To accept any other method would
leave the effectiveness of training to chance, happenstance, and luck,
and would not inculcate a sustainable business process.

A perfect example is APD’s inclusion of the concept of “De Minimis force”
in its 2017 Use of Force Review. 152 The monitoring team has
communicated its significant concerns to APD as to its adoption of this

consistent. This may seem like a small administrative nuance, but cross-referencing materials,
rosters and attendance records becomes a cumbersome task that can expose APD to errors.
We experienced one such error when we received two separate interoffice memorandums
(Dated July 28 & August 11, 2017) entitled “2017 Supervisory Use of Force Gap Training” that
reported attendance records for the same course. Although the memorandums are less than
two weeks apart they report two different sets of statistics. The latter memo was submitted to
the monitoring team in direct response to our request for attendance records for the
“Standardizing Use of Force Investigations” course that was given in December 2016. (Monitor
Data Request 3 – Dated July 30, 2017 – Item P-15/008).
152 The updated SOP 2-55 that included this term and definition was not approved by the
monitor until June 2017, while the training commenced in January 2017. Further we note that
the term was not actually included in policy, but in the “definitions” section. Hardly effective
policy management.
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concept, as opposed to adopting the controlling language in the CASA
that would help APD clarify issues concerning reportable uses of force. 153
We realize this concept has been adopted by other organizations that are
in similar situations to APD. We make no determination on the
appropriateness, proper adoption and application of this concept by any
other police department. However, our engagement with APD leads us to
believe that the concept will further complicate their calculus to determine
what activities constitute a reportable use of force. Therefore, the
inclusion of the concept “De Minimis force” in the manner in which APD
has chosen to implement it (by simple definition as opposed to a full
policy-relevant definition supported by in-field implementation criteria, has
left a large and problematic training gap to be filled before Secondary
Compliance can be achieved. 154 We note this is not the first time we
have noted “gaps” in APD training policy and practice. On the whole,
training, as currently operationalized at APD suffers substantial and
serious deficiencies in planning, operationalization, documentation, and
at times, delivery and assessment of effectiveness. We have had
innumerable “conversations” with training command staff regarding these
issues to little avail. We see these (apparently deliberate) gaps in training
process to be a key contributor to APD’s failures in critical aspects of the
CASA.

In addition, for the past two years the monitoring team has provided
extensive feedback, in both written format, as well as during site visits, (to
include our June 2017 site visit) to APD concerning the quality and
content of their policies. Likewise, we have provided extensive technical
assistance as to the quality and content of training programs they
proposed to deliver. We have found that, at times, APD is deliberately
impervious to technical assistance provided by the monitor regarding its
training practices. A typical example is our recurring recommendation
that APD develop a comprehensive training plan. As noted above we
specifically requested APD “Please provide any training plan (completed
staff work) that was developed to address the gaps identified in IMR-5
during this time frame.” We received nothing that resembled an
organization-level training plan. 155 Once again, when reviewing data
submitted by APD, disentangling information to assess the organization
for Secondary Compliance has been an arduous task, made more difficult
by deliberate decisions on the part of APD to not change flawed business
practices and management processes at the Training Academy. Given
the frequency and duration of these problems, we can only believe that
this is deliberate. In the opinion of the monitoring team, to date APD has

153 Specifically, that “anything above un-resisted handcuffing” constitutes a use of force.
154 Interestingly, Seattle PD uses the term “un-resisted handcuffing” as an example of “De
Minimis force” which APD has not adopted.
155 APD submitted one document related to its July 2017 Supervisor Use of Force Gap Training
that resembled a component of a plan, but not an entire organizational training plan.
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not developed a coordinated, cohesive and sustainable training
development process that can effectively implement its use of force
policies. We note here, again, that we have addressed these issues
multiple times with Academy leadership, department leadership, and legal
only to find our “advise” being responded to in unreceptive and
unresponsive ways. Problems with Academy business processes
continue unabated to this day.

Of particular note, there does not appear to be an organizational “center
point” for the quality assurance and oversight of training programs APD
develops, in particular those required to reach Secondary Compliance. 156
Despite numerous recommendations on the part of the monitoring team,
APD has still not instituted a system that adequately collects and
assesses organizational training needs (which include gaps identified
within monitoring reports); develops those needs into a comprehensive,
cohesive and coordinated training program; evaluates those training
programs for effectiveness, and documents the entire process in the form
of an analytic assessment document. 157 We see signs of these activities,
but they are nascent at best. As a consequence, we believe that APD
does not currently possess the requisite skills and competencies to
develop training that can be effectively implemented in the field. It is
obvious that APD has no meaningful mechanism in place to measure the
effectiveness of their training and its impact on field implementation.
What we see, generally, is an effort to "check a box" with respect to
training. Fortunately, we continue to see professionalism in the delivery
of training, even if that training possesses deficiencies in its development,
documentation, delivery and assessment methodologies.

One specific area that APD has been unwilling or unable to resolve and
clarify for its members is the concept of “anything above un-resisted
handcuffing” which is a component of CASA Paragraph 12yy - “Use of
force.” Despite specific language in the CASA, and despite extensive
monitoring team guidance and recommendations, the phrase ““anything
above un-resisted handcuffing” is still absent from APD policy revisions.
We cannot comprehend why APD has been resistant to including the

156 In our view the APD academy should be responsible for all APD training and be held
accountable for all CASA related training content regardless of who developed and delivers the
training. For instance, much of the CASA related training related to use of force is developed by
CIRT. Quality assurance and verifying appropriate training content seems to occur passively,
and has a disjointed appearance.
157 During past reporting periods the monitoring team has mentioned directly to the APD training
Commander on numerous occasions the concept of instituting a “training cycle” that includes a
“Step-6 Report”. We have directed them to the New Jersey State Police (NJSP) model of
training development and oversight as a means of developing a sustainable system that results
in meaningful course of business documentation. The NJSP previously implemented a 7 Step
Training Cycle that, at Step 6, collects all relevant information for the delivery of training
programs. That document becomes the basis for future training development, accounts for
necessary follow up activities and can serve as a final status report that can be easily digested.
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phrase “anything above un-resisted handcuffing” in its policies. Instead,
APD has pivoted away from that basic concept and introduced a new and
(we predict) more complicated concept to implement, specifically, “De
Minimis force.”

The training implications of introducing the use of “De Minimis force” into
APD’s use of force oversight and accountability system are significant,
and have implications with any CASA component regarding oversight
responsibilities of APD’s use of force. 158 We do not believe APD has fully
contemplated the implications of potential confusion and complexity that
may soon follow this new policy provision. Again, we note the concept of
De Minimis force was not treated in policy, but simply added into APD’s
use of force policy’s “definitions” section. We find this a remarkably “back
door” way of making what we believe will become unworkable (for APD at
least) policy.

In past monitoring reports, we have predicted problems APD would
encounter. We do so again here, and highly caution APD on its adoption
of this concept at this stage of its reform process, particularly since
across the organization its officers, detectives, supervisors and
commanders have exhibited an inability to identify even the most obvious
instances of use of force. Without first installing proper supervision,
oversight and accountability measures for this concept 159, and building
effective training around it, the subjective elements to the “De Minimis
force” analysis may render obscure obvious uses of force that continue
go unreported by officers because supervisors are never alerted. We
see this as a critical issue, and will monitor it closely in coming monitoring
processes and reports.

As we have reported previously, almost to the point of monotony, only
through the collection and analysis of field implementation data will APD
be able to customize its training to the areas of the organization that have
the closest influence on operational compliance with the CASA. Based
on the documentation we reviewed concerning APD's Training
Committee meetings, our assessment is that they are at the very early
stages of using those meetings as a means to identify training needs. 160

158 We note that in recent conversations with APD commanders it appears that the organization
is currently reviewing its use of force oversight process and may make substantive changes in
the near future. That too implicates the status of training implementation and Secondary
Compliance.
159 We have commented regularly that APD’s current systems fail routinely.
160 We also noted that during the February 2017 training committee meeting a CIRT/IA
representative reported that “…under use of force is still an issue. The fear of the Ferguson
effect still exists.” The term “under use of force” continues to reveal itself in APD meetings
without context or substance to be evaluated. We refer the reader to our earlier treatments of
this issue in IMR-4. APD has never documented an “under use of force.” It is a red herring we
noted early on, yet one that APD refuses to acknowledge as based on no analysis, no
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Within the documentation we reviewed, we saw no evidence that issues
raised within the meetings were referred for inclusion in specific training
programs. As with many APD initiatives, a good idea has simply been
“absorbed” by poor analysis, assessment, implementation, oversight and
control. Likewise, close attention to feedback provided in monitoring
reports is essential if APD is to succeed, and as of yet, we see no clear
indications that this is part of the training planning process.

The process of identifying organizational training needs is labor intensive,
and requires the academy staff to be diligent and precise when assessing
successes and failures in the field. Use of lessons from the field, and
understanding how to best collect that information, will be essential as
APD develops future training curriculum. The monitoring team has
provided extensive feedback to APD training command, both in
theoretical discussions and from case reviews that we have conducted,
that should be a trove of information that could be exploited for
meaningful training development on a host of critical training topics.

In IMR-5 we noted our concern that the 2017 Use of Force training
commenced while certain critical issues (i.e. neck hold definition and
distraction strikes) were unresolved. We have continuously cautioned
APD to slow its development process (for both policies and training) and
to employ a more deliberative, data-based, and professional approach to
training development. To date, we have seen no evidence that they have
taken this technical assistance into practice. As a consequence, we have
seen training programs rushed with piecemeal approaches to critical
topics within the area of use of force, force reporting and supervisory
force investigations. This has led to failure after failure at the training
level, and has set compliance timelines back substantially. In fact, it is
the monitor’s considered opinion that failures in training processes and
product are a substantial contributor to APD’s failures to make progress
“in the field” on CASA requirements.

This paragraph remains in Primary Compliance following the monitor’s
approval of the revised use of force suite of policies. Secondary
Compliance will occur once APD has demonstrated to the monitoring
team that the APD have adequately addressed training gaps previously
identified and any new provisions in APD’s use of force SOPs are
formally trained. Those gaps are communicated in Paragraph 88.

        Primary:   In Compliance
        Secondary: Not In Compliance

assessment, no documentation, and no “proof.” This constitutes yet another example of
deliberate non-compliance on APD’s part with the use of force provisions of the CASA. If APD
were able to identify (by case number and process) events of “under-use of force,” we would be
able to analyze and assess this undocumented contention. To date, they have been unable or
willing to do so.
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       Operational: Not In Compliance

Recommendation 4.7.73a: As we have suggested multiple times in
the past, APD should develop a comprehensive training plan,
based in part on information contained within the monitoring
reports, and draw direct lines between policy, the CASA, training
gaps identified by the monitoring team and the specific areas
within their training curriculum where these issues are addressed.
The plan should include a table to ensure that the right topics are
delivered to the right audience of people.

Recommendation 4.7.73b: Training Committee meetings should
include specific recommendations to be included in specific
training programs. Topics they identify should be tracked until they
are included in a particular program.

Recommendation 4.7.73c: APD should immediately cease the
practice of training "proposed policy changes," and should move
forward with training only after policy has been approved and
adapted.

Recommendation 4.7.73d: Resolve at the soonest point possible
the manner in which “De Minimis” force will be trained to the
organization: officers, supervisors, commanders, and upper
management.

4.7.74 Assessing Compliance with Paragraph 87: Use of Force
Training Based on Constitutional Principles

Paragraph 87 stipulates:

“APD’s use of force training for all officers shall be based upon
constitutional principles and APD policy and shall include the
following topics:

 a) search and seizure law, including the Fourth Amendment and
    related law;

 b) APD’s use of force policy, use of force reporting
    requirements, and the importance of properly documenting
    use of force incidents;

 c) use of force decision-making, based upon constitutional
    principles and APD policy, including interactions with
    individuals who are intoxicated, or who have a mental,
    intellectual, or physical disability;

 d) use of de-escalation strategies;

 e) scenario-based training and interactive exercises that

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      demonstrate use of force decision-making and de-escalation
      strategies;

 f)   deployment and use of all weapons or technologies, including
      firearms, ECWs, and on-body recording systems;

 g) crowd control; and

 h) Initiating and disengaging foot pursuits.”

Methodology

APD SOP’s related to use of force 161 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. Final policy approval occurred in June 2017.
During past site visits we met with representatives of APD and
communicated our concerns for certain critical omissions in their policies
and how APD might reconcile those issues to properly influence field
performance of its officers and supervisors. APD policy has been silent
to certain crucial topics (i.e., Distraction Strikes) and we cautioned that
once the issues were resolved in policy, meaningful training must follow.
During its November 2016 site visit the monitoring team met with APD
personnel, and city attorneys, to discuss their policy development process
and modifications APD intended to propose for their use of force suite of
policies; however, we specifically centered our attention on SOP 2-52.
At that time, we were told that APD intended to include in policy many of
the recommendations we made during a June 2016 site visit. The update
of APD’s use of force suite of policies remained pending until June 2017,
when APD finally crafted use of force policies that the monitor was able to
approve. The policies included substantive structural changes, and
certain critical topics that have lingered for APD were finally resolved 162 in
terms of policy provisions: specifically, 1) “Distraction Technique” was
included and recognized as a reportable use of force; 2) “Low Ready”
was defined to help clarify what constitutes a reportable show of force; 3)
“Neck Hold” was further defined and clarified; 4) “Show of Force” was
defined better and supervisor investigative responsibilities relating to
Show of Force events were delineated in SOP 2-54-5-B (this has been a
significant obstacle to APD’s compliance efforts); and 5) A term, “De
Minimis force”, was introduced to APD policy.

Since APD has been unable to achieve Secondary Compliance because
of lingering training gaps, and the fact that all of these policy revisions

161 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
162 Our intent here is to list some of the more critical changes to the policies and not to list every

policy change that occurred.
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were introduced while APD remained in non-compliance, the new policy
provisions have a direct impact on APD’s Secondary Compliance status
for this reporting period. We note several specific problems with APD’s
CASA-related training programs elsewhere in this report.

Results

In Paragraph 88’s discussion of this document, we report the
outstanding training gaps that exist for APD. The monitoring team
reviewed training curriculum, specifically, the 2017 Use of Force Review,
that contained topics relevant to this Paragraph. We wish to comment
on the professionalism and quality of training that was provided by the
primary instructors for Phase 1 of the training that centered on a number
of use of force topics. A separate lesson plan was created to specifically
address the requirement that APD officers receive an annual ECW
recertification and update, and a final block of instruction centered on
crowd control was delivered. The monitoring team received a
PowerPoint of the crowd control block of instruction, and had an
opportunity to watch a video of the training; however, despite repeated
notice to APD of what constitutes a “training plan,” we were not provided
with a lesson plan for that block of instruction. At this point, these
recurring failures relating to lesson plan development and submission
can only be viewed by the monitor as deliberate and intentional.

The primary block of instruction, entitled, “2017 Use of Force Review”
included topics on: Fourth Amendment issues related to use of force; a
review of case law; discussing what comprises the "totality of
circumstances" of an event; issues surrounding show of force; defining
"minimum amount of force necessary" and how that standard is being
implemented by APD; strategies that may reduce or minimize the
necessity to use force; use of force against handcuffed persons;
implications of a subject's mental illness on the analysis of objective
reasonableness; and how to write a comprehensive use of force report.

While documentation fell short, the monitoring team was impressed with
the content of the training program. The training satisfactorily explained
"minimum amount of force necessary," which is been a continual issue
obstructing APD’s Secondary Compliance in training. We also found
that the program’s attention to the topic of mental impairment and its
relationship to the objective reasonableness standard was well covered.
An outstanding issue for Secondary Compliance has been APD's ability
to train adequately the concept of "un-resisted handcuffing” as a de facto
line of demarcation when determining whether an officer's actions
constitute a reportable use of force. In the opinion of the monitoring
team the training did not address that specific training gap we have
identified relative to “unresisted handcuffing”. We forecasted this
assessment in IMR-5, based on a cursory review of materials for this
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topic. 163 We noted that the instructor did a good job articulating the need
for good report writing, and provided appropriate recommendations for
properly "painting the picture" of an incident. Finally, in the opinion of
the monitoring team the instruction concerning show of force did not
close that pending training gap, especially since the policy provisions
concerning show of force and show of force investigations had not been
approved by the monitor at the time of the training! APD remains the
only law enforcement agency known by the monitor to begin training
before policy is developed (and approved). This is a serious issue that
has been addressed interminably with APD’s training command, to no
avail. At this point, we can only consider this lapse to be deliberate and
intentional.

The monitoring team reviewed the "2017 Electronic Control Weapon
Update and Recertification” lesson plan and watched its corresponding
video. Generally, the lesson was well delivered by the instructor. He
directly addressed the requirement that Tasers be worn on an officer's
weak side away from their primary weapon. He also addressed how
historically ECW training encouraged the utilization of a five second
"window of opportunity" to handcuff a person under power of an ECW.
He instructed away from that concept indicating that it may have
inadvertently created a sense of urgency on officers to close the gap on
a suspect too early in an event. His handling of that particular issue
coincided well with officer safety concepts, and reinforced ways to avoid
unnecessary uses of force. The monitoring team did note that an
illustration within the PowerPoint and lesson plan, which depicts
"preferred target areas" for an ECW, did not specifically preclude an
intentional targeting of a subject's genital area. The lesson plan states,
"When deploying the ECW reasonable attempts should be made to
avoid striking sensitive target areas with the probes. The back is always
the preferred target zone." We note this deficiency, but the monitoring
team does not see the issue as significant, as the instructor later stated
the requirement to not intentionally target a suspect’s groin area.
However, like past training programs the monitoring team has reviewed,
we cannot be certain that distinction was made in every training program
because it is not specifically included in the course materials! We note
this issue here, again, as a cautionary message to APD that precision in
its training materials is critical to their ability to attain Secondary
Compliance. As with many of our admonitions to APD, that advice in the
past has fallen on deaf ears.

We reiterate here that which is articulated in Paragraphs 39 and 40 of
this report, that the training material and instruction pertaining to "crowd

163 The monitoring team was not provided copies of the training program prior to the instillation
of this training curriculum. Since the training commenced during the last week of the IMR-5
reporting period we deferred any detailed assessment and comment.
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control" was insufficient and ineffective and has resulted in a training gap
that must be remediated, and remediated soon, before it creates
unwarranted liability for the agency.

After careful analysis and review, the monitoring team identified several
open issues that continue to require some follow-up or supplemental
training. As a result, we find APD not in Secondary Compliance. The
monitoring team wants APD to understand that to achieve Secondary
Compliance, APD has a continuing responsibility to address lingering or
emerging use of force training issues. We note that this message has
been delivered clearly and succinctly ever since the monitoring team
arrived in Albuquerque, yet for some inexplicable reason, it seems not to
have been received, processed or acted upon. At this point, critical
failures in training are having direct, serious, and at times grievous
impact on in-field operations.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.74a: APD should implement a careful review
of IMR-3, IMR-4, IMR-5 and, and note gaps in provided training,
policy, or supervision and develop, where appropriate, specific
training modalities to positively affect remediation of those gaps.
Application of the concept of “completed staff work” should be
directed toward each identified area or topic that must be
remediated, resulting in specific recommendations to the Chief of
Police designed to remediate identified training gaps.

Recommendation 4.7.74b: APD should develop and deliver training
concerning crowd control that takes cognizance of feedback
provided in Paragraphs 39 and 40.

Recommendation 4.7.74c: Given the fact that training command
seems to put little credence in the monitor’s recommendations
regarding training in past monitoring reports, APD should consider,
develop and implement mechanisms to ensure the
recommendations are assessed, evaluated, and written plans for
implementation are developed. For those monitor’s
recommendations that will not be implemented, APD should
identify alternative processes for achieving the results required by
the CASA.

4.7.75 Assessing Compliance with Paragraph 88: Annual
Supervisory In-Service Training

Paragraph 88 stipulates:
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“Supervisors of all ranks, including those assigned to the Internal
Affairs Bureau, as part of their initial and annual in-service
supervisory training, shall receive additional training that includes:

a)    conducting use of force investigations, including evaluating
      officer, subject, and witness credibility;

b)    strategies for effectively directing officers to minimize uses of
      force and to intervene effectively to prevent or stop
      unreasonable force;

c)    incident management; and

d)    supporting officers who report unreasonable or unreported
      force, or who are retaliated against for using only reasonable
      force or attempting to prevent unreasonable force. “

Methodology

APD SOP’s related to use of force 164 (2-52 “Use of Force”; 2-53
“Electronic Control Weapon”; 2-54 “Use of Force Reporting and
Supervisory Force Investigation”; and 2-55 “Use of Force Appendix”)
were previously approved by the monitor and were due for review and
revision in December 2016. Acceptable policy was not developed by
APD until June of 2017. During past site visits we met with
representatives of APD and communicated our concerns about certain
critical omissions in their policies and how APD must reconcile those
issues to properly influence field performance of its officers and
supervisors. APD policy has been silent to certain crucial topics (i.e.,
Distraction Strikes) and we cautioned that once the issues were resolved
in policy, meaningful training must follow. During its November 2016 site
visit, the monitoring team met with APD personnel and city attorneys to
discuss their policy development process and modifications APD
intended to propose for their use of force suite of policies; however, we
specifically centered our attention on SOP 2-52. At that time, we were
told that APD intended to include many of the recommendations we made
during a June 2016 site visit. The update of APD’s use of force suite of
policies remained pending until June 2017, when the monitor finally
approved each of the four (4) use of force related policies. While the
policies included substantive structural changes (i.e., The use of force
“Definitions” section of SOP 2-52 was moved to the front of SOP 2-55),
certain critical topics that have lingered for APD were resolved 165 in terms
of policy provisions. Specifically: 1) “Distraction Technique” was included
and recognized as a reportable use of force; 2) “Low Ready” was defined

164 APD and the monitoring team have commonly referred to their use of force policies
collectively as the “use of force suite of policies”.
165 Our intent here is to list some of the more critical changes to the policies and not to list every

policy change that occurred.
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to help clarify what constitutes a reportable show of force; 3) “Neck Hold”
was further defined and clarified; 4) “Show of Force” was defined better
and supervisor investigative responsibilities relating to Show of Force
events were delineated in SOP 2-54-5-B (this has been a significant
obstacle to APD’s compliance efforts); and 5) A term, “De Minimis force”,
was introduced to APD policy without consultation with the monitor.

APD has been unable to achieve Secondary Compliance because of
lingering training gaps, and the fact that most of these policy revisions
were introduced while APD remained in non-compliance on critical force-
related policies. The new policy provisions have a direct impact on APD’s
Secondary Compliance status for this reporting period.

In preparation of this report the monitoring team requested a host of
training materials centered on determining whether APD had reached
Secondary Compliance. The status of APD’s training gaps related to
use of force and supervisory force investigations have been collectively
reported in Paragraphs 15 and 86-88 in past monitoring reports.
Examples of the type of materials the monitoring team requested for this
reporting period are listed in Paragraph 86.

Results

We specifically noted during IMR-4 and IMR-5 that there were numerous
paragraphs that did not meet training compliance and that either initial or
supplemental use of force training was necessary. As we noted in past
reports, over the course of the past two years, the monitoring team has
brought up, frequently (both in writing and during in person meetings) the
value of developing training plans. That fact was reiterated in our data
request. We asked for copies of any training plans that APD developed
to address training gaps that were identified in IMR-5. Despite that
request, we were not provided a single document that conforms to
established practice and format for law enforcement training plans.
Through an assessment of the materials that were provided and through
conversations with APD personnel we find that training gaps continue
exist, more than two years into the compliance process. 166

On January 24, 2017 APD launched its 2017 Use of Force Review, which
consisted of two separate phases. The monitoring team had an
opportunity to review video recordings of the in-classroom portion of
Phase 1. The Phase 1 in-classroom portion of the program continued
throughout the Spring of 2017. The monitoring team was also provided

166 While on-site during our June 2017 site visit the monitoring team met with the new
Commanding Officer of the training academy. We went point-by-point through the standing
training gaps and he directed our attention to specific courses for how those gaps would be
remediated.
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with course rosters and a July 28, 2017, Interoffice Memorandum that
documented that of 899 officers, a total of 886 attended the training (a
98.55% compliance rate). Based on the documentation we have been
provided, Phase 2, which consists primarily of Reality-Based Training
(RBT), is being provided over 74 separate sessions and is approximately
50% complete. In a July 28, 2017 Interoffice Memorandum, APD
reported that of a total of 899 officers, 463 attended the training (a 51.5
percent compliance rate). While these interoffice memorandums are
helpful, in the opinion of the monitoring team they constitute a "Special
Report”, not a “Course of Business” documentation, since they appear to
be created in response to a data requests by the monitoring team instead
of being the part of an established business process.

The monitoring team also reviewed documentation APD provided related
to a course entitled, “June 1 Commander Course”. We believe that this
course was developed in direct response to the compliance outcomes
reported in IMR-5 related to command level personnel. Since we were
not provided a lesson plan for the training program 167, and the Academy
Commanding Officer did not direct our attention to this course as an
intended means to remediate IMR-5 listed training gaps, we will not
comment further here on the quality of the training. However, within the
materials provided was a document entitled, "Course Needs Assessment
Rough Lesson Plan" that provided a good template for the Appendix of
future "training plans" APD may develop. We commend APD on this
process.

The monitoring team reviewed Department Special Order 17 – 75, dated
July 3, 2017, entitled, "Mandatory Supervisor Use of Force Gap
Training” 168. The Special Order mandated supervisors attend a four-hour
training session on the topic of supervisory use of force investigations. It
stated, "The training is meant to address identified gaps in the original
2016 24-hour Supervisory Force Investigations training conducted by
Internal Affairs. We also reviewed the lesson plan entitled, "Supervisor
Force Investigation Training Supplemental” that was delivered on five
separate dates during the month of July 2017. The materials are
comprehensive and included topics related to previously identified
training gaps that were reported by the monitoring team in IMR-5. That
said, the monitoring team made several observations of the training
materials that are potentially problematic:


167 It is possible that the lesson plan entitled, “Supervisor Force Investigation Training
Supplemental” (Also referred to as the “2017 Supervisory Use of Force Gap” training was used
as the lesson plan for the June 1 Commander Course, but that fact is not self-evident by the
materials we were provided. These are the type of issues that make compliance determinations
a difficult task, and place an undue burden on APD to “explain” rather than document training
product.
168 This is the third potential name for the same course of training.

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   1. Under the section "Target Audience" the author of the lesson plan
      listed "Certified Law Enforcement Supervisors". As such, it is our
      understanding this lesson plan was not intended for an audience
      beyond APD supervisors/commanders. There are topics covered
      within this lesson plan that are necessary to be communicated to
      the entire agency in order for certain training gaps to be
      remediated. We have discussed this need ad nauseum with APD
      training commanders, yet, for some inexplicable reason, see no
      change in their established practice.

   2. The date of the lesson plan is listed as being created is December
      2016. That date is before the revision of several APD use of force
      policies. There are several APD SOPs appended to the lesson
      plan that were outdated at the time the training was delivered!
      Such oversights are remarkably problematic. Specifically, SOP 2-
      52 (Effective 4/1/16 and Expired 10/1/16); and SOP 2-54 (Effective
      4/28/16 and Expired 10/25/16), which were revised and approved
      by the monitor in June 2017. The updated 2-53 “Electronic Control
      Weapon” and 2-55 “Use of Force Appendix” SOP’s were not
      included in the materials provided to the monitor.

   3. The instructor ratio is listed as 1:10. Training professionals
      typically predetermine the appropriate number of people who
      should attend a training course, based on the curriculum, to ensure
      that there is an effective transfer of knowledge to the students. Of
      the five course rosters we reviewed the numbers of people who
      attended this course were 29, 21, 39, 21, and 23. Thus the actual
      trainee-to-instructor ratios were, for some classes three times the
      established ratio! We expect that these numbers will have a direct
      impact on the quality of training that was received. Again, in the
      opinion of the monitor, these overloaded classes reflect APD’s
      rush to compliance, and overlook the critical need for the
      supervisors exposed to the training to take valuable insight back to
      their duties. This is exactly the type of slap-dash training we have
      cautioned APD about interminably, to no avail.

   4. Under the section "instructional goals" the author of the lesson
      plan stated, "The course presumes the student is already familiar
      with the methodologies of conducting and evaluating a supervisory
      level use of force." Based on APD's current success rates with
      investigating uses of force it is unknown to the monitoring team
      why that presumption would be made.

   5. The lesson plan muddled the terms “De Minimis use of escort
      holds” and “De Minimis force”, which are at the heart of the issues
      APD currently has with the CASA provision that “anything above
      un-resisted handcuffing” constitutes a reportable use of force.
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           Such errors are critical and concerning. Specificity is the is the
           sine qua non of effective training.

      6. The multiple-choice test at the end of the lesson plan consisted of
         nine (9) questions. In the opinion of the monitoring team it is likely
         this test (based on the number of questions to topics covered ratio,
         the quality of the questions, and the manner the topics were
         addressed) did not provide a sufficient measure to determine if a
         meaningful transfer of knowledge occurred. As a consequence,
         APD should not be surprised if field implementation is not
         achieved.

The following topics were covered appropriately in the lesson plan
(Supervisor Centric):

      1. Making credibility determinations of officers, subjects and
         witnesses;
      2. Determining if a preponderance of evidence exists;
      3. Making assessments as to whether proper de-escalation occurred
      4. Making determinations for minimum amount of force; and
      5. Determining areas of concern and taking appropriate courses of
         action with Additional Concern Memos

We want to comment that the quality of this specific lesson plan and
approach to training was more contemplative and exceeds many others
the monitoring team has reviewed in the past. There was clearly an
attempt to collect training gaps into a group and address those gaps in a
meaningful way. That is evidenced in the fact that, in the opinion of the
monitoring team, several training gaps have been either fully remediated
or are in need of little additional work. 169 While there is still work to be
done, we do not want to miss an opportunity to express that progress has
been made. Compared to lesson plans the monitoring team was
presented a year ago, the lesson plans and course materials we are
being presented more recently are a significant improvement!

Based on emerging policy revisions, and having reviewed materials that
were presented to the monitoring team for this report, we still find open
issues that require supplemental training to bring APD into Secondary
Compliance with this paragraph. While some of the training gaps we
previously found have been remediated fully, we find that Secondary
Compliance is still pending on a number issues. Those are listed in the
following table, along with an explanation of why the monitoring team
believes more work remains to be done, and what that work is, in order
for APD to reach satisfactory compliance status.


169   However, there are still some substantive areas to be addressed more fully.
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     Table 4.7.75.1: Assessment of Pending Training Issues

           Open Training            Status
           Issues 170:

1.         Review of problematic    Still pending follow-up training to remediate improper
           FRB case involving       information that was provided during previous training.
           profanity, serious use   This topic was covered in the Supervisor Force
           of force re-             Investigation Training Supplemental that was delivered
           classification           on five separate dates during the month of July 2017;
                                    however, APD reported less than 95% attendance of
                                    supervisors AND this training gap must be addressed
                                    to the entire agency since it is relevant to all APD
                                    officers.

2.         Credibility              Still pending follow-up training. This topic was covered
           determinations           in the Supervisor Force Investigation Training
                                    “Supplemental” that was delivered on five separate dates
                                    during the month of July 2017; however, APD reported
                                    less than 95% attendance of supervisors during the
                                    monitoring period.

3.         Show of Force            Still pending follow-up training to remediate improper
           language confusion,      information that was provided during previous training.
           i.e., “Pointing a        Any training that occurred before the policy revisions in
           firearm at a             the newly approved use of force suite of policies was not
           person…and               considered. Business processes must occur where
           acquiring a target”,     policy is developed before training is delivered.
           procedures for
           reporting and
           investigation, and
           reconciling “low-
           ready,” and
           elimination of the
           concept of “high-
           ready”

4.         Minimum amount of        The monitoring team determined this training gap was
           force necessary          remediated through the 2017 Use of Force Review and
                                    Supervisor Force Investigation Training Supplemental
                                    that was delivered on five separate dates during the
                                    month of July 2017.

5.         Default to Graham’s      The monitoring team determined this training gap was
           objective                remediated through the 2017 Use of Force Review and

     170 Initially these gaps pertained specifically to the 2016 24-hour Supervisory Use of Force
     Investigation Course and 40-hour Use of Force Course, however, as time passes and
     Secondary Compliance lingers additional training gaps have emerged. Critical to APD’s
     compliance will not only be delivering the appropriate training, but ensuring the appropriate
     audience receives the training.
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     reasonableness (OR)   Supervisor Force Investigation Training Supplemental
     standard              that was delivered on five separate dates during the
                           month of July 2017.

6.   Un-resisted           Still pending follow-up training to remediate improper
     handcuffing issue     information that was provided during previous training.
                           This topic was not adequately covered in any of the
                           training programs reviewed by the monitoring team. This
                           is an issue that has had direct implications to the
                           monitoring team’s assessment of use of force reporting
                           and investigations. This topic is directly related to the
                           pending training gap related to “De Minimis force” (noted
                           below).

7.   Preponderance of      Still pending follow-up training. This topic was covered
     Evidence Standard     in the Supervisor Force Investigation Training
                           Supplemental that was delivered on five separate dates
                           during the month of July 2017, however, APD reported
                           less than 95% attendance of supervisors.

8.   De-escalation         Still pending follow-up training. This topic was covered
     Assessment            in the Supervisor Force Investigation Training
                           Supplemental” that was delivered on five separate dates
                           during the month of July 2017, however, APD reported
                           less than 95% attendance of supervisors during the
                           monitoring period.

9.   Neck Holds            Still pending follow-up training to remediate previous
                           training. This topic was covered in the Supervisor Force
                           Investigation Training Supplemental that was delivered
                           on five separate dates during the month of July 2017,
                           however, APD reported less than 95% attendance of
                           supervisors AND this training gap must be addressed by
                           the entire agency since it is relevant to all APD officers.
                           Any training that occurred before the policy revisions in
                           the newly approved use of force suite of policies was not
                           considered. Business processes must occur where policy
                           is developed before training is delivered.




10. Distraction Strikes    Still pending follow-up training to remediate previous
                           training. This topic was covered in the Supervisor Force
                           Investigation Training Supplemental that was delivered
                           on five separate dates during the month of July 2017,
                           however, APD reported less than 95% attendance of
                           supervisors AND this training gap must be addressed by
                           the entire agency since it is relevant to all APD officers.
                           Any training that occurred before the policy revisions in
                           the newly approved use of force suite of policies was not

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                          considered. Business processes must occur where
                          policy is developed before training is delivered. We
                          believe this topic is critical to be addressed thoroughly
                          with an assessment of past practices and how those
                          practices constitute a reportable use of force. APD has
                          several cases they could openly review as practical
                          exercises. (Note - Training in RBT tends to focus on
                          practical applications of force and not reporting
                          requirements)

11. SCOTUS Cases          Still pending follow-up training to remediate previous
                          training. This topic was covered in the Supervisor Force
                          Investigation Training Supplemental that was delivered
                          on five separate dates during the month of July 2017,
                          however, APD reported less than 95% attendance of
                          supervisors AND this training gap must be addressed by
                          the entire agency since it is relevant to all APD officers.

12. Crowd Control         Still Pending for all APD officers following an insufficient
                          delivery of training during the 2015 Use of Force Review.
                          See Paragraphs 39 and 40 for details.


13. De Minimis Force      Still Pending for all APD officers. This topic will require
                          extensive training through the use of scenarios, practical
                          exercises, video reviews, etc., to include specific training
                          for supervisors to help them differentiate between APD’s
                          definitions of force and De Minimis force, enable them to
                          competently make assessments related to an officer’s
                          intentions and the reasonable likelihood that their actions
                          would cause injury or pain. Finally, this topic must be
                          reconciled and put into its logical order with the CASA
                          requirements that “anything above un-resisted
                          handcuffing” constitutes a use of force, which in turn must
                          be reported. Any training delivered prior to or following
                          the 2-55 policy provision being approved in June 2017
                          has been determined to be insufficient. Business
                          processes must occur where policy is developed before
                          training is delivered.

 As noted in previous reports, supervisory training curriculum is a key
 component of the strategy to improve the quality of both supervisory use
 of force investigations and chain of command reviews. That is a key
 reason we focus so heavily in this area during our reviews. For the past
 two years we have provided exhaustive technical assistance to APD on
 its training development and delivery processes, as well as the content of
 the programs themselves. It is our hope that APD, as a general rule,
 begins to embrace feedback they receive. As one will note from the table
 above, that has not yet occurred. We recognize that at times some
 requirements may seem insurmountable, but with the establishment of
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strong systems, coupled with diligence, perseverance, and a strict
attention to detail, APD’s training programs could prevail as the champion
of its organizational reform. Parenthetically, we will add that a “rush” to
training, absent careful needs assessment, design, content assessment
and delivery leads to failure, as identified in the table above.

We reiterate: the open issues identified above must be addressed if APD
is to achieve Secondary Compliance. We note that the open training
issues have direct influence on the Secondary Compliance of numerous
other paragraphs. Further, we have been dealing with this issue of
“training gaps” for an unsupportable length of time. One can “fail” only so
long before it becomes deliberate. What we are asking of APD is nothing
different than any competent and effective police agency does on a daily
basis, yet we find failure in remediation with12 of the 13 gaps we
identified to APD’s academy.

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendation 4.7.75a: We reiterate, yet again, APD should
consider developing a comprehensive training plan, based on
information contained within what now is six monitor’s reports, and
draw direct lines between training gaps we identify and specific
areas within their training curriculum. This process should result in
a piece of completed staff work that identifies specific issues and
recommends steps to resolve those issues and is submitted to the
Chief of Police for action.

Recommendation 4.7.75b: We recommend that APD cease the
practice of training “proposed policy provisions,” and use the same
development cycle as virtually every other police agency in
America: Policy, Training, Implementation, Supervision,
Assessment, Repeat (PTISAR).

Recommendation 4.7.75c: APD consider implementing a “training
cycle” as their established training business process.

Recommendation 4.7.75d: The APD Academy should have
legitimate, and codified, oversight of all organizational CASA related
training. Every piece of training related to CASA provisions should
be subjected to and controlled by the PTISAR model.

Recommendation 4.7.75e: The APD Academy should establish a
stand-alone unit with the specific responsibility of quality assurance
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for all organizational training requirements. That unit should report
directly to the Chief of Police with feedback loops to the Training
Academy.

4.7.76 Assessing Compliance with Paragraph 89: Annual Firearms
Training

Paragraph 89 stipulates:

“Included in the use of force training set out above, APD shall
deliver firearms training that comports with constitutional
principles and APD policy to all officers within 12 months of the
Operational Date and at least yearly thereafter. APD firearms
training shall:

a) require officers to complete and satisfactorily pass firearms
training and qualify for regulation and other service firearms, as
necessary, on an annual basis;

b) require recruits, officers in probationary periods, and officers
who return from unarmed status to complete and satisfactorily
pass firearm training and qualify for regulation and other service
firearms before such personnel are permitted to carry and use
firearms;

c) Incorporate professional low-light training, stress training (e.g.,
training in using a firearm after undergoing physical exertion), and
proper use of force decision- making training, including
continuous threat assessment techniques, in the annual in-service
training program; and

d) ensure that firearm instructors critically observe students and
provide corrective instruction regarding deficient firearm
techniques and failure to utilize safe gun handling procedures at
all times.”

Methodology

Members of the monitoring team attended firearms training with staff
from the Firearms Training Unit during the site visit for and found that,
based on our earlier interactions with them on this paragraph, the FTU
had made the policy changes necessary to comply with CASA
requirements of paragraph 89. The FTU clearly and effectively
addressed the “return to work” issue related to firearms training. They
have developed an electronic form to document the remedial training
process, and they have replaced Procedural Orders which appeared to
be in conflict.




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Results

The 2017 training cycle has been completed and the Firearms Staff has
compiled extensive data to document all that is required and all that they
have accomplished in order to meet/exceed the CASA
requirements. We view this as excellent work that easily could, and
should, be emulated by other APD staff as they consider how to respond
to monitoring team findings.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.77 Assessing Compliance with Paragraph 90: Management of
Specialized Units

Paragraph 90 stipulates:

“To maintain high-level, quality service; to ensure officer safety
and accountability; and to promote constitutional, effective
policing, APD shall operate and manage its specialized units in a
manner that increases the likelihood of safely resolving critical
incidents and high-risk situations, prioritizes saving lives in
accordance with the totality of the circumstances, provides for
effective command-level accountability, and ensures force is used
in strict compliance with applicable law, best practices, and this
Agreement. To achieve these outcomes, APD shall implement the
requirements set out below.

Methodology

The policies pertaining to the organization, staffing, and operation of APD’s
tactical units were approved in May and June of 2016, bringing the Department
into Primary Compliance with all the policy-related requirements in this and
other paragraphs in this section. Those policies are currently due for review.
The Special Operations Division (SOD) continues to provide comprehensive
records that demonstrate their commitment to providing services that meet or
exceed APD policy, applicable law and best practices in law enforcement. We
previously advised APD command staff that only through the establishment and
implementation of quality policies, processes and systems can high
performance be replicated routinely. By ensuring that the processes and
systems put in place are not only set in policy, but become a part of the culture
within SOD, APD can ensure that performance survives changes in command.
SOD commanders continue to be exceptionally receptive to feedback and
openly willing to implement business processes that meet CASA requirements.
In fact, we now find enthusiasm within the command where they appear to look
forward to monitor visits to showcase their performance and to highlight their
business processes, which continue to evolve and be refined. We reported in
IMR-5 that the SOD commander (who instituted many of the current business
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practices we have reported on) and whom we have communicated with most
regularly, was promoted out of the unit. We learned that he is functionally
located above the SOD even in his new capacity. While this, on its surface,
provides impetus for the continuity of SOD operations, we cautioned that
changes in command will test the stability of the processes and systems that
have been put in place.

We met with the current SOD commander during our past two site visits,
including June 2017, and we have found that the level of engagement at the
command level remains strong and the commitment to the reforms they have
instituted has not wavered. Monitoring team meetings with SOD prove to be
more forward looking than other areas of the organization, save for the Special
Investigation Division (SID) (reported later in this report). Therefore, instead of
having to routinely look backward at shortcomings identified in past monitoring
reports, the monitoring team has robust conversations about sustainability and
refinements SOD has considered. This provides a platform for excellence and
the technical assistance provided by the monitoring team is forward leaning,
instead of an exercise in how to “clean up” past mistakes. This atmosphere is
only possible because SOD appears conditioned to anticipate issues and
problems, instead of constantly reacting to them. It would behoove APD to
replicate this model in other commands within the agency.

The information that has been provided to, and reviewed by, the monitoring
team suggests that the quality of performance by SOD has continued. As we
have noted in the past, the responsibilities of SOD units, and their practices
relating to use of force, require deep consideration on the part of APD when
they are deciding who can be assigned to those units, and more importantly,
who can supervise and manage those units.

Because this paragraph only sets forth high-level operational goals, there is no
extensive training required. However, as noted previously APD has created
various mechanisms, such as the Search Warrant Risk Matrix, tactical
activation consultation procedures, informative databases, and extensive unit-
level review and reporting practices that constitute Secondary Compliance.
Likewise, the monitoring team has reviewed COB documentation that shows
SOD routinely takes information gleaned from tactical operations and builds it
back into unit specific training opportunities. This continued during this
monitoring period. In the opinion of the monitoring team, it is now time for SOD
to build upon its current foundation and begin to enhance the quality of the
documentation related to its internal training. From the onset of our
engagement with APD we have provided extensive technical assistance related
to the development and refinement of training based on operational
experiences. We encourage SOD to employ a training development
methodology that resembles a "cycle" of training wherein best practices and
lessons learned from the field can be woven back into SOD training curriculum
as a part of their business process. The monitoring team will continue to work

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with SOD in this area, since we see their needs as being refinements to their
training processes.

Results

Special Operations Division (SOD) staff continue to refine operational
capabilities to handle high-risk tactical incidents in a measured, adaptive, and
agile manner. For IMR-5 the monitoring team was provided, and reviewed, a
COB document entitled, "Tactical Annual Policy/Operations/Training Review for
2016”, that was dated January 25, 2017. 171 The internal memorandum was
from the new commanding officer of SOD to the Major of the Special Services
Bureau. The document outlined the purpose of their annual review, and
provided a mechanism to allow SOD to look at trends that may develop over the
course of the year that may have been missed when each incident was
evaluated on its own. As we reported in IMR-5, that type of critical review is
crucial for the future success of SOD, and should serve as a model for other
divisions within APD. It is unclear whether APD took cognizance of our
comments and whether other commands now employ a similar annual internal
assessment. 172 Internal reviews prove to be beneficial to organizations as a
whole, as we suspect will be true for APD. The benefit to the organization is that
it demonstrates an internal capacity and commitment toward critical
assessments and helps create a culture where APD is in a constant state of
critical self-evaluation. We were told SOD will complete a similar annual review
for 2017, therefore, we will seek an opportunity to review the report at the latter
part of the IMR-7 reporting period.

During our June 2017 site visit, we met with SOD civilian and enlisted personnel
in their business offices and were impressed with the apparently seamless
nature of the communication throughout the unit. The lead civilian staff member
within SOD met with the monitoring team to highlight a reporting system and
business processes they developed with their enlisted counterparts that
captures CASA relevant SOD deployment data. We reviewed a COB ledger
that tracks the status of every SOD request for deployment or actual
deployment. The ledger tracks each incident from the initial event, through the
Force Review Board presentation, and only closes when SOD demonstrates
that it has addressed and documented any recommendation that emanated from
the Force Review Board. The monitoring team has written extensively about
“closing the loop”, and this APD business process appears to be the best
example, to date, of an organizational unit not only understanding the concept,


171  The requirement to conduct an SOD Annual Review is codified in section 6-8-3-Z of the
Special Tactical Units SOP. This report has relevance to IMR – 6 as well and therefore it is
mentioned here.
172 The recommendation that a unit/division specific Annual Report was communicated directly
to the SID commander. We feel confident, based on the reception our technical assistance
receives from SID that this recommendation will be adopted and implemented by them following
the 2017 calendar year.
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but embracing it. The SOD uses a color-coded filing system to catalogue the
various types of deployments they encounter, with specific checklists for each
deployment type. The monitoring team reviewed several files and found that
each SOD file began with the relevant checklist which allows for uniformity ---
which is an essential quality that eludes many APD commands --- and the
effective tracking of SOD deployments.

The monitoring team has previously catalogued the many factors that underpin
SOD’s successes, and how SOD practices have directly impacted the operation
of other specialized units. Specifically, tactical activations have been based
upon explicit risk criteria to minimize unnecessary activations. These risk
criteria have been distilled into a Risk Matrix that has been used by SOD for
more than a year and a half. During our past visits with other organizational
entities (i.e. the Special Investigations Division and Field Services Bureau) we
found they have adopted the SOD Risk Matrix into their business practices and
policies, and rely upon it when making the decision whether to call out SOD.
During our June 2017 site visit, the monitoring team inquired if SOD conducts
audits of other commands that use the Risk Matrix, since the matrix itself is an
SOD creation and tool focused on their deployments to events. We learned that
such an audit has not been conducted, but the concept was met with a positive
response. The monitoring team sees the need for internal oversight of the Risk
Matrix, across commands, as critical, since there is an inherent connection
between SOD compliance and the prohibition of SID personnel from conducting
tactical responses to critical situations where a specialized tactical unit is
required. We highly encourage regular Command-level internal audits of any
APD unit that conducts or records operational deployments where the Risk
Matrix was utilized. This should be viewed as an enterprise-wide assessment,
or “cross-check and balance” to ensure operational compliance is being
independently validated within the agency itself. Based on our meetings with
SID, for instance, we highly expect they would welcome any business process
or practice that makes them better.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.78 Assessing Compliance with Paragraph 91: Composition of
Specialized Tactical Units

Paragraph 91 stipulates:

“APD’s specialized tactical units shall be comprised of law
enforcement officers who are selected, trained, and equipped to
respond as a coordinated team to resolve critical incidents that
exceed the capabilities of first responders or investigative units.
The specialized tactical units shall consist of SWAT, Canine, and
Bomb Squad/EOD.”


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Methodology

Special Operations has developed and implemented certain policies
(Bomb SOP 4-03, SWAT SOP 4-04, K-9 SOP 4-12, and CNT SOP 2-43)
that have been reviewed and approved by the monitor and address the
requirements set forth in paragraph 91.

Results

Special Operations conducts regular, extensive training at numerous
levels, including but not limited to Individual, Unit, and Team training. A
review of the training conducted took place during the period of February
1st, 2017 through July 31st, 2017. Results of that training review are
reported in Table 4.7.78.




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     Table 4.7.78 Review of Training for Specialized Tactical Units

                                      B. Trained, and
                                      equipped to
                     A. APD’s         respond as a
                     specialized      coordinated team      C. The
                     tactical units   to resolve critical   specialized
                     shall be         incidents that        tactical units
                     comprised of     exceed the            shall consist
                     law              capabilities of       of SWAT,
                     enforcement      first responders      Canine, and      # in-     % in
                     officers who     or investigative      Bomb             compli-   Compli-
Case Number          are selected     units                 Squad/EOD        ance      ance

Personnel Circular
17-28                       1                 N/A                N/A           1         100.
Personnel Circular
17-12                       1                 N/A                N/A           1         100

Personnel Circular
17-30                       1                 N/A                N/A           1         100
Training
Documentation
2/17                       N/A                 1                  1            2         100
Training
Documentation
3/17                       N/A                 1                  1            2         100
Training
Documentation
4/17                       N/A                 1                  1            2         100
Training
Documentation
5/17                       N/A                 1                  1            2         100
Training
Documentation
6/17                       N/A                 1                  1            2         100
Training
Documentation
7/17                       N/A                 1                  1            2         100

Number in
Compliance Total
all Incidents               3                  6                  6            15

Number in
Compliance Total
all Incidents              100%              100%               100%                    100%




          Primary:     In Compliance
          Secondary: In Compliance
          Operational: In Compliance

4.7.79 Assessing Compliance with Paragraph 92: Training of
Specialized Tactical Units

Paragraph 92 stipulates:


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“APD shall ensure that specialized tactical units are sufficiently
trained to complete the following basic operational functions:
Command and Control; Containment; and Entry, Apprehension,
and Rescue.”

Methodology

A review of the Special Operations training conducted by the monitoring
team confirmed that the operational functions included in this paragraph
are regularly covered and documented. The monitoring team reviewed
the Excel spread sheet (2017 Tactical Files) that displays training by
officer, by unit, and by operational function trained that correspond to
those listed in paragraph 92.

Results

Result of that review are reflected in the table.

                                             Table 4.7.79
               A. APD shall
               ensure that
               specialized
               tactical units
               are sufficiently
               trained to         B. To                          D. To
               complete the       complete                       complete      E. To
               basic              the basic     C. To complete   the basic     complete
               operational        operational   the basic        operational   the basic
               function of        function of   operational      function of   operational   # in-
               Command and        Contain-      function of      Apprehen-     function of   compli-   % in Compl-
 Source        Control            ment          Entry            sion          Rescue        ance      iance
 Training
 Documen-
 tation 2/17          1               1               1              1             1           5         100.0%
 Training
 Documen-
 tation 3/17          1               1               1              1             1           5         100.0%
 Training
 Documen-
 tation 4/17          1               1               1              1             1           5         100.0%
 Documen-
 tation 5/17          1               1               1              1             1           5         100.0%
 Training
 Documen-
 tation 6/17          1               1               1              1             1           5         100.0%
 Training
 Documen-
 tation 7/17          1               1               1              1             1           5         100.0%
 # in
 Compliance
 Total all
 Incidents            6               6               6              6             6           30
 % in
 Compliance        100.0%           100.0%         100.0%          100.0%        100.0%                  100.0%


                                                                                                                223
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        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.80 Assessing Compliance with Paragraph 93: Tactical Unit
Missions and Policies

Paragraph 93 stipulates:

“Each specialized tactical unit shall have clearly defined missions
and duties. Each specialized tactical unit shall develop and
implement policies and standard operating procedures that
incorporate APD’s agency-wide policies on use of force, force
reporting, and force investigations.”

Methodology

All the SOD policies pertaining to the organization, staffing, and operation of
APD’s tactical units were approved in May and June of 2016 (Due for review in
June 2017 173), bringing the Department into Primary and Secondary Compliance
on all the policy-related requirements in this and other paragraphs in this
section. The policies are currently under regularly scheduled review by APD,
the parties and the monitor. Included in the SOD suite of policies is Special
Services Bureau Order 4-12, “K-9 Unit”, which includes provisions pertaining to
the calculations for bite ratios. By mutual-agreement of the parties, APD agreed
to collect data and provide their recommendation to the monitor to include a
recommended bite ratio calculation. On June 24, 2017, APD submitted a
document to the parties and the monitor that served as their perspective on how
bite ratios should be calculated. On July 31, 2017, the monitor reported his final
comments on SOP 4-12, K-9, and approved the policy.

As in IMR-5, for this reporting period, the monitoring team reviewed COB
documentation in the form of an internal memorandum dated January 25, 2017,
entitled, “Tactical Annual Policy/Operations/Training Review for 2016.” The
monitoring team reviewed a Tactical Activation Analysis ledger for 2017 that
captured activation data from January 8, 2017 to June 2, 2017, as well as
Tactical Deployment Sheets, Operational Plans, and After Action Reports for the
same time frame. The monitoring team reviewed sixteen (16) After Action
Reports and training documents that were prepared by the SOD between
February 2017 and July 2017. In the past, the monitoring team has commended
SOD for the quality of their After-Action Reports and the documentation they
provide.


173 We note that based on data supplied by APD the Special Services Bureau Order 6-7
“Explosive Ordnance Disposal Unit (Bomb Squad)” was scheduled for review on December 11,
2016. Like other SOD policies, that policy remains in effect until such time that the suite of SOD
policies are reviewed and approved by the monitor.
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Results

Based on our review of the documentation that was provided, we determined
that SOD remains in operational compliance with this paragraph, but as detailed
herein we feel SOD must continue to ensure that certain information is captured
within their After-Action Reports.

The SOD Annual Review, first reported on in IMR-5, is a comprehensive
assessment of the current state of SOD, and includes an assessment of their
SOPs, incorporation of Force Review Board recommendations that resulted
from their deployments, as well as an analytical assessment of their tactical
deployments over the course of the year. The 2017 Tactical Activation Analysis
ledger we reviewed captured data that included: 1) Whether SOD was activated
for a particular request during an incident; 2) Which activation criteria a request
met; 3) Whether a forced entry was used by SOD during the activation, 4) Data
related to mental health diagnosis of suspects encountered during the event; 5)
Whether domestic animals were in a residence or injured during an activation;
and 6) The type of tactical equipment that was utilized during activation. A total
of 40 activations were captured in this ledger for the timeframe listed. Of those
40 activation requests, SOD did not deploy in 5 incidents. Some reasons listed
by APD for non-deployments included, "The victim in this investigation refused
to file charges", and "The information provided was not accurate and did not
meet the requirements of an activation."

SOD continues to be diligent in their After-Action reporting; however, at times
the monitoring team found the reports to be of variable quality, and made certain
observations that are noteworthy and should be addressed by SOD before an
issue develops. The reports reviewed during this monitoring period are well-
done overall, but at times exhibited a slight decline in the quality of detail in
some areas. The monitoring team encountered such statements as, "He (the
suspect) was contacted by inner perimeter officers and placed into custody", or
that SOD personnel were given “various duties” within an inner perimeter of an
authorized SOD deployment. The monitoring team cannot assess “was
contacted” in the context of potential use of force incidents. Combined with a
few instances where better detail should be documented pertaining to the
activities of officers at the scene prior to the arrival of SOD, the monitoring team
feel that SOD should revisit the quality of these After-Action Reports to ensure
the critical areas of an incident that relate to the CASA continue to be addressed
and documented properly.

In one example, the author of the After-Action Report did a good job articulating
the background of a suspect who barricaded himself in a residence. The facts
that the suspect was wanted for homicide and had barricaded himself in a
residence were important and properly documented. However, there is no detail
as to the events that led up to the suspect being barricaded in the first place.
Specifically, the initial officers at the scene presumably observed some activity
on the part of the suspect that was worthy of documenting and passing on to

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SOD so their decision making could take into account all relevant issues. Those
activities presumably had a direct influence on their request for an SOD
deployment and documenting these factors could prove to be critical to SOD if
later in the event force is used against a suspect. SOD should view their After-
Action report as their personal collection of information that validates the need
for a response and the factors they encountered along an event until a situation
was resolved. They should not presume that those factors can be found in
other, non-SOD reports that are prepared by other commands. We note these
observations here for two key purposes: 1) SOD has worked hard to achieve
operational compliance, and therefore needs to guard against potential slippage
in the quality of their reporting which could expose them to potentially losing
operational compliance in the future; and 2) The monitoring team will focus its
attention on supervisory use of force investigations that result from SOD
deployments during the next monitoring period. We will cross-reference
information contained within Operation Plans, Risk Assessment Matrix’s and
After-Action Reports to ensure accuracy in reporting.

Another important point to consider is that within the After-Action Reports we
observed explicit statements as to when an authorization for an SOD
deployment was given by command personnel, but at times it could have been
made more clear what specific factors were considered when that decision was
made. The factors should be extrapolated from the broader narrative, since it
would be much more meaningful to enumerate them at the front of the report.
SOD should consider separating and delineating the specific factors that led to
deployment authorizations within their After-Action Reports. By doing so, they
will better demonstrate to a reader how the decision-making process occurred at
the time the decision was made, and make clear what factors they considered
when giving that authorization. Likewise, when organizational units utilize the
Risk Assessment Matrix to determine whether a SOD deployment is warranted,
the monitoring team observed that when the category "Location is fortified will
require special breaching tools", which has been assigned 25 points within the
Matrix, there is no area within the Matrix itself to articulate what those
fortifications were. While the monitoring team did find descriptions of
fortifications being articulated within Operational Plans we reviewed, it would be
wise to include this information within After-Action-Reports as well.

As reported in previous monitoring reports, we continue to see sustained
emphasis on safely resolving incidents and a measured approach by SOD when
dealing with critical events. In one incident, an SOD commander contacted local
schools to ensure that buses that serviced the area of the SOD activation did not
bring children home to that area until the incident was resolved. In another, pre-
planned SOD deployment an SOD commander learned that a female subject
within a target residence suffered from Multiple Sclerosis. In his After-Action
Report the SOD commander articulated that due to the woman’s condition he
felt it was unsafe to use chemical munitions because the female was bedridden
and would have been unable to exit the residence in a safe manner. These
types of critical thinking, while an event is unfolding, demonstrate the type of
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thoughtfulness the monitoring team has grown to appreciate within SOD. We
strongly commend SOD for its training, focus and dedication to “doing the right
thing for the right reason.”

The monitoring team reviewed SOD training records (developed "in-house") that
directly resulted from deployments during this monitoring period. SOD maintains
sign-in sheets and provides a training overview and synopsis for each training
event they deliver. As SOD continues to refine their business practices the
monitoring team will look to see a more robust and detailed training curriculum.
Meaning, that they incorporate some of the basic tenets of a lesson plan
consistent with national training practice.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.81 Assessing Compliance with Paragraph 94: Tactical Units
Policy and Procedure

Paragraph 94 stipulates:

 “APD policies and procedures on specialized tactical units shall
 include the following topics:

 a)   Team organization and function, including command
      relationships with the incident commander, Field Services
      Bureau, other specialized investigative units, Crisis
      Negotiation Team, Crisis Intervention Unit, crisis intervention
      certified responders, and any other joint or support elements
      to ensure clear lines of responsibility;
 b)   Coordinating and implementing tactical operations in
      emergency life-threatening situations, including situations
      where an officer’s view may be obstructed;
 c)   Personnel selection and retention criteria and mandated
      physical and tactical competency of team members, team
      leaders, and unit commanders;
 d)   Training requirements with minimum time periods to develop
      and maintain critical skills to include new member initial
      training, monthly training, special assignment training, and
      annual training;
 e)   Equipment appropriation, maintenance, care, and inventory;
 f)   Activation and deployment protocols, including when to
      notify and request additional services;
 g)   Conducting threat assessments to determine the appropriate
      responses and necessary resources;
 h)   Command and control issues, including a clearly defined
      command structure; and
 i)   Documented after-action reviews and reports.”




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Methodology

All the SOD policies pertaining to the organization, staffing, and operation of
APD’s tactical units were approved in May and June of 2016 (Due for review in
June 2017 174), bringing the Department into Primary and Secondary Compliance
on all the policy-related requirements in this and other paragraphs in this
section. The policies are currently under regular review by APD, the parties and
the monitor. Included in the SOD suite of policies is Special Services Bureau
Order 4-12, “K-9 Unit”, which includes provisions pertaining to the calculations
for bite ratios. By mutual-agreement of the parties, APD agreed to collect data
and provide their recommendation to the monitor to include a recommended bite
ratio calculation. On June 23, 2017, APD submitted a document to the parties
and the monitor that served as their perspective on how bite ratios should be
calculated. On July 31, 2017, the monitor reported his final comments on SOP
4-12, K-9, and approved the policy.

The monitoring team reviewed a Tactical Activation Analysis ledger for
2017 that captured activation data from January 8, 2017 to June 2, 2017,
as well as Tactical Deployment Sheets, Operational Plans, and After
Action-Reports for the same time frame. The monitoring team reviewed
sixteen (16) After-Action Reports and training documents that were
prepared by the SOD between February 2017 and July 2017. In the
past, the monitoring team has commended SOD for the quality of their
After-Action Reports and the documentation they provide.

Results

Based on our review of the documentation that was provided, we determined
that SOD remains in operational compliance with this paragraph, but
commented in Paragraph 93 on specific areas that should be reinforced by
SOD. As noted in IMR-5, the SOD Annual Review is a comprehensive
assessment of the current state of the SOD, and includes an assessment of
SOD SOP's, incorporation of Force Review Board recommendations that
resulted from their deployments, as well as an analytical assessment of their
tactical deployments over the course of the year. In our next report the
monitoring team will review the 2017 SOD Annual Report that will presumably
be completed in January 2018. We expect it will follow the basic template we
previously commented on in IMR-5, with appropriate enhancements. Likewise,
cross-referencing materials we were provided, we found that in each instance
that SOD was activated they prepared an Operational Plan and After Action
Report detailing their activities, and for planned events a Risk Assessment
Matrix was completed in each instance. APD as a whole could learn from a


174 We note that based on data supplied by APD the Special Services Bureau Order 6-7
“Explosive Ordnance Disposal Unit (Bomb Squad)” was scheduled for review on December 11,
2016. Like other SOD policies, that policy remains in effect until such time that the suite of SOD
policies are reviewed and approved by the monitor.
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review of SOD’s After Action Reporting process.

Based on our review of materials, we have determined that SOD remains in
operational compliance with this paragraph.

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.82 Assessing Compliance with Paragraph 95: Annual Review of
Tactical Policies

Paragraph 95 stipulates:

“The policies and standard operating procedures of specialized
tactical units shall be reviewed at least annually and revisions
shall be based, at a minimum, on legal developments, training
updates, operational evaluations examining actual practice from
after-action reviews, and reviews by the Force Review Board or
other advisory or oversight entities established by this
Agreement.”

Methodology

All the SOD policies pertaining to the organization, staffing, and operation of
APD’s tactical units were approved in May and June of 2016 (Due for review in
June 2017 175), bringing the Department into Primary and Secondary Compliance
on all the policy-related requirements in this and other paragraphs in this
section. The policies are currently under regular review by APD, the parties and
the monitor. Included in the SOD suite of policies is Special Services Bureau
Order 4-12, “K-9 Unit”, which includes provisions pertaining to the calculations
for bite ratios. By mutual-agreement of the parties, APD agreed to collect data
and provide their recommendation to the monitor to include a recommended bite
ratio calculation. On June 24, 2017, APD submitted a document to the parties
and the monitor that served as their perspective on how bite ratios should be
calculated. On July 31, 2017, the monitor reported his final comments on SOP
4-12, K-9 which will have a direct impact on SOD compliance in CASA
paragraphs related to K-9 deployments. Also, for the monitoring team reviewed
COB documentation in the form of an internal memorandum dated January 25,
2017, entitled, “Tactical Annual Policy/Operations/Training Review for 2016.”
The report was written well, organized logically, and covered substantive
matters that directly relate to the success of SOD.



175 We note that based on data supplied by APD the Special Services Bureau Order 6-7
“Explosive Ordnance Disposal Unit (Bomb Squad)” was scheduled for review on December 11,
2016. Like other SOD policies, that policy remains in effect until such time that the suite of SOD
policies are reviewed and approved by the monitor.
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Results

SOD has put in place a variety of standard management practices that are
important factors in achieving and sustaining CASA-related reforms. During our
June 2017 site visit we discussed the status for each SOD paragraph with
SOD’s Commander, along with other members of his staff. As we commented
on in IMR-5, there appears to be strong synergy between the current command
staff of SOD, their civilian counterparts, and the previous Commander of the
unit. This provides for strong oversight, sound business processes, camaraderie
and a continuity of business that will hopefully solidify the strong business
practices that have been put into place and a culture that is capable of retaining
CASA compliance. We have found that the current Commander’s approach to
running SOD is congruent with the established business practices we have
written about in past monitoring reports.

During our June 2017 site visit we met with SOD civilian and enlisted personnel
in their business offices and were impressed with the apparently seamless
nature of the communication throughout the unit. The lead civilian staff member
within SOD met with the monitoring team to highlight a reporting system and
business processes she developed with her enlisted counterparts that captures
CASA relevant SOD deployment data. We reviewed a COB ledger that tracks
the status of every SOD request for deployment or actual deployment. The
ledger tracks each incident from the initial event, through the Force Review
Board presentation, and the only closes when SOD demonstrates that it has
addressed and documented any recommendation that emanated from the Force
Review Board. The monitoring team has written extensively about “closing the
loop”, and this APD business process appears to be the best example, to date,
of an organizational unit not only understanding the concept, but embracing it.
The SOD uses a color-coded filing system to catalogue the various types of
deployments they encounter, with specific checklists for each deployment type.
The monitoring team reviewed several files and found that each SOD file began
with the relevant checklist which allows for uniformity-- which is an essential
quality that eludes many APD commands-- and the effective tracking of SOD
deployments.

The requirement of preparing an annual report is codified in APD’s SOP
“Specialized Tactical Units” 6-8, and as noted, SOD met the operational
requirement to prepare that report for 2017. We will look to January 2018 to
receive the 2018 iteration of that same report. APD tactical response policies
have been approved and are currently under review for relevant updates.

Based on our review, we have determined that SOD remains in operational
compliance with this paragraph.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance
                                                                              230
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4.7.83 Assessing Compliance with Paragraph 96: Documentation
of Tactical Activities

Paragraph 96 stipulates:
“In addition to Use of Force Reports, APD shall require
specialized tactical units to document their activities in detail,
including written operational plans and after-action reports
created after call-outs and deployments to critical situations.
After-action reports shall address any areas of concern related to
policy, training, equipment, or tactics.”

Methodology

For the timeframe of February 2017 – July 2017, the monitoring team
was provided with seven operational plans and forty after action reports.
Five Operational Plans and nine After Action Reports were reviewed for
compliance for this paragraph.

Results

The monitoring team reviewed the operational plans and after action
reports for compliance with the provisions of this paragraph. SOD
prepared a detailed synopsis of their involvement in the events, and
analyzed the deployment for policy, training, equipment and tactical
issues/concerns. Based on the records provided to the monitoring team
APD is in compliance with the provisions of this paragraph. See Table
4.7.80.




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                                            Table 4.7.80

                        APD shall            APD shall require       After-action
                        require              specialized tactical    reports shall
                        specialized          units to document       address any
                        tactical units to    their activities in     areas of
                        document their       detail, including       concern
                        activities in        written after-action    related to
                        detail, including    reports created after   policy,
                        written              call-outs and           training,       # In     % In
                        operational          deployments to          equipment, or   Compli   Complia
Case Location           plans                critical situations     tactics.”       ance     nce

Ops Plan Campbell Rd.           1                     N/A                 N/A          1       100.
Ops Plan Spanish Bit            1                     N/A                 N/A          1        100

Ops Plan Page Ct                1                     N/A                 N/A          1        100
Ops Plan Alb. Balloon
Fiesta Park                     1                     N/A                 N/A          3        100
Ops Plan Broadway
Blvd. NE                        1                     N/A                 N/A          3        100
AAR Dallas St. SE #4           N/A                     1                   1           2        100
AAR Vista Del Pueblo
St. SW                         N/A                     1                   1           2        100
AAR Chama St. SE               N/A                     1                   1           2        100

AAR Moon St. NE                N/A                     1                   1           2        100
AAR Georgia St. SE #1          N/A                     1                   1           2        100
AAR Valencia Dr. NE            N/A                     1                   1           2        100
AAR Coors Blvd. NW             N/A                     1                   1           2        100
AAR Ellison St. NE
#202                           N/A                     1                   1           2        100


AAR Tyrone Ave. NW             N/A                     1                   1           2        100
Number in
Compliance Total all
Incidents                      16                     16                  16           48       100


           Primary:     In Compliance
           Secondary: In Compliance
           Operational: In Compliance

4.7.84 Assessing Compliance with Paragraph 97: Tactical Mission
Briefings

Paragraph 97 stipulates:

“APD shall require specialized tactical units to conduct mission
briefings before an operation, unless exigent circumstances
require an immediate deployment. APD shall also ensure that
specialized tactical team members designate personnel to
develop and implement operational and tactical plans before and
during tactical operations. All specialized tactical team members
should have an understanding of operational planning.”


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Methodology

The monitoring team verified Operational Compliance with this
requirement by means of personal inspections, policy reviews, and
discussions with the SOD commander. SOD conducted an Annual
Review of their policies and procedures on January 25, 2017 their next
inspection will be reviewed during the next reporting period.

Results

The monitoring team, based upon case reviews, acknowledged that Tactical
Sectional Commanders, Supervisors and Officers have a working knowledge of
operational planning and apply that understanding and skill to actual operations.
During the June 2017 site visit the monitoring team requested documentation
from APD that supports determinations of whether or not such training was
being conducted. The monitoring team also requested any Operational Plans
developed for this period. Special Operations continues to conduct extensive
training at all levels and conforms to best practices nation-wide and to the
specifics of this paragraph.

Table 4.7.81 reflects our analysis of these processes.

                                                Table 4.7.81

                         A. APD shall require
                         specialized tactical
                         units to conduct        B. APD shall also ensure
                         mission briefings       that specialized tactical   C. All specialized
                         before an operation,    team members designate      tactical team
                         unless exigent          personnel to develop and    members should
                         circumstances           implement operational       have an
                         require an              and tactical plans before   understanding of     # in-     % in
                         immediate               and during tactical         operational          compli-   Compli-
 Case Location           deployment              operations                  planning             ance      ance

 Ops Plan Campbell
 Rd.                              1                          1                        1             3         100.
 Ops Plan Spanish Bit             1                          1                        1             3         100


 Ops Plan Page Ct                 1                          1                        1             3         100

 Ops Plan Alb. Balloon
 Fiesta Park                      1                          1                        1             3         100

 Ops Plan St. Josephs
 Ave. NW                          1                          1                        1             3         100

 Ops Plan 3rd St. SW              1                          1                        1             3

 Ops PlaBroadway
 Blvd. NE                         1                          1                        1             3         100

 Number in
 Compliance Total all
 Incidents                        7                          7                        7            121        100

                                                                                                                      233
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       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.85 Assessing Compliance with Paragraph 98: Tactical Uniforms

Paragraph 98 stipulates:

“All specialized tactical units shall wear uniforms that clearly
identify them as law enforcement officers.”

Methodology

As with past reports, the monitoring team verified Operational Compliance with
this requirement by means of personal inspections, policy reviews, and
discussions with the SOD commander. With the approval of all SOD policies in
May-June 2016, APD is now in Policy Compliance as well. The monitoring team
reviewed SOP 6-8-3-F, G and H which codify the requirements of this
paragraph, and also reviewed six (6) Monthly Inspection Reports for the months
of February through July 2017. Likewise, SOD conducted an Annual Review of
their policies and procedures on January 25, 2017. We note there are no
significant training requirements in this paragraph.

Results

The SOD Monthly Inspection Report captures information regarding uniform
cleanliness and completeness, equipment, as well as proper identification
markings and whether an officer's Taser video recorder is working properly. The
monitoring team reviewed six (6) Monthly Inspection Reports for the months of
February through July 2017 and found that APD reported all personnel within
SOD possessed the proper uniforms and equipment as required by this
paragraph. We find that SOD conducts regular monthly inspections to ensure
that officers maintain uniform, equipment, and grooming standards. During its
June 2017 site visit the monitoring team examined uniforms of SOD personnel
to verify compliance with the provisions of this paragraph. SOD has put in place
a variety of standard management practices that are important factors in
achieving and sustaining CASA-related reforms. Based on our review, we have
determined that SOD remains in operational compliance with this paragraph.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.86 Assessing Compliance with Paragraph 99: Force Review
Board Assessments

Paragraph 99 stipulates:

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“All specialized tactical unit deployments shall be reviewed by the
Force Review Board in order to analyze and critique specialized
response protocols and identify any policy, training, equipment, or
tactical concerns raised by the action. The Force Review Board
shall identify areas of concern or particular successes and
implement the appropriate response, including modifications to
policy, training, equipment, or tactics.”

Methodology

The Force Review Board meetings involving the review of SWAT activations
cases are presented by commanders of SOD and, if applicable, a Crisis
Negotiation Team commander. In all cases reviewed by the monitoring team,
the Force Review Board evaluated the cases for appropriate response by SOD,
including policy, training, equipment and tactical concerns. In the past, members
of the monitoring team had an opportunity to attend a Force Review Board
meeting that was centered on SWAT activations. While on site in June 2017
APD conducted a SWAT centric Force Review Board meeting, however, the
monitoring team was unable to attend due to other priorities. In preparation of
this report the monitoring team requested the following data: 1) SOD activation
logs for the timeframe of any deployment reviewed by the FRB for comparison
purposes; 2) Copies of each FRB recommendation received by SOD during the
time frame listed. In response, APD provided, and the monitoring team
reviewed, a 2017 Use of Force Board Recommendations form and a 2017
SWAT Activation Data Report, both of which are SOD created documents to
track deployments and Force Review Board recommendations that result from
those deployments.

Results

As noted earlier SOD, through their Activation Data report, tracks all SOD
deployments. That document, coupled with their Use of Force Board
Recommendations form, tracks all SOD deployments and cases from their
inception and through Force Review Board meetings. The entries in these
reports only close when recommendations that result from those meetings are
completed. The 2017 SWAT Activation Data report we reviewed listed forty (40)
SWAT activations between February 1 and July 31, 2017. Through its internal
processes and reports SOD captures relevant data to ensure that each of their
activations are presented to the Force Review Board. Their internal
documentation captures the date a particular SOD activation was presented to
the Force Review Board, the date that the event is closed, provides a hyperlink
for any Force Review Board recommendation that occurs as a result of the
meeting, and whether there was any specific training, equipment, tactics or
supervision recommendations.

As we have noted previously, SOD has put in place a variety of standard
management practices that are important factors in achieving and sustaining

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CASA-related reforms. The monitoring team has reviewed and discussed the
status for each SOD paragraph with its commander during its June 2017 site
visit. Based on our review, we have determined that SOD remains in
operational compliance with this paragraph.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.87 Assessing Compliance with Paragraph 100: Eligibility
Requirements for Tactical Teams

Paragraph 100 stipulates:

“APD shall establish eligibility criteria for all team members, team
leaders, and supervisors assigned to tactical units and conduct at
least annual reviews of unit team members to ensure that they
meet delineated criteria.”

Methodology

Members of the monitoring team reviewed salient tactical unit
documentation to assess compliance with the requirements of this
Paragraph.

Results

The Special Operations Division, which oversees specialized tactical
units, has established policies that set selection criteria for team
membership and training requirements for all members. Table below
outlines the results of the monitoring team’s analysis of those policies.

See Table 4.7.82.




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                                                 Table 4.7.82

                                                                                          D. APD shall
                     A. APD shall                                  C. They shall          conduct at
                                            B. They shall
                     establish                                     establish              least annual
                                            establish
                     eligibility criteria                          eligibility criteria   reviews of unit   # in-    % in
                                            eligibility criteria
 Unit                for all team
                                            for all team
                                                                   for all                team members      Compli   Compli-
                     members                                       supervisors            to ensure that    -ance    ance
                                            leaders assigned
                     assigned to                                   assigned to            they meet
                                            to tactical units
                     tactical units                                tactical units         delineated
                                                                                          criteria
 Bomb Squad (4-
 03)
                              1                      1                      1                   1             4       100
 SWAT (4-04)                  1                      1                      1                   1             4       100
 K-9 (4-12)                   1                      1                      1                   1             4       100
 K-9 Unit                                                                                                             100
 Memorandum                   1                    N/A                    N/A                  N/A            1
  (5-20-17)
 SWAT
 Memorandum                 N/A                    N/A                      1                  N/A            1       100
 (7-6-17)
 2017 Command                                                                                                         100
 Staff Performance          N/A                    N/A                    N/A                   1             1
 Management
 2017 K-9                                                                                                             100
 Performance                N/A                    N/A                    N/A                   1             1
 Management
 2017 SWAT                                                                                                            100
 Performance                N/A                    N/A                    N/A                   1             1
 Management
 2017 Bomb Squad                                                                                                      100
 Performance                N/A                    N/A                    N/A                   1             1
 Management
 Number in
 Compliance Total             4                      3                      4                   7            18
 all Incidents

 % in Compliance
 Total by Category         100%                   100%                   100%                 100%                   100%




These are listed in the Bureau SOPs that cover Bomb Squad (4-03), K-9
Unit (4-12) and SWAT (4-04) that have been approved. This unit policy
is in compliance with the requirements of paragraph 100 and constitutes
a best practice in the management of tactical units and personnel. APD
has incorporated the “unit policies” into its formal policies related to
these functions and continues to maintain compliance with this
paragraph.

          Primary:     In Compliance
          Secondary: In Compliance
          Operational: In Compliance




                                                                                                                               237
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4.7.88 Assessing Compliance with Paragraph 101: Tactical Team
Training

Paragraph 101 stipulates:

“APD shall train specialized tactical units conducting barricaded
gunman operations on competencies and procedures that include:
threat assessment to determine the appropriate response and
resources necessary, mission analysis, determination of criminal
offense, determination of mental illness, requirements for search
warrant prior to entry, communication procedures, and integration
of the Crisis Negotiation Team, the Crisis Intervention Unit, and
crisis intervention certified responders.”

Methodology:

The monitoring team has reviewed the Tactical Section training and found that
all subjects required in Paragraph 101 are covered in a wide array of training
contexts, including but not limited to scenario-based training. CNT continues to
be an essential operational component in tactical activations.

Training for the Tactical Section continues to be conducted on a regular basis in
accord with national standards (NTOA) for high-risk tactical operations. APD
tactical teams continued to demonstrate operational success in 2017. While the
tactical units are in full compliance with this paragraph, Field Service Bureau
units continue to lag behind in the training and supervision necessary to serve
as first-responders in such events.

Results

Table 4.7.83, below, reports the findings of the monitor’s assessment of
compliance efforts related to the requirements of this paragraph.

See Table 4.7.83.




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                                  Table 4.7.83 Tactical Team Training



            A. train
            re
            conduct
            -ing
            barricad   B. train                                                                                            I. Train re
            ed         re                                                                                                  barricaded
            gunman     conduct                                                                             H. train re     gunman
            operatio   -ing                                                                                barricaded      operations
            ns on      barri-                                  E. train re   F. train re                   gunman          on
            compe-     caded       C. train re   D. train re   barri-caded   conducting    G. train re     OPS,            compete-
            tencies    gunman      conduct-      conduct-      gunman        barricaded    conducting      competenci      ncies and
            and        ops on      ing           ing           operations    gunman        barricaded      es &            procedures:
            procedu    compe-      barricade     barricade     & procs:      operations    gunman &:       procedures:     integration
            res:       tencies     gunman        gunman        require-      and           integration     integration     of crisis
            threat     and         ops ID        ops & ID      ments for     procedures:   of the Crisis   of the Crisis   interventio   # in      % in
 Case       assess.    mission     criminal      of mental     search        Com           Negotiation     Interventio     n certified   Compli-   Compli-
 No.                   analysis    offense       illness       warrant       procedures    Team            n Unit          responders    ance      ance
 Training
 Doc
 2/17          1          1             1            1              1             1              1              1               1           9        100
 Training
 Doc
 3/17          1          1             1            1              1             1              1              1               1           9        100
 Training
 Doc
 4/17          1          1             1            1              1             1              1              1               1           9        100
 Training
 Doc
 5/17          1          1             1            1              1             1              1              1               1           9        100
 Training
 Doc
 6/17          1          1             1            1              1             1              1              1               1           9        100
 Training
 Doc
 7/17          1          1             1            1              1             1              1              1               1           9        100
 in
 Compli-
 ance
 Total         6          6             6            6              6             6              6              6               6          54
 % in
 Compli-
 ance         100        100          100           100            100           100           100             100            100                    100



            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance

4.7.89 Assessing Compliance with Paragraph 102: K-9 Post
Deployment Reviews

Paragraph 102 stipulates:

“APD shall continue to require the Canine Unit to complete
thorough post- deployment reviews of all canine deployments.”

Methodology:

The monitoring team reviewed COB documentation in the form of an internal
memorandum dated January 25, 2017, entitled, “Tactical Annual Policy /
Operations / Training Review for 2016.” The report was written well, organized
logically, and covered substantive matters that directly relate to the success of
SOD. All the SOD policies pertaining to the organization, staffing, and operation

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of APD’s tactical units were approved in May and June of 2016 (Due for review
in June 2017 176). The policies have been under regular review by APD, the
parties and the monitor. Included in the SOD suite of policies is Special
Services Bureau Order 4-12, “K-9 Unit”, which includes provisions pertaining to
the calculations for bite ratios. By mutual-agreement of the parties, APD agreed
to collect data and provide their recommendation to the monitor to include a
recommended bite ratio calculation. On June 23, 2017, APD submitted a
document to the parties and the monitor that served as their perspective on how
bite ratios should be calculated. On July 31, 2017, the monitor reported his final
comments on SOP 4-12, K-9, and approved the policy. SOP 4-12-2-D of the
“Definitions” section now indicates that a Bite Ratio is a “Calculation of the
number of apprehensions involving PSD bites divided by the total number of
deployments of PSDs for a given time period. For the purpose of this
calculation, PSD bites will include accidental or unintended bites, but will not
include directed bites.”

We also reviewed the "K-9 Ratio of Bites to Deployments" report as well as
monthly COB documentation that captures K-9 deployments and
apprehensions, and bite ratio calculations for the months of February - July
2017.

Results

With his approval of SOP 4-12, the monitor adopted SOD’s recommended
means of calculating bite ratios. As noted in past monitoring reports, APD has
limited post-deployment reviews of cases involving K-9 apprehensions, which
are fully investigated as a serious use of force by the K-9 supervisor and Internal
Affairs. The current procedure is for CIRT to respond to the scene and
accompany the supervisor throughout the field investigation. The final report is
then submitted to CIRT for review and concurrence. The CASA requirement for
serious use of force investigations falls to APD’s IA, which include K9 bites, and
places the ultimate oversight responsibility for use of force investigations on that
organizational entity. However, that does not alleviate SOD’s responsibilities to
conduct thorough post-deployment reviews since it has previously been
acknowledged by the parties that due to the specialized expertise associated
with K9 use, the initial review should still lie within the K9 Unit.

Additionally, all K-9 bites are reviewed by the Force Review Board as serious
uses of force. In past reports the monitoring team withheld compliance
determination until such time as the Parties reached agreement on K9 bite ratio
calculations, or the monitor made a final determination on the proper calculation



176 We note that based on data supplied by APD the Special Services Bureau Order 6-7
“Explosive Ordnance Disposal Unit (Bomb Squad)” was scheduled for review on December 11,
2016. Like other SOD policies, that policy remains in effect until such time that the suite of SOD
policies are reviewed and approved by the monitor.
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of bite ratios. With the approval of SOP 4-12 in June 2017 SOD can carry
forward with operational compliance with this and other K9 related paragraphs.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.90 Assessing Compliance with Paragraph 103: Tracking K-9
Deployments

Paragraph 103 stipulates:

“APD shall continue to track canine deployments and canine
apprehensions, and to calculate and track canine bite ratios on a
monthly basis to assess its Canine Unit and individual Canine
teams.”

Methodology

The monitoring team previously reviewed COB documentation in the form of an
internal memorandum dated January 25, 2017, entitled, “Tactical Annual Policy /
Operations / Training Review for 2016.” The report was written well, organized
logically, and covered substantive matters that directly relate to the success of
SOD. All the SOD policies pertaining to the organization, staffing, and operation
of APD’s tactical units were approved in May and June of 2016 (Due for review
in June 2017). The policies have been under regular review by APD, the parties
and the monitor. Included in the SOD suite of policies is Special Services
Bureau Order 4-12, “K-9 Unit”, which includes provisions pertaining to the
calculations for bite ratios. By mutual-agreement of the parties, APD agreed to
collect data and provide their recommendation to the monitor to include a
recommended bite ratio calculation. On June 23, 2017, APD submitted a
document to the parties and the monitor that served as their perspective on how
bite ratios should be calculated. On July 31, 2017, the monitor reported his final
comments on SOP 4-12, K-9, and approved the policy. SOP 4-12-2-D of the
“Definitions” section now indicates that a Bite Ratio is a “Calculation of the
number of apprehensions involving PSD bites divided by the total number of
deployments of PSDs for a given time period. For the purpose of this
calculation, PSD bites will include accidental or unintended bites, but will not
include directed bites.”

We also reviewed the "K-9 Ratio of Bites to Deployments" report as well as
monthly COB documentation that captures K-9 deployments and
apprehensions, and bite ratio calculations for the months of February – July
2017.




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Results

K-9 Units respond to a variety calls that APD has broken down into
several different categories ranging from armed search, search assists,
residential alarm calls and commercial alarm calls. They also capture
how many instances where a K-9 is muzzled and un-muzzled. As you
would expect, the total number of K-9 bites are again the smallest
category reported by APD. 177 For instance, the 2017 year to date total of
K-9 call-outs is 533 and total number of bites is 10. However, the reader
should note that call-outs do not always result in the K-9 Unit being
deployed for a law enforcement purpose, such as a building or area
search.

Because SOD’s database is timely and comprehensive, it is easy to
calculate bite ratios. APD has been calculating a K-9 bite ratio by dividing
searches by the total number of bites, and therefore the bite ratio for the
data set reviewed by the monitoring team was once again below the 20%
threshold for each K-9 handler and the unit as a whole. Overall, based
upon our reviews over the course of our interaction with SOD, we believe
that the present level of oversight and accountability exercised within
SOD is exceptionally high and effective. The lingering issue of the
calculation method for determining bite ratios has been resolved with the
monitor’s approval of SOP 4-12. That, coupled with our review of data
we were provided we find SOD in compliance with the provisions of this
paragraph.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.91 Assessing Compliance with Paragraph 104: Tracking K-9
Bite Ratios

Paragraph 104 stipulates:

“APD shall include canine bite ratios as an element of the Early
Intervention System and shall provide for the review, pursuant to
the protocol for that system, of the performance of any handler
whose bite ratio exceeds 20 percent during a six-month period, or
the entire unit if the unit’s bite ratio exceeds that threshold, and
require interventions as appropriate. Canine data and analysis
shall be included in APD Use of Force Annual Report.”




177Again, we commend SOD staff on the quality and comprehensiveness of the database that it
has created to track the activity and outcomes of APD’s specialized tactical units.
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Methodology

All the SOD policies pertaining to the organization, staffing, and operation of
APD’s tactical units were approved in May and June of 2016 (Due for review in
June 2017). The policies have been under regular review by APD, the parties
and the monitor. Included in the SOD suite of policies is Special Services
Bureau Order 4-12, “K-9 Unit”, which includes provisions pertaining to the
calculations for bite ratios. By mutual-agreement of the parties, APD agreed to
collect data and provide their recommendation to the monitor to include a
recommended bite ratio calculation. On June 23, 2017, APD submitted a
document to the parties and the monitor that served as their perspective on how
bite ratios should be calculated. On July 31, 2017, the monitor reported his final
comments on SOP 4-12, K-9, and approved the policy. SOP 4-12-2-D of the
“Definitions” section now indicates that a Bite Ratio is a “Calculation of the
number of apprehensions involving PSD bites divided by the total number of
deployments of PSDs for a given time period. For the purpose of this
calculation, PSD bites will include accidental or unintended bites, but will not
include directed bites.”

We also reviewed the "K-9 Ratio of Bites to Deployments" report as well as
monthly COB documentation that captures K-9 deployments and
apprehensions, and bite ratio calculations for the months of February – July
2017. Finally, we reviewed the components of Special Services Bureau SOP’s
4-12 and 6-8, as well as APD SOP 3-33 “Early Intervention System”.

Results

Since SOD’s database is timely and comprehensive, it is easy to
calculate bite ratios. APD has been calculating a K-9 bite ratio by dividing
searches by the total number of bites, and a review of the available data
for this monitoring period revealed the bite ratio for the data set reviewed
by the monitoring team was once again below the 20% threshold for each
K9 handler. Overall, based upon our reviews over the course of our
interaction with SOD, we believe that the present level of oversight and
accountability exercised within SOD is exceptionally high and effective.
The lingering issue of the calculation method for determining bite ratios
has been resolved with the monitor’s approval of SOP 4-12. Special
Services Bureau Order 4-12-3-N-2, 4-12-3-O, and Special Services
Bureau Order 6-8 specifically mandate the elements of this paragraph.

Based on our review there were no instances of K9 handlers breaching
the 20% threshold, and therefore there was no instance that required
entry into APD’s EIS system. The lingering issue of the calculation
method for determining bite ratios has been resolved with the monitor’s
approval of SOP 4-12. We note that while the K-9 SOP contains the
specific provision of reporting bite ratio data that exceeds 20 percent,
APD’s SOP 3-33 “Early Intervention System” neither mandates the

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collection of the data, nor does it provide a mechanism to accept the data
outside of the general EIS use of force indicator. This disconnect has to
be remedied to ensure sustained operational compliance. As noted
earlier, there was no instance of a bite ratio by a single handler, or the
entire K9 Unit, that elevated above the 20 percent threshold that would
have implicated the requirement for an early intervention. That, coupled
with our review of data we were provided, leads us to find SOD in
compliance with the provisions of this paragraph.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.92 Assessing Compliance with Paragraph 105: Analyzing
Tactical Deployments

Paragraph 105 stipulates:

“APD agrees to track and analyze the number of specialized
tactical unit deployments. The analysis shall include the reason for
each tactical deployment and the result of each deployment, to
include: (a) the location; (b) the number of arrests; (c) whether a
forcible entry was required; (d) whether a weapon was discharged
by a specialized tactical unit member; (e) whether a person or
domestic animal was injured or killed; and (f) the type of tactical
equipment deployed. This data analysis shall be entered into the
Early Intervention System and included in APD’s annual reports.”

Methodology

The monitoring team reviewed the Division’s Tactical Unit Deployment
Tracking Sheet for the time period of February 1, 2017 through July 31st,
2017. APD had 40 activations in this reporting period in 2017. The
functionality and operation of APD’s SWAT Unit has been reviewed in
several paragraphs of this agreement. APD continues to monitor and
analyze the number, type, and characteristics of deployments, and
states a clear reason for each tactical deployment, as well as the
number of arrestees in each deployment.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.93 Assessing Compliance with Paragraph 106: Specialized Unit
Policies

Paragraph 106 stipulates:
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“Each specialized investigative unit shall have a clearly defined
mission and duties. Each specialized investigative unit shall
develop and implement policies and standard operating
procedures that incorporate APD’s agency-wide policies on use of
force, force reporting, and force investigations.”

Methodology

Investigative Bureau SOP 3-01 Special Investigations Division (SID) was
approved by the monitor on June 5, 2016, which brought APD into
Primary Compliance with the requirements of this paragraph. APD
recast its SOP cataloging system and SOP 3-01 is now SOP 5-01, and
was due for regular review and approval in January of 2017. 178 As
documented in IMR-4 and IMR - 5, SID took on the task of developing
unit-level handbooks that set forth the unique standards, missions and
duties for each of its subordinate units. Those handbooks serve several
purposes, including SID incorporating and reinforcing APD’s use of force
policies, including the provisions of this paragraph. During its June 2017
site visit members of the monitoring team met with SID Commanders to
discuss their progress toward compliance with this paragraph and were
provided a series of documents and ledgers to demonstrate that SID
routinely collects and tracks information related to their operations and
deployments. SID developed a tracking system within APD’s SharePoint
system to meet the requirements of this paragraph. The monitoring
team requested and was provided SharePoint documents for the months
of February through July 2017; course of business documents in the
form of Interoffice Memorandums entitled, "Investigative Responses
Audit", "SharePoint Entries" and "Quarterly Investigative Responses
Audit"; and memorandums documenting whether or not use of force or
serious use of force investigations occurred during the timeframe.
Likewise, the monitoring team received and reviewed operational plans
for the months of February through July 2017 as well as training records
that were compiled by SID.

Results

As noted in previous paragraphs the monitoring team has worked closely with
SID and our meetings tend to focus on forward leaning issues instead of looking
back to past transgressions. It is apparent that SID attempts to anticipate issues
and forecast ways to meet the provisions of the CASA, with little need for
technical assistance from the monitoring team. We find SID openly, and without
prompting, talking in terms of "sustainability" and embracing the basic principle
of building systems and unit capabilities that allow reform to be passed to future

178 The monitoring team notes that APD’s schedule of policy reviews has lagged significantly
behind in many areas of the organization, including SID, and therefore SOP 5-01 is still pending
review and approval by the monitor.
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APD commanders so positive organizational changes can survive. This mindset
is refreshing and we feel it is directly attributable to the SID commanders we
have encountered and Deputy Chief who has overseen the Special
Investigations Bureau. While we find professionalism in other areas of the
organization, SID is the first we have encountered to talk openly and regularly
about sustainability. We look forward to the time where all of APD speaks in
these terms across the many organizational units whose responsibilities are
impacted by provisions of the CASA. In IMR-4 and IMR–5, we commented that
SID, like SOD, is actively engaged and making legitimate attempts to be
responsive to the CASA. That engagement continued to be evident this
reporting period. Likewise, SID continues to be exceptionally receptive to the
feedback they receive from the monitoring team. During our June 2017 site visit
the monitoring team met with members of SID who are responsible for
addressing the terms of this paragraph.

SID submitted training records, lesson plans and other course of business
documentation wherein two newly assigned detectives received instruction from
their supervisor using the SID “Proficiency Check List” and using the new
Narcotics Unit handbook. Further, two lieutenants received On Job Training
(OJT) that included specific instruction in the required areas of this paragraph.
The documentation we reviewed included a lesson plan entitled, “SID Standard
Operating Procedures – Special Investigations Division Core Curriculum
Instructor Guide”. The monitoring team reviewed "Proficiency of Training"
documents wherein SID units capture training topics that emerge from after-
action reports. The monitoring team found that among all units the “Proficiency
of Training" documents prepared by the Narcotics Unit stood out as a good
template for all SID units to consider. These documents layout hours of training,
training schedules and objectives for the training. Further, we note there are
clear lessons to be learned by the APD Training Academy in reviewing SID
training development and assessment modalities. It is very unusual for us to
find line units doing a better job of training assessment, development, testing,
and improvement than an agency’s training academy. SID has done that.

The monitoring team reviewed the SID SharePoint tracker and determined that it
captures data points relevant to this paragraph. The monitoring team reviewed
14 SharePoint records that were generated during the reporting period. This
constituted a 50% sample of the ledger reports completed and submitted to the
monitoring team during the reporting period. The results of this review are
reported in Table 4.7.84.




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               Table 4.7.84: Compliance with Para 106

            Case No.            Data Collected      Data Complete
            IMR6-013                   1                   1
            IMR6-014                   1                   1
            IMR6-015                   1                   1
            IMR6-016                   1                   1
            IMR6-017                   1                   1
            IMR6-018                   1                   1
            IMR6-019                   1                   1
            IMR6-020                   1                   1
            IMR6-021                   1                   1
            IMR6-022                   1                   1
            IMR6-023                   1                   1
            IMR6-024                   1                   1
            IMR6-025                   1                   1
            IMR6-026                   1                   1
            % Compliant              100%                100%

APD is in compliance with the requirement to track data relevant to this
paragraph. APD’s Training Academy could learn from SID’s processes
in assessing operational data for the purpose of informing and
structuring training modalities.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.94 Compliance with Paragraph 107: High Risk Situation
Protocols

Paragraph 107 stipulates:

“APD shall prohibit specialized investigative units from providing
tactical responses to critical situations where a specialized tactical
unit is required. APD shall establish protocols that require
communication and coordination by specialized investigative units
when encountering a situation that requires a specialized tactical
response. The protocols shall include communicating high-risk
situations and threats promptly, coordinating effectively with
specialized tactical units, and providing support that increases the
likelihood of safely resolving a critical incident.”

Methodology

Investigative Bureau SOP 3-01 Special Investigations Division (SID) was
approved by the monitor on June 5, 2016, and again in June 2017, which
brought APD into Primary Compliance with the requirements of this
paragraph. APD recast its SOP cataloging system and SOP 3-01 is now

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SOP 5-01. As documented in IMR-4 and IMR - 5, SID took on the task of
developing unit-level handbooks that set forth the unique standards,
missions and duties for each of its subordinate units. Those handbooks
serve several purposes, including SID incorporating and reinforcing
APD’s use of force policies, including the provisions of this paragraph.
During its June 2017 site visit members of the monitoring team met with
SID Commanders to discuss their progress toward compliance with this
paragraph and were provided a series of documents and ledgers to
demonstrate that SID routinely collects and tracks information related to
their operations and deployments. SID developed a tracking system
within APD’s SharePoint system to meet the requirements of this
paragraph. The monitoring team requested and was provided SharePoint
documents for the months of February through July 2017; course of
business documents in the form of Interoffice Memorandums entitled,
"Investigative Responses Audit", "SharePoint Entries" and "Quarterly
Investigative Responses Audit"; and memorandums documenting
whether or not use of force or serious use of force investigations occurred
during the timeframe. Likewise, the monitoring team received and
reviewed operational plans for the months of February through July 2017
as well as training records that were compiled by SID.

Results

The monitoring team worked closely with SID as they developed their unit
specific handbooks and the training to implement those handbooks. We
commented in IMR – 5 that the handbooks contained specific provisions
that meet the requirements of this paragraph, specifically the prohibition
of investigative units providing tactical responses to critical situations
where a specialized tactical unit is required, and the requirement that SID
members utilize the Risk Assessment Matrix originally developed by
SOD.

SID received approval from the monitoring team regarding the unit
handbooks they created and to deliver the training they developed for
those handbooks at the latter part of January 2017. On January 27,
2017, SID conducted its training during a three-hour session and
delivered the unit specific handbooks to the SID.

SID submitted training records, lesson plans and other course of business
documentation wherein two newly assigned detectives received instruction from
their supervisor using the SID “Proficiency Check List” and using the new
Narcotics Unit handbook; and two lieutenants received On Job Training (OJT)
that included specific instruction in the required areas of this paragraph. The
documentation we reviewed included a lesson plan entitled, “SID Standard
Operating Procedures – Special Investigations Division Core Curriculum
Instructor Guide”.


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The monitoring team reviewed the SID SharePoint tracker and determined that it
captures data points relevant to this paragraph. The monitoring team reviewed
14 SharePoint records that were generated during the reporting period. This
constituted a 50% sample of the ledger reports completed and submitted to the
monitoring team during the reporting period. The results of this review are
reported in Table 4.7.85, below.

                     Table 4.7.85: Compliance with Para 107

           Case No.            Data Collected          Data Complete
           IMR6-013                      1                        1
           IMR6-014                      1                        1
           IMR6-015                      1                        1
           IMR6-016                      1                        1
           IMR6-017                      1                        1
           IMR6-018                      1                        1
           IMR6-019                      1                        1
           IMR6-020                      1                        1
           IMR6-021                      1                        1
           IMR6-022                      1                        1
           IMR6-023                      1                        1
           IMR6-024                      1                        1
           IMR6-025                      1                        1
           IMR6-026                      1                        1
           % Compliant                100%                     100%

APD is in compliance for the requirement to track data relevant to this
paragraph.

           Primary:           In Compliance
           Secondary:         In Compliance
           Operational:       In Compliance

4.7.95 Compliance with Paragraph 108: Inspection of Specialized
Units

Paragraph 108 stipulates:

“Within three months of the Effective Date, APD shall conduct an
inspection of specialized investigative units to determine whether
weapons and equipment assigned or accessible to specialized
investigative units are consistent with the units’ mission and
training. APD shall conduct re-inspections on at least an annual
basis.”

Methodology:

The monitoring team reviewed the Special Investigation Division’s

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annual inspection forms that were completed during the normal course
of business in June of 2017. Consistent with the unit’s mission and
training, a review of the individual inspection forms indicated that there
was proper documentation of all weapons and equipment assigned or
made accessible to SID. An Interoffice Memorandum was submitted on
June 21, 2017 to document SID’s yearly inspection. The Memorandum,
completed during the normal course of daily business, stated in part that
all sworn personnel were involved and no issues of concern were noted;
additionally, all personnel were rated at satisfactory. The monitoring of
these inspections is set to continue on at least an annual basis.

Results

            Primary:            In Compliance
            Secondary:          In Compliance
            Operational:        In Compliance

4.7.96 Assessing Compliance with Paragraph 109: Tracking
Specialized Unit Responses

Paragraph 109 stipulates:

“APD agrees to track and analyze the number of specialized
investigative unit responses. The analysis shall include the reason
for each investigative response, the legal authority, type of warrant
(if applicable), and the result of each investigative response, to
include: (a) the location; (b) the number of arrests; (c) the type of
evidence or property seized; (d) whether a forcible entry was
required; (e) whether a weapon was discharged by a specialized
investigative unit member; (f) whether the person attempted to flee
from officers; and (g) whether a person or domestic animal was
injured or killed. This data analysis shall be entered into the Early
Intervention System and included in APD’s annual reports.”

Methodology

Investigative Bureau SOP 3-01 Special Investigations Division (SID) was
approved by the monitor on June 5, 2016, which brought APD into Primary
Compliance with the requirements of this paragraph. APD recast its SOP
cataloging system and SOP 3-01 is now SOP 5-01, and was due for regular
review and approval in January of 2017. 179 As documented in IMR-4 and IMR-
5, SID took on the task of developing unit-level handbooks that set forth the
unique standards, missions and duties for each of its subordinate units. Those
handbooks serve several purposes, including SID incorporating and reinforcing
APD’s use of force policies, including the provisions of this paragraph. During

179 The monitoring team notes that APD’s schedule of policy reviews has lagged significantly
behind in many areas of the organization, including SID, and therefore SOP 5-01 is still pending
review and approval by the monitor.
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its June 2017 site visit, members of the monitoring team met with SID
commanders to discuss their progress toward compliance with this paragraph
and were provided a series of documents and ledgers to demonstrate that SID
routinely collects and tracks information required by this paragraph. SID
developed a tracking system within APD’s SharePoint system that was
developed with the requirements of this paragraph in mind. The monitoring
team requested and was provided SharePoint documents for the months of
February through July 2017; course of business documents in the form of
Interoffice Memorandums entitled, "Investigative Responses Audit," "SharePoint
Entries" and "Quarterly Investigative Responses Audit"; and memorandums
documenting whether or not use of force or serious use of force investigations
occurred during the timeframe. Finally, the monitoring team received and
reviewed operational plans for the months of February through July 2017 as well
as training records that were compiled by SID.

Results

In IMR-5 we determined that SID reached Secondary Compliance with the
provisions of this paragraph because of their implementation of training centered
on their internal policies and unit handbooks they developed for each of their
organizational units. 180 Our assessment of the records provided for this
reporting period has resulted in a determination that SID continues to routinely
train new personnel assigned to SID by providing each new member with a unit
handbook relevant to their assignment, and ensuring that they meet each
proficiency listed within an internal “Proficiency Checklist” that SID developed. 181

The monitoring team reviewed the SID SharePoint tracker and determined that it
captures each of the data points required by this paragraph. The monitoring
team reviewed 14 SharePoint records that were generated during the reporting
period. This constituted a 50% sample of the ledger reports completed and
submitted to the monitoring team during the reporting period. The results of this
review are reported in the table below. SID collects and tracks all required data
points for deployments.




180 We commented in IMR- 4 and IMR - 5 that the monitoring team worked closely with SID
during the development of their unit level handbooks and the training they ultimately delivered to
SID personnel. We reviewed records and found that SID completed their policy related training
and provided handbooks (signed off on by each recipient) to all SID personnel.
181 We note that SID was not required to implement a “Proficiency Checklist” but did so of their
own initiative. The checklist serves as a quasi FTO program for newly assigned detectives
where they must first demonstrate proficiency in several pre-determined areas related to their
new assignment. The checklist is completed by a supervisor and once the new detective meets
each proficiency they are authorized to assume their duties with less direct oversight. We see
this process to be one APD should implement in other operational areas of the organization and
see it as an emerging best practice.
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                                Table 4.7.86

            Case No.             Data Points Collected            Data Complete
            IMR6-013                      1                             1
            IMR6-014                      1                             1
            IMR6-015                      1                             1
            IMR6-016                      1                             1
            IMR6-017                      1                             1
            IMR6-018                      1                             1
            IMR6-019                      1                             1
            IMR6-020                      1                             1
            IMR6-021                      1                             1
            IMR6-022                      1                             1
            IMR6-023                      1                             1
            IMR6-024                      1                             1
            IMR6-025                      1                             1
            IMR6-026                      1                             1
            % Compliant                 100%                          100%

APD is in compliance with their requirement to track data relevant to this
paragraph. The monitoring team also reviewed the available SharePoint entries
for qualitative purposes. We found that SID collects additional information
related to the use of a Risk Assessment Matrix that was developed by SID to
ensure that a preset list of criteria is considered to determine if requesting SID
assistance is appropriate. In three (3) instances we saw SID using the Risk
Assessment Matrix appropriately, and could decipher from comments provided
within the SharePoint entries why the Risk Assessment Matrix was not used in
other events (i.e. Traffic stops or buy-bust operations). We found the use of the
Risk Assessment Matrix to be appropriate based on the records we reviewed.

The monitoring team reviewed SID Interoffice Memoranda wherein SID
demonstrated they are developing the systems and capacity to prepare
meaningful audits of information they are required to track. APD is collecting
the audit information in the form of course of business reports entitled,
“Quarterly Investigative Response Audit” and “SharePoint Entries”. These
documents serve to assess, validate and document information entered into
SharePoint system. The monitoring team found SID documented instances
where they self-identified information discrepancies, but then remediated that
discrepancy as a result of their analysis. When we met with SID during our last
site visit we were told that the aggregate assessment of these reports would be
collected and documented into an SID Annual Report that would further meet
the provisions of this paragraph. 182 We find that the efforts of SID in this regard

182 We requested a copy of APD’s 2016 Annual Report, but note that at the time we were writing
this report, the Annual Report for 2016 had not been completed. It is unclear if the information
being captured by SID within their SharePoint system will be included in that report once
completed, since the SharePoint system was not in place for the entirety of 2016. However, we
note that this paragraph is not explicit as to what “annual report” is required to capture the
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are sufficient to demonstrate they are collecting information that will needed for
the required Annual Report. In preparation of the monitoring team requested a
copy of APD’s regular Annual Report, but it is apparently still being constructed,
and was not provided.

With respect to SID’s requirement that their data analysis be entered into APD’s
EIS, the monitoring team notes that the data being collected and tracked for this
paragraph do not directly correlate to any of the criteria found within APD's
current and approved SOP 3-33 “Early Intervention System”. That policy was
due for review by the parties in December 2016, but APD submitted the new
policy for review late in this reporting period. As of the close of the reporting
period, in July 2017, the EIRS policy had not been approved by the monitor, as
the APD seems to be having problems developing policy that is approvable by
the monitor. Since use of force events would be otherwise captured within
APD’s EIRS system, it is our opinion that SID’s Sharepoint tracker, quarterly and
annual analysis reports will collectively meet the provisions of this paragraph.
The monitoring team feels that based on the current practices within SID they
have reached operational compliance with this paragraph. Generally, uses of
force within SID are too rare for trend analysis (SID reported less than five for
the year 2017), therefore the most critical assessment of operational trends and
patterns will result from a meaningful assessment of the data SID is now
collecting. SID’s analysis of those data is necessary before we can note a direct
impact on SID’s ability to sustain compliance.

        Primary:                In Compliance
        Secondary:              In Compliance
        Operational:            In Compliance

4.7.97 Assessing Compliance with Paragraph 110:

Paragraph 110 stipulates:

“To maintain high-level, quality service; to ensure officer safety
and accountability; and to promote constitutional, effective
policing, APD agrees to minimize the necessity for the use of force
against individuals in crisis due to mental illness or a diagnosed
behavioral disorder and, where appropriate, assist in facilitating
access to community-based treatment, supports, and services to
improve outcomes for the individuals. APD agrees to develop,
implement and support more integrated, specialized responses to
individuals in mental health crisis through collaborative
partnerships with community stakeholders, specialized training,
and improved communication and coordination with mental health
professionals. To achieve these outcomes, APD agrees to
implement the requirements below.”



necessary data. Therefore, as long as SID creates an annual report, similar to that we have
seen with SOD, they will remain in compliance with this paragraph.
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Methodology

This overarching paragraph refers to the paragraphs 111-137, below.
As such, this paragraph will not be noted in compliance until such time
that other related required paragraphs are found to be fully in
compliance.

Members of the monitoring team assessed data from the relevant
policies as noted in the table below.

                            Table 4.7.87

Policy                          Policy Name (Relevance to
                                110)
SOP 2-19 (previously            RESPONSE TO BEHAVIORAL
2-13)                           HEALTH ISSUES
SOP 2-20 (previously            HOSTAGE,
2-42)                           SUICIDAL/BARRICADED
                                SUBJECT, AND TACTICAL
                                THREAT ASSESSMENT
SOP 2-8 (previously 1-          USE OF ON-BODY
09)                             RECORDING DEVICES /
                                MANAGEMENT OF
                                RECORDINGS (contains
                                reference to people with mental
                                illness)
SOP 5-3 (previously 3-          CRIMINAL INVESTIGATIONS
06)                             DIVISION (contains referral to
                                Crisis Intervention Section)

Results

Not all related paragraphs are in compliance, thus, APD remains not in
compliance for this “overarching” paragraph.

         Primary:     In Compliance
         Secondary: Not In Compliance
         Operational: Not In Compliance

Recommendation 4.7.97a: APD should ensure that each of the
related paragraphs, 111-137 below conform with the goals
articulated in this paragraph and are articulated sufficiently to
Command and supervisory-level personnel.

4.7.98 Assessing Compliance with Paragraph 111: Mental Health
Response Advisory Committee

Paragraph 111 stipulates:

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“Within six months of the Effective Date, APD and the City shall
establish a Mental Health Response Advisory Committee (Advisory
Committee) with subject matter expertise and experience that will
assist in identifying and developing solutions and interventions
that are designed to lead to improved outcomes for individuals
perceived to be or actually suffering from mental illness or
experiencing a mental health crisis. The Advisory Committee shall
analyze and recommend appropriate changes to policies,
procedures, and training methods regarding police contact with
individuals with mental illness.”

Methodology

The monitoring team reviewed a 100% sample of MHRAC’s reports,
recommendations, communications, and processes created during this
reporting period, as well as other data sources considered for this
reporting period, which included: meeting minutes for each MHRAC
meeting listed in table above; meeting minutes for subcommittee
meetings, including the Training Subcommittee (July 3, 2016, August 22,
2016, November 21, 2016 and January 30, 2017) and the Information
Sharing subcommittee (January 25, 2017); and various memos from
APD to MHRAC written during the reporting period.

Findings

MHRAC meetings occurred monthly during this reporting period. Table
4.7.98, below, briefly describes contextual “minutes” covered during
these meetings.

                             Table 4.7.88
Reporting               Meeting             Issues discussed
period month            date
February                2/21/17             Administrative Assistance for
2017                                        MHRAC; Behavioral Health
                                            Initiative (ABCGC)
March 2017              3/21/17             APD-UNM MOU discussion;
                                            training for Crisis Negotiation
                                            Team.
April 2017              4/18/17             BJA presentation; CASA
                                            status hearing; CNT training.
May 2017                5/16/17             Mobile Crisis Teams; data
                                            presentation; CASA status
                                            hearing.
June 2017               6/13/17             Administrative support
                                            position; APD-UNM MOU.
July 2017               7/18/17             McClendon case; Schedule
                                            for training subcommittee
                                            reviews of APD curricula.



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Results

        Primary:     In Compliance 183
        Secondary: In Compliance
        Operational: In Compliance

4.7.99 Assessing Compliance with Paragraph 112:

Paragraph 112 stipulates:

“The Advisory Committee shall include representation from APD
command staff, crisis intervention certified responders, Crisis
Intervention Unit (CIU), Crisis Outreach and Support Team
(COAST), and City-contracted mental health professionals. APD
shall also seek representation from the Department of Family and
Community Services, the University of New Mexico Psychiatric
Department, community mental health professionals, advocacy
groups for consumers of mental health services (such as the
National Alliance on Mental Illness and Disability Rights New
Mexico), mental health service providers, homeless service
providers, interested community members designated by the
Forensic Intervention Consortium, and other similar groups.”

Methodology:

We reviewed a 100% sample of MHRAC’s reports, recommendations,
communications, and processes. Data sources considered: MHRAC
meeting sign-in sheets for all monthly meetings.

Results

All specified groups named in this paragraph regularly participated in
MHRAC meetings during this reporting period, and minutes reflected
well-structured treatments of agenda items designed to facilitate the
goals of MHRAC.

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.100 Assessing Compliance with Paragraph 113

Paragraph 113 stipulates:


183 APD currently is consulting with MHRAC and receiving MHRAC feedback. At times the
process is confusing or provides less than ample time for MHRAC to carefully assess proposed
policies and processes prior to existing deadlines. During this reporting period, however, the
MHRAC and APD agreed on a schedule for reviewing APD crisis- and mental health-related
curricula on a regular, rotating basis.
                                                                                           256
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“The Advisory Committee shall provide guidance to assist the City
in developing and expanding the number of crisis intervention
certified responders, CIU, and COAST. The Advisory Committee
shall also be responsible for considering new and current
response strategies for dealing with chronically homeless
individuals or individuals perceived to be or actually suffering from
a mental illness, identifying training needs, and providing
guidance on effective responses to a behavioral crisis event.”

Methodology

Members of the monitoring team reviewed a 100% sample of MHRAC’s
reports, recommendations, communications, and processes, and
conducted interviews with specific members of the MHRAC. In addition,
we reviewed MHRAC monthly meeting agendas and minutes, and
MHRAC subcommittee meeting minutes and memos.

Results

The MHRAC continued to provide guidance to the City and APD
regarding developing and expanding the number of CIT-certified
responders as well as response strategies for interacting effectively with
homeless individuals and people with mental illness. During this
reporting period, the MHRAC considered and provided feedback on the
APD’s developing mobile crisis teams. APD currently is consulting with
MHRAC and receiving MHRAC feedback. At times the process is
confusing or provides less than ample time for MHRAC to carefully
assess proposed policies and processes prior to existing deadlines.
During this reporting period, however, the MHRAC and APD agreed on a
schedule for reviewing APD crisis- and mental health-related curricula on
a regular, rotating basis. We will re-evaluate operational compliance for
this topic in IMR-7.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance 184

Recommendation 4.7.100: Assess MHRAC-APD information
interfaces to identify ways of increasing lead times presented to
MHRAC from APD related to issue review and consideration and
development of recommendations.



184APD is currently consulting with MHRAC and receiving MHRAC feedback. According to
MHRAC members, at times the process is confusing and, more importantly, tends to provide
less than ample time for MHRAC to carefully assess proposed policies and processes prior to
existing deadlines.
                                                                                         257
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4.7.101 Assessing Compliance with Paragraph 114:

Paragraph 114 stipulates:

“APD, with guidance from the Advisory Committee, shall develop
protocols that govern the release and exchange of information
about individuals with known mental illness to facilitate necessary
and appropriate communication while protecting their
confidentiality.”

Methodology

Members of the monitoring team reviewed a 100% sample of MHRAC’s
reports, recommendations, communications, and processes during the
reporting period, assessing these documents for compliance with
Paragraph 114. The monitoring team also reviewed several draft
versions of the MOU with mark-ups (tracked changes in Word). No MOU
was signed nor executed during this reporting period.

Results

Negotiations between the City of Albuquerque and the University of New
Mexico Health System are on-going with regard to executing an MOU
that governs the release and exchange of information; however, an MOU
has not been executed during this reporting period.

       Primary:     Not In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.101: Complete MOU as planned, and
implement provisions.

4.7.102 Assessing Compliance with Paragraph 115

Paragraph 115 stipulates:

“Within nine months of the Effective Dates, APD shall provide the
Advisory Committee with data collected by crisis intervention
certified responders, CIU, and COAST pursuant to Paragraphs 129
and 137 of this Agreement for the sole purpose of facilitating
program guidance. Also, within nine months of the Effective Date,
the Advisory Committee shall review the behavioral health training
curriculum; identify mental health resources that may be available
to APD; network and build more relationships; and provide
guidance on scenario-based training involving typical situations
that occur when mental illness is a factor.




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Methodology

Members of the monitoring team reviewed a 100% sample of data
provided to MHRAC by APD relating to provisions of Paragraph 115,
including data analysis prepared by Dr. Winograd in the form of
PowerPoint slides and a verbal presentation, and MHRAC and
subcommittee meeting agendas and minutes.

Results

APD continued to work with staff to produce meaningful data analysis of
the elements specified in paragraphs 129 and 137. APD has presented
this data regularly to the MHRAC. The monitoring team has not yet been
able to confirm that all behavioral health curricula is available to and
being reviewed by the MHRAC, though APD and the MHRAC did agree
to a schedule of review during this reporting period. Operational
compliance is pending submission by APD to the monitoring team of
documentation verifying submission and review of all behavioral health
curricula.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not in Compliance

Recommendation 4.7.102: Submit required COB documentation to
MHRAC as well as documentation from MHRAC noting review and
approval. Ensure that documentation is responsive to relationship
building and scenario-based training.

4.7.103 Assessing Compliance with Paragraph 116

Paragraph 116 stipulates:

“The Advisory Committee shall seek to enhance coordination with
local behavioral health systems, with the goal of connecting
chronically homeless individuals and individuals experiencing
mental health crisis with available services.”

Methodology

Members of the monitoring team conducted a 100% sample of data
provided to MHRAC by APD relating to enhancing coordination within
and among MHRAC’s service base, through a complete review of
MHRAC meeting minutes.




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Results

The MHRAC continued their work to enhance coordination of services
for chronically homeless individuals and people experiencing mental
health crisis. APD and the MHRAC revisited and updated their list of
Albuquerque-area providers and list of services during the last reporting
period (publication/printing date 1/20/17).

The monitoring team’s review shows a substantial and tangible of
interaction and cooperation between local behavioral health systems and
the APD on this issue, as well as tangible results in systems
improvement recommendations.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.104 Assessing Compliance with Paragraph 117

Paragraph 117 stipulates:

“Within 12 months of the Effective Date, and annually thereafter,
the Advisory Committee will provide a public report to APD that
will be made available on APD’s website, which shall include
recommendations for improvement, training priorities, changes in
policies and procedures, and identifying available mental health
resources.”

Methodology

Members of the monitoring team conducted a 100 % review of data
provided to MHRAC by APD, and reviewed the Advisory Committee’s
public report.

Results

The MHRAC produced Annual Reports in 2016 and 2017, which also
include annual reports from the Training, Information Sharing and
Resource subcommittees. As of the writing of this report, the 2016
MHRAC annual report(s) were available on the City’s website, but the
2017 reports were not available.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.104: Ensure MHRAC reports are posted on
relevant CABQ websites.

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4.7.105 Assessing Compliance with Paragraph 118 Behavioral
Health Training

Paragraph 118 stipulates:

“APD has undertaken an aggressive program to provide
behavioral health training to its officers. This Agreement is
designed to support and leverage that commitment.”

No evaluation methodology was developed for paragraph 118, as it is
not a “requirement” for APD or City action, but simply states facts.

4.7.106 Assessing Compliance with Paragraph 119 Behavioral
Health Training for all Cadets

Paragraph 119 stipulates:
“APD agrees to continue providing state-mandated, basic
behavioral health training to all cadets in the academy. APD also
agrees to provide 40 hours of basic crisis intervention training for
field officers to all academy graduates upon their completion of the
field training program. APD is also providing 40 hours of basic
crisis intervention training for field officers to all current officers,
which APD agrees to complete by the end of 2015.”

Methodology

Members of the monitoring team reviewed a 100% sample of training
records of APD relating to basic behavioral health training.

APD continues to provide state-mandated basic behavioral health
training to cadets in the academy as well as 40 hours of basic CIT to
academy graduates upon completion of the field training program and to
all field officers, certifying 27 officers in their March 2017 class, for
example.

Results

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.107 Assessing Compliance with Paragraph 120

Paragraph 120 stipulates:

“The behavioral health and crisis intervention training provided to
all officers will continue to address field assessment and
identification, suicide intervention, crisis de-escalation, scenario-

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based exercises, and community mental health resources. APD
training shall include interaction with individuals with a mental
illness and coordination with advocacy groups that protect the
rights of individuals with disabilities or those who are chronically
homeless. Additionally, the behavioral health and crisis
intervention training will provide clear guidance as to when an
officer may detain an individual solely because of his or her crisis
and refer them for further services when needed.”

Methodology

Members of the monitoring team reviewed a 100% sample of APD
training records relating to basic behavioral health training. APD
continues to utilize a training curriculum that addresses field
assessment, identification, suicide intervention, crisis de-escalation,
community mental health participation and scenario-based exercises
and role play exercises appropriately and effectively. All training
emphasizes the importance of community partnerships and appropriate
referrals to services.

Data sources reviewed included: APD CIU Monthly Reports; 40-hour
CIT curriculum updates to PowerPoints, and meeting minutes for
meetings in which APD refined training plans with peers and mental
health experts.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.108 Assessing Compliance with Paragraph 121

Paragraph 121 stipulates:

“APD shall ensure that new tele-communicators receive 20 hours
of behavioral health training. This training shall include:
telephonic suicide intervention; crisis management and de-
escalation; interactions with individuals with mental illness;
descriptive information that should be gathered when tele-
communicators suspect that a call involves someone with mental
illness; the roles and functions of COAST, crisis intervention
certified responders, and CIU; the types of calls that should be
directed to particular officers or teams; and recording information
in the dispatch database about calls in which mental illness may
be a factor.”




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Methodology

Members of the monitoring team reviewed a100% sample of training
records of APD relating to basic behavioral health training for tele-
communicators.

Results

APD has designed 20 hours of behavioral health training for tele-
communicators that includes all topics noted in paragraph 121 as well as
role-play scenarios drawn from actual 911 calls fielded by APD tele-
communicator personnel. The training meets the requirements of this
paragraph. Tele-communicator training occurred on the following dates:
4/10/17, 4/12/17, 4/19/17, and 4/21/17.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.109 Assessing Compliance with Paragraph 122

Paragraph 122 stipulates:
APD shall provide two hours of in-service training to all existing
officers and tele-communicators on behavioral health-related
topics biannually.

Methodology

Members of the monitoring team reviewed a 100% sample of training
records of APD relating to basic behavioral health training for officers
and tele-communicators.

Results

APD has developed a 2-hour in-service training curriculum that
addresses the requirements of New Mexico House Bill 93, entitled
“Police Training for Mental Impairments.” It is unclear, based on the
records we reviewed whether any two-hour bi-annual training sessions
for either officers or tele-communicators took place during this reporting
period, and if so, what the results were on testing on that training. The
next “biannual training” is scheduled for August 2017, outside of this
reporting period. APD remains in compliance based on past
performance in the first session of scheduled bi-annual training.




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       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.110 Assessing Compliance with Paragraph 123 Crisis
Intervention Certified Responders and Crisis Intervention Unit

Paragraph 123 stipulates:

“APD shall maintain a sufficient number of crisis intervention
certified responders who are specially trained officers across the
Department who retain their normal duties and responsibilities and
also respond to calls involving those in mental health crisis. APD
shall also maintain a Crisis Intervention Unit (“CIU”) composed of
specially trained detectives housed at the Family Advocacy Center
whose primary responsibilities are to respond to mental health
crisis calls and maintain contact with mentally ill individuals who
have posed a danger to themselves or others in the past or are
likely to do so in the future. APD agrees to expand both the
number of crisis intervention certified responders and CIU.”

Methodology

Members of the monitoring team reviewed training and assignment
records for CIU officers for the reporting period. According to course
rosters, the APD CIU trained a total of 43 officers in e-CIT during this
monitoring period, making them “certified responders” per this
paragraph. As of the end of this reporting period, a total of 114 APD
officers have completed the eCIT training and certification process.
Members of the monitoring team also reviewed eCIT training in-service
course sign-in sheets and eCIT training spreadsheets.

The APD maintains a Crisis Intervention Unit staffed with detectives
housed at the Family Advocacy Center, with a total of ten sworn officers
in the CIU during this reporting period, short of the 12 recommended in
the “Albuquerque Police Department Comprehensive Staffing
Assessment and Resources Study” conducted by Alexander Weiss
Consulting, LLC (Final Draft Report, December 11, 2015).

We remain unaware of any specific methodology developed by APD to
determine the department’s definition of the “sufficient number” of crisis-
intervention certified responders. The monitoring team’s assessment is
that staffing remains insufficient, based on the requirement that staffing
for the advocacy center is below that articulated in the CASA.




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Results

       Primary:     Not In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.110a: Develop and execute a data-based,
methodologically appropriate workload and manpower planning
analysis that ensures that reliable “staffing levels” for eCIT officers
are calculated, reported, set as staffing goals, and attained.

4.7.111 Assessing Compliance with Paragraph 124

Paragraph 124 stipulates:

The number of crisis intervention certified responders will be
driven by the demand for crisis intervention services, with an
initial goal of 40% of Field Services officers who volunteer to take
on specialized crisis intervention duties in the field. Within one
year of the Effective Date, APD shall reassess the number of crisis
intervention certified responders, following the staffing
assessment and resource study required by Paragraph 204 of this
Agreement.

Methodology

Members of the monitoring team reviewed related areas of the staffing
plan produced by APD in response to this paragraph.

Results

The current staffing levels of crisis intervention “certified responders” (a
total of 114) falls short of the goal of 40% of field services officers.


       Primary:     In Compliance
       Secondary: Not in Compliance
       Operational: Not in Compliance

Recommendation 4.7.111: Implement the recruitment, training and
deployment plan for “Certified responders” that meets the
articulated goal of 40 of Field Services Officers.

4.7.112 Assessing Compliance with Paragraph 125

Paragraph 125 stipulates:



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“During basic crisis intervention training for field officers provided
to new and current officers, training facilitators shall recommend
officers with apparent or demonstrated skills and abilities in crisis
de-escalation and interacting with individuals with mental illness
to serve as crisis intervention certified responders.”

Methodology

Members of the monitoring team reviewed recommendations obtained and
assessed by training facilitators during the fifth reporting period.

Results

The APD CIU instructors appear to identify and recommend field officers well
suited for the Enhanced CIT (eCIT) course and recommend that they enroll.
Unfortunately, compliance evidence provided by APD for this paragraph was not
“Course of Business” data, e.g., copies of names of officers attending and
scores on examinations, but was a “eCIT Recruitment Plan” (dated July 31,
2017). APD should submit “Course of Business” records, as requested by the
monitoring team.
       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance 185

Recommendation 4.7.112a: Submit COB training documentation for this
particular training, e.g., routinely kept class rosters, exam scores, etc.
4.7.113 Assessing Compliance with Paragraph 126

Paragraph 126 stipulates:

“Within 18 months of the Effective Date, APD shall require crisis
intervention certified responders and CIU to undergo at least eight
hours of in-service crisis intervention training biannually.”

Methodology

Members of the monitoring team reviewed training records for CIU
personnel.

Results

The CIU did not provide documentation supporting delivery of the 8-hour
in-service “refresher” training during this reporting period.

185As we have advised APD repeatedly, course of business documentation must consist of
normal course-of-business documents showing performance related to the paragraph, not an ad
hoc memorandum stating something was done.
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       Primary:     Not In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.113: Submit training documentation for this
particular training, e.g., routinely kept class rosters, exams, exam scores,
etc.
4.7.114 Assessing Compliance with Paragraph 127

Paragraph 127 stipulates:

“Within 18 months of the Effective Date, APD will ensure that there
is sufficient coverage of crisis intervention certified responders to
maximize the availability of specialized responses to incidents and
calls for service involving individuals in mental health crisis; and
warrant service, tactical deployments, and welfare checks
involving individuals with known mental illness.”

Methodology

During this reporting period, APD CIU continued to deliver Enhanced
CIT (eCIT) training to address the requirement for “certified responders.”
Response times to crisis calls will be calculated after training of new
“certified responders” is completed.

Results

SOP 2-19, entitled “Response to Behavioral Health Issues” was not
updated during this reporting period; the most recent version is marked
“Effective: 11/01/16 Expires: 11/01/17 Replaces: 06/07/16.” The SOP
language remains unchanged, clearly stating: “ECIT, MCT or CIU will
take the lead in interacting with individuals in a behavioral health crisis. If
a supervisor has assumed responsibility for the scene, the supervisor
will seek input from ECIT, MCT, or CIU on strategies for de-escalating,
calming and resolving the crisis, when it is safe.” Since eCIT training is
still in process, the secondary and operational elements of the policy are
not in compliance. Review of critical CIU calls for process will begin after
training of “certified responders” is completed.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.114: Complete eCIT training as designed, and
evaluate performance via a reasonable testing procedure.


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4.7.115 Assessing Compliance with Paragraph 128

Paragraph 128 stipulates:
APD will ensure that crisis intervention certified responders or CIU
will take the lead, once on scene and when appropriate, in
interacting with individuals in crisis. If a supervisor has assumed
responsibility for the scene, the supervisor will seek input of the
crisis intervention certified responder or CIU on strategies for
resolving the crisis when it is practical to do so.

Methodology

Members of the monitoring team reviewed critical CIU calls for process,
effectiveness and outcome.

Results

SOP 2-19, entitled “Response to Behavioral Health Issues” was not
updated during this reporting period; the most recent version is marked
“Effective: 11/01/16 Expires: 11/01/17 Replaces: 06/07/16.” The SOP
language remains unchanged, clearly stating: “ECIT, MCT or CIU will
take the lead in interacting with individuals in a behavioral health crisis. If
a supervisor has assumed responsibility for the scene, the supervisor
will seek input from ECIT, MCT, or CIU on strategies for de-escalating,
calming and resolving the crisis, when it is safe.” Since eCIT training is
still in process, the secondary and operational elements of the policy are
not in compliance. Review of critical CIU calls for process will begin after
training of “certified responders” is completed.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.115: Establish a clear, meaningful protocol
for CIU response; train that protocol; and supervise
implementation.

4.7.116 Assessing Compliance with Paragraph 129

Paragraph 129 stipulates:

“APD shall collect data on the use of crisis intervention certified
responders and CIU. This data will be collected for management
purposes only and shall not include personal identifying
information of subjects or complainants. APD shall collect the
following data:
a) date, shift, and area command of the incident;
b) subject’s age, race/ethnicity, and gender;

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c) whether the subject was armed and the type of weapon;
d) whether the subject claims to be a U.S. military veteran;
e) name and badge number of crisis intervention certified
responder or CIU
detective on the scene;
f) whether a supervisor responded to the scene;
g) techniques or equipment used;
h) any injuries to officers, subjects, or others;
i) disposition of the encounter (e.g., arrest, citation, referral); and
j) a brief narrative of the event (if not included in any other
document).”

Methodology

Members of the monitoring team reviewed APD’s work product for this
paragraph. APD continues to regularly update its data analysis
workbook, and featured its data analysis relevant to this paragraph in a
presentation prepared for the 2017 CIT International Conference. The
data analysis workbook provides analytics on the following: tracking the
number of CIT-related calls for service over time; analyzing uses of force
with people in CIU caseloads during encounters with field officers;
numbers of people contacted by COAST who claim to be veterans; and
monitoring the calls for service by time of day and day of week as well as
capturing the data elements required by this paragraph. This paragraph
will not be in operational compliance until APD clarifies how it is using
these data for “management purposes” pursuant to this paragraph.

Results

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: Not In Compliance

Recommendation 4.7.116: Develop, initiate, and describe the
results of APD’s methodologies that use the results of data
collected for this paragraph for “management purposes,” i.e.,
planning, organizing, staffing, directing, controlling, reporting and
budgeting for the CIT and COAST workload, service delivery
processes, and outcomes.

4.7.117 Assessing Compliance with Paragraph 130

Paragraph 130 stipulates:

“APD will utilize incident information from actual encounters to
develop case studies and teaching scenarios for roll-call,
behavioral health, and crisis intervention training; to recognize and
highlight successful individual officer performance; to develop
new response strategies for repeat calls for service; to identify
training needs for in-service behavioral health or crisis
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intervention training; to make behavioral health or crisis
intervention training curriculum changes; and to identify systemic
issues that impede APD’s ability to provide an appropriate
response to an incident involving an individual experiencing a
mental health crisis.”

Methodology

Members of the monitoring team reviewed APD work product responsive
to this paragraph, noting compliance or non-compliance issues during
the review.

Results

APD CIU continues to develop case studies based on actual encounters
and incorporate them into training courses. During this reporting period,
case studies were developed for the tele-communicator training, based
on actual call-taker recordings.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.118 Assessing Compliance with Paragraph 131

Paragraph 131 stipulates:

Working in collaboration with the Advisory Committee, the City shall develop and
implement a protocol that addresses situations involving barricaded, suicidal
subjects who are not posing an imminent risk of harm to anyone except
themselves. The protocol will have the goal of protecting the safety of officers
and suicidal subjects while providing suicidal subjects with access to mental
health services.

Methodology

Members of the monitoring team reviewed the work product of the
Advisory Committee and city personnel responsive to this paragraph.
Procedural Order 2-20, “Hostage, Suicidal/Barricaded Subject, and
Tactical Threat Assessment,” was not updated during this reporting
period. The most recent version is marked “Effective: 05/27/16 Expires:
11/23/16 Replaces: 04/25/16.” The policy addresses: assessment of
need for tactical response; ensuring backup officers are present;
dispatch of the on-duty field supervisor; MCT or eCIT will take the lead
on interactions; obtaining information from family and friends; responding
to the scene; communicating by emphasizing de-escalation;
disengagement procedures; tactical threat assessment; and the use of
tactical units. This paragraph is not in compliance until it is revised or
simply re-issued with a current “Expires” date.
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Results

       Primary:     Not In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.118a: The current policy guiding this
paragraph is expired. Change existing policy as appropriate, and
promulgate the new policy.

Recommendation 4.7.118b: Revise training and training evaluation
protocols to reflect the new policy developed as per 4.7.118a,
above.

4.7.119 Assessing Compliance with Paragraph 132 Crisis
Prevention

Paragraph 132 stipulates:

APD shall continue to utilize COAST and CIU to follow up with
chronically homeless individuals and individuals with a known
mental illness who have a history of law enforcement encounters
and to proactively work to connect these individuals with mental
health service providers.

Methodology

Members of the monitoring team reviewed critical CIU/COAST calls for
process and referrals, if any. Throughout this reporting period, the
monitoring team held monthly teleconferences with the APD CIU and
COAST personnel. Those conversations, along with CIU Monthly
Reports indicate that APD continues to maintain regular contact with
individuals known to them and work with them to connect them to
services.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.120 Assessing Compliance with Paragraph 133

Paragraph 133 stipulates:

COAST and CIU shall provide crisis prevention services and
disposition and treatment options to chronically homeless
individuals and individuals with a known mental illness who are at

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risk of experiencing a mental health crisis and assist with follow-
up calls or visits.

Methodology

Members of the monitoring team reviewed critical CIU/COAST calls for
process and referral.

Results

APD continues to manage its caseload through CIU and COAST with
consistent outreach to individuals with a known mental illness, as
detailed case-by-case in the monthly CIU/COAST reports. The
monitoring team has reviewed the primary avenue the MHRAC and the
APD are using to connect chronically homeless individuals and
individuals in crisis with services--a small tri-fold resource card on which
organization names and telephone numbers appear.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.121 Assessing Compliance with Paragraph 134

Paragraph 134 stipulates:

APD shall continue to utilize protocols for when officers should
make referrals to and coordinate with COAST and CIU to provide
prevention services and disposition and treatment options.

Methodology

Members of the monitoring team reviewed all known critical CIU/COAST
calls for process and referral.

Results

SOP 2-19 contains specific language to address these protocols: “B.
Officers will complete an original incident report where required (e.g.
there are charges filed, a CIU referral, or transport to the hospital).
Regardless of whether an incident report is required, officers will
complete a CIT contact sheet for any dispatch in which the subject’s
behavior indicates a behavioral health disorder or behavioral health
crisis.” Review of in-field practice shows that this guidance is followed
by responding CIT officers.
        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance
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4.7.122 Assessing Compliance with Paragraph 135

Paragraph 135 stipulates:

“APD shall maintain a sufficient number of trained and qualified
mental health professionals in COAST and full-time detectives in
CIU to satisfy its obligations under this Agreement. Within three
months of completing the staffing assessment and resource
study required by Paragraph 204 of this Agreement, APD shall
develop a recruitment, selection, and training plan to assign,
within 24 months of the study, 12 full-time detectives to the CIU,
or the target number of detectives identified by the study,
whichever is less.”

Methodology

Members of the monitoring team reviewed critical CIU/COAST calls for process
and referral to identify any “unacceptable” delays. Call For Service data and
correlating or related reports were also reviewed.

Results

According to the CIU/COAST monthly “highlights” reports for this
reporting period, there were a total of 10 sworn members of the CIU.
Staffing requirements for this unit are not being realized. The unit is still
short of required staffing.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.122a: Upgrade CIU/COAST to the required
staffing levels.

4.7.123 Assessing Compliance with Paragraph 136

Paragraph 136 stipulates:

“COAST and CIU shall continue to look for opportunities to
coordinate in developing initiatives to improve outreach, service
delivery, crisis prevention, and referrals to community health
resources.”

Methodology

Members of the monitoring team, through conversations with CIU
personnel and members of the MHRAC and review of meeting minutes,
observed that communication and coordination is taking place, focused
on improving outreach, service delivery, crisis prevention and referrals.
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APD’s COAST is developing ongoing outreach initiatives that aim to
connect people to services. Beginning in March 2017 (and continuing
throughout this monitoring period), COAST has held “strategic outreach”
sessions in various district substations on a weekly basis during which
crisis specialists are available to listen and make connections to
community health resources and social services.

Results

Based on data provided by APD it appears that documentation does not
exit for tracking incident reports completed by COAST and CIU to
identify and address indicators of recurring issues and problems
confronted by COAST and CIU.

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: Not In Compliance

Recommendation 4.7.123a: APD should ensure that COAST and
CIU personnel track incident reports involving their personnel for
indications of recurring issues and problems that may be
addressed by referral of clients to community health resources.

Recommendation 4.7.123b: Once these opportunities are
identified, train COAST and CIU personnel to implement, where
appropriate referrals to outreach, service delivery, crisis
prevention, and referrals to community health resources.

4.7.124 Assessing Compliance with Paragraph 137

Paragraph 137 stipulates:

“APD shall collect and analyze data to demonstrate the impact of
and inform modifications to crisis prevention services. This data
will be collected for management purposes only and shall not
include personal identifying information of subjects or
complainants. APD shall collect the following data:
a) number of individuals in the COAST and CIU caseloads;
b) number of individuals receiving crisis prevention services;
c) date, shift, and area command of incidents or follow up
encounters;
d) subject’s age, race/ethnicity, and gender;
e) whether the subject claims to be a U.S. military veteran;
f) techniques or equipment used;
g) any injuries to officers, subjects, or others;
h) disposition of the encounter (e.g., arrest, citation, referral); and
i) a brief narrative of the event (if not included in any other
document).”



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Methodology

Members of the monitoring team review each reporting period the steps
taken as a result of review of data collected.

Results

Data is being collected and analyzed by CIU and COAST units (see
findings in paragraph 129); however, we have found no specific
indicators that data is collected or analyzed on the topics required by this
paragraph. Analytics are, however, informing changes to crisis
prevention services.

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: Not In Compliance

Recommendation 4.7.137a: Collect, analyze and interpret the data
elements above on a routine basis, and produce reports circulated
to CIU and COAST personnel, through the chain of command, and
eventually to the public via APD’s web-site.

Recommendation 4.7.137b: Memorialize these processes in policy
and training.

4.7.125 Assessing Compliance with Paragraph 139 186

Paragraph 139 stipulates that:

“APD shall review, develop, and implement policies and
procedures that fully implement the terms of this Agreement,
comply with applicable law, and comport with best practices. APD
policies and procedures shall use terms that are defined clearly,
shall be written plainly, and shall be organized logically. “

Results

We note above, in Paragraph 40, the issue of “De Minimis” force, and its
potential impact on development and implementation of adequate policy
related to use of force. Again, we remind the reader that this concept
was introduced without consultation with the monitor, and was contained
only in the “definitions” section of the use of force policy. We express
serious concern about the impact the untrained “policy definition” will
have on compliance efforts and status. We are not convinced that the
training offered, to date, which was not based on clear explanations of

186 Paragraph 138 is judged to be prefatory to the following section on training, and as such
established goals, but not quantifiable objectives. These are dealt with in paragraphs 139-148.
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the concept was organized or delivered in a manner that will engender
compliance.

       Primary:     In Compliance
       Secondary: Not in Compliance
       Operational: Not in Compliance

Recommendation 4.7.126: Plan, organize, staff, and deliver training
conforming to national practice related to the concept of De
Minimis force, and its application in the field by APD officers.

4.7.126 Assessing Compliance with Paragraph 140

Paragraph 140 stipulates:

“APD policies and procedures shall be indexed and maintained in
an organized manner using a uniform numbering system for ease
of reference. APD policies and procedures shall be accessible to
all APD officers and civilian employees at all times in hard copy or
electronic format.“

Results

APD has renumbered its policy manual, and produced new
documentation of same. Issuance of a new concept regarding use of
force (De Minimis force) through use of the “definitions” section, without
specific policy and training guidance, has introduced an extreme
complication to APD’s policy mechanism, given the lack of guidance on
the concept in policy and training. We will continue to monitor this issue
in coming monitoring periods.

       Primary:     In Compliance
       Secondary: Not in Compliance
       Operational: Not In Compliance

Recommendation 4.7.126a: Develop approvable policy guidance
on the concept of De Minimis force and its “fit” into existing policy.

Recommendation 4.7.126b: Train all applicable personnel (officers,
supervisors, command) on the new policy.

Recommendation 4.7.126b: Assess impact of policy and training
on service delivery related to De Minimis force.

4.7.127 Assessing Compliance with Paragraph 141

Paragraph 141 stipulates:

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“Within three months of the Effective Date, APD shall provide
officers from varying ranks and units with a meaningful
opportunity to review and comment on new or existing policies
and procedures .”
APD has made substantive changes to its policy development, review
and comment on new and revised policy with the advent of the Office of
Policy Analysis (OPA). Current structure exists to allow substantive
comment from line and staff officers to policy proposals.

Results

Representatives of the APOA have access to every meeting held by the
monitor to discuss relative policy changes and provisions. We are
concerned with APD’s introduction of new and critical policy components
that are dealt with only by “definitions,” without articulation, explication,
or setting of performance criteria. We will continue to monitor this
process in future monitoring reports.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.128 Assessing Compliance with Paragraph 142

Paragraph 142 stipulates:

“Within three months of the Effective Date, APD shall ensure that
the Policy and Procedures Review Board is functional and its
members are notified of the Board’s duties and responsibilities.
The Policy and Procedures Review Board shall include a
representative of the Technology Services Division in addition to
members currently required under Administrative Order 3-65-2
(2014).“

Methodology

The monitoring team review almost monthly output from the PPRB.
Notices of PPRB-related activity is posted almost weekly on APD’s
website and intranet, and PPRB appears to be functioning as required
by this paragraph, including membership of a representative of the
Technical Services Division. We note that PPRB approved the “De
Minimis” force issue about which we have expressed serious concern
regarding the ability to implement, supervise, and correct problematic
behaviors related to same. We will continue to monitor this process for
implementation issues beyond the mere issue of policy.




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Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.129 Assessing Compliance with Paragraph 143

Paragraph 143 stipulates:

Within nine months of the Effective Date, the Policy and Procedures Review
Board shall review, develop, and revise policies and procedures that are
necessary to implement this Agreement. The Policy and Procedures Review
Board shall submit its formal recommendations to the Chief through the
Planning and Policy Division.

Methodology

The monitoring team review almost monthly output from the PPRB.
Notices of PPRB-related activity is posted almost weekly on APD’s
website and intranet, and PPRB appears to be functioning as required
by this paragraph, including membership of a representative of the
Technical Services Division. We note that PPRB approved the “De
Minimis” force issue about which we have expressed serious concern
regarding the ability to implement, supervise, and correct problematic
behaviors related to same. We will continue to monitor this process for
implementation issues beyond the mere issue of policy. In the interim,
APD remains in compliance with this task; however, we are concerned
that PPRB did not see issues with “policy by definition.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.130 Assessing Compliance with Paragraph 144

Paragraph 144 stipulates:

“Unless otherwise noted, all new and revised policies and
procedures that are necessary to implement this Agreement shall
be approved and issued within one year of the Effective Date.
APD shall continue to post approved policies, procedures, and
administrative orders on the City website to ensure public
accessibility. There shall be reasonable exceptions for policies,
procedures, and administrative orders that are law enforcement
sensitive, such as procedures on undercover officers or
operations.”

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Methodology

The work required here was not completed within the timeline
established by the CASA; however, all required initial policy work has
been completed and approved by the monitor. Many policies are
cycling into their required review and revise periods. We will continue to
monitor closely APD’s recent process of developing policy by “definition.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.131 Assessing Compliance with Paragraph 145

Paragraph 145 stipulates:

“The Policy and Procedures Review Board shall review each
policy or procedure six months after it is implemented and
annually thereafter, to ensure that the policy or procedure
provides effective direction to APD personnel and remains
consistent with this Agreement, best practices, and current law.
The Policy and Procedures Review Board shall review and revise
policies and procedures as necessary upon notice of a significant
policy deficiency during audits or reviews.“

Methodology

The monitoring team remains closely involved with the review and
approval of APD’s proffered policies. Past issues noted with re-approval
of critical policies such as Use of Force, Early Intervention Systems, and
OBRD (body cams) were significant and meaningful; however, based on
the monitor’s knowledge and experience, none of these problems related
to or are caused by PPRB processes, but instead revolve around an
apparent shift in responsiveness to comments made by the monitoring
team relevant to the high-risk, critical-task policies noted above. Of late,
the DOJ and the monitor have had substantive, direct, and strong
disagreements with APD over required six-month review and approval of
existing policies, such as OBRD, EIRS, and Use of Force policies.
These critical policies, as of the end of this monitoring period, remained
in limbo, with the APD exhibiting reluctance to revise them, as suggested
by DOJ and the monitor, to improve provisions of critical policies such as
Use of Force, EIRS, and OBRD187. The required review and approval of
these policies at their six-month point has not yet been completed as of

187Again, APD suspended eight “special orders” via Special Order 17-56 (Amended), on July 5,
2017, including the OBRD Special order. As we have noted elsewhere, not all units and sworn
employees were aware of this special order, based on our on-site observations for this report.
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the end of this reporting period, and these critical policies are in limbo 188.
We note that critical policies, such as “Hostage, Suicidal, and Barricaded
Suspects,” On Body Recording Devices, Emergency Response Team,
EIRS, and First Amendment Assemblies that are pending monitor review
were submitted to the monitor in late August for review and approval. As
of the date of the draft report, not all of these policies had been
approved. Approved policy on On Body Recording Devices, Early
Intervention Reporting Systems, was effectuated in October 2017,
outside the dates for this reporting period.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.131a: Expedite policy review and revision
policies and practices to ensure that current, reliable, and workable
policies are in place to guide the actions of APD officers

Recommendation 4.7.131b: Focus first on high-risk/critical task
policies such as Use of Force, EIRS, and OBRD.

Recommendation 4.7.131c: Where possible, adapt approved
similar policies from other law enforcement agencies currently
working through consent decrees, i.e., Seattle PD and New Orleans
PD.

Recommendation 4.7.131d: Ensure that termination of all residual
Special Orders are effectively communicated to all field operations
personnel, including supervisors and command-level personnel.

4.7.132 Assessing Compliance with Paragraph 146

Paragraph 146 stipulates:

“APD shall apply policies uniformly and hold officers accountable
for complying with APD policy and procedure. “

Methodology

We noted in IMR-5 that:




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  APD submitted approvable OBRD, EIRS, and Use of Force policies in October, 2017, three
months after the close of this reporting period.
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“The  monitoring team is closely involved with inputs and outputs from
APD’s policy apparatus, e.g., the Force Review Board, CIRT, Internal
Affairs, PPRB, etc. As noted in our treatment of several CASA
paragraphs in this document, we are beginning to see issues related
directly to Paragraph 146 in the oversight, discipline, and related follow-
up practices at APD. New procedures are becoming more difficult to
negotiate to the point that they remain in compliance with the CASA, and
supervisory and managerial response to the requirements of certain
policies are starting to show salient and substantive issues with
accountability and uniformity. These issues are discussed more fully in
paragraphs (4.72 Use of Force; 4.7.6 and 4.7.8 Show of Force, 4.7.9
Firing at motor vehicle, 4.7.10 EIRS etc.) elsewhere in this report. We
have noted since IMR-2 sporadic issues with accountability, and those
issues seem to have become more frequent of late. For example, FRB
operations often stray substantively from existing policy in terms of their
review outcomes and findings. We have highlighted in IMR-2, IMR-3,
IMR-4 and a special report on use of force, issues with policy violations,
often serious and consequential, that have gone unaddressed by APD
supervisory and command staff. These issues, accompanied by APD’s
new-found resistance to effective revisions in Use of Force, Early
Intervention, and On-Body Recording Device policies cause great
concern to the monitoring team relative to the “accountability” provision
of this paragraph.”

During IMR-6’s reporting period, APD still had not been successful in
writing Use of Force and OBRD policies that could be approved by the
monitor. We continue to see potential issues with the submitted policy
regarding use of force (see our comments above on De Minimis force),
and note that the OBRD policy last proffered by APD finally approved
after substantial monitor requested revisions in terms of review periods,
notice to the monitor of changes, etc. We find, in our experience, that
policies that are not clear are often difficult to apply properly, impossible
to supervise, and lead to sometimes serious problems. 189

We do note that APD, after the close of IMR-6’s reporting period was
able to write and achieve approval of OBRD and Use of Force policies

Results

        Primary:     In Compliance
        Secondary: Not in Compliance
        Operational: Not in Compliance

4.7.133 Assessing Compliance with Paragraph 147

189Since the close of this reporting period, APD has resubmitted these policies, and they were
approvalble (and approved) by the monitor and DOJ.
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Paragraph 147 stipulates

“APD shall submit all policies, procedures, manuals, and other
administrative orders or directives related to this Agreement to the
Monitor and DOJ for review and comment before publication and
implementation.”

Methodology

During the IMR-5 reporting period, we found APD had promulgated
several “Special Orders” that addressed critical CASA-related
processes. These included special orders related to relating to shows of
force, pointing a firearm, and OBRD operations, and other special orders
that directly modify the CASA. Some of these Special Orders directly
affected critical elements of the CASA, and were in direct
contradistinction to approved elements of the CASA.

Results

The monitoring team has asked for copies, and finally received a
submission of all special orders written by APD focused on CASA
related practices. We are currently reviewing those for potential impacts
on CASA implementation. We will hold this paragraph’s compliance
findings until we finish a complete review of submitted “Special Orders”
issued by APD. That process will be completed in time for inclusion in
IMR-7, or, alternatively in a Special Report to the Court. We view this
use of Special Orders by APD, especially when the “special orders”
contradict or suspend monitor-approved policy, to be extremely
problematic. As a result, we have asked APD to copy the monitor on all
proposed Special Orders, and after the close of this reporting period
have been provided policy revisions on these critical policies that were
approvable, and thus approved.

       Primary:     In Compliance
       Secondary: Not in Compliance
       Operational: Not in Compliance

Recommendation 4.7.133a: APD should conduct an agency-wide
review of all “special orders,” and ensure they are CASA compliant.

Recommendation 4.7.133b: The resulst of that review should be
provided to the Parties and the monitor.

Recommendation 4.7.133c: All future “Special Orders” related in
any way to the CASA should be provided to the Parties and the
monitor contemporaneously with publication.

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4.7.134 Assessing Compliance with Paragraph 148

Paragraph 148 stipulates:

“APD shall have 15 days to resolve any objections to new or
revised policies, procedures, manuals, or directives implementing
the specified provisions. If, after this 15-day period has run, the
DOJ maintains its objection, then the Monitor shall have an
additional 15 days to resolve the objection. If either party
disagrees with the Monitor’s resolution of the objection, either
party may ask the Court to resolve the matter. The Monitor shall
determine whether in some instances an additional amount of
time is necessary to ensure full and proper review of policies.
Factors to consider in making this determination include: 1)
complexity of the policy; 2) extent of disagreement regarding the
policy; 3) number of policies provided simultaneously; and 4)
extraordinary circumstances delaying review by DOJ or the
Monitor. In determining whether these factors warrant additional
time for review, the Monitor shall fully consider the importance of
prompt implementation of policies and shall allow additional time
for policy review only where it is clear that additional time is
necessary to ensure a full and proper review. Any extension to
the above timelines by the Monitor shall also toll APD’s deadline
for policy completion.”

Methodology

We encountered several policies about which the monitor and APD
could not come to agreement this reporting period. These policies were
Use of Force, OBRDs, and EIRS, some of the more critical APD policies
related to the CASA. After intense consultation and revision regarding
these policies we were offered versions that we could approve, but only
after the close of this reporting period.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.13 Assessing Compliance with Paragraph 149

Paragraph 149 stipulates:

“Within two months of the Effective Date, APD shall ensure that all
officers are briefed and presented the terms of the Agreement,
together with the goals and implementation process of the
Agreement.”




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Methodology

The monitoring reviewed records related to all new APD employees (if
any during the reporting period IMR 6) to ensure that they are briefed
and presented the terms of the agreement. The monitoring team reviews
PowerDMS entries to ensure all personnel signoff as acknowledgement
that the material was reviewed and received. The City remains in
compliance with this paragraph based on earlier performance.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.136 Assessing Compliance with Paragraph 150

Paragraph 150 stipulates:

“Within three months of issuing a policy or procedure pursuant to
this Agreement, APD agrees to ensure that all relevant APD
personnel have received and read their responsibilities pursuant to
the policy or procedure, including the requirement that each officer
or employee report violations of policy; that supervisors of all
ranks shall be held accountable for identifying and responding to
policy or procedure violations by personnel under their command;
and that personnel will be held accountable for policy and
procedure violations. APD agrees to document that each relevant
APD officer or other employee has received and read the policy.
Training beyond roll-call or similar training will be necessary for
many new policies to ensure officers understand and can perform
their duties pursuant to the policy.”

Methodology

The City remains in compliance with this paragraph based on earlier
performance.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.137 Assessing Compliance with Paragraph 151

Paragraph 151 stipulates:



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Unless otherwise noted, the training required under this
Agreement shall be delivered within 18 months of the Effective
Date, and annually thereafter. Within six months of the Effective
Date, APD shall set out a schedule for delivering all training
required by this Agreement.

Methodology

Members of the monitoring team reviewed training records responsive to
this task earlier in the monitoring process, and found the City in
compliance.

Results

The City remains in compliance with this paragraph based on earlier
performance and maintains a current training requirement schedule
fulfilling the requirements of this paragraph.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.138 Assessing Compliance with Paragraph 152

Paragraph 152 stipulates:

“APD shall ensure that all new lateral hires are certified law
enforcement officers and that they receive all training required by
this Agreement prior to entry onto duty.”

Methodology

The monitoring team requested from APD copies of COB documentation
related to this paragraph. During this reporting period (February 2017
through July 2017) APD had no new lateral hires. In IMR-5 APD had
lateral hires that were absent the “certification” proofs but did provide
that documentation for those lateral hires during following reporting
periods. The monitoring team will revisit this issue in IMR-7 should APD
have new lateral hires. APD is in compliance based on previous
performance.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.139 Assessing Compliance with Paragraph 153

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Paragraph 153 stipulates:

“APD shall maintain complete and accurate records of all training
provided to sworn APD officers during pre-service and in-service
training programs, including curricula, course materials, lesson
plans, classroom presentations, handouts, videos, slides,
recordings, and attendance records. APD shall also maintain
complete and accurate records of any audit, review, assessment,
or evaluation of the sufficiency or effectiveness of its training
programs. APD shall make these records available for inspection
by the Monitor and DOJ.”

Methodology

Monitoring team requests for records responsive to Paragraph 153
produced ample evidence that “curricula, course materials, lesson plans,
classroom presentations, handouts, videos, slides, recordings, and
attendance records” are being maintained. The material reviewed for this
reporting period (February 2017 thru July 2017) included but were not
limited to: BSS documents (Dispute Intervention and Conflict
Management Lesson Plan, Handling of Mentally Ill Lesson Plan,
Barricaded Person and Hostage Situations Lesson Plan); and Firearms
Qualifications conducted on June 14th, 2017 during the monitoring team
site visit and attended by the monitoring team; Remedial Firearms
Training documentation, and use of force training); and APD 118th Cadet
Class Schedule. APD continues to maintain compliance by making
records available for inspection by the monitoring team.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.140 Assessing Compliance with Paragraph 154

Paragraph 154 stipulates:

“APD shall ensure that changes in relevant case law and statutes
are disseminated to APD personnel in a timely manner and
incorporated, as appropriate, into annual and pre- service
training.”

Methodology

During the monitoring time frame for this paragraph, (February 1, 2017
thru July 31, 2017) the monitoring team found one change in case law
(Department Special Order 17-53, Subject: Court Order in McClendon

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and Arrest Procedures) that affected APD. The Advanced Training Unit
tasked with this paragraph reviewed the material and entered the
changes into PDMS for department wide dissemination as per the
requirements of the agreement. The monitoring team reviewed PDMS
entries to ensure all personnel sign off as acknowledgement that the
material was reviewed and received. In addition to this case APD
supplied (Department Special Order 16-51, Subject: Birchfield v. North
Dakota and Blood Draws) that affected APD. This change in case law
occurred during IMR-5 and was supplied to the monitoring team during
the June 2017 site visit. The Advance Training Unit reviewed the
material and entered the changes into PDMS for department wide
dissemination as per the requirements of this paragraph.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.141 Assessing Compliance with Paragraph 155

Paragraph 155 stipulates:

“APD shall supervise and manage its field-training program to
ensure that new officers develop the necessary technical and
practical skills required to use force in accordance with APD policy
and applicable law. The field-training program should reinforce,
rather than circumvent, the agency’s values, core principles, and
expectations on use of force and engagement with the community.
Field Training Officers should demonstrate the highest levels of
competence, professionalism, impartiality, and ethics.”

Methodology

During the monitoring site visit, members of the monitoring team met with the
APD Training Academy personnel responsible for the Field Training and
Evaluation Program (FTEP), as per S.O.P. 6-1 Training Division (dated June 14,
2016). APD, as reflected in paragraphs 156 through 161 has maintained
compliance with the requirements of this paragraph. No known changes to case
law, core principles, values or expectations were initiated this reporting period.
The Academy has submitted revisions to the FTEP and currently is in the chain
of command awaiting approval.

Results

APD remains in compliance with the requirements of this paragraph
based on current and past performance.


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       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.142 Assessing Compliance with Paragraph 156

Paragraph 156 stipulates:

“APD shall revise the policies applicable to its field-training
program to provide that academy graduates will receive 16 weeks
of field training following the training academy and that recruits
will not be released from the field-training program early.”

Methodology

The monitoring team reviewed records for officers undergoing FTO
training and found 100 percent compliance for the requirements of this
paragraph among that group of individuals. Special Orders 17-21 and
17-28 were the final phases for the 116th Cadet Class and Special
Orders 17-31 and 17-38 are the 117th class, currently in the program and
scheduled to finish training during IMR-7. The results of that class will be
reviewed during that reporting period.

Results

APD remains in compliance with the requirements of this paragraph,
based on our review of existing course-of-business records. Table
4.7.142 depicts the monitoring team’s review of APD training records for
the latest APD recruit class.




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                                  Table 4.7.142

                               A. APD shall revise
                               the policies
                               applicable to its
                               field-training
                               program to provide
                               that academy
                               graduates will
                               receive 16 weeks of   B. Recruits will not
                               field training        be released from       # in-     % in
                               following the         the field-training     compli-   Compli-
 Item No.                      training academy      program early          ance      ance
 OJT Matrix 2017                        1                     1               2        100
 Special Order Phase Final
 Phase and Ext 17-21                    1                     1               2        100
 Special Order Phase Final
 Phase and Ext 17-28                    1                     1               2        100
 Special Order Phase 1 17-31            1                     1               2        100
 Special Order Phase 2 17-38            1                     1               2        100
 Special Order Phase 3                 N/A                   N/A             N/A       N/A
 Special Order Phase 4                 N/A                   N/A             N/A       N/A
 Number in Compliance
 Total all Incidents                    5                     5               5        100
 % in Compliance Total by
 Category                              100                   100                       100

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.143 Assessing Compliance with Paragraph 157

Paragraph 157 stipulates:

“APD shall revise the qualifications for Field Training Officers to
require four years of non-probationary experience as a sworn
police officer and to ensure that Field Training Officers have a
demonstrated commitment to constitutional policing, ethics, and
professionalism.”

Methodology

During this reporting period (February 2017 through July 2017) there
were no new Field Training Officers enrolled into the FTO program. All
active APD personnel enrolled in the FTO program have been vetted by
the APD, and have met the requirements for this paragraph in previous
reporting periods. APD maintains compliance with this paragraph. The

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monitoring team will continue to review additional members in future
reporting periods to ensure the FTOs meet the requirements of this
paragraph.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.144 Assessing Compliance with Paragraph 158

Paragraph 158 stipulates:

“New Field Training Officers and Area Sergeant Coordinators shall
receive at least 40 hours of initial supervisory-level training and
annual in-service training in the following areas: management and
supervision; constitutional, community-oriented policing; de-
escalation techniques; and effective problem-solving techniques.
Field Training Officers and Area Sergeant Coordinators shall be
required to maintain, and demonstrate on a regular basis, their
proficiency in managing recruits and subordinates, as well as
practicing and teaching constitutional, community-oriented
policing; de-escalation techniques; and effective problem solving.
APD shall maintain records of all evaluations and training of Field
Training Officers and Area Sergeant Coordinators.”

Methodology

During this reporting period (February 2017 thru July 2017) APD did not
have any new FTOs enter the program. Members of the monitoring team
reviewed records relating to this Paragraph for the information
responsive to this Paragraph’s requirements. The results of this review
are reported in Table 4.7.144.




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                                                  Table 4.7.144
                                           B. FTOs and Area
                                           Sergeant Coordinators
                    A. New FTOs and        shall maintain their
                    Area Sergeant          proficiency in managing
                    Coordinators           recruits and               C. APD shall
                    receive 40 hours of    subordinates, practicing   maintain
                    initial supervisory-   and teaching               records of
                    level training and     constitutional,            evaluations
                    annual in-service      community-oriented         and training of
                    training in the        policing; de-escalation    FTOs and Area     # in-     % in
                    following required     techniques; and            Sergeant          compli-   Compli-
Case No.            areas:                 problem-solving            Coordinators      ance      ance
FTO1 Training
Records                    N/A                        1                      1              2        100
FTO2 Training                                                                                        100
Records                     N/A                       1                      1              2
FTO3 Training                                                                                        100
Records                     N/A                       1                      1              2
FTO4 Training                                                                                        100
Records                     N/A                       1                      1              2
FTO5 Training                                                                                        100
Records                     N/A                       1                      1              2
FTO6 Training                                                                                        100
Records                     N/A                       1                      1              2
FTO7 Training
Records                     N/A                       1                      1              2        100
FTO8 Training
Records                     N/A                       1                      1              2        100
FTO9 Training
Records                     N/A                       1                      1              2        100
FTO10 Training
Records                     N/A                       1                      1              2        100
FTO12 Training
Records                     N/A                       1                      1              2        100
FTO12 Training
Records                     N/A                       1                      1              2        100
FTO13 Training
Records                     N/A                       1                      1              2        100
FTO14 Training
Records                     N/A                       1                      1              2        100
FTO15 Training
Records                     N/A                       1                      1              2        100
FTO16 Training
Records                     N/A                       1                      1              2        100
ASGT1 Training
Recs                        N/A                       1                      1              2        100
ASGT2 Training
Recs                        N/A                       1                      1              2        100
ASGT3 Training
Recs                        N/A                       1                      1              2        100
Compliance Total
all Incidents              N/A                        19                    19             38
% in Compliance
Total by Category          100                       100                   100                       100

                                                                                                            291
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Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.145 Assessing Compliance with Paragraph 159

Paragraph 159 stipulates:

“Recruits in the field-training program shall be trained in multiple
Area Commands and shifts and with several Field Training
Officers.”

Methodology

Members of the monitoring team reviewed Special Orders 17-21, 31,
and 38, and sampled training records for field training recruits to assure
policy and practice compliance with this paragraph.

Results

Records of 30 recruits for the 116th Class, 22 recruits for the 117th Class
indicate full compliance for this reporting period. These data are
presented in Table 4.7.145, below.

                                 Table 4.7.145

                A. Recruits in
                the field-
                training
                program shall     B. They shall   C. They shall
                be trained in     be trained in   be trained
                multiple Area     multiple        with several    # in-        % in
 Item           Commands          shifts          FTOs            compliance   Compliance
 FSB Special
 Order 17-21           1                1              1              3          100.0%
 FSB Special
 Order 17-28           1                1              1              3          100.0%
 FSB Special
 Order 17-31           1                1              1              3          100.0%
 FSB Special
 Order 17-38           1                1              1              3          100.0%
 Number in
 Compliance
 Total all
 Incidents             4                4              4             15
 % in
 Compliance         100.0%           100.0%         100.0%                       100.0%

                                                                                            292
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        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.146 Assessing Compliance with Paragraph 160

Paragraph 160 stipulates:

“APD shall provide a mechanism for recruits to provide
confidential feedback regarding the quality of their field training,
including the extent to which their field training was consistent
with what they learned in the academy, and suggestions for
changes to academy training based upon their experience in the
field-training program. APD shall consider feedback and
document its response, including the rationale behind any
responsive action taken or decision to take no action.”

Methodology

APD utilizes an anonymous survey process to comply with the
requirements of this paragraph. The monitoring team reviewed the 116th
Cadet Class evaluations dated 6-21-2017. The class consisted of 30
recruits, 30 responded to the survey. Results of the monitor’s analysis
are presented in Table 4.7.146, below.

Results
                                     Table 4.7.146

               A. APD l        B. extent
               provide         to which
               mechanism       their field   C.            B. APD to
               for             training      Suggestions   consider feedback
               confidential    consistent    for changes   and response,
               feedback        with what     training      including
               regarding the   they          based upon    rationale behind
               quality of      learned in    experience    action taken or     # in      % in
               their field     the           in field-     decision to take    Compli-   Compli-
 Case No.      training        academy       training      no action           ance      ance
 Survey for
 116th
 Recruit
 Class               1              1             1               1                4        100
 # in
 Complianc
 e Total all
 Incidents           1              1             1               1                4
 % in
 Complia
 nce               100            100           100              100                        100




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This survey is executed at the completion of the field training process,
and has a high degree of participation by the recruits. During this
reporting period the monitoring team paid particular attention the degree
to which the Academy uses the input from this survey to improve
delivery and effectiveness of Academy processes and to assess
operational compliance. Multiple issues were raised in the survey that
the Academy addressed and changes were implemented by APD based
on those comments, and introduced to the 117th cadet class. The
monitoring team will review future surveys to measure the results of such
changes.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.147 Assessing Compliance with Paragraph 161

Paragraph 161 stipulates:

“The City shall provide APD with the necessary support and
resources to designate a sufficient number of Field Training
Officers to meet the requirements of this Agreement.”

Methodology

The city of Albuquerque has an understanding with APD to supply
necessary support and resources. The monitoring team continues to
review all aspects of the program and, based on the documentation
reviewed for this paragraph, have noted no deficiencies attributable to a
shortage of staffing or support for the program. As of this reporting
period there appears to be no significant backlog of required and timely
reports and/or evaluations by FTOs of recruits, or other FTO-related
documents, that would indicate understaffing for the FTO Program. The
monitoring team will continue to assess this paragraph on future site
visits and through data requests, as the monitoring project continues.

Results

Currently we note no indications that the requirements of this paragraph
are being delayed or affected by staffing for this program at the
academy. The APD remains in compliance with this task.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance



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4.7.148 Compliance with Paragraph 162: Accountability for
Conduct

Paragraph 162 stipulates:

“To maintain high-level, quality service; to ensure officer safety
and accountability; and to promote constitutional, effective
policing, APD and the Civilian Police Oversight Agency shall
ensure that all allegations of officer misconduct are received and
are fully and fairly investigated; that all findings in administrative
investigations are supported by a preponderance of the evidence;
and that all officers who commit misconduct are held accountable
pursuant to a fair and consistent disciplinary system.”

Methodology

The monitoring team view this paragraph as a policy statement, as
opposed to a specific set of action-requirements, and thus no evaluation
of this specific paragraph is necessary. No compliance findings will be
noted. Implementation assessment is included in the paragraphs below.

4.7.149 Assessing Compliance with Paragraph 163: Duty to Report
Misconduct

Paragraph 163 stipulates:

APD shall require that all officers and employees report
misconduct by any APD officer or employee, including themselves,
to a supervisor or directly to the Internal Affairs “Bureau for review
and investigation. Where alleged misconduct is reported to a
supervisor, the supervisor shall immediately document and report
this information to the Internal Affairs Bureau. Failure to report or
document alleged misconduct or criminal behavior shall be
grounds for discipline, up to and including termination of
employment.”

Methodology

Members of the monitoring team found seven cases that had
components of the requirements of this paragraph included in their “fact
statements” available to the team. We reviewed each of those seven
cases for compliance with the requirements of this paragraph. Given the
different ways misconduct comes to the attention of a supervisor and
considering the fact that the reporting to IA is often times done in
memorandum form, “immediately document and report” is interpreted in
context of the case. None of the referrals were “immediate” in the literal
sense of the word, but all were adequate in the opinion of the monitor.
The results of that review are reported, both numerically, and in written
comments in Table 4.7.149.

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                                   Table 4.7.149


                                         Supervisors   Failure to
                         Requirement     immediately   report or
                         that officers   document      document
                         and             and report    misconduct             % in
                         employees       alleged       is grounds   #         Compli-
                         report          misconduct    for          Compli-   ance by
 Case No.                misconduct      to IAB        discipline   ant       Case
 NA                           1              NA            1           1        100
 IMR6-027                     NA             1            NA           1        100
 IMR6-028                     NA             1            NA           1        100
 IMR6-029                     NA             1            NA           1        100
 IMR6-030                     NA             1            NA           1        100
 IMR6-031                     NA             1            NA           1        100
 IMR6-032                     NA             1            NA           1        100
 IMR6-033                     NA             1
 Number in
 Compliance Total all
 Incidents                    1              7             1           9         --
 % in Compliance Total
 by Category                 100            100           100         100       100

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.150 Assessing Compliance with Paragraph 164: Public
Information on Civilian Complaints

Paragraph 164 stipulates:

“Within six months of the Effective Date, APD and the Civilian
Police Oversight Agency shall develop and implement a program
to ensure the Albuquerque community is aware of the procedures
to make civilian complaints against APD personnel and the
availability of effective mechanisms for making civilian
complaints.”

Methodology

The monitor has reviewed the CPOA website, made visits to the CPOA
office and IA office as well as City public buildings and places. The
online complaint form makes clear that filing out the personal identifying
information is optional, and the monitor notes that the Complaint and
Commendation form, both hard copy and downloadable, English and

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Spanish versions, have been modified to make clear that complaints can
be made anonymously.

Results

It is now apparent that complaints and commendations can be filed
anonymously. Although the one impediment to full compliance with this
paragraph has now been removed, it would be even more clear if the
monitor’s previous recommendation regarding an icon for filing an
anonymous complaint were followed.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.151 Assessing Compliance with Paragraph 165: Availability of
Complaint Forms

Paragraph 165 stipulates:

“APD and the Civilian Police Oversight Agency shall make
complaint forms and informational materials, including brochures
and posters, available at appropriate government properties,
including APD headquarters, Area stations, APD and City
websites, City Hall, public libraries, community centers, and the
office of the Civilian Police Oversight Agency. Individuals shall be
able to submit civilian complaints through the APD and City
websites and these websites shall include, in an identifiable and
accessible form, complaint forms and information regarding how
to file civilian complaints. Complaint forms, informational
materials, and the APD and City websites shall specify that
complaints may be submitted anonymously or on behalf of another
person. Nothing in this Agreement prohibits APD from soliciting
officer commendations or other feedback through the same
process and methods as above.”

Methodology

During the site visit for IMR-6, members of the monitoring team visited
city properties, websites, and determined the availability of reporting
“systems” (informational materials, brochures, posters, etc.). We found
all these to be “in place.” As noted above in paragraph 164, the online
complaint form makes clear that filling out the personal identifying
information is optional, and the monitor notes that the Complaint and
Commendation form, both hard copy and downloadable, exist in both
English and Spanish versions, and have been modified to make clear
that complaints can be made anonymously. It is now apparent that
complaints and commendations can be filed anonymously.


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Results

APD has attained full compliance with this task.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.152 Assessing Compliance with Paragraph 166: Public
Information on Complaint Process

Paragraph 166 stipulates:

“APD shall post and maintain a permanent placard describing the
civilian complaint process that includes relevant contact
information, such as telephone numbers, email addresses, and
Internet sites. The placard shall specify that complaints may be
submitted anonymously or on behalf of another person. APD shall
require all officers to carry complaint forms, containing basic
complaint information, in their Department vehicles. Officers shall
also provide the officer’s name, officer’s identification number,
and, if applicable, badge number upon request. If an individual
indicates that he or she would like to make a misconduct
complaint or requests a complaint form for alleged misconduct,
the officer shall immediately inform his or her supervisor who, if
available, will respond to the scene to assist the individual in
providing and accepting appropriate forms and/or other available
mechanisms for filing a misconduct complaint.”

Methodology

During the site visit for the sixth reporting period, members of the
monitoring team performed spot checks for compliance with Paragraph
166. Further, based on our review of a stratified random sample of IA
and CPOA investigations, we found no instances of allegations of refusal
to provide name and badge numbers when requested.

Results

Based on information reviewed by the monitoring team, all elements of
this paragraph are in compliance.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance




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4.7.153 Assessing Compliance with Paragraph 167: Duty to Accept
Citizen Complaints

Paragraph 167 stipulates:

“APD agrees to accept all civilian complaints and shall revise any
forms and instructions on the civilian complaint process that could
be construed as discouraging civilians from submitting
complaints.”

Methodology

As noted above in paragraph 164 and 165, it is now clear from revisions
to the Complaint and Commendation form, as well as the City’s website,
that complaints can be filed anonymously. The monitoring team, in its
review of IA and CPOA investigations in this monitoring period, as well
prior reviews, has not identified any instances where APD has refused to
accept complaints. The language on the complaint forms and
instructions do not discourage the filing of complaints; however, we
recommend that the language suggesting that a complainant “may be
required” to appear at the CPOA or to provide other investigative
assistance should be changed to “may be requested”.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.154 Assessing Compliance with Paragraph 168: Multi-Lingual
Complaint Forms

Paragraph 168 stipulates:

“Complaint forms and related informational materials shall be
made available and posted in English and Spanish.”

Methodology

The multi-lingual versions of APD’s complaint forms are available in English and
in Spanish on the APD and CPOA websites as well as hard copy versions in
various locations. The website also provides for instruction in Spanish.
Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance
                                                                            299
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4.7.155 Assessing Compliance with Paragraph 169: Training on
Complaint Intake

Paragraph 169 stipulates:

“Within six months of the Operational Date, APD shall train all
personnel in handling civilian complaint intake.”

Methodology

Consistent with prior performance, APD remains in compliance with this
task.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.156 Assessing Compliance with Paragraph 170: Complaint
Receipt Process

Paragraph 170 stipulates:

“APD shall accept complaints regardless of when they are filed.
The City shall encourage civilians to promptly report police
misconduct so that full investigations can be made expeditiously
and the full range of disciplinary and corrective action be made
available.”

Methodology

We have found no instances of APD not accepting complaints because
of the length of time between incident and complaint. Timely complaints
are encouraged, however untimely complaints are accepted.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.157 Assessing Compliance with Paragraph 171: Prohibition of
Refusal to Take Complaint

Paragraph 171 stipulates:



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“The refusal to accept a misconduct complaint, discouraging the
filing of a misconduct complaint, or providing false or misleading
information about filing a misconduct complaint shall be grounds
for discipline.”

Methodology

We found no instances of APD or its employees refusing to accept a
citizen complaint during this reporting period. It is well known policy
among APD personnel that refusing to accept a complaint or the
discouraging of a complaint are grounds for discipline.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.158 Assessing Compliance with Paragraph 172: Acceptance of
Anonymous Complaints

Paragraph 172 stipulates:

“APD and the Civilian Police Oversight Agency shall accept all
misconduct complaints, including anonymous and third-party
complaints, for review and investigation. Complaints may be made
in writing or verbally, in person or by mail, telephone (or TDD),
facsimile, or electronic mail. Any Spanish-speaking individual with
limited English proficiency who wishes to file a complaint about
APD personnel shall be provided with a complaint form in Spanish
to ensure that the individual is able to make a complaint. Such
complaints will be investigated in accordance with this
Agreement.”

Methodology

The monitor met with IA and CPOA personnel and reviewed compliant
log-in and classification information. Based on this and past reviews of a
random sample of cases, we find that all misconduct complaints are
accepted and investigated. As we have noted in Paragraphs 164-166,
above, it is now clear that complaints can be made anonymously. Thus
the APD and CPOA are now in compliance of this paragraph.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance


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4.7.159 Assessing Compliance with Paragraph 173: Inform
Supervisors of Citizen Complaints

Paragraph 173 stipulates:

“All APD personnel who receive a misconduct complaint shall
immediately inform a supervisor of the misconduct complaint so
that the supervisor can ensure proper intake of the misconduct
complaint. All misconduct complaints shall be submitted to the
Internal Affairs Bureau by the end of the shift following the shift in
which it was received.”

Methodology

Members of the monitoring reviewed available completed cases for
compliance to this paragraph.

Results

We reviewed a total of 16 APD/CPOA cases available to the monitoring
team this reporting period, and seven involved referrals to IA by
supervisors. Of those seven, all involved situations where referrals to
IAB came from supervisory reviews. None involved situations where
APD personnel received a complaint from a third party and then
informed or failed to inform a supervisor within the appropriate time
limitation. Thus, in light of APD’s prior operational non-compliance, the
monitor will rate this paragraph as operationally unobservable for this
monitoring period.

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: Not Observable

4.7.160 Assessing Compliance with Paragraph 174: Allegation by
Judicial Officers

Paragraph 174 stipulates:

“APD and the Civilian Police Oversight Agency shall develop a
system to ensure that allegations by a judicial officer of officer
misconduct made during a civil or criminal proceeding are
identified and assessed for further investigation. Any decision to
decline investigation shall be documented.”

Methodology

No cases were identified this site visit involving allegations by judicial
officials of officer misconduct. The monitor notes that we have viewed in
prior visits letters sent to the judiciary requesting notice of any
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allegations of misconduct. We will re-work our methodologies regarding
this paragraph to ensure that appropriate data are requested and
reviewed; however, this marks the sixth report in which we have not
noted issues related to this paragraph. Should that continue, we will
note operational compliance on this paragraph until such time that we
(may) receive information to the contrary.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not Observable

4.7.161 Assessing Compliance with Paragraph 175: Allegations
Made by the Homeless or the Mentally Ill

Paragraph 175 stipulates:

“APD and the Civilian Police Oversight Agency shall track
allegations regarding misconduct involving individuals who are
known to be homeless or have a mental illness, even if the
complainant does not specifically label the misconduct as such.”

Methodology

Members of the monitoring team reviewed City systems responsive to
this requirement, and we continue to find that this provision is currently
being monitored and activated by APD’s Blue Team IA management
software.

Results

We found no instances this reporting period of complaints involving
individuals known to be homeless or to have a mental illness not being
referred/tracked appropriately by APD. APD remains in compliance
based on prior performance.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.162 Assessing Compliance with Paragraph 176: Centralized
Complaint Numbering System

Paragraph 176 stipulates that:

“Within six months of the Operational Date, the Internal Affairs
Bureau, in coordination with the Civilian Police Oversight Agency,

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shall develop and implement a centralized numbering and tracking
system for all misconduct complaints. Upon the receipt of a
complaint, the Internal Affairs Bureau shall promptly assign a
unique numerical identifier to the complaint, which shall be
provided to the complainant at the time the numerical identifier is
assigned when contact information is available for the
complainant.”

Methodology

IAB and CPOA have created centralized numbering and tracking
systems, and continue to assign unique identification numbers to all
received complaints.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.163 Assessing Compliance with Paragraph 177: IAB Complaint
Data Management

Paragraph 177 stipulates:

The Internal Affairs Bureau’s tracking system shall maintain
accurate and reliable data regarding the number, nature, and
status of all misconduct complaints, from initial intake to final
disposition, including investigation timeliness and notification to
the complainant of the interim status and final disposition of the
investigation. This system shall be used to determine the status of
complaints and to confirm that a complaint was received, as well
as for periodic assessment of compliance with APD policies and
procedures and this Agreement, including requirements on the
timeliness of administrative investigations.

Methodology

Members of the monitoring team reviewed IAB complaints received,
investigated, and resolved this reporting period for unique identifiers and
provision of those identifiers to the complainant. The tracking system is
being used appropriately, and appears to maintain accurate data, based
on our comparisons with “known data.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

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4.7.164 Assessing Compliance with Paragraph 178: Supervisors to
Provide Complaint Information

Paragraph 178 stipulates:

“Where a supervisor receives a complaint alleging that misconduct
has just occurred, the supervisor shall gather all relevant
information and evidence and provide the information and
evidence to the Internal Affairs Bureau. All information should be
referred to the Internal Affairs Bureau by the end of the shift
following the shift in which the misconduct complaint was
received, absent exceptional circumstances.”

Methodology

The monitoring team reviewed a sample of IA and CPOA cases
completed during the monitoring period. The monitoring team also met
with the Commander and members of IA and the Executive Director and
members of CPOA.

Results

This paragraph is closely linked to the results of paragraph 163.
Members of the monitoring team found seven cases that involved
referrals from supervisors to IA. These cases all initiated with
supervisory reviews and were appropriately “filed” and investigated.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.165 Assessing Compliance with Paragraph 179: Referral of
Complaints to CPOA

Paragraph 179 stipulates:

“Within three business days of the receipt of a misconduct
complaint from a civilian, the Internal Affairs Bureau shall refer the
complaint to the Civilian Police Oversight Agency.”

Methodology

Members of the monitoring team reviewed a random sample of 16
misconduct complaints for conformance to the three-business-days
requirement for referral to COPA by the IAB, as well as the log of
complaints received by IAB to determine date of referral to IAB.



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Results

All cases we reviewed, and all logs we inspected indicate compliance
with this task.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.166 Assessing Compliance with Paragraph 180: Handling of
Internal Complaints by IAB

Paragraph 180 stipulates:

“Internal misconduct complaints submitted by APD personnel
shall remain with the Internal Affairs Bureau for review and
classification. The Internal Affairs Bureau shall determine whether
the internal complaint will be assigned to a supervisor for
investigation or retained by the Internal Affairs Bureau for
investigation. In consultation with the Chief, the commanding
officer of the Internal Affairs Bureau shall also determine whether a
civilian or internal complaint will be investigated criminally by the
Internal Affairs Bureau, the Multi- Agency Task Force, and/or
referred to the appropriate federal law enforcement agency.”

Methodology

Members of the monitoring team met with the Commander and members
of IAB and observed their operations and also reviewed a random
sample of 16 IAB/CPOA Cases.

Results

Based on its present and prior reviews, internal complaints are reviewed,
classified and assigned by IAB as required by approved policy. Based on
our review of a random sample of 16 cases for conformance with the
requirements of this paragraph, we found two instances in which there
was potential criminal conduct and in which the appropriate coordination
required by this paragraph occurred.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.167 Assessing Compliance with Paragraph 181: IAB
Classification Protocol

Paragraph 181 stipulates:

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“APD shall continue to maintain an internal complaint
classification protocol that is allegation-based rather than
anticipated-outcome-based to guide the Internal Affairs Bureau in
determining where an internal complaint should be assigned.”

Methodology

Members of the monitoring reviewed APD policy controlling for this task
to ensure it complies with the requirements of Paragraph 181, and
further insured that all complaints reviewed by the monitoring team this
reporting period were properly classified.

Results

All eight internal affairs cases assessed by the monitoring team for this
reporting period were allegation-based

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.168 Assessing Compliance with Paragraph 182: Prohibition
from Self-Investigation

Paragraph 182 stipulates:

“An internal complaint investigation may not be conducted by any
supervisor who used force during the incident; whose conduct led
to the injury of a person; who authorized the conduct that led to
the reported incident or complaint; or who witnessed or was
involved in the incident leading to the allegation of misconduct.”

Methodology

Members of the monitoring team reviewed random sample of 7
completed IA cases for the reporting period for evidence of any self-
conducted investigations. Of the seven cases we reviewed, we found
none in which an investigation was conducted by a supervisor who was
the subject of the investigation, or who was directly involved in the
incident as a participant or supervisor.

Results
APD remains in full compliance with this paragraph.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance
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4.7.169 Compliance with Paragraph 183: Investigations Reach
Reliable Conclusions

Paragraph 183 stipulates:

“APD and the Civilian Police Oversight Agency shall ensure that
investigations of officer misconduct complaints shall be as
thorough as necessary to reach reliable and complete findings.
The misconduct complaint investigator shall interview each
complainant in person, absent exceptional circumstances, and this
interview shall be recorded in its entirety, absent specific,
documented objection by the complainant. All officers in a
position to observe an incident, or involved in any significant
event before or after the original incident, shall provide a written
statement regarding their observations, even to state that they did
not observe anything.”

Methodology

Members of the monitoring team reviewed a sample of completed APD
IA and CPOA investigated cases for compliance with this paragraph.
This sample consisted of eight IA cases and eight CPOA cases.

Results

                                   Table 4.7.169
                 Invesitga-                              Officers provide   Total
                 tions        Interview of   Interview   written            Compli-   % in Compli-
 Case No.        thorough     complainant    recorded    statement          ant       ance by Case
 IMR6-034             1           NA            NA              1               2         100%
 IMR6-035             1            1             1              1               4         100%
 IMR6-036             0            0            NA              0               0          0%
 IMR6-037             1            1             1              1               4         100%
 IMR6-038             1           NA            NA              1               2         100%
 IMR6-039             1            1             1              1               4         100%
 IMR6-040             1           NA            NA             NA               1         100%
 IMR6-041             1           NA            NA             NA               1         100%
 IMR6-042             1           NA            NA             NA               1         100%
 IMR6-031             1           NA            NA              1               2         100%
 IMR6-032             1           NA            NA              1               2         100%
 IMR6-027             1           NA            NA              1               2         100%
 IMR6-043             1           NA            NA              1               2         100%
 IMR6-029             1           NA            NA              1               2         100%
 IMR6-030             1           NA            NA              1               2         100%
 IMR6-033             1           NA            NA              1               2         100%
 in Compliance
 % Total by
 Category                                                                                  93.8


Overall, we found a calculated “failure” rate of 6.2 percent for the
selected cases. Individually, we found one non-compliant investigation.
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This was a matter that was administratively closed after initial
investigation. Although the reason for administratively closing may have
been appropriate, if the complaint was non-sustainable based on
preliminary or initial investigation, an additional investigative step of
viewing the video lapel or interviewing the officer was indicated but not
completed. For the IA cases we found none that were non-compliant,
and for the CPOA cases we found one that was non-compliant. The
overall compliance rate for CPOA was 87.5 percent, and APD IA was
100%. Overall compliance for the two units was 93.8%.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: Not in Compliance

We view this non-compliance issue as an outlier related to sampling, but
urge CPOA to be wary of the requirements of same and to redouble
efforts to meet the requirements of this paragraph.

4.7.170 Assessing Compliance with Paragraph 184: Investigations
Documented in Writing

Paragraph 184 stipulates:

“APD and the Civilian Police Oversight Agency shall investigate all
misconduct complaints and document the investigation, its
findings, and its conclusions in writing. APD and the Civilian
Police Oversight Agency shall develop and implement a policy that
specifies those complaints other than misconduct that may be
resolved informally or through mediation. Administrative closing
or inactivation of a complaint investigation shall be used for the
most minor policy violations that do not constitute a pattern of
misconduct, duplicate allegations, or allegations that even if true
would not constitute misconduct.”

Methodology

Members of the monitoring team reviewed a total of 16 completed APD
IA and CPOA investigated cases for compliance with this paragraph.
This sample consisted of 8 IA cases and 8 CPOA cases.

Results

We note that that a new mediation policy has been drafted and is being
reviewed by the parties. This policy may be somewhat narrower than the
current policy. Since the parties have not had enough time to review,
agree on, or reject, the proposed policy, the monitor has not reviewed
same and will not comment on it at this time. Of the cases selected this
monitoring period by the monitor for review, none involved inappropriate

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use of the mediation process. Thus, based on this and past reviews, the
APD and CPOA remain in compliance of this paragraph subject to future
review of the expected new policy and the APD and CPOA adherence to
such policy in the event it is approved by the monitor.
The monitor notes practices that impact this paragraph that are not
currently within policy. One such issue is the CPOA practice of using
administrative closure of cases where the case does not technically
meet the definition of an administrative closing or inactivation as
provided for in this paragraph. When the initial investigation clearly
shows the allegations to be unsustainable (such as a video lapel
recording that shows the allegations to be untrue), administratively
closing the case is not appropriate within the CASA. The monitor
realizes that investigative resources are finite and does not necessarily
disagree with the wise use of discretion to close cases quickly that are
clearly not sustainable in the initial stages of the investigation. Any
expansion of the use of administrative closures beyond the definition of
this paragraph must be put into written policy and made subject to
review and approval by the parties and the monitor.
Another practice noted this reporting period is that of APD in issuing
Additional Concerns Memoranda (ACMs). This practice arises out of
supervisory reviews, and is used as a written reprimand for failing to
activate body worn cameras, etc. where there is no other corresponding
policy violation. If there is a related area of concern or an alleged policy
violation, then the failure to activate the OBRD is part of the IA
investigation. ACMs that are issued are posted on an officer’s retention
card, and figure into the prior offense calculation for subsequent
offenses where applicable. This practice currently is not based in written
policy, and the monitor has been informed the practice is currently under
review by APD.
              Primary:     In Compliance
              Secondary: Not In Compliance
              Operational: Not In Compliance

Recommendation 4.7.170: Revise appropriate policies to reflect the
use of ACMs within the IA “outcomes” definitions and train
personnel accordingly.

4.7.171 Assessing Compliance with Paragraph 185: Required
Cooperation with IAB/CPOA

Paragraph 185 stipulates:

“APD shall require personnel to cooperate with Internal Affairs
Bureau and Civilian Police Oversight Agency investigations,
including appearing for an interview when requested by an APD or

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Civilian Police Oversight Agency investigator and providing all
requested documents and evidence under the person’s custody
and control. Supervisors shall be notified when a person under
their supervision is summoned as part of a misconduct complaint
or internal investigation and shall facilitate the person’s
appearance, absent extraordinary and documented
circumstances.”

Methodology

Cooperation with the internal affairs system is required of all APD
personnel by regulation. The monitoring review of cases for the sixth
reporting period found no instances in which APD officers refused to
cooperate with the investigation. APD is in compliance with this task.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.172 Assessing Compliance with Paragraph 186: Separate
Administrative and Criminal Investigations

Paragraph 186 stipulates:

“APD and the City shall develop and implement protocols to
ensure that criminal and administrative investigations of APD
personnel are kept appropriately separate, to protect APD
personnel’s rights under the Fifth Amendment. When an APD
employee affirmatively refuses to give a voluntary statement and
APD has probable cause to believe the person has committed a
crime, APD shall consult with the prosecuting agency (e.g., District
Attorney’s Office or USAO) and seek the approval of the Chief
before taking a compelled statement.”

Methodology

In the data sampled by the monitoring team this reporting period, we
found two cases that involved both criminal and investigative
investigations. APD handled each of those cases according to
established policy and the requirements of the CASA.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance


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4.7.173 Assessing Compliance with Paragraph 187: Advisement of
Officer Rights

Paragraph 187 stipulates:

“Advisements by the Internal Affairs Bureau or the Civilian Police
Oversight Agency to APD personnel of their Fifth Amendment
rights shall only be given where there is a reasonable likelihood of
a criminal investigation or prosecution of the subject employee.”

Methodology

In the 16 cases sampled by the monitoring team this reporting period, we
found no instances where cases were not handled according to
established policy and the requirements of the CASA. We note the issue
of ACMs again here, and include it on our expected “action list” for APD
policy development during the next reporting period.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.174 Assessing Compliance with Paragraph 188: Notification of
Criminal Misconduct

Paragraph 188 stipulates:

“If at any time during misconduct complaint intake or investigation
the investigator determines that there may have been criminal
conduct by any APD personnel, the investigator shall immediately
notify the Internal Affairs Bureau commanding officer. If the
complaint is being investigated by the Civilian Police Oversight
Agency, the investigator shall transfer the administrative
investigation to the Internal Affairs Bureau. The Internal Affairs
Bureau commanding officer shall immediately notify the Chief.
The Chief shall consult with the relevant prosecuting agency or
federal law enforcement agency regarding the initiation of a
criminal investigation. Where an allegation is investigated
criminally, the Internal Affairs Bureau shall continue with the
administrative investigation of the allegation. Consistent with
Paragraph 186, the Internal Affairs Bureau may delay or decline to
conduct an interview of the subject personnel or other witnesses
until completion of the criminal investigation unless, after
consultation with the prosecuting agency and the Chief, the
Internal Affairs Bureau deems such interviews appropriate.”




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Methodology

Members of the monitoring team reviewed a total of 16 IAB/CPOA cases
this monitoring period and met with members of IAB and CPOA to
review and discuss current practices.

Results

None of the 8 cases selected for review involved CPOA cases that may
have involved criminal conduct. Of the IA cases selected for review, two
cases involved cases where coordination was necessary with
prosecutorial authorities. In both cases the coordination was proper.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.175 Assessing Compliance with Paragraph 189: Provision of
Public Safety Statements

Paragraph 189 stipulates:

“Nothing in this Agreement or APD policy shall hamper APD
personnel’s obligation to provide a public safety statement
regarding a work-related incident or activity, including Use of
Force Reports and incident reports. APD shall make clear that all
statements by personnel in incident reports, arrest reports, Use of
Force Reports and similar documents, and statements made in
interviews such as those conducted in conjunction with APD’s
routine use of force investigation process, are part of each
employee’s routine professional duties and are not compelled
statements. Where an employee believes that providing a verbal
or written statement will be self-incriminating, the employee shall
affirmatively state this and shall not be compelled to provide a
statement without prior consultation with the prosecuting agency
(e.g., District Attorney’s Office or USAO), and approval by the
Chief.”

Methodology

Members of the monitoring team have reviewed APD policy requirement
of this paragraph, and also reviewed 16 cases selected by the team for
IAB/CPOA investigations to determine if any exhibited characteristics of
the paragraph involving the invocation of Fifth Amendment privilege
during a compelled or non-compelled interview. None were found.




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Results

The APD is in compliance with the requirement that public safety
statements and statements made in conjunction with APD’s routine use
of force process are routine professional duties and not compelled
statements. Regarding the part of the paragraph regarding the
invocation of Fifth Amendment privilege, no Fifth Amendment cases
were found in the selection of 16 CPOA/IAB cases we reviewed.
Absence of an applicable set of circumstances, e.g., employees availing
themselves of a specific right, leads us to find this paragraph un-
evaluable in terms of in-field practice this reporting period. Thus, we
have determined the operational status for this paragraph as “not
observable,” which is obviously not the equivalent of not in compliance.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: Not Observable

4.7.176 Assessing Compliance with Paragraph 190: Considering
All Relevant Evidence

Paragraph 190 stipulates:

“In each investigation, APD and the Civilian Police Oversight
Agency shall consider all relevant evidence, including
circumstantial, direct, and physical evidence. There will be no
automatic preference for an officer’s statement over a non-officer’s
statement, nor will APD or the Civilian Police Oversight Agency
disregard a witness’s statement merely because the witness has
some connection to the complainant or because of any criminal
history. During their investigation, APD and the Civilian Police
Oversight Agency shall take into any convictions for crimes of
dishonesty of the complainant or any witness. APD and the
Civilian Police Oversight Agency shall also take into account the
record of any involved officers who have been determined to be
deceptive or untruthful in any legal proceeding, misconduct
investigation, or other investigation. APD and the Civilian Police
Oversight Agency shall make efforts to resolve material
inconsistencies between witness statements.”

Methodology

Members of the monitoring team reviewed 16 CPOA and IAB closed
cases for indications that the investigations were in conformance with
this paragraph. The results of that review are described below.




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Results

The monitor identified one CPOA case where additional evidence should
have been considered. Overall, the compliance rate is 93.75%, short of
the required 95%.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: Not In Compliance

Recommendation 190a: CPOA should redouble its supervisory
effors to ensure routine compliance with this requirement.

4.7.177 Assessing Compliance with Paragraph 191: 90 Days to
Complete Administrative Investigations

Paragraph 191 stipulates:

“All administrative investigations conducted by the Internal Affairs
Bureau or the Civilian Police Oversight Agency shall be completed
within 90 days of the initiation of the complaint investigation. The
90-day period shall not include time for review. An extension of
the investigation of up to 30 days may be granted but only if the
request for an extension is in writing and is approved by the Chief.
Review and final approval of the investigation, and the
determination and imposition of the appropriate discipline, shall be
completed within 30 days of the completion of the investigation.
To the extent permitted by state and city law, extensions may also
be granted in extenuating circumstances, such as military
deployments, hospitalizations of the officer, and extended
absences.”

Methodology

Members of the monitoring team reviewed 16 completed IAB and CPOA
cases for compliance with the requirements of this paragraph.

Results

As noted in paragraph 281 of this report, the Monitor found 4 instances
of CPOA assignments of investigations taking more than 7 days,
including several instances where assignment took over 30 days. If
these delays (excess of 7 days for assignment) were counted against
overall investigatory time, there would be clear non-compliance with this
paragraph. The IAB and CPOA are hereby put on notice that all delays
in assignment in excess of 7 days are counted as investigatory time.

Once assignments are made investigations are generally timely. The
monitor found four instances of investigations going beyond the allowed

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time limitations; however, two of the cases contained unusual
circumstances (e.g. several interview delays by complainant) and neither
affected imposition of discipline, since both contained no sustained
adverse findings; therefore, we note the several interview delays by the
complainant as extenuating circumstances.

Table 4.7.177 90 Days to Complete Administrative Investigations

                                         A written request
              All admin investigations   for a 30 day        Review and final
              by APD or CPOA must        extension may be    disciplinary
              be completed in 90         granted if          determination must be                  % in
              days, excluding time for   approved by the     made within 30 days of        #        Compliance
 Case No.     review                     Chief               investigation completion   Compliant   by Case

 IMR6-034                1                       1                     NA                  2           100

 IMR6-036                1                       1                     NA                  2           100

 IMR6-035                1                       1                      1                  3           100

 IMR6-037                1                       1                      1                  3           100
                                                                                                       100
 IMR6-038                1                       1                      1                  3
                                                                                                       100
 IMR6-039                1                       1                      1                  3

 IMR6-040                1                      NA                     NA                  1           100

 IMR6-041                0                      NA                     NA                  0            0
 IMR6-042                1                      NA                      1                  2           100
 IMR6-031                1                      NA                      1                  2           100
 IMR6-032                1                       1                      1                  3           100
 IMR6-027                1                      NA                     NA                  1           100
 IMR6-028                1                      NA                      1                  2           100
 IMR6-029                1                      NA                      1                  2           100
 IMR6-030                1                      NA                      1                  2           100
 IMR6-033                1                      NA                      1                  2           100
 Number in
 Compliance
 Total all
 Incidents              15                       7                      10                 --
 % in
 Compliance
 Total by
 Category             93.8%                    100                     100                 --          93.8


                Primary:     In Compliance
                Secondary: In Compliance
                Operational: Not in Compliance

Recommendation 4.7.177a: Managers at CPOA and IAB should be
cognizant of timelines for given investigations, and ensure that,
when needed and appropriate, extensions are requested.

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Recommendation 4.7.177b: Timeline compliance rates should be
included in CPOA’s and IAB’s monthly and/or quarterly
management reports.

Recommendation 4.7.177c: When investigations are delayed for
unusual circumstances, such as frequent cancellation of interviews
by a complainant or a Family Medical Leave Act delay of a
compelled investigation, it should be clearly set forth in an
investigative timeline for supervisory review.

4.7.178 Assessing Compliance with Paragraph 192: Case
Dispositions

Paragraph 192 stipulates:

“APD or Civilian Police Oversight Agency investigator shall
explicitly identify and recommend one of the following
dispositions for each allegation of misconduct in an administrative
investigation:

   a)   “Unfounded,” where the investigation determines, by clear
        and convincing evidence, that the alleged misconduct did
        not occur or did not involve the subject officer;
   b)   “Sustained,” where the investigation determines, by a
        preponderance of the evidence, that the alleged
        misconduct did occur;
   c)   “Not Sustained,” where the investigation is unable to
        determine, by a preponderance of the evidence, whether
        the alleged misconduct occurred;
   d)   “Exonerated,” where the investigation determines, by a
        preponderance of the evidence, that the alleged conduct
        did occur but did not violate APD policies, procedures, or
        training;
   e)   “Sustained violation not based on original complaint,”
        where the investigation determines, by a preponderance
        of the evidence, that misconduct did occur that was not
        alleged in the original complaint but that was discovered
        during the misconduct investigation; or
   f)   “Administratively closed,” where the policy violations are
        minor, the allegations are duplicative, or investigation
        cannot be conducted because of the lack of information in
        the complaint.”

Methodology

Members of the monitoring team reviewed 16 completed IAB/CPOA
cases for the reporting period, assessing them for compliance with
disposition requirements articulated in the CASA.

Of the 16 cases we reviewed, IAB had one improper case (discipline not
imposed due to erroneous calculation by a Supervisory Commander in

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the supervisory chain). This error was not attributed to IAB. CPOA had
one case with an improper disposition (administrative closure where
additional investigative steps were warranted). Two errors of 16 cases
constitutes a 12.5 percent error rate.

Results
The overall compliance rate (14 of 16 cases) was 87.5 percent. Overall,
the city is not in compliance with this requirement for this reporting
period.
                Primary:     In Compliance
                Secondary: In Compliance
                Operational: Not in Compliance

Recommendation 4.7.178a: CPOA and APD should reinforce
training and supervision of its personnel related to investigative
timelines.

4.7.179 Assessing Compliance with Paragraph 193: Reopening
Administrative Investigations

Paragraph 193 stipulates:

“All administratively closed complaints may be re-opened if
additional information becomes available. The deadlines
contained in Paragraph 191 shall run from when the complaint is
re-opened.”

Methodology

The requirements related to this paragraph are contained in APD and
CPOA policy. Members of the monitoring team assessed CPOA and IAB
cases for any that accrued to this paragraph this reporting period, and
found none.

Results

CPOA and IAB remain in compliance on this task based on past
performance.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance


4.7.180 Assessing Compliance with Paragraph 194: Training and
Legal Standards

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Paragraph 194 stipulates:

“In addition to determining whether APD personnel committed the
alleged misconduct, administrative investigations shall assess and
document whether the action was in compliance with training and
legal standards and whether the incident suggests the need for a
change in policy, procedure, or training. In reviewing completed
administrative investigations, APD shall also assess and
document whether: (a) the incident suggests that APD should
revise strategies and tactics; and (b) the incident indicates a need
for additional training, counseling, or other non-disciplinary
corrective measures. This information shall be shared with the
relevant commander(s).”

Methodology

Members of the monitoring team reviewed 16 completed IAB/CPOA
cases for the reporting period, assessing them for compliance with
disposition requirements articulated in the CASA.

Results

Of those cases reviewed, all that were not administratively closed contained a
form indicating that the case was reviewed for a determination of whether
changes in policy, procedure or training were required.

               Primary:        In Compliance
               Secondary:      In Compliance
               Operational     In Compliance

4.7.181 Assessing Compliance with Paragraph 195: Retaliation
Prohibited

Paragraph 195 stipulates:

“The City shall continue to expressly prohibit all forms of
retaliation, including discouragement, intimidation, coercion, or
adverse action, against any person who reports misconduct,
makes a misconduct complaint, or cooperates with an
investigation of misconduct.”

Methodology

Retaliation is clearly prohibited both as a matter of City and APD policy.
During this reporting period, the City received one complaint of
retaliation as defined by this paragraph. The complaint was received,
assigned, and appropriately investigated.




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Results

Members of the monitoring team reviewed 16 completed cases from IAB
and CPOA relative to this paragraph, and found one, [IMR-5-035]. The
Albuquerque Code of Ordinances prohibits retaliation for reporting
improper governmental action. Policy mandating compliance with this
paragraph is also contained in GO 1-04 and AO 2-05 and 3-22. This
constitutes primary compliance. Performance on the retaliation
complaint completed this reporting period was within expected
parameters, thus the City is in secondary and operational compliance for
this reporting period as well.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.182 Assessing Compliance with Paragraph 196: Review of Anti-
Retaliation Statements

Paragraph 196 stipulates:

“Within six months of the Effective Date, and annually thereafter,
the Internal Affairs Bureau and the Civilian Police Oversight
Agency shall review APD’s anti-retaliation policy and its
implementation. This review shall consider the alleged incidents
of retaliation that occurred or were investigated during the
reporting period, the discipline imposed for retaliation, and
supervisors’ performance in addressing and preventing retaliation.
Following such review, the City shall modify its policy and
practice, as necessary, to protect individuals, including other APD
personnel, from retaliation for reporting misconduct.”

Methodology

Policy mandating compliance with this paragraph is contained in GO 1-
04, and AO 2-05 and 3-22. This constitutes primary compliance. The
monitoring team has determined that meetings involving CPOA and IAB,
in which APD’s anti-retaliation policy is reviewed, occur on an annual
basis. Of the cases selected for review this monitoring period, none
involved allegations or indications of retaliation. Based on this, and
mindful of IAB performance in past retaliation complaints, operational
compliance is achieved.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

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4.7.183 Assessing Compliance with Paragraph 197: Retaliation
Grounds for Discipline

Paragraph 197 stipulates:

Retaliation for reporting misconduct or for cooperating with an investigation of
misconduct shall be grounds for discipline, up to and including termination of
employment.

Methodology

Policy mandating compliance with this paragraph is contained in GO 1-04, and
AO 2-05 and 3-22. This constitutes primary compliance. Of the cases selected
for review this monitoring period, none involved allegations or indications of
retaliation. Based on this, and IAB performance in investigation and resolution of
past retaliation complaints, IAB is in operational compliance with the
requirements of this paragraph.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.184 Assessing Compliance with Paragraph 198: CPOA Staffing

Paragraph 198 stipulates:

“The City shall ensure that APD and the Civilian Police Oversight
Agency have a sufficient number of well-trained staff assigned and
available to complete and review thorough and timely misconduct
investigations in accordance with the requirements of this
Agreement. The City shall re-assess the staffing of the Internal
Affairs Bureau after the completion of the staffing study to be
conducted pursuant to Paragraph 204. The City further shall
ensure sufficient resources and equipment to conduct thorough
and timely investigations.”

The monitoring team met with IAB and CPOA on several occasions including
visits to their respective offices and inspection of physical space. The monitoring
team also reviewed staffing charts and assessed the timelines of investigations
that were randomly selected.

Results

The CPOA Ordinance requires that it be given staff sufficient to carry out the
agency functions contained in the Ordinance. Additional policy mandating
compliance with this paragraph is also contained in GO 1-04, and AOs 2-05 and
3-22.
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Currently, the staffing of IAB appears to be sufficient, as investigative timelines
are generally being met. The CPOA staffing also appears to be sufficient as
there are no current vacancies. No requests for additional staff have been
noted.

Despite the lack of significant vacancies, in the future the monitoring team will
continue to review the completion times on selected investigations, and also has
broadened its search to look at the time between receipt of complaint and
assignment for investigation, as well overall processing time statistics. No
delays or quality control issues were noted that can be traced to staffing levels.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.185 Assessing Compliance with Paragraph 199: IA Initial
Training

Paragraph 199 stipulates:

“All APD personnel conducting misconduct investigations,
whether assigned to the Internal Affairs Bureau, an Area
Command, or elsewhere, shall receive at least 24 hours of initial
training in conducting misconduct investigations within one year
of the Operational Date, and shall receive at least eight hours of
training each year. The training shall include instruction on APD’s
policies and protocols on taking compelled statements and
conducting parallel administrative and criminal investigations.”

Methodology

The monitoring team had several meetings during the site visit with the IAB
Commander and his staff. The team also conducted a thorough review of
training records, including syllabi, video recordings of training (if available)
exams (if available) related to specified training and attendance rosters were
also conducted in order to complete the review and approval process of the
training required in this paragraph. We found all assigned personnel to have
had the required training, both preliminary 24 hour and the 8-hour in-service.

The challenge remains with the training of those in the Area Commands who
may be assigned investigations but who are not members of IAB. APD needs to
develop specific workload analyses as well as and policy, staffing, and systems
improvement recommendations regarding this issue.

Results

               Primary:        In Compliance
               Secondary:      In Compliance

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               Operational: In Compliance

4.7.186 Assessing Compliance with Paragraph 200: CPOA Training

Paragraph 200 stipulates:

“Investigators from the Civilian Police Oversight Agency shall
receive at least 40 hours of initial training in conducting
misconduct investigations within one year of the Effective Date,
and shall receive at least eight hours of training each year. The
training shall include instruction on APD’s policies and protocols
on taking compelled statements and conducting parallel
administrative and criminal investigations.”

Methodology

Policy mandating compliance with this paragraph is contained in AO 3-22, and in
2-05, and Special Order 16-24. The monitor reviewed the initial training provided
by CPOA’s legal counsel, and found it to be well organized and delivered. It
addresses all salient points of the CASA and of internal complaint investigations;
however, there were no performance testing measures included in the training.
Likewise, the annual training for the past year for CPOA investigators involved
the annual NACOLE conference, for which testing measures and results could
not be evaluated. The overall CPOA performance indicates that the training has
been effective; however, going forward the monitor will expect more exact and
immediate indications of effectiveness of training that is provided to CPOA
personnel. We are unable to assess the overall effectiveness of the training.
We will work with CPOA to develop an ad hoc assessment mechanism to
remedy this issue. Operational compliance is pending resolution of testing
issues noted above.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: Not Observable

4.7.187 Assessing Compliance with Paragraph 201: Fact Based
Discipline

Paragraph 201 stipulates:

“APD shall ensure that discipline for sustained allegations of
misconduct is consistently applied, fair, and based on the nature
of the allegation, and that mitigating and aggravating factors are
set out and applied consistently.”




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Methodology

The monitoring team reviewed 16 current cases (eight from APD and
eight for CPOA) for compliance with this requirement.

Results

We found APD to be out of compliance on three of eight cases relative to
consistent and fair discipline, for an 87 percent compliance rate.

                Table 4.7.201 Fact Based Discipline

                     Discipline is         Mitigating &                      % in
                     consistent, fair, &   Aggravating factors   #           Compliance
 Case No.            based on allegation   applied               Compliant   by Case
 IMR6-034                      1                   NA               1            100
 IMR6-036                      0                   NA               0             0
 IMR6-035                      1                   NA               1            100
 IMR6-037                      1                   NA               1            100
 IMR6-038                      1                   NA               1            100
 IMR6-039                      1                   NA               1            100
 IMR6-040                      1                   NA               1            100
 IMR6-041                      1                   NA               1            100
 IMR6-042                      1                   NA               1            100
 IMR6-031                      1                    1               1            100
 IMR6-032                      1                    1               2            100
 IMR6-027                      0                    0               0             0
 IMR6-028                      0                    0               0             0
 IMR6-029                      1                   NA               1            100
 IMR6-030                      1                    1               2            100
 IMR6-033                      1                    1               2            100
 Number in
 Compliance          13                    14                    27
                                                                 APD 75%;
 % in Compliance     APD 75%; CPOA                               CPOA
 Total by Category   88%                                         88%

Relative to consistent application of mitigating and aggravating factors,
APD was out of compliance on two of their eight cases. This constitutes
a 75 percent compliance rate. For CPOA, we found an 88 percent
compliance rate.

                Primary:     In Compliance
                Secondary: In Compliance
                Operational: Not In Compliance


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Recommendation 4.7.187a: The current practice of figuring the
sanction level of any sustained policy violation and whether there
are any prior offenses that by their level of sanction and date of
imposition count as a prior offense, is complicated and subject to
too much subjectivity (based on Supervisory Chain of Command
input to the Chief per SOP 3-46-5). IAB and CPOA should make
findings regarding the level of sanction and whether there are any
applicable prior offenses. The SOP should be revised to provide for
these determinations to be made by IAB and CPOA.

Recommendation 4.7.187b: Retention cards need to indicate the
level of sanction associated with each sustained violation and the
date of imposition of discipline.

Recommendation 4.7.187c: Where a sustained violation (policy)
has a sanction level that contains a range (e.g. 2-5), or where it has
no associated sanction level, IAB and CPOA should make the
sanction level determination in a finding and explain how the
sanction level finding was reached.

Recommendation 4.7.187d: Where an investigation that reaches
sustained findings contains prior offenses on the officer’s retention
card, IAB and CPOA should make a finding whether those prior
offenses count as a prior offense enhancement.

Recommendation 4.7.187e: Once the above findings are made,
APD and CPOA – utilizing the sanction level rows and prior offense
columns of the disciplinary matrix - should make a finding as which
box applies on the disciplinary matrix and the range of discipline
associated with the box.

Recommendation 4.7.187f: The findings recommended in this
paragraph, as all other findings, shall be subject to review,
comment and recommendation by supervisors of the subject
officer in the supervisory review of the investigation.

Recommendation 4.7.187g: When discipline imposed after a PDH
differs from the Chief’s proposed findings and discipline, then the
Final Decision on Discipline Letter, or a separate memo in the
investigative file, should contain an explanation of the balancing of
mitigating and aggravating circumstances occurring at the PDH,
and an explanation for the final discipline as opposed to the
proposed discipline.




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4.7.188 Assessing Compliance with Paragraph 202: Discipline
Matrix

Paragraph 202 stipulates:

“APD shall establish a disciplinary matrix that:

 a) establishes a presumptive range of discipline for each type of
    rule violation;
 b) increases the presumptive discipline based on an officer’s
    prior violations of the same or other rules;
 c) sets out defined mitigating or aggravating factors;
 d) requires that any departure from the presumptive range of
    discipline must be justified in writing;
 e) provides that APD shall not take only non-disciplinary
    corrective action in cases in which the disciplinary matrix
    calls for the imposition of discipline; and
 f) provides that APD shall consider whether non-disciplinary
    corrective action also is appropriate in a case where
    discipline has been imposed.”

Methodology

The monitoring team reviewed cases with imposed discipline occurring
this reporting period to ensure that they comply with the requirements of
the CASA. We also reviewed the disciplinary policy itself for compliance
with this paragraph. We note that our prior recommendation has been
followed and SOP 3-46 (with Appended Chart of Sanctions (Disciplinary
Matrix)) sets forth that any departure from the presumptive range of
discipline (appropriate range as established by the Chart of Sanctions)
must be justified in writing (3-46-5B4). Although SOP 3-46 allows for the
imposition of non-disciplinary action in addition to applicable discipline, it
does not contain a warning that non-disciplinary corrective action should
not be the only disposition where the matrix calls for the imposition of
discipline. This is not the first IMR in which the Monitor has pointed out
the non-compliance with subparagraph e of this paragraph.
APD has opined that the written record accompanying disciplinary
records is included in and “briefed with” the findings; however, records
as currently provided do not validate that assessment. We have
discussed this issue previously with APD, and remain unconvinced that
their verbal claims are reflected in the written records regarding
discipline. Despite APD contentions, it seems the only “cure” for this
incongruity is written policy, requiring compliance with this paragraph.

Results

               Primary:     Not in Compliance
               Secondary: Not in Compliance
               Operational: Not in Compliance

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Recommendation 4.7.188a: Since the disciplinary policy is moot on the
requirement that departures from the “presumptive range of discipline”
must be justified in writing, APD should append such a declaration to the
matrix.

4.7.189 Assessing Compliance with Paragraph 203

Paragraph 203 stipulates:

“To maintain high-level, quality service; to ensure officer safety
and accountability; and to promote constitutional, effective
policing, the City shall ensure that APD has the staffing necessary
to implement the terms of this Agreement. APD shall also deploy a
sufficient number of first-line supervisors to respond to scenes of
uses of force; investigate thoroughly each use of force to identify,
correct, and prevent misconduct; and provide close and effective
supervision necessary for officers to improve and develop
professionally. APD shall revise and implement policies for
supervision that set out clear requirements for supervision and
comport with best practices.”

Methodology

We view this paragraph as an over-arching introductory statement for the
following provisions of the CASA. Thus, no specific evaluative modalities were
used for this paragraph in the monitor’s reports.

4.7.190 Assessing Compliance with Paragraph 204

Paragraph 204 requires:

“In order to successfully implement the provisions of this
Agreement, APD shall assess the appropriate number of sworn
and civilian personnel to perform the different Department
functions necessary to fulfill its mission. APD therefore shall
conduct a comprehensive staffing assessment and resource
study. The study shall be the predicate for determining appropriate
staffing and resource levels that are consistent with community-
oriented policing principles and support the systematic use of
partnerships and problem-solving techniques. The study shall also
consider the distribution of officers to patrol functions as opposed
to specialized units, as well as the distribution of officers with less
than three years of experience across shifts and Area Commands.
This staffing assessment and resource study shall be completed
within one year of the Effective Date. Within six months of the
completion of the staffing assessment and resource study, the
Parties shall assess its results and jointly develop a staffing plan
to ensure that APD can meet its obligations under this
Agreement.”




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Methodology

We note no change since our last reportage on this topic. APD remains in
compliance

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.191 Assessing Compliance with Paragraph 205

Paragraph 205 stipulates:

“First-line supervisors shall investigate officers’ use of force as
described in Section IV of this Agreement, ensure that officers are
working actively to engage the community and increase public
trust and safety, review each arrest report, and perform all other
duties as assigned and as described in departmental policy.”

Methodology

Members of the monitoring team have conducted a detailed field-based data
assessment of selected use-of-force incidents as required by Section IV of this
agreement to determine if first-line supervisors are meeting the obligations of
this paragraph. For IMR-5 there were no formalized and routinized processes for
supervisory monthly reports. First-line supervisors received training in a new
program, “MyPal,” designed to capture all activities for personnel under their
direct supervision. In this program, “Blue Team” is one of the categories.
Embedded in this category are the use of force reports entered by the members
under the supervisor’s command. The training for this program took place in
May 2017, additionally, training required by Department Special Order 17-75
(Mandatory Supervisor Use of Force Gap Training) was conducted in July 2017,
with the last session ending on July 28, 2017.

Results

Due to the numerous recommendations listed in IMR-5 covering use of force,
and because this training was conducted so late in this reporting period the
monitoring team cannot adequately assess if the requirements of this paragraph
are being met as a result of the training received. We will address the
outstanding issues here during IMR-7. In the interim, APD retains its previous
non-compliance statuses.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance
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Recommendation 4.7.191: Assess the impact of the proffered training
once related data are available on the effects of the training offered late in
IMR-6’s reporting period.

4.7.192 Assessing Compliance with Paragraph 206

Paragraph 206 stipulates:

“All field officers shall be assigned to a primary, clearly identified
first-line supervisor and shall also report to any other first-line
supervisor within the chain of command. First-line supervisors
shall be responsible for closely and consistently supervising all
officers under their primary command. Supervisors shall also be
responsible for supervising all officers under their chain of
command on any shift to which they are assigned to ensure
accountability across the Department.”

Methodology

Members of the monitoring team have conducted a detailed field-based data
assessment of selected use-of-force incidents as required by Section IV of this
agreement to determine if first-line supervisors are meeting the obligations of
this paragraph. The monitoring team visited area commands during this visit and
met with the Commanders or designees for each command to review SOP 3-9
(Supervisory Leadership) and ensure that the requirements of this paragraph
were being met. The monitoring team requested the daily roster from each
command to review and ensure that a first-line supervisor was assigned to the
field officers on patrol. Daily rosters reviewed by the monitoring team reflected
that a supervisor was assigned to each unit that was working and when the span
of control for a supervisor exceeded eight (8) an additional supervisor was
assigned to that shift.

Results

For IMR-5 there were no formalized and routinized processes for supervisory
monthly reports. First-line supervisors received training in a new program,
“MyPal,” designed to capture all activities for personnel under their direct
supervision. The training for this program took place in May 2017. Additionally,
Department Special Order 17-75 (Mandatory Supervisor Use of Force Gap
Training) was conducted in July 2017, the last session ending on July 28, 2017.
Due to the numerous recommendations listed in IMR-5 covering use of force,
and because this training was conducted so late in this reporting period, the
monitoring team cannot adequately assess if the requirements of this paragraph
are being met as a result of the training received. We will revisit this issue in
IMR-7.



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The monitoring team visited six area commands during the fourth site visit and
met with the Commanders or designees for each command to review SOP 3-9
(Supervisory Leadership) and ensure that the requirements of this paragraph
were being met. The monitoring team requested the daily roster from each
command to review and ensure that a first-line supervisor was assigned to the
field officers on patrol. Daily rosters reviewed by the monitoring team reflected
that a supervisor was assigned to each unit that was working, and when the
span of control for a supervisor exceeded eight (8) an additional supervisor was
assigned to that shift.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.193 Assessing Compliance with Paragraph 207

Paragraph 207 stipulates:

“First-line supervisors shall ordinarily be assigned as a primary
supervisor to no more than eight officers. Task complexity will
also play a significant role in determining the span of control and
whether an increase in the level of supervision is necessary.”

Methodology

Members of the monitoring team reviewed course-of-business staffing
reports from APD, consisting of assessments of staffing levels at each
Area Command. Data reviewed during the monitor visit conducted in
June 2017 and data received from APD during the reporting period
(February 2017 through July 2017) indicated that the staffing issues
have improved since the promotions during the IMR-5 reporting period,
and has maintained APD in operational compliance with this paragraph.
The monitoring team will continue to monitor levels of supervision during
future visits.

Results

Our analysis indicates that normal day-to-day operations of APD patrol
units are supported and supervised at levels required by the CASA.
Table 4.7.193, depict the results of our analysis.




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                        Table 4.7.193: Supervisory Ratios

                                        B. Task complexity
                                        will also play a
                   A. First-line        significant role in
                   supervisors shall    determining the span
                   ordinarily be        of control and
                   assigned as a        whether an increase
                   primary supervisor   in the level of                       % in
                   to no more than      supervision is         # in-Compli-   Compli-   Compli-
                   eight officers       necessary              ance           ance      ant
 Report 1:
 February 2017             1                     1                  2          100.0%      Y
 Report 2:
 March 2017                1                     1                  2          100.0%      Y
 Report 3:
 April 2017                1                     1                  2          100.0%      Y
 Report 4:
 May 2017                  1                     1                  2          100.0%      Y
 Report 5:
 June 2017                 1                     1                  2          100.0%      Y
 Report 6:
 July 2017                 1                     1                  2          100.0%      Y
 Number in
 Compliance
 Total all
 Incidents                 6                     6                  12
 % in Compliance
 Total by
 Category                 100%                  100%               100%        100%

         Primary:     In Compliance
         Secondary: In Compliance
         Operational: In Compliance

4.7.194 Assessing Compliance with Paragraph 208

Paragraph 208 stipulates:

“APD Commanders and lieutenants shall be responsible for close
and effective supervision of officers under their command. APD
Commanders and lieutenants shall ensure that all officers under
their direct command comply with APD policy, federal, state and
municipal law, and the requirements of this Agreement.”

Methodology

Members of the monitoring team have conducted a detailed field-based data
assessment of selected use-of-force incidents as required by Section IV of this
agreement to determine whether or not Commanders and Lieutenants are
meeting the obligations of this paragraph. For IMR-5 there were no formalized
and routinized processes for supervisory monthly reports. For first-line

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supervisors, Lieutenants and Commanders received training in a new program,
“MyPal” designed to capture all activities for personnel under their direct
supervision and respond to the reports. The training for this program took place
in May 2017. Additionally, Department Special Order 17-75 (Mandatory
Supervisor Use of Force Gap Training) was implemented in July 2017, the last
session ending on July 28, 2017. Due to the numerous recommendations listed
in IMR-5 covering use of force, and because this training was conducted so late
in this reporting period, the monitoring team cannot adequately assess if the
requirements of this paragraph are being implemented in the field as a result of
the training received. We will revisit this issue in IMR-7.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendation 4.7.194: APD should collect and analyze course-of-
business data relative to this paragraph to ensure that compliance levels
are met.

4.7.195 Assessing Compliance with Paragraph 209

Paragraph 209 stipulates:

“Sergeant training is critical to effective first-line supervision.
Every sergeant shall receive 40 hours of mandatory supervisory,
management, leadership, and command accountability training
before assuming supervisory responsibilities.”

Methodology

During this monitoring period records show that all sergeants had
received 40 hours of mandatory supervisory training.

Results

Results show that all sergeants assigned supervisory roles at APD
received the required 40 of in-service training on the topics mandated by
the CASA. Members of the monitoring team have conducted a detailed
field-based data assessment of selected use-of-force incidents as
required by Section IV of the CASA to determine if first-line supervisors
are meeting the obligations of the agreement. Department Special Order
17-75 (Mandatory Supervisor Use of Force Gap Training) was
conducted in July 2017, the last session ending on July 28, 2017. Due
to the numerous recommendations listed in IMR-5 covering use of force
and because this training was conducted so late in this reporting period

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the monitoring team cannot adequately assess if the requirements of this
paragraph are being met in the field as a result of the training received.
We will revisit operational compliance on this issue in IMR-7.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation 4.7.195: APD should collect and analyze course-of-
business data relative to this paragraph to ensure that compliance levels
are met.

4.7.196 Assessing Compliance with Paragraph 210

Paragraph 210 stipulates:
“APD’s sergeant training program shall include the following
topics:

a) techniques for effectively guiding and directing officers and
promoting effective and ethical police practices;
b) de-escalating conflict;
c) evaluating written reports, including those that contain canned
language;
d) investigating officer uses of force;
e) understanding supervisory tools such as the Early Intervention
System and on-body recording systems;
f) responding to and investigating allegations of officer
misconduct;
g) evaluating officer performance;
h) consistent disciplinary sanction and non-punitive corrective
action;
i) monitoring use of force to ensure consistency with policies;
j) building community partnerships and guiding officers on this
requirement;
k) legal updates.”

Methodology

Members of the monitoring team reviewed Academy training responsive
to Paragraph 210 for compliance with the content of the training.
Results are depicted below.




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Results
                                   Table 4.7.195

                                                                 40-Hour
                                                                 Sgt's       In
 Topic                                                           Training    Compliance?
 A. APD’s sergeant training program shall include
 techniques for effectively guiding and directing officers and
 promoting effective and ethical police practices                    Y           1
                                                                     Y
 B. APD’s sergeant training program shall include de-
 escalating conflict                                                             1
 C. APD’s sergeant training program shall include evaluating         Y
 written reports, including those that contain canned
 language                                                                        1
                                                                     Y
 D. APD’s sergeant training program shall include
 investigating officer uses of force                                             1
 E. APD’s sergeant training program shall include                    Y
 understanding supervisory tools such as the Early
 Intervention System and on-body recording systems                               1
 F. APD’s sergeant training program shall include                    Y
 responding to and investigating allegations of officer
 misconduct                                                                      1
 G. APD’s sergeant training program shall include evaluating         Y
 officer performance                                                             1
 G. APD’s sergeant training program shall include evaluating         Y
 officer performance                                                             1
 I. APD’s sergeant training program shall include monitoring         Y
 use of force to ensure consistency with policies                                1
 K. APD’s sergeant training program shall include legal
 updates                                                            Y            1
                                                                    %
                                                                 Compliant      100%

Although the above training program includes all categories required by this
paragraph, members of the monitoring team have conducted a detailed field-
based data assessment of selected use-of-force incidents as required by
Section IV of this agreement to determine if first-line supervisors are meeting the
obligations of the agreement. Department Special Order 17-75 (Mandatory
Supervisor Use of Force Gap Training) was conducted in July 2017, the last
session ending on July 28, 2017. The 32-hour in-service management training
scheduled during this reporting period will extend to IMR-7. During the next
reporting period, the monitoring team will assess if the training listed in this


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paragraph needs modifications to remediate problematic errors related to
training paragraphs.

        Primary:     In Compliance
        Secondary: Not Evaluable 190
        Operational: Not Evaluable

4.7.197 Assessing Compliance with Paragraph 211

Paragraph 211 stipulates:

“All sworn supervisors shall also receive a minimum of 32 hours of
in-service management training, which may include updates and
lessons learned related to the topics covered in the sergeant
training and other areas covered by this Agreement.”

Methodology

Members of the monitoring team have conducted a detailed field-based data
assessment of selected use-of-force incidents as required by Section IV of this
agreement to determine if first-line supervisors are meeting the obligations of
this paragraph. Department Special Order 17-75 (Mandatory Supervisor Use of
Force Gap Training) was conducted in July 2017, the last session ending on
July 28, 2017. The 32 hour in-service management training scheduled during
this reporting period will extend to IMR-7, due to the numerous
recommendations listed in IMR-5 covering use of force and because Special
Order 17-75 training was conducted so late in this reporting period the
monitoring team cannot adequately assess if the requirements of this paragraph
are being met as a result of the training received.

Results

Upon delivery of all training required in this paragraph, the monitoring
team will observe and opine whether it meets the requirements of the
CASA. At that time we will produce recommendations, if needed,
concerning revisions to training protocols related to this paragraph.

        Primary:     In Compliance
        Secondary: Not in Compliance
        Operational: Not in Compliance

Recommendation 4.7.197: Pending a determination of the efficacy
of the delivered training.



190The “gap training” was offered late in the reporting period, and no reliable data depicting
changes in APD performance are available at this time.
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4.7.198 Assessing Compliance with Paragraph 212

Paragraph 212 stipulates:

“Within nine months of the Effective Date, APD shall revise and
update its Early Intervention System to enhance its effectiveness
as a management tool that promotes supervisory awareness and
proactive identification of both potentially problematic as well as
commendable behavior among officers. APD supervisors shall be
trained to proficiency in the interpretation of Early Intervention
System data and the range of non-punitive corrective action to
modify behavior and improve performance; manage risk and
liability; and address underlying stressors to promote officer well-
being.”

Methodology

Members of the monitoring team have reviewed multiple drafts of the
proposed six-month update and revisions to the Department’s Early
Intervention and Recording System (EIRS). As of the end of this
reporting period, the monitor had not been presented with a policy that
he could approve, as all submitted policy versions have, in one form or
another, failed in meaningful ways to conform to the either the CASA or
established practice regarding EIRS systems in policing, such as those
currently in place in Seattle, Washington or New Orleans, Louisiana. We
continue to work with the City to craft acceptable policies that conform to
national standards for this element.

Results

As we have noted in previous reports, APD has on at least one
occasion, “shut down” the EIRS system because it generated “too many
alerts.” The current policy regarding EIRS was approved by the
monitoring team in 2016. The six-month revision of that policy is
“pending” and well past due. The monitor has serious concerns about
the current proposed policy and cannot approve it until it has been
significantly revised, as per the monitor’s comments to the Parties.
Unlike other cities who have embraced early intervention systems and
set new standards in personnel management, APD continues to fail to
grasp the concept of “early intervention.”

The monitor is seriously concerned about the apparent inability of APD
to proffer a proposed policy for EIRS that meets the requirements of the
CASA.



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         Primary:     Not In Compliance 191
         Secondary: Not in Compliance
         Operational: Not in Compliance

Recommendation 4.7.198a: APD should consider monitor feedback
and not respond to that feedback positively while otherwise
stepping backward in other sections of the policy, such as raising
the thresholds or shortening the review period.

Recommendation 4.7.198b: We understand APD has contacted
NJSP, New Orleans PD, and Seattle PD to glean ideas about how
this review regimen could be structured to meet the requirements
of the CASA in the most efficient manner possible. APD should
develop specific, quantifiable, appropriate programmatic reform
based on the information collected.

4.7.199 Assessing Compliance with Paragraph 213

Paragraph 213 stipulates:

“APD shall review and adjust, where appropriate, the threshold
levels for each Early Identification System indicator to allow for
peer-group comparisons between officers with similar
assignments and duties.”

Methodology

During the fourth site visit, the monitor discovered that APD had removed all
“thresholds” governing EIRS, in direct violation of paragraph 219, which
stipulates:
“ T he P ar t i es s h a ll j o i n tl y r e vi e w a l l pr o p os al s t ha t l im it t he f u nc t i o ns of t h e
E ar l y In ter v e nt i o n S ys tem t ha t ar e r e qu ir e d b y th is Agr e em ent bef or e s uc h
pr o p os als ar e im pl em ent e d to e ns ur e t h e y c o nt i nu e t o c om pl y wi t h t he in t en t of
th is A gr e em ent .”

The City failed to notify the monitor or the Parties of this change, thus violating
the requirements of this paragraph, and losing primary compliance. To date, the
monitor has not been able to agree with the City on proposed six-month
revisions to the proposed EIRS policy. The critical sticking point is “trigger
points” that will require APD to make full reviews of officer performance viz a viz,
established thresholds of critical events. Lack of an approved revised policy
implicates primary compliance; however, the monitor will consider the currently

191 The monitor is seriously concerned about the current backlog of pending high-impact policies
such as OBRD, use of force, and EIRS, that have been delayed by City step-backs formerly
approved policies. We note this issue appears to have been resolved after expiration of the
sixth reporting period, as several critical policies have been approved during IMR-7’s reporting
period.
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approved policy as “in effect” until APD has had a reasonable amount of time to
revise it. We remind APD that anticipated changes outlined in new policy must
be “trained” to ensure performance in the field.

Results:
               Primary:     In Compliance (based on old policy)
               Secondary: Not In Compliance
               Operational: Not In Compliance

Recommendation 4.7.199: APD should avoid making unilateral
decisions regarding revisions to policies required by the CASA
without notifying the Parties and the monitor of the need, import,
and specifics of the “new” policy.

4.7.200 Assessing Compliance Paragraph 214

Paragraph 214 stipulates:

“APD shall implement rolling thresholds so that an officer who has
received an intervention of use of force should not be permitted to
engage in additional uses of force before again triggering a
review.”

APD continues to struggle to develop a meaningful policy that will meet
the requirements of the CASA, meet standards set by other cities in
similar situations, and can be approved by the parties.

The monitoring team has not been provided with a single example of an
officer who had received an intervention for use of force prior to
engaging in additional uses of force. In several cases, officers had more
than double the number of triggers before any type of intervention took
place.

Current thresholds are established at rolling intervals. We will continue
to monitor the status of this critical issue in future reports.

Results

As noted in prior reports, the system implementation had appeared to be
proceeding at a reasonable rate, given the complexity of the proposed
system. During the fourth site visit, the monitor discovered that APD had
removed all thresholds from the system, thereby eliminating any
triggers/notifications. In addition, APD is now in the process of re-writing
the EIRS policy and thresholds, and in current form (as of the close of
the sixth reporting period) it is, in the opinion of the monitor ineffective
and unsatisfactory. We find this resistance to crafting acceptable EIRS


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policy to be deliberate, and express grave concern with the APD’s
apparent unwillingness to implement the requirements of this paragraph.

A review of all EIRS triggers during this reporting period revealed at least
six officers with “triggers” in the double digits—10 or more. APD
provided review documentation for three of these officers, but these
reviews were for only three or four of the incidents, and most of those
were cases not yet completed. Supervisors therefore were unable or
incapable of making any determinations of patterns, training issues or
policy violations.

Secondary compliance is not attained, as the required six-month policy
revisions have included verbiage that the monitor will not approve, such
as unusually high trigger thresholds and poor definitions of what
constitutes a “review” by supervisors. Without approved policy, training
is not possible.

                Primary:     In Compliance
                Secondary: Not in Compliance
                Operational: Not in Compliance

Recommendation 4.7.200: Re-assess the role of EIRS within the
overall process of supervision, and ensure that a mechanism exists
to trigger detailed supervisory reviews of defined “outliers”
systematically, reliably and effectively.

4.7.201 Assessing Compliance Paragraph 215

Paragraph 215 stipulates:

“The Early Intervention System shall be a component of an
integrated employee management system and shall include a
computerized relational database, which shall be used to collect,
maintain, integrate, and retrieve data department-wide and for each
officer regarding, at a minimum:
a) uses of force;
b) injuries and deaths to persons in custody;
c) failures to record incidents with on-body recording systems that
are required to be recorded under APD policy, whether or not
corrective action was taken, and cited violations of the APD’s on-
body recording policy;
d) all civilian or administrative complaints and their dispositions;
e) all judicial proceedings where an officer is the subject of a
protective or restraining order;
f) all vehicle pursuits and traffic collisions involving APD
equipment;
g) all instances in which APD is informed by a prosecuting
authority that a declination to prosecute any crime occurred, in
whole or in part, because the officer failed to activate his or her on-
body recording system;

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h) all disciplinary action taken against employees;
 i) all non-punitive corrective action required of employees;
 j) all awards and commendations received by employees,
including those received from civilians, as well as special acts
performed by employees;
 k) demographic category for each civilian involved in a use of
force or search and seizure incident sufficient to assess bias;
 l) all criminal proceedings initiated against an officer, as well as all
civil or administrative claims filed with, and all civil lawsuits served
upon, the City and/or its officers or agents, allegedly resulting from
APD operations or the actions of APD personnel; and
m) all offense reports in which an officer is a suspect or offender.”

Methodology

Members of the monitoring team reviewed the OBRD policy for
compliance to each of these 19 requirements and found two missing as
of the latest review.

Results

APD has not developed or presented to the monitor, a process to comply
with sections (g) relating to prosecutors notifying APD of a failure to
record with OBRD and section (k) relating to capturing demographic data
for search and seizure incidents. These required elements should be
included in the revised version of EIRS. Training will need to be
developed for the revised EIRS, as well as systems for operational
review of performance in the field.

                Primary:     In Compliance
                Secondary: Not in Compliance
                Operational: Not in Compliance

Recommendation 4.7.201a: Clarify sections g and k of the current
policy to reflect the requirements of the CASA

Recommendation 4.7.201b: Ensure supervisors are cognizant of
their responsibilities under Paragraph 215, and are trained to
perform those responsibilities correctly.

4.7.202 Assessing Compliance Paragraph 216

Paragraph 216 stipulates:

“APD shall develop and implement a protocol for using the
updated Early Intervention System and information obtained from
it. The protocol for using the Early Intervention System shall
address data storage, data retrieval, reporting, data analysis,
pattern identification, supervisory use, supervisory/departmental

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intervention, documentation and audits, access to the system, and
confidentiality of personally identifiable information. The protocol
shall also require unit supervisors to periodically review Early
Intervention System data for officers under their command.”

Methodology

Compliance with this paragraph is assessed in conjunction with
approved policy for EIRS systems. To date, APD is attempting to
develop policy and protocols to conform to Paragraph 216, and which
the monitor can approve. The monitor will review and comment on those
elements as they are developed and provided to the monitoring team.

Results

In reviewing data submitted to the monitoring team by APD during this reporting
period, at least 6 officers had reached double digits in “triggers” for the EIRS
system. Several responses from Supervisors were submitted, but none of those
reviewed by the monitor contained more than three or four indicators, and most
of those indicators were for incomplete investigations. Supervisors were
therefore unable or incapable of rendering decisions on whether there were any
patterns or concerns with officer behavior.
               Primary:     In Compliance
               Secondary: Not in Compliance
               Operational: Not in Compliance

Recommendation 4.7.202a: Complete the development process to
achieve an approved policy regarding EIRS implementation at the
sergeant’s level.

Recommendation 4.7.202b: Develop an approved analysis and
reporting system regarding EIRS triggers, and response protocols
to those triggers.

4.7.203 Assessing Compliance Paragraph 217

Paragraph 217 stipulates:

“APD shall maintain all personally identifying information about an
officer included in the Early Intervention System for at least five
years following the officer’s separation from the agency except
where prohibited by law. Information necessary for aggregate
statistical analysis will be maintained indefinitely in the Early
Intervention System. On an ongoing basis, APD will enter
information into the Early Intervention System in a timely,
accurate, and complete manner and shall maintain the data in a
secure and confidential manner.”


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Methodology

The monitoring team has reviewed the existing policies supporting the
EIRS and plans for additional development find that, as written, they
support the requirements of this paragraph.

Results

APD is currently in compliance with the plans to support the five-year
and “indefinite” requirement regarding records retention. Operational
compliance requires implementation, supervision, and analysis of the
effectiveness of those plans. The monitoring team will continue to
assess progress with the requirements of this paragraph.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: Not In Compliance

Recommendation 4.7.203: Complete the planning process and
submit a document outlining policy, procedures, training and
oversight approvable by the monitor.

4.7.204 Assessing Compliance Paragraph 218

Paragraph 218 stipulates:

“APD shall provide in-service training to all employees, including
officers, supervisors, and commanders, regarding the updated
Early Intervention System protocols within six months of the
system improvements specified in Paragraphs 212-215 to ensure
proper understanding and use of the system. APD supervisors
shall be trained to use the Early Intervention System as designed
and to help improve the performance of officers under their
command. Commanders and supervisors shall be trained in
evaluating and making appropriate comparisons in order to
identify any significant individual or group patterns of behavior.”

Methodology

The monitoring team requested “supporting documentation” for all three
levels of compliance on this paragraph. APD provided a memorandum
advising that the EIRS SOP is in the “revision stage,” and APD had
nothing to support activity related to Paragraph 218.

Results

It is clear to the monitor that EIRS is an “orphaned” system at APD.
Virtually all policy versions submitted by APD during this reporting period

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were designed to weaken or muddle the system to the point of
diminished utility. We have reason to believe this is part of a focused
attempt by APD to weaken the utility of the EIRS system. We see this
as a critical failure. While the monitor has steadfastly refused to accept
evisceration of EIRS, we are seriously concerned about APD’s attempts
to build a system that is designed to not note critical trends and issues.

               Primary:     In Compliance
               Secondary: Not In Compliance
               Operational: Not In Compliance

Recommendation 4.7.204: Complete the planning process and
submit a document outlining policy, procedures, training and
oversight approvable by the monitor.

4.7.205 Assessing Compliance Paragraph 219

Paragraph 219 stipulates:

“Following the initial implementation of the updated Early
Intervention System, and as experience and the availability of new
technology may warrant, the City may add, subtract, or modify
thresholds, data tables and fields; modify the list of documents
scanned or electronically attached; and add, subtract, or modify
standardized reports and queries as appropriate. The Parties shall
jointly review all proposals that limit the functions of the Early
Intervention System that are required by this Agreement before
such proposals are implemented to ensure they continue to
comply with the intent of this Agreement.”

Methodology

Established protocols in Paragraph 219 require “…The Parties shall
jointly review all proposals that limit the functions of the Early
Intervention System that are required by this Agreement before
such proposals are implemented to ensure they continue to comply
with the intent of this Agreement.”

APD has proposed new policy revisions for EIRS, but each has limited
the system’s use as an “early intervention” system by either raising the
threshold limits or reducing the time periods in which personnel would
have to violate a requirement. As of yet, those policy revisions have not
been approved, as they fail to conform to established practice, national
standards or the requirements of the CASA.

               Primary:     In Compliance
               Secondary: Not In Compliance
               Operational: Not In Compliance

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Recommendation 4.7.205a: Complete development of the revisions
to APD’s EIRS policy that are approvable by the Parties and the
monitor.

Recommendation 4.7.205b: Train the new policies as approved

Recommendation 4.7.205c: Develop and implement a meaningful
“inspections and audit” protocol and procedure to ensure internal
field-assessment of operations in the field (i.e., sergeants,
lieutenants and Area Commanders) relating to this policy.

4.7.206 Assessing Compliance Paragraph 220

Paragraph 220 stipulates:

“To maintain high-level, quality service; to ensure officer safety
and accountability; and to promote constitutional, effective
policing, APD is committed to the consistent and effective use of
on-body recording systems. Within six months of the Effective
Date, APD agrees to revise and update its policies and procedures
regarding on-body recording systems to require:
a) specific and clear guidance when on-body recording systems
are used, including who will be assigned to wear the cameras and
where on the body the cameras are authorized to be placed;
 b) officers to ensure that their on-body recording systems are
working properly during police action;
c) officers to notify their supervisors when they learn that their on-
body recording systems are not functioning;
d) officers are required to inform arrestees when they are
recording, unless doing so would be unsafe, impractical, or
impossible;
e) activation of on-body recording systems before all encounters
with individuals who are the subject of a stop based on reasonable
suspicion or probable cause, arrest, or vehicle search, as well as
police action involving subjects known to have mental illness;
f) supervisors to review recordings of all officers listed in any
misconduct complaints made directly to the supervisor or APD
report regarding any incident involving injuries to an officer, uses
of force, or foot pursuits;
 g) supervisors to review recordings regularly and to incorporate
the knowledge gained from this review into their ongoing
evaluation and supervision of officers; and
 h) APD to retain and preserve non-evidentiary recordings for at
least 60 days and consistent with state disclosure laws, and
evidentiary recordings for at least one year, or, if a case remains in
investigation or litigation, until the case is resolved.”

Methodology

OBRD policy is among several “high-risk, critical tasks” still being revised
by APD. As with many critical policies, of late, the Parties and the
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monitor have experienced substantial difficulties coming to agreement
on the changes APD had proposed for OBRD. Foremost was the
intentional and deliberate revision of the policy, in direct violation of the
requirements of the CASA, by way of Special Order. While APD
contends that the Special Orders were rescinded, evidence to the
contrary was discovered throughout the APD duty locations druing our
last site visit. Additionally, no training documentation was provided to
prove new policy and protocol are in existence. The monitor will
continue to insist that revised policy not be a roadblock to effective
oversight and assessment of APD’s compliance systems. Current
policies will be enforced while the Parties and the monitor work on
establishment of agreed upon policy requirements. We view such issues
as deliberate non-compliance with the requirements of the CASA.

Results
              Primary:     In Compliance (based on old policy)
              Secondary: Not In Compliance
              Operational: Not In Compliance

Recommendation 4.7.206a: Complete policy development and
approval processes as agreed to by the Parties and approvable by
the monitor.

Recommendation 4.7.206b: Complete training/retraining on the
revised policy for officers and supervisors.

4.7.207 Assessing Compliance with Paragraph 221

Paragraph 221 stipulates:

“APD shall submit all new or revised on-body recording system
policies and procedures to the Monitor and DOJ for review,
comment, and approval prior to publication and implementation.
Upon approval by the Monitor and DOJ, policies shall be
implemented within two months.”

Methodology

During the development of IMR-5, the monitoring team learned of an APD
Special Order 16-75. SO-16-75 unilaterally (without notice to or approval by the
monitor and the Parties) changed the required review rate for sergeants from
two per month per officer, to two per squad per month. The reader should note
that the monitoring team discovered this out-of channels process via review of
APD’s routine course of business documents, i.e., meeting minutes for the “APD
Office of Policy Analysis Meeting Minutes Agenda for 16-06 OBRD, dated 11
OCT 16,” which clearly stated: “Updated the policy to match Special Order 16-75
that supervisors are to review two recordings per month from their assigned

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squad.” When the monitoring team asked for a copy of the “Special Order,”
which we asked for by number and topic, we were told “it doesn’t exist,” and that
we “must be mistaken.” The monitoring team forwarded a copy of the meeting
minutes date and memo number. In July 2017, APD developed and distributed
a “Special Order” noting recission of eight CASA-related “Special Orders.”

During the June 2017 site visit, members of the monitoring team were informed
that the Special Order that “didn’t exist” had been fully rescinded. During the
first duty location visit, two Supervisors were asked to demonstrate
documentation of their latest months video reviews (Investigations Unit). Each
provided proof that they had indeed reviewed two videos per officer in their unit.
Unfortunately, three subsequent duty location visits all demonstrated that
supervisors had only conducted two video reviews per the unit, and to justify
their actions, provided the monitoring team with a document directing this
review-- Department Special Order 16-82, dated November 2, 2016 and signed
by the Chief. Such failures are unacceptable, and given the hugger-mugger
fashion in which the change in video review rates was effectuated by APD, we
believe them intentional. Our latest “on-ground” observations indicate continued
failure to meet approved policy. Obviously, this is unacceptable and directly
challenges the monitor’s ability to execute his described duties, as well as the
Court’s oversight role.

We do note, again, that in July (the last month of this reporting period), APD did
issue a “Special Order” (17-56) that rescined eight previous “special orders”
affecting operations relative to the CASA. These eight “special orders” affected
a variety of CASA-related processes, including supervisory reviews of OBRDs,
Power DMS (often used for CASA-related training), video review tracking, show
of force procedures, the Force Investigation Team, and force investigation
procedures.

Results

              Primary:     Not in Compliance
              Secondary: Not in Compliance
              Operational: Not in Compliance

Recommendation 4.7.207a: APD should rescind effective
immediately any and all “Special Orders” or other policy
mechanisms that contradict the CASA and/or monitor- and Party-
approved policy.

Recommendation 4.7.207b: APD should examine any remaining
“Special Orders” they have published over the past two years, that
may be in violation of the CASA and rescind those “Special
Orders” as well.

4.7.208 Assessing Compliance with Paragraph 222
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Paragraph 222 stipulates:

“The Parties recognize that training regarding on-body recording
systems is necessary and critical. APD shall develop and provide
training regarding on-body recording systems for all patrol
officers, supervisors, and command staff. APD will develop a
training curriculum, with input from the Monitor and DOJ that
relies on national guidelines, standards, and best practices.”

Methodology

Members of the monitoring team reviewed PSU training related to this
paragraph. The training included a “testing block” designed to verify
learning.

Results

Since the initial OBRD policy had been approved by the parties, APD
has revised and altered the policy, without submitting changes to the
parties. APD’s use of Special Orders to over-ride policy that is reviewed
and approved by the monitor and the Parties has caused confusion
throughout the department. These issues were noted again, despite
direct and written notice to APD of their existence during IMR-5’s site
visits and in written communications since. Supervisors differ in their
understanding of the review process. APD has not submitted any
documentation to the monitoring team of supervisors being re-trained in
exactly what the APD policy requires them to do. The monitoring team
will implement more rigid screening of operations in the field related to
OBRD use and supervision.

We do note that APD has “rescinded” many of these Special Orders, by
issuance of Special Order 17-56 in July 2017, shortly before this
reporting period expired. It remains to be seen what confustions,
difficulties, and CASA violations have been generated by the “Special
Order” process.

              Primary:     In Compliance
              Secondary: Not In Compliance
              Operational: Not in Compliance

Recommendation 4.7.208a: APD should cease, effective
immediately, making policy changes related to requirements of the
CASA via Special Order, or any similar mechanism, without
notifying the Parties and the monitor.

Recommendation 4.7.208b: APD should rescind effective
immediately any and all “Special Orders” or other policy

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mechanisms that contradict the CASA and/or monitor- and Party-
approved policy.

4.7.209 Assessing Compliance with Paragraph 223

Paragraph 223 stipulates:

“APD agrees to develop and implement a schedule for testing on-
body recording systems to confirm that they are in proper working
order. Officers shall be responsible for ensuring that on-body
recording systems assigned to them are functioning properly at
the beginning and end of each shift according to the guidance of
their system’s manufacturer and shall report immediately any
improperly functioning equipment to a supervisor.”

Methodology

APD reports that audit plans for the requirements of this paragraph are
currently in development within the auditing group to evaluate this data
on a regular basis. The monitoring team reviewed several hundred
Supervisor Monthly Inspection Reports during the preparation of IMR-5
and made recommendations to APD avout a serious concern among the
monitoring team relative to the integrity of APD’s “testing” for OBRD
systems. We will continue to monitor this paragraph accordingly.

Results

                Primary:          In Compliance
                Secondary:        Not In Compliance
                Operational:      Not In Compliance

Recommendation 4.7.209: APD should conduct an immediate,
thorough and complete audit protocol relative to proper testing and
functioning of OBRD equipment.

4.7.210 Assessing Compliance with Paragraph 224

Paragraph 224 stipulates:

“Supervisors shall be responsible for ensuring that officers under
their command use on-body recording systems as required by
APD policy. Supervisors shall report equipment problems and
seek to have equipment repaired as needed. Supervisors shall
refer for investigation any officer who intentionally fails to activate
his or her on-body recording system before incidents required to
be recorded by APD policy.”




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Methodology

The monitoring team has requested the data to document APD's
compliance with these requirements for the past several reporting
periods. The response to this period's data request was "being worked
on by IA." Testing systems, reviewing recordings and referring out of
policy performance for investigation is critical for the success of the
OBRD program. It is unclear why Internal Affairs is working on policy and
procedures to govern what should be a Patrol supervisory function. In
preparation of IMR-6, the monitoring team reviewed all cases presented
by APD with regards to failing to activate recording systems.
Supervisors continue to exhibit a lack of clear policy understanding in
documenting failure to record. No cases submitted to the monitoring
team were referred for formal investigation. Only two cases used the
term “verbally counseled.” All other reports used vague language such
as “met with”, “spoke with”, “reminded of importance of recording
incidents”, and even a CIRT recommendation that an officer be “formally
re-familiarized” with policy. Clearly, supervisors are in need of additional
training in this policy, the requirements of this paragraph, and the
concept of progressive discipline. Individual supervisors had their own
language for the meeting held with regards to failure to record. There
appears to be no regularized process implemented among the Area
Commands on a critical APD job process. This points to critical policy
and training issues related to supervision.

Results

              Primary:        In Compliance
              Secondary:      Not In Compliance
              Operational:    Not In Compliance

Recommendation 4.7.210a: Complete a monitor- and Parties-
approved policy outlining an effective inspections and audit
function in the Area Commands’ patrol operations processes of
auditing supervisory processes designed to implement OBRD
“use” requirements.

Recommendation 4.7.210b: Implement the policy and evaluate its
effectiveness in identifying and remediating OBRD use that is
outside policy.


4.7.211 Assessing Compliance with Paragraph 225

Paragraph 225 stipulates:



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“At least on a monthly basis, APD shall review on-body recording
system videos to ensure that the equipment is operating properly
and that officers are using the systems appropriately and in
accordance with APD policy and to identify areas in which
additional training or guidance is needed.”

Methodology

As discussed in Paragraph 221, above, during APD changed the OBRD
policy approved by the Parties and the Monitor, in violation of the
requirements of Paragraph 221. Using a flawed methodology and an
extremely small sample number, APD missed the opportunity to
determine if the OBRD program is effective at documenting high-level,
quality service; ensuring officer safety and accountability; and promoting
constitutional, effective policing. During a 30-day period in the previous
reporting period (October 5-November 5, 2016) only 25 videos were
reviewed for the entire APD--less than 1 per day. In the monitor’s
opinion, this constituted deliberate non-compliance. The latest policy
dated June 2, 2017 reinstitutes the two video reviews per officer per unit
per month—though with a time limit caveat of 7-10 minutes. However,
during the June 2017 site visit it was clear that supervisors throughout
APD had differing information on the policy and the requirements. No
documentation has been presented by APD for the re-training of
supervisors for the requirements of the policy or the CASA paragraphs,
thus we assume this has not occurred. A Special Order, dated July 5,
2017 was produced and distributed by APD that rescinded eight CASA-
related special orders.

Results
               Primary:     In Compliance
               Secondary: Not In Compliance
               Operational: Not In Compliance

Recommendation 4.7.211a: Ensure that all supervisors have been
(re)trained in the revised OBRD policy.

Recommendation4.7.211b: Ensure that all internal changes to
policies approved by the monitor and the Parties are noticed to the
monitor and the Parties in writing and approved as per the
requirements of the CASA.

4.7.212 Assessing Compliance with Paragraph 226

Paragraph 226 stipulates:

“APD policies shall comply with all existing laws and regulations,
including those governing evidence collection and retention,
public disclosure of information, and consent.”

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Methodology

As noted above, review by the monitor and the Parties of proposed
policies includes an assessment of compliance with existing laws and
regulations. Thus, all approved policies are deemed by the monitor and
the Parties to comply with the requirements of Paragraph 226. In IMR-5,
we reported worrisome developments with internal changes to APD
policy, without notice to the Parties or the monitor. Also in IMR-5 we
recommended that APD conduct a complete self-review of policies to
ensure there are no other “outliers” among their policy promulgation
systems, e.g., internal practice memoranda such as Special Orders in
conflict with approved policy. We have seen no product of such a
review, and find that more than a bit worrisome. As a result, our
recommendations below continue to reflect the same need to reassess
APD’s policy development and audit functions to ensure no other outliers
remain. We have seen no work product that indicates APD has
conducted such a self-assessment.

Results

               Primary:     In Compliance
               Secondary: Not in Compliance
               Operational: Not in Compliance

Recommendation 4.7.212a: APD should conduct a complete self-
review of policies to ensure there are no other “outliers” among
their policy promulgation systems, e.g., internal practice
memoranda in conflict with approved policy, etc.

Recommendation 4.7.212b: APD should notify the Parties and the
monitor if they find any other similar issues related to other
elements of the CASA.

Recommendation 4.7.212c: APD should provide the Parties and the
monitor with copies of their review findings and actions taken to
resolve any additional issues noted.

4.7.213 Assessing Compliance with Paragraph 227

Paragraph 227 stipulates:

“APD shall ensure that on-body recording system videos are
properly categorized and accessible. On-body recording system
videos shall be classified according to the kind of incident or event
captured in the footage.”



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Methodology

The monitoring team made monthly requests for documentation that
videos are properly categorized and accessible.

Results

No documentation regarding this requirement was provided by APD
during this reporting period. Prior reports found an extremely high error
rate of 96 percent, well outside of the articulated standard of five percent
or less. Again, this finding implicates a potential for training, supervision
or discipline issues regarding supervisory personnel review of OBRD
video. This statistic is more than an artifact. It is clearly demonstrable of
extreme and troubling issues within APD’s supervisory, mid
management, and executive cadres. The initial error led us to question
APD’s supervisory processes related to this paragraph. We have no
data to indicate anything has changed regarding OBRD management
since IMR-5’s recommendations. Again, supervision has failed; mid-
management has failed; and senior management has failed.

                Primary:     In Compliance
                Secondary: Not In Compliance
                Operational: Not In Compliance

Recommendation 4.7.213a: Identify the training elements
implicated in the findings on this Paragraph and assess whether
they were delivered in a manner that was clear and correct enough
to result in CASA-compliance in the field.

Recommendation 4.7.213b: If training deficiencies or problems are
implicated in this review, design remedial training, counseling, or
discipline if required to directly affect the observed in-field
supervisory under performance.

Recommendation 4.7.213c: Once the remedial training, counseling,
or discipline is implemented, close the loop by re-evaluating
performance in the field. Repeat until under-performance is
eliminated.

4.7.214 Assessing Compliance with Paragraph 228

Paragraph 228 stipulates:

“Officers who wear on-body recording systems shall be required
to articulate on camera or in writing their reasoning if they fail to
record an activity that is required by APD policy to be recorded.
Intentional or otherwise unjustified failure to activate an on-body


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recording system when required by APD policy shall subject the
officer to discipline.”

Methodology

The monitoring team’s review of OBRD cases included one case that
was specific to the requirements of this paragraph. The CIRT team, in
reviewing a Show of Force case, identified “Critical Issues” with two
officers who failed to activate their OBRD as required by policy, and
secondly failed to report why the incident was not recorded. CIRT’s
recommendation for the officers was that they should “be formally
refamiliarized” with the OBRD policy. One officer received “remediation”
and was explained the importance of using his OBRD and documenting
when he fails to use it. The other officer reviewed the SOP with his
supervisor and was given a “verbal quiz” and he “demonstrated an
acceptable knowledge” of the policy. Also discussed was progressive
discipline and that a record of this event would be maintained in his “unit
file.” We question whether “formally re-familiarized” constitutes
discipline. We have the same issues with the relationship between
discipline and a “verbal quiz.” We will continue to monitor the
requirements of this paragraph for evidence of effective discipline.

Results

The monitor is still not convinced that the “Special Order” issue has been
remediated. Given the serious, and apparently pervasive nature of this
problem (our June audit found issues related to paragraphs 225, 226,
227, and this paragraph) we believe APD needs to revisit policy, training,
supervision, and discipline to ensure that compliance is instituted relative
to paragraphs 225, 226, 227 and 228. Other than a “Special Order” (SO
17-56) we have seen no documentation indicating any type of self-
awareness or self-direction on these issues on APD’s part at this point in
time.

              Primary:     In Compliance
              Secondary: Not In Compliance
              Operational: Not In Compliance

Recommendation 4.7.214a: Using the Completed Staff Work
method, develop policy, training, and audit protocols responsive to
this paragraph.

Recommendation 4.7.214b: Once developed, implement and re-
evaluate to determine if the problem has been resolved.

Recommendation 4.7.214c: Repeat until compliance is attained.


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4.7.215 Assessing Compliance with Paragraph 229

Paragraph 229 stipulates:

“APD shall ensure that on-body recording systems are only used
in conjunction with official law enforcement duties. On-body
recording systems shall not be used to record encounters with
known undercover officers or confidential informants; when
officers are engaged in personal activities; when officers are
having conversations with other Department personnel that
involve case strategy or tactics; and in any location where
individuals have a reasonable expectation of privacy (e.g.,
restroom or locker room).”

Methodology

Members of the monitoring team asked APD for policy, training, or
related records supporting compliance on this task. None were provided
in response to the monitor’s request. APD is not in compliance with this
paragraph.

Results

               Primary:     Not In Compliance
               Secondary: Not In Compliance
               Operational: Not In Compliance

Recommendation 4.7.215a: Using the Completed Staff Work
method, develop policy, training, and audit protocols responsive to
this paragraph.

Recommendation 4.7.215b: Once developed, implement and re-
evaluate to determine if the problem has been resolved.

Recommendation 4.7.215c: Repeat until compliance is attained.

4.7.216 Assessing Compliance with Paragraph 230

Paragraph 230 stipulates:

“APD shall ensure that all on-body recording system recordings
are properly stored by the end of each officer’s subsequent shift.
All images and sounds recorded by on-body recording systems
are the exclusive property of APD.”

Methodology

Members of the monitoring team made monthly requests for the data
relative to the requirements of this paragraph. All data submissions from
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APD related to paragraph 230 were marked either “NA” or “completed”.
No work product was presented allowing the monitor to make
independent assessments of APD’s assertions. During prior reporting
periods, the monitoring team was provided with links to a share-point
database containing supervisor monthly inspection reports. This period,
access logins and passwords failed and no documentation was
provided. While we are perplexed at the reasons for these failures, there
is no doubt that they constitute a failure in the system. Given
performance in other related paragraphs, we see this as deliberate.

Results

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: Not In Compliance

Recommendation 4.7.216a: APD should implement its own
“inspections and audit” process to ensure OBRD video are
appropriately stored by the end-of-shift.

Recommendation 4.7.216b: Once developed, implement and re-
evaluate to determine if the problem has been resolved.

Recommendation 4.7.216c: Repeat until compliance is attained.

4.7.217 Assessing Compliance with Paragraph 231

Paragraph 231 stipulates:

“The Parties are committed to the effective use of on-body
recording systems and to utilizing best practices. APD currently
deploys several different platforms for on-body recording systems
that have a range of technological capabilities and cost
considerations. The City has engaged outside experts to conduct a
study of its on-body recording system program. Given these
issues, within one year of the Effective Date, APD shall consult
with community stakeholders, officers, the police officer’s union,
and community residents to gather input on APD’s on-body
recording system policy and to revise the policy, as necessary, to
ensure it complies with applicable law, this Agreement, and best
practices.”

Methodology

Members of the monitoring team conducted a course-of-business review
of documents related to compliance-building activities relative to this
paragraph. This review would have demonstrated APD’s commitment to
compliance with the requirements of this paragraph. Readers familiar
with the monitor’s process and reports, however, are aware of the issues
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we confronted with Special Order 16-82 related to OBRDs, which, by
order, eviscerated the agreed-upon (by the City, the Parties, and the
monitor) policy requirements for this paragraph, effectively revising and
weakening the approved policy without the approval and knowledge—at
the time—of the DOJ, APOA, or the monitor. This was a direct, and we
must assume, intentional violation of paragraph 221. After we
discovered this deliberate attempt to by-pass the requirements of the
CASA, APD has rescinded those special orders (in another Special
Order dated July 5, 2017, near the end of this reporting period) and have
returned to the CASA-compliant policies the Parties had agreed to
earlier. Since that time, we have found no further intentional violations of
agreed-to policy, although as we note repeatedly above, insertion of the
concept of De Minimis force by policy “definition,” absent specific
training, is problematic. We expect APD to methodically work through
secondary (retraining) and operational (in-the-field) compliance in the
coming months, as we see proof of change in day-to-day operations.

Results

               Primary:     In Compliance
               Secondary: Not in Compliance
               Operational: Not in Compliance

Recommendation 4.7.217a: Restore any policy, procedure, practice
or custom revised, terminated, or implemented as a result of
Special Orders as they relate to OBRD policies, procedures,
custom or practice. This needs to be done through both written
policy and training of officers and supervisors.

Recommendation 4.7.217b: Retrain any personnel/supervisors who
were provided training responsive to of Special Order 16-75 and
Special Order 16-82.

Recommendation 4.7.217c: Review all Special Orders currently
applicable to APD operations to ensure congruity with the CASA.

4.7.218 Assessing Compliance with Paragraph 232

Paragraph 232 stipulates:

“To maintain high-level, quality service; to ensure officer safety
and accountability; and to promote constitutional, effective
policing, APD shall develop a comprehensive recruitment and
hiring program that successfully attracts and hires qualified
individuals. APD shall develop a recruitment policy and program
that provides clear guidance and objectives for recruiting police
officers and that clearly allocates responsibilities for recruitment
efforts.”

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Methodology

Members of the monitoring team reviewed APD responses related to this
requirement in the form of policy, programs, and results.

Results

APD has been, and is currently attracting and hiring qualified individuals.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.219 Assessing Compliance with Paragraph 233

Paragraph 233 stipulates:

“APD shall develop a strategic recruitment plan that includes clear
goals, objectives, and action steps for attracting qualified
applicants from a broad cross section of the community. The
recruitment plan shall establish and clearly identify the goals of
APD’s recruitment efforts and the duties of officers and staff
implementing the plan.”

Methodology

Members of the monitoring team met with Training Academy personnel
responsible for the development and implementation of a strategic
recruitment plan, and reviewed existing process for the recruitment plan.

Results

The APD Training Academy has provided the monitoring team with the
“2017 Strategic Recruitment Plan” and continues to aggressively
promote APD via web-based applications with expanded emphasis on
minority group sites. Additionally, APD has provided documentation of
attendance at many diverse community group events including Military,
Faith Based, Educational, and Sports Related. The “blind” online
application process wherein an applicant can remain completely
anonymous until they arrive for testing is a laudable process. The 2017
Strategic Recruitment Plan meets the requirements of Paragraph 233.
The recruiting plan has been reasonably effective to date, and APD
maintains its “in-compliance” status on this paragraph.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

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4.7.220 Assessing Compliance with Paragraph 234

Paragraph 234 stipulates:

“APD’s recruitment plan shall include specific strategies for
attracting a diverse group of applicants who possess strategic
thinking and problem-solving skills, emotional maturity,
interpersonal skills, and the ability to collaborate with a diverse
cross-section of the community.”

Methodology

Members of the monitoring team reviewed APD performance on this
topic as related to the requirements above.

Results

The University of New Mexico worked with the APD to develop a
comprehensive recruiting plan. The monitoring team has received a
copy of the resulting “2017 Strategic Recruitment Plan.” In addition to the
initial APD test with related skills questions—the background
questionnaires for both a candidate’s former employers and personal
references—contain questions related to the required skills/abilities in
this paragraph. A random audit of applicant files found each one to
contain the relevant questionnaires with answers to the specific
questions related to the requirements of this paragraph.

                Primary:     In Compliance
                Secondary: In Compliance
                Operational: In Compliance

4.7.221 Assessing Compliance with Paragraph 235

Paragraph 235 stipulates:

“APD’s recruitment plan will also consult with community
stakeholders to receive recommended strategies to attract a
diverse pool of applicants. APD shall create and maintain
sustained relationships with community stakeholders to enhance
recruitment efforts.”

Methodology

Members of the monitoring team also assessed compliance with this
paragraph though a review of recruiting documentation and results.




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Results

The “2017 Strategic Recruitment Plan” lists a review of past strategies
and enumerates goals/objectives and plans to attract a diverse pool of
applicants for 2017. APD has expanded its web-based advertising with
more emphasis on minority group sites (National Black Officers website),
in addition to the Military and the University communities. APD is
continuing regular contact with board members of the Southern Christian
Leadership Council. Feedback received from a recruiting summit was a
determining factor in the reduction of the college credit requirements.
APD has expanded its efforts with the High School “Career
Enhancement Center” in an effort to recruit students into the Public
Service Aide program, and furthered efforts to develop processes to
transition from PSA into Police Officer. APD has provided, and the
monitoring team has reviewed, documentation that demonstrates
changes to recruiting processes based on community feedback.
Community Councils recommended that APD post Albuquerque
demographic data on its website, and that was completed. Additionally,
the Councils recommended an instructional video to demonstrate the
testing and hiring process. Reportedly, this is currently in the early
stages of production.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance

4.7.222 Assessing Compliance with Paragraph 236

Paragraph 236 stipulates:

“APD shall develop and implement an objective system for hiring
and selecting recruits. The system shall establish minimum
standards for recruiting and an objective process for selecting
recruits that employs reliable and valid selection devices that
comport with best practices and anti-discrimination laws.”

Methodology

We found the APD “in compliance” for this task in IMR-4. We continue
to re-visit that issue and find no negative changes in APD’s process.
APD has developed a “blind” automated, on-line system that allows an
applicant to remain completely anonymous until they arrive for testing.
Recruiting and Hiring policies have been revised and approved. Non-
automated Recruiting and Hiring policies appear to meet the
requirements of Paragraph 236.



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Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.223 Assessing Compliance with Paragraph 237

Paragraph 237 stipulates:

“APD shall continue to require all candidates for sworn personnel
positions, including new recruits and lateral hires, to undergo a
psychological, medical, and polygraph examination to determine
their fitness for employment. APD shall maintain a drug testing
program that provides for reliable and valid pre-service testing for
new officers and random testing for existing officers. The program
shall continue to be designed to detect the use of banned or illegal
substances, including steroids.”

Methodology

Members of the monitoring team requested COB data related to this
paragraph, and reviewed a random sample of five cadets’ records. In
addition, for the requirement of testing existing officers—APD submitted
documentation of random drug testing documentation for more than 80
sworn personnel who were tested from February to May 2017.

Results

The results of that review, included in the Table below, indicate 100
percent compliance for this task.

See table 4.7.223.




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                                   Table 4.7.223

               New recruits      New recruits      New recruits     Reliable and
              and lateral       and lateral       and lateral       valid pre-
              hires, to         hires, to         hires, to         service Drug       Detect the use
              undergo a         undergo a         undergo a         testing for new   of banned or
              psychological     medical           polygraph         officers and      illegal
              examination to    examination to    examination to    random testing    substances,
              determine their   determine their   determine their   for existing      including
 Case No.     fitness           fitness           fitness           officers.         steroids.
 Recruit 1          1                 1                 1                  1                 1
 Recruit 2          1                 1                 1                  1                 1
 Recruit 3          1                 1                 1                  1                 1
 Recruit 4          1                 1                 1                  1                 1
 Recruit 5          1                 1                 1                  1                 1
 Total              5                 5                 5                  5                 5
 Number in
 Compliance
 Total all
 Incidents          5                 5                 5                  5                 5
 % in
 Compliance
 Total by
 Category         100%              100%              100%              100%              100%

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance

4.7.224 Assessing Compliance with Paragraph 238

Paragraph 238 stipulates:

“APD shall ensure that thorough, objective, and timely background
investigations of candidates for sworn positions are conducted in
accordance with best practices and federal anti-discrimination
laws. APD’s suitability determination shall include assessing a
candidate’s credit history, criminal history, employment history,
use of controlled substances, and ability to work with diverse
communities.”

Methodology

Members of the monitoring team requested COB data related to this
paragraph, and reviewed a random sample of records for five cadets.

Results

The results of that review, included in the Table below indicate 100
percent compliance for this task.


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                                   Table 4.7.224

                                                                                     Assessing a
                                                    Assessing a    Assessing a      candidate’s
                Assessing a      Assessing a       candidate’s    candidate’s use   ability to work
               candidate’s      candidate’s        employment     of controlled     with diverse
 Case No.      credit history   criminal history   history        substances        communities
 Recruit 1            1                1                 1               1                 1
 Recruit 2            1                1                 1               1                 1
 Recruit 3            1                1                 1               1                 1
 Recruit 4            1                1                 1               1                 1
 Recruit 5            1                1                 1               1                 1
 Total                5                5                 5              5                  5
 Number in
 Compliance
 Total all
 Incidents            5                5                 5              5                  5
 % in
 Compliance
 Total by
 Category           100              100                100            100               100

                Primary:     In Compliance
                Secondary: In Compliance
                Operational: In Compliance

4.7.225 Assessing Compliance with Paragraph 239

Paragraph 239 stipulates:

“APD shall complete thorough, objective, and timely pre-
employment investigations of all lateral hires. APD’s pre-
employment investigations shall include reviewing a lateral hire’s
history of using lethal and less lethal force, determining whether
the lateral hire has been named in a civil or criminal action;
assessing the lateral hire’s use of force training records and
complaint history, and requiring that all lateral hires are provided
training and orientation in APD’s policies, procedures, and this
Agreement.”

Methodology

The monitoring team determined that there were six lateral-hire
applicants who were in the background investigation stage, but there
were no lateral hires during this reporting period.

Results

APD met or exceeded all established requirements for this Paragraph in
the past, and remains in compliance based on that performance.


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                Primary:     In Compliance
                Secondary: In Compliance
                Operational: In Compliance

4.7.226 Assessing Compliance with Paragraph 240

Paragraph 240 stipulates:

“APD shall annually report its recruiting activities and outcomes,
including the number of applicants, interviewees, and selectees,
and the extent to which APD has been able to recruit applicants
with needed skills and a discussion of any challenges to recruiting
high-quality applicants.”

Methodology

Members of the monitoring team received a copy of APD’s 2016 annual
training report and reviewed it for compliance with this Paragraph. We
find APD in full compliance with this task, based on the format and
content of that report.

Results

                Primary:     In Compliance
                Secondary: In Compliance
                Operational: In Compliance

4.7.227 Assessing Compliance with Paragraph 241

Paragraph 241 stipulates:

“APD shall develop and implement fair and consistent promotion
practices that comport with best practices and federal anti-
discrimination laws. APD shall utilize multiple methods of
evaluation for promotions to the ranks of Sergeant and Lieutenant.
APD shall provide clear guidance on promotional criteria and
prioritize effective, constitutional, and community-oriented
policing as criteria for all promotions. These criteria should
account for experience, protection of civil rights, discipline history,
and previous performance evaluations.”

Methodology

APD promoted ten members to the rank of lieutenant during the
reporting period. The monitoring team reviewed a random sample of 40
percent of those promotions (four officers) and found APD to be in full
compliance with the requirements of this paragraph for all four

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promotions we reviewed. Records were checked in Human Resources,
Internal Affairs and the Training Academy.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.228 Assessing Compliance with Paragraph 242

Paragraph 242 stipulates:

“APD shall develop objective criteria to ensure that promotions are
based on knowledge, skills, and abilities that are required to
perform supervisory and management duties in core substantive
areas.”

Methodology

APD developed and approved a new Promotional Practices Policy (July
19, 2016). The monitoring team had provided APD with templates for
acceptable needs assessment and training outline processes, which we
would expect to be followed as this process continues.”

We note that the new Promotional Practices Policy is still under review at
this time, with a resolution draft being submitted to the monitor so that
differences between the City and the APOA can be resolved. Until that
process is complete, APD remains out of compliance with this task.

Results

               Primary:     In Compliance
               Secondary: Pending
               Operational: Pending

4.7.229 Assessing Compliance with Paragraph 243

Paragraph 243 stipulates:

“Within six months of the Effective Date, APD shall develop and implement
procedures that govern the removal of officers from consideration from
promotion for pending or final disciplinary action related to misconduct that has
resulted or may result in a suspension greater than 24 hours.”




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Methodology

APD developed and approved a new Promotional Practices Policy (July
19, 2016). The APOA and the City made substantial changes to the
proposed policy and submitted a final version to the monitor. We note
that the resolution version of Promotional Practices Policy is still under
review by the monitor, at this time, with the resolution draft being
submitted to the monitor so that differences between the City and the
APOA can be resolved. Accordingly, APD remains out of compliance
with this task.

Results

APD remains out of compliance on this issue until there is an approved
policy, and practice has been implemented on promotions that follow the
policy.

               Primary:     In Compliance (based on current policy)
               Secondary: Not in Compliance
               Operational: Not in Compliance

Recommendation 4.7.229: No action is required at this time, as this
issue is currently “in progress,” and pending resolution by the
monitor.

4.7.230 Assessing Compliance with Paragraph 244

Paragraph 244 stipulates:

“APD shall develop and implement fair and consistent practices to
accurately evaluate the performance of all APD officers in areas
related to constitutional policing, integrity, community policing,
and critical police functions on both an ongoing and annual basis.
APD shall develop objective criteria to assess whether officers
meet performance goals. The evaluation system shall provide for
appropriate corrective action, if such action is necessary.”

Methodology

APD has completed and promulgated policy regarding performance
evaluations. The policy provides guidance on use of the system, listing
criteria to be used to assess achievement of performance goals, and
outlining corrective action required if performance “falls short.” Members
of the monitoring team visited four separate duty locations and had
supervisors demonstrate the Talent Management System.




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Results

All supervisors’ work with the policy indicated that they were fluent in
their use of the system and had completed the requirements of the
policy, the CASA and the system on time.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance

4.7.232 Assessing Compliance with Paragraph 245

Paragraph 245 stipulates:
“As part of this system, APD shall maintain a formalized system
documenting annual performance evaluations of each officer by
the officer’s direct supervisor. APD shall hold supervisors
accountable for submitting timely, accurate, and complete
performance evaluations of their subordinates.”

Methodology

The review of the Talent Management System database of over 1200
records (sworn and civilian employees) revealed that only in two
instances were the reviews conducted outside the timeframe (1 day and
4 days). The monitoring team considers this to be an insignificant
number (<1 percent) and thus APD retains its compliance for this
requirement.

Results

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance

4.7.233 Assessing Compliance with Paragraph 246

Paragraph 246 stipulates:

“As part of the annual performance review process, supervisors
shall meet with the employee whose performance is being
evaluated to discuss the evaluation and develop work plans that
address performance expectations, areas in which performance
needs improvement, and areas of particular growth and
achievement during the rating period.”




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Methodology

The supervisors at the visited duty locations all demonstrated complete
knowledge and comfort with the system and had were able to show
examples of work plans and achievements of subordinates. The
monitoring team finds APD in compliance with the requirements of this
paragraph.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.234 Assessing Compliance with Paragraph 247

Paragraph 247 stipulates:

“To maintain high-level, quality service; to ensure officer safety
and accountability; and to promote constitutional, effective
policing, APD agrees to provide officers and employees ready
access to mental health and support resources. To achieve this
outcome, APD agrees to implement the requirements below.”

Methodology

Members of the monitoring team reviewed the total number of services
provided by The Behavioral Science Section for this reporting period.
The types of services provided included Critical Incident Service,
Therapy Service as well as Training. The numbers that were recorded
for this reporting period show an increase in the use of the services
offered to the APD. At this point this trend is a positive sign indicating a
strong effort by BSS to maintain a quality service providing APD officers
and employees ready access to mental health and support resources.
As mentioned in IMR-5, this material is highly confidential and these
reviews confirm that APD is actively engaged in compliance efforts for
this paragraph. The BSS is scheduled to conduct another “Behavioral
Science Survey” in the next monitoring period. The BSS has submitted a
revised policy to drive programmatic revisions and upgrades to the
BSU’s operations and programs, the policy is pending approvals.

Results

At this point, the monitoring team is satisfied that the data in response to
this paragraph are being executed and analyzed. As this process
progresses, however, the monitoring will need to review future data
based on the new revisions to the policy to see the programmatic
changes and innovations based on “lessons learned” from this process.
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               Primary:     In Compliance
               Secondary: In Compliance
               Operational: Not In Compliance

Recommendation 4.7.234: Identify, using BSSs, to drive
programmatic revisions and upgrades to the BSU’s operations and
programs and implement those implicated revisions.

4.7.235 Assessing Compliance with Paragraph 248

Paragraph 248 stipulates:

“APD agrees to develop and offer a centralized and comprehensive
range of mental health services that comports with best practices
and current professional standards, including: readily accessible
confidential counseling services with both direct and indirect
referrals; critical incident debriefings and crisis counseling; peer
support; stress management training; and mental health
evaluations.”

Methodology

Members of the monitoring team reviewed numerous course of business
documents produced by the Behavioral Science Unit. This documentation
included but was not limited to the following: the Peer Support Training
Curriculum, documentation for the Peer Support Board’s activities, Peer Support
Special meetings, Quarterly Board Meetings, Program Expansion/Outreach,
Introduction to Peer Support briefings conducted during shift briefings and
Special Peer Support meetings conducted covering urgent issues involving the
program. BSS supplied the Monitoring Team with initial analyses of the numbers
and types of BSS activities for this reporting period. The Monitoring Team will
continue to monitor progress of the Peer Support Program in future site visits.
Primary compliance as well as Secondary compliance could be assessed at this
point. As mentioned in IMR-5, this material is highly confidential and these
reviews confirm that APD is actively engaged in compliance efforts for this
paragraph. This confidentiality makes operational assessments related to
compliance difficult if not impossible. Field-standard practices related to
confidentiality of mental health services make operational compliance difficult to
quantify; however, we have confidence that the programs implemented by
APD’s Behavioral Science Section are industry standard and compliant.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance


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4.7.236 Assessing Compliance with Paragraph 249

Paragraph 249 stipulates:

“APD shall provide training to management and supervisory
personnel in officer support protocols to ensure support services
are accessible to officers in a manner that minimizes stigma.”

Methodology

During this reporting period, there were no new APD members to train in Officer
Support Protocols. BSU is scheduled to deliver training in the seventh reporting
period and will schedule training for APD personnel on the next promotional list.
The monitoring team will review documentation supporting the training
requirements of this paragraph during the next period. Documentation reviewed
in paragraphs 247 and paragraph 248 demonstrates support services are
accessible to officers and that APD is actively engaged in compliance efforts for
this paragraph.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.237 Assessing Compliance with Paragraph 250

Paragraph 250 stipulates:

“APD shall ensure that any mental health counseling services
provided APD employees remain confidential in accordance with
federal law and generally accepted practices in the field of mental
health care.”

Methodology

Members of the monitoring team reviewed the Behavioral Sciences “Privacy and
Confidentiality Policy” and conducted an on-site review of BSS facilities, and
verified visually that records of individuals assisted by the BSS are secured in a
locked filing cabinet, with reasonable restrictions on who has access.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.238 Assessing Compliance with Paragraph 251

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Paragraph 251 stipulates:

“APD shall involve mental health professionals in developing and
providing academy and in-service training on mental health
stressors related to law enforcement and the mental health
services available to officers and their families.”

Methodology

Members of the monitoring team reviewed the processes involved in ten
different BSU initiatives. All applicable programs show direct involvement of
mental health professionals in developing and providing mental health-related
issues. BSS conducted a forty (40) Crisis Intervention Team (CIT) training
during this reporting period to thirty-four (34) of its members as well as delivering
the required Academy Cadet Class blocks of instruction to the 118th class as
required by this paragraph.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.239 Assessing Compliance with Paragraph 252

Paragraph 252 stipulates:

“APD shall develop and implement policies that require and
specify a mental health evaluation before allowing an officer back
on full duty following a traumatic incident (e.g., officer-involved
shooting, officer-involved accident involving fatality, or all other
uses of force resulting in death) or as directed by the Chief.”

Methodology

Members of the monitoring team requested and reviewed documentation
verifying the fact that BSS providers are accessible to line personnel. The nature
of this documentation is highly confidential, and only aggregate data were
reviewed, where practicable. Where that was not practicable, notes taken by the
monitoring team were devoid of any direct or circumstantial information that
would allow an individual to be identified. The monitoring team will continue to
closely monitor this process in this manner during future site visits.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

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4.7.240 Assessing Compliance with Paragraph 253

Paragraph 253 stipulates:

“APD agrees to compile and distribute a list of internal and
external available mental health services to all officers and
employees. APD should periodically consult with community and
other outside service providers to maintain a current and accurate
list of available providers.”

Methodology

Members of the monitoring team reviewed COB documentation showing
implementation and high levels of performance for BSS on this paragraph,
including updated Excel spread sheets of available mental health professionals,
and the APD BSS 2017 flyer that went out to all personnel, a listing of referrals
made by BSS during 2017, and other items as they pertain to maintaining
compliance with this paragraph.

Results

                  Primary:     In Compliance
                  Secondary: In Compliance
                  Operational: In Compliance

4.7.240 Assessing Compliance with Paragraph 255 192

Paragraph 255 stipulates:

“APD agrees to ensure its mission statement reflects its
commitment to community oriented policing and agrees to
integrate community and problem solving policing principles into
its management, policies, procedures, recruitment, training,
personnel evaluations, resource deployment, tactics, and
accountability systems.”

Methodology

Members of the monitoring team reviewed the updated and revised
mission statement as reflected in Special Order 17-06, APD’s website,
assessed related Special Orders, continued to discuss this issue with
members of Albuquerque’s community policing councils, and reviewed
other related actions by APD.




192   Paragraph 254 is not evaluated as it is subsumed in 255 and following.
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Results

Special Order 16-06, dated January 9, 2017 indicates that APD has
revised its mission statement reflecting its commitment to community
oriented policing, and this commitment has been observed “on the
ground” through factual information gathered from the CPCs
membership. APD continues to make progress in integrating community
policing principles into its management practices (policies, procedures,
recruitment, training, deployment, tactics, and accountability systems).
During this reporting period, APD increased its deployment through its
PACT re-alignment to command areas and it initiated additional
problem- oriented policing projects in its area commands. Work
continues to ensure that community participation, input and access are
folded into the mix of policy-making, training development, goal-setting,
in-field processes and tactics, supervision, command decision making,
and program assessment. It appears APD has firmed up its reviews and
commentary on community generated recommendations for APD
improvements. APD also reports that “members have changed their
signature lines voluntarily to reflect the Department’s commitment to new
mission statement” and greater emphasis on community policing.

While APD is establishing better mechanisms to capture, review and
provide commentary on community generated recommendations for
APD improvements, integration of the approved recommendations into
on-going APD operations and organizational priorities is still a work in
progress. There is little evidence that progress has been made in
implementing this recommendation. Some departments conduct both
internal and external surveys to ascertain receptivity and community
perceptions. APD should consider requesting external technical
assistance to help establish an ongoing evaluation program that
captures data reflecting receptivity and responsiveness to community
needs.

             Primary:     In Compliance
             Secondary: In Compliance
             Operational: Not In Compliance

Recommendation 4.7.240a: APD should “operationalize” its
revised mission statement through actions such as those listed in
b and c below.

Recommendation 4.7.240b: APD should continuously focus on
mechanisms to take issues identified through its community-based
systems such as the CPCs and move those issues through internal
processes to ensure that community opinions, needs, and critical
issues are reflected in patrol plans, organizational priorities, and
programmatic planning.
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Recommendation 4.7.240c: APD should plan, develop and assess
programmatic processes and evaluation strategies to identify,
implement, assess, and improve both the quality and perception of
its receptivity to community input and its ability to implement
policing initiatives responsive to articulated community needs.

4.7.241 Assessing Compliance with Paragraph 256: APD Response
to Staffing Plan

Paragraph 256 stipulates:

“As part of the Parties’ staffing plan described in Paragraph 204,
APD shall realign its staffing allocations and deployment, as
indicated, and review its recruitment and hiring goals to ensure
they support community and problem oriented policing.”

Methodology

Members of the monitoring team reviewed relevant APD documentation,
communications, and related updates, circulars and communications
methods. They also assessed the level of congruity between the CASA
requirements and staff re-allocations with the department’s PACT
deployment requirements. Members of the monitoring team again
requested information from APD regarding changes to recruitment and
hiring goals and staffing that reflected internal, process-compliance with
this task. Monitoring members also specifically reviewed memoranda
relating to PACT assignments to command areas in accordance with the
PACT plan.

Results

APD’s PACT plan was approved on December 27, 2016, and staff re-
alignment responsive to the plan was continued during this reporting
period. In addition, APD circulated COB documentation requesting
applications for PACT positions during this reporting period. The
monitoring team during this reporting period can document the
assignment of Lieutenants to all of the area commands in accordance
with PACT. Additionally, Sergeants were added to some of the PACT
teams as well. Staffing efforts continue and as overall staff numbers
increase, APD reports that staff assignments to PACT as well will
increase until full implementation. PACT leaders and community
outreach staff during this reporting period began meeting every other
week to discuss community policing plans and initiatives, started hosting
more community events, and implementing PACT Tact Plans. APD
reported that during this reporting period 24 new officers graduated from
the police academy and 49 started in a new class scheduled to graduate
in November. These actions represent progress but do not reflect full

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implementation of PACT and staffing levels required to fully execute a
department -wide community policing strategy.

During this reporting period, APD did not produce a “data-based strategy
for staffing Area commands that re-assess specific patrol allocations and
other staffing and training that are responsive to the requirements of this
paragraph. APD may want to consider external technical assistance to
develop specific area command community policing strategies, and
submit for executive review.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: Not In Compliance

Recommendation 4.7.241a: Articulate a data-based strategy for
staffing APD Area Commands so that the processes required in
this paragraph related to in-field changes to patrol allocation,
staffing (and training) are responsive to the requirements of this
paragraph.

Recommendation 4.7.241b: This should result in a piece of
Completed Staff Work (CSW) identifying goals, measurable
objectives, and processes involved in meeting the requirements of
this Paragraph.

Recommendation 4.7.241c: The finished CSW should be provided
to the Chief of Police for review and comment and action.

4.7.242 Assessing Compliance with Paragraph 257: Geographic
Familiarity of Officers

Paragraph 257 stipulates:

“APD shall ensure that officers are familiar with the geographic
areas they serve, including their issues, problems, and community
leaders, engage in problem identification and solving activities
with the community members around the community’s priorities;
and work proactively with other city departments to address
quality of life issues.”

Methodology

Members of the monitoring team continued to review APD patrol “bid
packets” by conducting random assessments of the packets to
determine if they contained evidence of conformance with this
Paragraph’s requirements. The monitoring team also continued to
review APD memoranda and other program documentation describing
Problem Oriented Policing (POP) projects. The monitor specifically

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reviewed descriptions of POP projects for each of the six command
areas including community stakeholder involvement.

Results

All of the six Area Commands provided data regarding signed bid
packets. These packets include a list of neighborhood associations,
meetings and community contacts. However, bid packets did not always
include a listing and description of ongoing POP projects in their area
command. APD documented having had POP projects in all of the six
area commands. However, the documentation provided makes it
virtually impossible to determine current status and outcomes. As such,
the “documentation” is of little (if any) use to the monitoring team, and
we suggest it is of similar utility to APD command and executive staff.
APD did submit to the Monitoring team a detailed description of all POP
projects including project description, community stakeholders, and
strategies to address issues covering the six command areas. APD still
pledges to complete staff work identifying the scope and depth of POP
development issues, and submit to Chief of Police for review. We have
seen no data collection, analysis or “production” related to that process.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: Not in Compliance

Recommendation 4.7.242a: APD should develop a Completed Staff
Work document identifying the scope and depth of POP
development issues, including recommendations for solving the
identified above.

Recommendation 4.7.242b: The CSW document should be
forwarded to the Chief of Police for review and comment.

4.7.243 Compliance with Paragraph 258: Officer Outreach Training

Paragraph 258 stipulates:

“Within 12 months of the Effective Date, APD agrees to provide 16
hours of initial structured training on community and problem
oriented policing methods and skills for all officers, including
supervisors, commanders, and executives this training shall
include:

a) Methods and strategies to improve public safety and crime
   prevention through community engagement;
b) Leadership, ethics, and interpersonal skills;
c) Community engagement, including how to establish formal
   partner ships, and actively engage community organizations,
   including youth, homeless, and mental health communities;

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d) Problem-oriented policing tactics, including a review of the
   principles behind the problem solving framework developed
   under the “SARA Model”, which promotes a collaborative,
   systematic process to address issues of the community.
   Safety, and the quality of life;
e) Conflict resolution and verbal de-escalation of conflict and;
f) Cultural awareness and sensitivity training.

These topics should be included in APD annual in-service
training.

Methodology

Members of the monitoring team reviewed updates to APD’s training
curriculum for recruits and for in service training, and compared it to the
CASA-recommended training for APD officers. We found several issues
with the training product, as delivered, and recommended specific
changes.

Results

APD has continued to make improvements and revisions to its POP-
related training curriculum, based on the monitoring team’s comments.
The COP/POP training during this reporting period, was presented to
907 of all sworn officers, above the 95 percent threshold established by
the monitoring team. In the monitoring team’s assessment, the provided
training now reflects industry standards for the field. APD reports that
98.8 percent of the officers who took the APD post-test received a
passing score. Operational aspects of the APD’s performance on this
requirement will be assessed as the COP/POP training and procedures
are reflected in operations and the monitoring team has an opportunity to
assess outcomes associated with the new program.

The monitoring team did raise a concern about the post training
assessment methodology and recommends that APD conduct review of
these assessment methods to ensure alignment with industry standards
and report findings to executive staff and the monitoring team. The
monitoring team will continue to monitor for operational compliance
including evidence of the impacts of the COP/POP training. APD has
prepared summary descriptions of each of their POP projects but
information provided does not always provide current status, outcomes,
or measureable impacts. The monitoring team recommends revisiting
reporting formats to capture more current status and outcome/impact
information. COP/POP efforts at summary descriptions of programmatic
inputs and outputs are of highly varied quality at this point. While APD
took the first steps at improving reporting, not all projects reflect such
critical items as goals, objectives, current status, outcomes or results.

               Primary:         In Compliance
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              Secondary:       In Compliance
              Operational:     Not In Compliance

Recommendation 4.7.233a: Prepare detailed operational reports
assessing POP-related programs and projects, including analyses
of outcomes and processes.

4.7.244 Assessing Compliance with Paragraph 259: Measuring
Officer Outreach

Paragraph 259 stipulates:

“Within six months of the Effective Date, APD agrees to develop
and implement mechanisms to measure officer outreach to a broad
cross-section of community members, with an emphasis on mental
health, to establish extensive problem solving partnerships, and
develop and implement cooperative strategies that build mutual
respect and trusting relationships with this broader cross section
of stakeholders.”

Methodology

Members of the monitoring team reviewed APD’s community calendar,
and samplings of social media, copies of MOU’s between APD and
community organizations. Team members also reviewed
correspondence reflecting community stakeholder outreach. These data
sources were reviewed to gauge the level and quality of “formalized
partnerships” with stakeholders in the community. We also reviewed
documented problem-solving partnerships developed by APD with its
various community stakeholders. We also looked at APD provided
survey data reflecting assessing outreach efforts.

Results

APD is still in the process of fully developing and implementing a system
to capture non-enforcement officer contacts and measure officer
outreach. No additional documentation for this effort was provided during
this reporting period. APD did provide community calendars depicting
activity at various levels, and samplings of social media contacts to
demonstrate non-enforcement contacts for the reporting period. APD
reported that based on calendar data and other sources, APD officers
and senior staff participated in an average of 30 non-enforcement
community meetings per month during this reporting period. APD, as
demonstrated in its electronic correspondence, has initiated some
coordination with community stakeholders focused on toy drives and
other similar events. To date, no documented on-going partnerships
(outside of the POP projects) with service-providing stakeholder groups
have been documented by APD. Moreover, no studies, assessments, or

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other documents indicate preliminary planning to work with or generate
on-going partnerships with stakeholders in the community, other than the
CPCs.

In summary, APD’s community oriented and problem oriented policing
processes appear to be piecemeal and reflexive instead of consisting of
a coherent overlay of problem assessments, response planning,
execution, and evaluation. We have repeatedly referred APD to the well
documented SARA model (Scanning-Analysis-Response-Assessment)
used by other police agencies for decades. It appears the department
has chosen to implement its own model, which at this time is difficult to
discern in terms of goals, objectives, methods and measures. It appears
to be, instead, a less than coherent “collage” of ad hoc responses.

APD continues to struggle with implementing the tracking mechanisms
to systematically capture community contacts, outreach activities, and
ongoing partnerships. Progress has been made in the log ins of
community contacts through a recently enacted 10-Code 75/1 system.
What’s missing is the capture of specific concerns raised, and outcomes
from APD response. APD has other ongoing collaborations and
partnerships with service providing groups that need to be more clearly
documented and updated and then included in information provided to
the monitoring team.

We continue to be perplexed by APD’s resistance to well-researched
and proven effective methods in other agencies (such as the SARA
model). Nonetheless, that choice is APD’s, and we will simply continue
to report outcomes as we find them. (We found similar resistance to
using policies from other police departments, regarding use of force, for
example).

              Primary:     In Compliance
              Secondary: Not in Compliance
              Operational: Not in Compliance

Recommendation 4.7.244: Document activities using Area
Command tracking sheets, ensuring specifically that documented
on-going partnerships are assessed and recommendations for
reasonable improvement are included.

4.7.245 Compliance with Paragraph 260: PIO Programs in Area
Commands

Paragraph 260 stipulates:
“APD shall develop a Community Outreach and Public Information
program in each area command.”

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Methodology

Members of the monitoring team reviewed Area Command websites,
social media data, samplings of social media interactions, descriptions of
new community outreach programs including “4# at Tuesday Cop Talks”,
reviewed outreach videos, related internal memoranda, documentation
of APD’s Coffee with a Cop initiative and other outreach activities.
Monitoring team members also reviewed minutes from CPCs involving
APD information sharing presentations and proposed template for a
proposed “Community Policing and Concerns memo.”

Results

APD has established and continues to maintain CPC websites for each
of the six command areas. These sites currently capture crime
information, agendas for upcoming CPC meetings, schedules of
upcoming events, other news items, information on how to report crimes,
and information regarding how to file complaints or recommendations for
officer commendations. APD has also established social media
outreach that includes Facebook, Twitter, and netdoor.com. APD,
during this reporting period, hosted nine “Coffee with a Cop” events, and
two “Chili Dog With a Cop” events. The outreach program continues to
evolve and expand with each reporting period.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.246 Compliance with Paragraph 261: Community Outreach in
Area Commands

Paragraph 261 stipulates:
“The Community Outreach and Public Information program shall
require at least one semi-annual meeting in each Area Command
that is open to the public. During the meetings, APD officers from
the Area command and the APD compliance coordinator or his or
her designee shall inform the public about the requirements of this
Agreement, update the public on APD’s progress meeting these
requirements, and address areas of community concern. At least
one week before such meetings, APD shall widely publicize the
meetings.”

Methodology

Members of the monitoring team reviewed minutes from the CPC
meetings during the reporting period. Other documentation including
meeting announcements, outreach efforts, and the power point

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presentation by APD of the CASA requirements, updates on APD’s
progress and continued challenges in meeting CASA requirements.
During this reporting period, APD Forward, coalition of local advocacy
groups also provided presentations updating community members on
APD progress and remaining challenges regarding implementation of the
CASA and monitoring team members attended two of these
presentations.

Results

Monitoring team members attended two of these required semi-annual
meetings devoted to providing community members, summarized
information from the most recent IMR highlighting both accomplishments
and continuing challenging areas. In both meetings attended by
monitoring team members, there was extensive and vigorous discussion,
valuable information sharing regarding CASA status, and opportunities
for community feedback was provided. APD’s COB documentation and
“on the ground” observations by monitoring team members indicate
compliance for this paragraph has been achieved.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance

4.7.247 Compliance with Paragraph 262: Community Outreach
Meetings

Paragraph 262 stipulates:

“The Community Outreach and Public Information meeting shall,
with appropriate safeguards to protect sensitive information,
include summaries, of all audits and reports pursuant to this
Agreement and any policy changes and other significant action
taken as a result of this Agreement. The meetings shall include
public information on an individual’s right and responsibilities
during a police encounter.”

Methodology

Members of the monitoring team reviewed APD website activity, semi-
annual meeting PowerPoint presentations, meeting handouts, and
meeting agenda.

Results

All CASA-related reports are posted on the APD website. The
PowerPoint presentation for the semi-annual meetings does provide
summary information on policy changes and actions taken by APD.
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Further, APD has created a handout outlining individual rights and
responsibilities for police encounters and made it available at the semi-
annual meetings in each command area. Meetings were held in each of
the six area commands during this reporting period.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance

4.7.248 Compliance with Paragraph 263: APD Attendance at
Community Meetings

Paragraph 263 stipulates:

“For at least the first two years of this Agreement, every APD
officer and supervisor assigned to an Area command shall attend
at least two community meetings or other meetings with
residential, business, religious, civic or other community-based
groups per year in the geographic area to which the officer is
assigned.”

Methodology

Members of the monitoring team reviewed APD’s “Community
Calendar,” Officer monthly reports, CPC meeting attendance
information, and social media efforts to capture non-enforcement
contact, and POP project summaries.

Results

APD previously established through SOP-3-02-1 the requirement and
tracking mechanisms to implement this task. It continues to be unable to
develop the capability to systematically track and capture salient
information about participation in community meetings, and to document
execution of this task. APD is making other efforts to document non-
enforcement community meetings, referencing community calendars,
social media, and community meeting minutes. Based on these less-
than-precise metrics, they estimate APD is generating attendance at 30
community meetings a month department wide. At this stage of the
compliance process “estimates” are not acceptable evaluative data. APD
reports that they are still in the process of fully implementing the TRACS
system that will capture meting attendance and outcomes. APD should
identify barriers and develop a plan to address them. It is clear that APD
is making progress in increasing their community involvement based on
the current documentation available. However, APD still struggles with
data capture and tracking of non-enforcement police activities. We
recommend APD seek external technical assistance in defining,
capturing, measuring, tracking, and reporting on non-enforcement
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activities, as recommendations made by the monitoring team seem not
to be acted upon in a timely manner.

              Primary:     In Compliance
              Secondary: Not In Compliance
              Operational: Not In Compliance

Recommendation 4.7.248a: Develop the capacity, and begin using
the capacity to systematically track and capture salient information
about participation in community meetings, and document
execution of this task.

4.7.249 Compliance with Paragraph 264: Crime Statistics
Dissemination

Paragraph 264 stipulates:

“APD shall continue to maintain and publicly disseminate accurate
and updated crime statistics on a monthly basis.”

Methodology

Members of the monitoring team reviewed the APD website and minutes
of CPC monthly meetings.

Results

The results of this reporting period have not changed from the previous
reporting period. APD has contracted with a service that provides up to
date crime mapping services based on “calls for service” that can be
accessed on their website, a very useful tool. However, it is not a CASA
requirement. The capture and reporting of aggregated monthly crime
statistics is a CASA requirement. While some of this information may be
presented at monthly CPC meetings, it is not provided on the area
command websites. Furthermore, accessing the information that is
available is difficult and cumbersome. Overall, City-wide Monthly crime
numbers are provided on the city government website, but should be
reported as well on the CPC command area website.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: Not In Compliance

Recommendation 4.7.249a: Document the capture and reporting of
aggregated monthly crime statistics by Area Command.



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4.7.250 Compliance with Paragraph 265: Posting Monitor’s Reports

Paragraph 265 stipulates:

“APD audits and reports related to the implementation of this
Agreement shall be posted on the City or APD website with
reasonable exceptions for materials that are legally exempt or
protected from disclosure.”

Methodology

Members of the monitoring team reviewed the APD and City websites for
evidence of compliance with this task.

Results

All requirements stipulated by this paragraph continued to be met by the
APD and the City. Further, APD has developed reasonable guidelines
for determining any reasonable exceptions to posting audits and reports
relating to the CASA.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.251 Compliance with Paragraph 266: CPCs in Each Area
Command

Paragraph 266 stipulates:

“The City shall establish Community Policing Councils in each of
the six Area Commands with volunteers from the community to
facilitate regular communication and cooperation between APD
and community leaders at the local level. The Community Policing
Councils shall meet, at a minimum, every six months.”

Methodology

Members of the monitoring team reviewed CPC minutes, agenda, and
attendance reports for CPC meetings, and attended four CPC meetings
during this reporting period.

Results

CPCs have been established in each of the six Area commands since
November 2014. During this and prior reporting periods, each of the six
Councils met once a month. Through extensive recruitment and
outreach efforts, the CPCs overall increased their voting membership

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during this reporting period. Non- voting participation levels are not
captured or documented in meeting minutes. Estimates in non- voting
attendance have been requested for future CPC meetings. There is
some evidence that overall participation in most of the six CPCs has
improved in this reporting period. However, ABQ still has not developed
the capture and tracking mechanisms to document and report
participation levels in CPC meetings.

Communication and dialogue with all relevant community stakeholders
still remains a challenge, although in some CPCs efforts have been able
to diversify membership to a greater extent and provide a broader and
more representative range of perspectives on issues being presented
and discussed at CPC meetings. The broader and more diverse voting
membership may in part address complaints by some meeting attendees
that only APD perspectives on issues are presented at CPC meetings,
and not providing opportunities for more balanced analysis and
discussion. APD should continue work to broaden membership and
participation by determining what factors are keeping “relevant
stakeholders” from expressing their views at CPC meetings, and
documenting attempts to address those factors.

APD has consistently exceeded CASA requirements with CPCs monthly
meetings since their inception. They continue to struggle with
participation metrics and documentation, and voting membership
diversification. APD has taken steps to broaden membership in CPCs.
In conjunction with CPC leadership, they have helped conduct outreach
to stakeholder groups, and utilized a variety of networks to recruit more
voting members who also are broadening perspectives in some of the
CPCs. More work on this recommendation is still required.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: Not In Compliance

Recommendation 4.7.251a: APD should continue work to broaden
membership and participation by determining what factors are
keeping “relevant stakeholders” from expressing their views at
CPC meetings, and documenting attempts to address those factors

4.7.252 Compliance with Paragraph 267: Selection of Members of
the CPCs

Paragraph 267 stipulates:

“In conjunction with community representatives, the City shall
develop a mechanism to select the members of the Community
Policing Councils, which shall include a representative cross

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section of community members and APD officers, including for
example representatives of social services providers and diverse
neighborhoods, leaders in faith, business, or academic
communities, and youth. Members of the Community Policing
Councils shall possess qualifications necessary to perform their
duties, including successful completion of the Citizen Police
Academy.”

Methodology

Members of the monitoring team assessed the CPC survey data, APD’s
website, APD’s CPC guidance document and reviewed them for
compliance to the requirements of the CASA. In addition, we audited
posted CPC selection procedures and criteria, and interviewed CPC
current leadership.

Results

Selection mechanisms continue to evolve but now reflect CPC input.
Each CPC is allowed now to establish their own selection criteria, but
each voting member is still required to complete a background check.
The background check requirements have reasonable excluding factors
limited to current warrants and/or violent felonies in last three years.
There remains a requirement to complete a 12-week course for the
Citizen Police Academy during this reporting period, but efforts are
underway to provide a shorter version for CPC voting members as an
option.

CPC membership criteria is posted on the APD website. However, each
CPC can further refine voting membership criteria, so each CPC website
should post its voting member selection criteria and procedures. CPCs
continue to need to recruit a more representative cross section of
community members as CPC voting members. Selection procedures
and criteria for each CPC also need to be finalized, posted and
publicized. We recommend that APD, working closely with CPC
leadership, formulate a membership recruitment strategy aimed
specifically at achieving more diversification in membership as required
in the CASA. APD in conjunction with CPC leadership has made
inroads in reaching a broader cross-section of community members,
both expanding the numbers and the diversity of CPC voting members.
Additional efforts are required to achieve compliance.

 CPC voting member selection procedures continued to evolve with
CPCs now weighing in, and APD offering more clarity regarding back
ground checks. APD is also considering modifying the requirement for
completion of the 12-week Citizen Police Academy, and offering a
shorter version as an option to CPC members. Other selection
procedures and criteria are determined by each CPC and should be

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posted along with the general requirements and criteria on each CPC
website.

       Primary:     In Compliance
       Secondary: Not in Compliance
       Operational: Not in Compliance

Recommendation 4.7.252a: Improve and document efforts to
recruit and retain a more representative cross section of
community members as voting members of the CPCs

Recommendation 4.7.252b: Post selection procedures on the
internet.

4.7.253 Compliance with Paragraph 268: Resourcing the CPCs

Paragraph 268 stipulates:

“The City shall allocate sufficient resources to ensure that the Community
Policing Councils possess the means, access, training, and mandate necessary
to fulfill their mission and the requirements of this Agreement. APD shall work
closely with the Community Policing Councils to develop a comprehensive
community policing approach that collaboratively identifies and implements
strategies to address crime and safety issues. In order to foster this
collaboration, APD shall provide appropriate information and documents with the
Community Policing Councils, provided adequate safeguards are taken not to
disclose information that is legally exempt or protected from disclosure.”

Methodology

Members of the monitoring team reviewed CPC guidelines, Facilitator
invoices, and the CPC staffing memorandum. Members also
interviewed CPC leadership and CPC meeting observations.

Results

During the last reporting period, APD assigned staff fully devoted to
CPCs, and also provided over 100 hours of facilitation services for the
CPCs. The assignment of staff fully devoted to CPCs has resulted in
expanded outreach activities producing more CPC voting members and
apparently increasing participation by community members. CPC
meeting agenda, guest speakers and topics are increasingly reflective of
CASA requirements. What is lacking is CPCs progress in capturing,
organizing and posting CPC activities in an easily accessible and timely
fashion. Monitoring team members recommend APD assign staff to
review and revise the CPC main website and in particular the website for
each CPC, to ensure posting of CPC documentation in a timely fashion,
and using a design to advance outreach efforts.

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Many CPC compliance issues focus on inadequate documentation
including timely posting of annual reports, CPC recommendations and
APD responses, CPC participation metrics, updated and clearly
explained voting membership procedures and criteria, and command
area crime statistics. CPC topics and discussions at times touch on
community policing efforts but APD, in conjunction with CPCs, still have
not produced a comprehensive community policing approach for each
command area. APD commanders and their staffs have made
themselves available to CPCs, and data and other information has
generally been provided when requested by CPCs. Minimal progress
has been made this reporting period in addressing this recommendation.
APD may require external technical assistance to develop specific
community policing strategies for each command area.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: Not In Compliance

Recommendation 4.7.254a: APD should take the lead to ensure a
comprehensive community policing approach is identified for each
area command, based on CPC interaction, participation, and
comment.

4.7.254 Compliance with Paragraph 269: APD-CPC Relationships

Paragraph 269 stipulates:

“APD shall seek the Community Policing Councils assistance,
counsel, recommendations, or participation in areas including:

a) Reviewing and assessing the propriety and effectiveness of law
enforcement priorities and related community policing strategies,
materials, and training;
b) Reviewing and assessing concerns or recommendations about
specific APD policing tactics and initiatives;
c) Providing information to the community and conveying
feedback from the community;
d) Advising the chief on recruiting a diversified work force
e) Advising the Chief on ways to collect and publicly disseminate
data and information including information about APDs
compliance with this Agreement, in a transparent and public –
friendly format to the greatest extent allowable by law.”

Methodology

Members of the monitoring team have reviewed CPC meeting minutes,
the APD website, and documentation relative to this requirement
produced by the CPCs and the APD. We have also audited CPC

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agendas and CPC recommendations, and have reviewed APD feedback
to the CPCs relative to this paragraph. Monitoring team members also
attended four CPC meetings during this reporting period.

Results

The CPCs have made significant progress during this reporting period in
addressing the areas identified in the CASA for CPC input. The agenda
items and CPC recommendations for several CPCs more closely align
with the issues and topics identified in the CASA. APD has started
tracking and posting recommendations and some APD responses.
Response and posting of those responses to recommendations by APD
were inconsistent and not always timely during this report period. For
some CPCs, topic areas covered in agendas and the focus of
recommendations still need to be more responsive to CASA
requirements such as advising the chief on diversifying the work force,
specific feedback on APD policies and practices, and advancing
community policing strategies. APD, working with CPCs during this
report period, have improved in their documentation of recommendations
submitted to APD for approval. A process has been developed including
recommendation submission forms and timelines for APD response.
The challenge now is for APD to build consistency in recommendation
receipt and posting of the review in a timely manner. APD through its
CPCs are engaged in more discussion with community members about
APD compliance and compliance challenges. Progress remains slow.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: Not in Compliance

Recommendation 4.7.255a: Using the CSW model, APD should
assess specific “failure analyses” for the issues noted above,
identify the cause of the failures, and articulate a written plan for
resolving any outstanding requirements relating to compliance with
this paragraph.

4.7.255 Compliance with Paragraph 270: CPC Annual Reports

Paragraph 270 stipulates:

“The Community Policing Councils shall memorialize their
recommendations in annual public report that shall be posted on
the City website. The report shall include appropriate safeguards
not to disclose information that is legally exempt or protected from
disclosure.”




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Methodology

Members of the monitoring team reviewed CPC annual reports and the
APD website for information responsive to the requirements of this
paragraph.

Results

APD has posted annual CPC annual reports for 2015 for several CPCs,
posted several CPC annual reports for 2016. There is an incomplete set
of annual reports for both 2015 and 2016 posted on the website during
this report period. We recommended that staff be assigned to develop a
more standard format for the CPC annual report and provide assistance
to each CPC in producing its annual report. 2017 data need to be
incorporated.

           Primary:          In Compliance
           Secondary:        Not in Compliance
           Operational:      Not in Compliance

Recommendation 4.7.55: Assigne staff to develop a more standard
format for the CPC annual report and provide assistance to each
CPC in producing its annual report. 2017 data need to be
incorporated.

4.7.256 Compliance with Paragraph 271: CPOA Implementation

Paragraph 271 stipulates:

“The City shall implement a civilian police oversight agency (“the
agency”) that provides meaningful, independent review of all
citizen complaints, serious uses of force, and officer-involved
shootings by APD. The agency shall also review and recommend
changes to APD policy and monitor long-term trends in APD’s use
of force.”

Methodology

Members of the monitoring team reviewed online information regarding
the CPOA and POB, met with the Director and members of the CPOA
and the Chair and members of POB, and reviewed records from, to, and
relating to CPOA operations this reporting period.




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Results

It is clear from this review that the CPOA has been implemented,
organized and is providing an independent review of the elements of
police oversight articulated in this paragraph.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.257 Assessing Compliance with Paragraph 272: Independence
and Accountability of CPOA

Paragraph 272 stipulates:

“The City shall ensure that the agency remains accountable to, but
independent from, the Mayor, the City Attorney’s Office, the City
Council, and APD. None of these entities shall have the authority
to alter the agency’s findings, operations, or processes, except by
amendment to the agency’s enabling ordinance.”

Methodology

Members of the monitoring team have ongoing communications with
CPOA staff and leadership. In addition, we review, every reporting
period, the work product produced by CPOA as well as online
information regarding meetings of the POB.

Results

It is clear from this review that the CPOA has been implemented,
organized and is providing an independent review of the elements of
police oversight articulated in this paragraph.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.258 Assessing Compliance with Paragraph 273: Requirements
for Service of CPOA Members

Paragraph 273 stipulates:

“The City shall ensure that the individuals appointed to serve on
the agency are drawn from a broad cross-section of Albuquerque
and have a demonstrated commitment to impartial, transparent,
and objective adjudication of civilian complaints and effective and
constitutional policing in Albuquerque.”


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The monitoring team reviewed the resumes and backgrounds of the appointed
members of the CPOA (POB members) and the CPOA Ordinance, had several
meetings during the site visit with members of the CPOA, and attended a POB
meeting in which the member of the monitoring team met with the Chairperson
and members of the POB and CPOA.

Results

As noted in IMR-4 the Ordinance sets forth the requirements of this paragraph
for members of the Police Oversight Board. The monitor was able to review the
CVs and background of members of the POB. The monitor finds their
background and commitment to be in compliance with, and in many cases to
exceed, the requirements of this paragraph.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.259 Assessing Compliance with Paragraph 274: CPOA Pre-
Service Training

Paragraph 274 stipulates:

“Within six months of their appointment, the City shall provide 24
hours of training to each individual appointed to serve on the
agency that covers, at a minimum, the following topics:

  a) This Agreement and the United States’ Findings Letter of
     April 10, 2014;
  b) The City ordinance under which the agency is created;
  c) State and local laws regarding public meetings and the
     conduct of public officials;
  d) Civil rights, including the Fourth Amendment right to be free
     from unreasonable searches and seizures, including
     unreasonable uses of force;
  e) All APD policies related to use of force, including policies
     related to APD’s internal review of force incidents; and
  f) Training provided to APD officers on use of force.”

Methodology

As noted in previous IMRs, members of the monitoring team reviewed training
records of the appointed members of the CPOA (POB members) and the CPOA
Ordinance, had several meetings during the site visit with the Director of the
CPOA, visited the CPOA office, and met with the POB Chair and POB and
CPOA members. The monitoring team also reviewed, relative to a previous site
visit, a PowerPoint presentation proposed by legal counsel to the CPOA
regarding civil rights and Fourth Amendment training and the CASA.

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Results

The Ordinance sets forth the initial training requirements (within the first six
months of the member’s appointment) required by this paragraph, although it
does not specify that these training requirements must equal 24 hours.

The monitor’s review of CPOA training records shows that the appointed
members of the CPOA (POB members) are in compliance with the training
requirements of this paragraph, including the 24-hour training requirement.

The monitor finds the proposed Civil Rights, Fourth Amendment and CASA
training is professional and appropriately addresses the subject matter required
by the CASA.

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance

4.7.260 Assessing Compliance with Paragraph 275: CPOA Annual
Training

Paragraph 275 stipulates:

“The City shall provide eight hours of training annually to those
appointed to serve on the agency on any changes in law, policy, or
training in the above areas, as well as developments in the
implementation of this Agreement.”

Methodology

The monitor reviewed training records of the appointed members of the POB
members, had several meetings during the site visit with the Director of the
CPOA and visited the CPOA office, met with the POB Chair and members of the
POB and CPOA. The monitor also reviewed, relative to a previous site visit, a
PowerPoint presentation proposed by legal counsel to the CPOA, of civil rights
and Fourth Amendment training and the CASA. (See also, Methodology,
paragraph 274).

Results

The CPOA is in compliance with the annual training requirement for members of
the POB (appointed members of the agency).

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance


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4.7.261 Assessing Compliance with Paragraph 276: CPOA Ride-
alongs

Paragraph 276 stipulates:

“The City shall require those appointed to the agency to perform at
least two ride-alongs with APD officers every six months.”

Methodology

The monitor had several meetings during the site visit with members of the
CPOA and visited the CPOA office, reviewed the CPOA Ordinance and
assessed CPOA training records.

Results

The Ordinance forming and empowering the CPOA sets forth the requirements
of this paragraph for members of the POB (appointed members). CPOA
member ride-along records support compliance with this paragraph.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.262 Assessing Compliance with Paragraph 277: CPOA
Authority and Resources to Make Recommendations

Paragraph 277 stipulates:

“The City shall provide the agency sufficient resources and
support to assess and make recommendations regarding APD’s
civilian complaints, serious uses of force, and officer- involved
shootings; and to review and make recommendations about
changes to APD policy and long-term trends in APD’s use of
force.”

Methodology

Members of the monitoring team reviewed staffing levels and case-
completion times relative to civilian complaints, serious uses of force,
and officer-involved shootings, and the general assessment of the
discharge of CPOA duties. The monitor met several times with the
Director of CPOA and visited the CPOA office and made observations of
its members and their work.




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Results

CPOA case completion times are reviewed in the treatment of
Paragraph 198, above. They show adequate levels of personnel and
are completing cases in an expedited manner.

                Primary:     In Compliance
                Secondary: In Compliance
                Operational: In Compliance

4.7.263 Assessing Compliance with Paragraph 278: CPOA Budget
and Authority

Paragraph 278 stipulates:

“The City shall provide the agency a dedicated budget and grant
the agency the authority to administer its budget in compliance
with state and local laws. The agency shall have the authority to
hire staff and retain independent legal counsel as necessary.”

Methodology

The monitoring team routinely assess this issue in its conversations with
the Executive Director of CPOA, and through assessment of the
discharge of CPOA responsibilities.

Results

The City remains in compliance with this paragraph based on past and
current performance.

                Primary:     In Compliance
                Secondary: In Compliance
                Operational: In Compliance

4.7.264 Assessing Compliance with Paragraph 279: Full-Time
CPOA Investigative Staff

Paragraph 279 stipulates:

“The agency shall retain a full-time, qualified investigative staff to
conduct thorough, independent investigations of APD’s civilian
complaints and review of serious uses of force and officer-
involved shootings. The investigative staff shall be selected by
and placed under the supervision of the Executive Director. The
Executive Director will be selected by and work under the
supervision of the agency. The City shall provide the agency with
adequate funding to ensure that the agency’s investigative staff is


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sufficient to investigate civilian complaints and review serious
uses of force and officer-involved shootings in a timely manner.”

Methodology

The monitoring team routinely monitors performance on this paragraph
by reviewing case timelines and completion data. Funding is adequate;
the investigative staff is actively supervised by the Executive Director
who in turn reports to, and is supervised by, the POB. No substantial
delays were noted based on staffing issues.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.265 Assessing Compliance with Paragraph 280: Receipt and
Review of Complaints by CPOA

Paragraph 280 stipulates:

“The Executive Director will receive all APD civilian complaints,
reports of serious uses of force, and reports of officer-involved
shootings. The Executive Director will review these materials and
assign them for investigation or review to those on the
investigative staff. The Executive Director will oversee, monitor,
and review all such investigations or reviews and make findings
for each. All findings will be forwarded to the agency through
reports that will be made available to the public on the agency’s
website.”

Methodology

The monitor reviewed intake and resolution data responsive to this
paragraph. The Executive Director’s findings are published on the CPOA
website.

Results

CPOA remains in compliance with this task for this monitoring period.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.266 Assessing Compliance with Paragraph 281: Prompt and
Expeditious Investigation of Complaints

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Paragraph 281 stipulates:

“Investigation of all civilian complaints shall begin as soon as
possible after assignment to an investigator and shall proceed as
expeditiously as possible.”

Methodology

Members of the monitoring team assessed a random sample of CPOA
cases completed this reporting period to determine the date complaint
was received, the date investigation was assigned, the date the
investigation was started and date it was completed. The monitoring
team also reviewed data consisting of CPOA cases completed during
the monitoring period, and had meetings and follow up conversations
with the Executive Director regarding workload and staffing.

Results

We sampled eight cases completed this reporting period. All showed
evidence of “as soon as possible” initiation after assignment, a 100%
compliance rate. However, during the 6th site visit, the monitoring team
discussed with the parties the issue of delay between date the complaint
is received and the date the complaint is assigned for investigation. The
parties and the monitor agreed, although the CASA does not deal
directly with the issue of time to assign, a delay of more than seven
working days for assignment is unreasonable and would affect the
“expeditious” requirement of this paragraph. Of the eight cases
reviewed, four cases took longer than seven working days to assign.
Since this issue was discussed in June of 2017, and the initiation of
cases reviewed herein preceded that agreement, the Monitor will not
judge this issue as it relates to operational compliance for this reporting
period. CPOA and APD are hereby put on notice that undue delay (in
excess of seven working days) in assigning a complaint received for
investigation will adversely impact the timeliness of investigations.
Operational compliance of the “expeditious” requirement of this
paragraph is also linked to the results of paragraph above. Of the eight
cases reviewed, two were not completed within 90 days, a failure rate of
25 percent, far outside the allowable five percent.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: Not In Compliance

Recommendation 4.7.266a: Increase the levels of focus by
managerial personnel on timelines for completed investigation.



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 Recommendation 4.7.266b: Ensure that tardy investigations are
noted, and discussed with the involved investigator(s) to ensure
the reasons for delay were reasonable.

Recommendation 4.7.266c: Develop a process that ensures all
complaints are either assigned for investigation or administratively
closed within 7 working days of receipt of complaint.

Recommendation 4.7.266d: Increase the levels of focus by
managerial personnel on timelines for completed investigation.

 Recommendation 4.7.266e: Ensure that tardy investigations are
noted, and discussed with the involved investigator(s) to ensure
the reasons for delay were reasonable.

4.7.267 Assessing Compliance with Paragraph 282: CPOA Access
to Files

Paragraph 282 stipulates:

“The City shall ensure that the agency, including its investigative
staff and the Executive Director, have access to all APD
documents, reports, and other materials that are reasonably
necessary for the agency to perform thorough, independent
investigations of civilian complaints and reviews of serious uses
of force and officer-involved shootings. At a minimum, the City
shall provide the agency, its investigative staff, and the Executive
Director access to:

a) all civilian complaints, including those submitted anonymously
   or by a third party;
b) the identities of officers involved in incidents under review;
c) the complete disciplinary history of the officers involved in
   incidents under review;
d) if requested, documents, reports, and other materials for
   incidents related to those under review, such as incidents
   involving the same officer(s);
e) all APD policies and training; and
f) if requested, documents, reports, and other materials for
   incidents that may evince an overall trend in APD’s use of force,
   internal accountability, policies, or training.”

Methodology

Members of the monitoring team met with the Executive Director and
members of the CPOA staff, and received confirmation that there were
no issues involved related to this paragraph for this reporting period.




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Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance


4.7.268 Assessing Compliance with Paragraph 283: Access to
Premises by CPOA

Paragraph 283 stipulates:

“The City shall provide reasonable access to APD premises, files,
documents, reports, and other materials for inspection by those
appointed to the agency, its investigative staff, and the Executive
Director upon reasonable notice. The City shall grant the agency
the authority to subpoena such documents and witnesses as may
be necessary to carry out the agency functions identified in this
Agreement.”

Methodology

Interviews with the Executive Director and CPOA staff indicate there
were no issues with access to City premises experienced this reporting
period.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.269 Assessing Compliance with Paragraph 284: Ensuring
Confidentiality of Investigative Files

Paragraph 284 stipulates:

“The City, APD, and the agency shall develop protocols to ensure
the confidentiality of internal investigation files and to ensure that
materials protected from disclosure remain within the custody and
control of APD at all times.”

Methodology

Members of the monitoring team reviewed these protocols during earlier
monitor’s reports. CPOA has not reported any changes to these
protocols during this reporting period.


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Results

The agency remains in compliance based on past performance.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance


4.7.270 Assessing Compliance with Paragraph 285: Authority to
Recommend Discipline

Paragraph 285 stipulates:

“The Executive Director, with approval of the agency, shall have
the authority to recommend disciplinary action against officers
involved in the incidents it reviews. The Chief shall retain
discretion over whether to impose discipline and the level of
discipline to be imposed. If the Chief decides to impose discipline
other than what the agency recommends, the Chief must provide a
written report to the agency articulating the reasons its
recommendations were not followed.”

Methodology

Based on a review of CPOA cases as well as the redacted findings of
the Executive Director and the POB Meeting Minutes posted on the
CPOA website, it is evident that the Executive Director has the authority
to recommend disciplinary action in the cases it investigates and
reviews, and that the Chief retains the discretion to impose discipline.

This paragraph also requires the Chief to provide a written report
articulating reasons why any disciplinary recommendations by the CPOA
were not imposed. Members of the monitoring team reviewed CPOA
and APD records related to this paragraph and viewed the Chief’s Non-
Concurrence Letters received by CPOA for the monitoring period and
published on the CPOA website. First the monitor would note several
letters involving situations where the level of discipline was not impacted,
such as non-concurrence in an Exoneration finding and instead imposing
a finding of non-sustained. If the Chief wishes to adopt this practice of
explaining deviations in findings that do not impact on the discipline or
lack of discipline recommended by CPOA that is commendable, but it is
not required by this paragraph.

What is required by this paragraph is an articulation of reasons when
discipline is imposed different than the discipline recommended by
CPOA/POB, that is, different findings that changes the discipline or
same findings but a different level of discipline. Regarding those matters,

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a review of the letters shows a majority with inadequate “articulation” of
reasons why the CPOA/POB recommendations were not followed.
These letters concluded cursory explanations such as “I do not concur
with the findings … I believe a finding of … is more applicable in this
matter.” This is language clearly non-compliant with the letter and spirit
of this paragraph. The monitor does note an improvement in articulating
reasons for non-concurrence starting with the March 18 through the
June 16 postings of non-concurrence letters received by the CPOA in
2017 and posted on its website. These letters come closer to fulfilling the
requirement that the non-concurrence letters “provide a written report to
the agency articulating the reasons its recommendations were not
followed”. The monitor will continue to assess whether non-concurrence
letters adequately explain reasons for deviating from CPOA/POB
disciplinary recommendations such that the CPOA/POB, APD and the
public can readily understand the Chief’s reasoning in deviating.

Results

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: Not In Compliance

Recommendation 4.7.270a: The Chief of police should continue the
observed change his modalities of response to this paragraph to
conform to the requirements stipulated in the paragraph, to ensure
that the rationale for his decisions are clearly and fairly explained.

Recommendation 4.7.270b: APD should ensure that input from POB
and CPOA is given full and complete consideration and
assessment.

Recommendation 4.7.270c: Where the Chief or his designee
decides not to impose POB and CPOA disciplinary
recommendations, the reasons for the decision not to impose
should be communicated adequately for a clear understanding by
the CPOA/POB, the APD and the public of the Chief’s reasoning.

4.7.271 Assessing Compliance with Paragraph 286: Documenting
Executive Director’s Findings

Paragraph 286 stipulates:

“Findings of the Executive Director shall be documented by APD’s
Internal Affairs Bureau for tracking and analysis.”




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Methodology

Members of the monitoring team reviewed APD’s internal databases
responsive to the requirements of this task. Documentation was
available as required by this paragraph and APD policy. Redacted
findings of the Executive Director are also published on the CPOA
website.

Results

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance

4.7.272 Assessing Compliance with Paragraph 287: Opportunity to
Appeal Findings

Paragraph 287 stipulates:

“The City shall permit complainants a meaningful opportunity to
appeal the Executive Director’s findings to the agency.”

Methodology

The monitor reviewed the Ordinance and had several meetings during the site
visit with members of the CPOA and visited the CPOA office and reviewed the
appeals listed in the minutes of the POB meetings and posted on the
CPOA/POB website.

Results

The Ordinance contains the policy required by this paragraph, and permits a
complainant to request reconsideration in the form of a hearing when
dissatisfied with the findings and/or recommendations of the POB (findings of
Executive Director to and approved by the POB). The Ordinance also permits
an appeal by the complainant to the Chief Administrative Officer of the final
disciplinary decision of the Chief of Police.

A review of the CPOA website shows a clear explanation of the appeals
process, as well POB meeting minutes wherein appeals of CPOA findings and
recommendations are listed with disposition of appeals. It appears from the
minutes that the City is in full compliance with this paragraph; however, the
monitor, in following monitoring periods, will assess individual appeals in order
to more fully determine whether “a meaningful opportunity to appeal” exists.

       Primary:   In Compliance
       Secondary: In Compliance

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       Operational: In Compliance

4.7.273 Assessing Compliance with Paragraph 288: CPOA
Recommendations Regarding APD Policies

Paragraph 288 stipulates:

“The agency shall make recommendations to the Chief regarding
APD policy and training. APD shall submit all changes to policy
related to this Agreement (i.e., use of force, specialized units,
crisis intervention, civilian complaints, supervision, discipline, and
community engagement) to the agency for review, and the agency
shall report any concerns it may have to the Chief regarding policy
changes.”

Members of the monitoring team had several meetings during the site visit with
members of the CPOA and visited the CPOA office, reviewed CPOA literature
and documents related to the civilian complaint and CPOA process, and
reviewed the CPOA website and public reports contained thereon, as well as a
random sample of CPOA investigations that were completed during this
monitoring period.

Results

The Ordinance provides CPOA with the authority to carry out the tasks of this
paragraph. CPOA’s authority is also contained in the CPOA Policies and
Procedures, approved by City Council and the monitor.

Past monitoring reviews and the current review of recent completed CPOA
cases show that CPOA makes training recommendations, where appropriate,
along with its findings and disciplinary recommendations in individual cases.

Regarding the broader policy recommendations, CPOA and POB report that
they feel they are still being marginalized in the policy development process,
noting that “APD still does not provide a mechanism for the Board as a body to
review changes made to policy. The Board made a policy recommendation to
include the POB in the flowchart of policy changes, and the Chief [of Police]
rejected the recommendation.” Further, POB notes they made policy
recommendations to amend APD policy 3-1, designed to change the policy
qualifications for the position of Chief of Police, and that this recommendation
also appears to have been rejected by the Chief of Police. See Paragraph 289,
below for further discussion of this “collaboration” issue. The monitor has
witnessed in person APD’s apparent resistance to inclusion and collaboration
with POB and CPOA.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

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Recommendation 4.7.273: APD and CPOA/POB should investigate
the possibility of requesting external technical assistance to study
APD/CPOA/POB inter-organizational cooperation issues and to
make recommendations for improvement in this area.

4.7.274 Assessing Compliance with Paragraph 289: Explanation for
not Following CPOA Recommendations

“For any of the agency’s policy recommendations that the Chief
decides not to follow, or any concerns that the agency has
regarding changes to policy that Chief finds unfounded, the Chief
shall provide a written report to the agency explaining any reasons
why such policy recommendations will not be followed or why the
agency’s concerns are unfounded.”

Methodology

The results of the analysis of this paragraph are related to operational
compliance being achieved in paragraph 288. Policy and training
recommendations can be made in one of two ways: through CPOA
investigations or through a more formal written recommendation form the
CPOA/POB. Regarding CPOA investigations, CPOA has informed the monitor
that it does not receive feedback on policy and training recommendations made
in its investigations. The monitor has found corroboration of this in its case
review for this monitoring period. [CPC 174-2016] contained a recommendation
that the subject officer be provided training on pat down searches. The
investigative file is silent on whether the training was recommended or provided
by APD, and CPOA has received no confirmation that it was or was not
provided. If the recommendation was not followed, then no explanation was
given under paragraph 285 or 289. Regarding more formal recommendations
not made in the investigative case file, the CPOA website shows no non-
concurrence letters from the current monitoring period. The policy
recommendation non-concurrence letter posted on the CPOA website from the
prior monitoring period shows an adequate response from the Chief in
explaining his reasons for non-concurrence. At this point, APD is not in
operational compliance with the requirements of this paragraph for this reporting
period

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance




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Recommendation 4.7.274a: APD should ensure that input from
POB and CPOA is given full and complete assessment, and
implemented where practicable.

Recommendation 4.7.274b: In any instance in which APD decides
it cannot implement the POB/CPOA recommendations, the reasons
for the decision not to implement should be communicated fully to
the POB and CPOA in writing.

4.7.275 Assessing Compliance with Paragraph 290: Regular Public
Meetings

Paragraph 290 stipulates:

“The agency shall conduct regular public meetings in compliance
with state and local law. The City shall make agendas of these
meetings available in advance on websites of the City, the City
Council, the agency, and APD.”

Methodology

Members of the monitoring team observed, in person and via the
internet, CPOA presentations at POB meetings, and reviewed agendas
and meeting minutes posted regarding these meetings. We also
reviewed agendas for these meetings.

Results

CPOA remains in compliance with this task.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.276 Assessing Compliance with Paragraph 291: Community
Outreach for the CPOA

Paragraph 291 stipulates:

“The City shall require the agency and the Executive Director to
implement a program of community outreach aimed at soliciting
public input from broad segments of the community in terms of
geography, race, ethnicity, and socio-economic status.”

Methodology

Members of the monitoring team reviewed the CPOA/POB website and
information regarding of the POB’s Community Outreach Subcommittee

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whose meeting notices, agenda, minutes and activities are posted on the
CPOA website. Community outreach activities are also contained in the
CPOA Annual Report. Members of the monitoring team have reviewed
sub-committee agenda and meeting minutes, as well as attending,
during site visits, meetings of the sub-committee. As noted in IMR-5,
CPOA has hired a Community Engagement Specialist who continues to
manage and improve the agency’s outreach processes.

Results

              Primary:     In Compliance
              Secondary: In Compliance
              Operational: In Compliance

4.7.277 Assessing Compliance with Paragraph 292: Semi Annual
Reports to Council

Paragraph 292 stipulates:

   “The City shall require the agency to submit semi-annual
   reports to the City Council on its activities, including:

   a)   number and type of complaints received and considered,
        including any dispositions by the Executive Director, the
        agency, and the Chief;
   b)   demographic category of complainants;
   c)   number and type of serious force incidents received and
        considered, including any dispositions by the Executive
        Director, the agency, and the Chief;
   d)   number of officer-involved shootings received and
        considered, including any dispositions by the Executive
        Director, the agency, and the Chief;
   e)   policy changes submitted by APD, including any
        dispositions by the Executive Director, the agency, and
        the Chief;
   f)   policy changes recommended by the agency, including
        any dispositions by the Chief;
   g)   public outreach efforts undertaken by the agency and/or
        Executive Director; and
   h)   trends or issues with APD’s use of force, policies, or
        training.”

Methodology

The monitoring team’s review of the CPOA website revealed the 2015 Civilian
Police Oversight Agency Annual Report and the 2016 Semi Annual Report, as
well as annual and semi-annual reports from prior years. Annual reports reflect
activity in this area as required by the paragraph.




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Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.279 Assessing Compliance with Paragraph 320: Notice to
Monitor of Officer Involved Shootings

Paragraph 320 stipulates:

“To facilitate its work, the Monitor may conduct on-site visits and
assessments without prior notice to the City. The Monitor shall
have access to all necessary individuals, facilities, and documents,
which shall include access to Agreement-related trainings,
meetings, and reviews such as critical incident review and
disciplinary hearings. APD shall notify the Monitor as soon as
practicable, and in any case within 12 hours, of any critical
firearms discharge, in-custody death, or arrest of any officer.”


Methodology

The monitor reviewed notices provided by the City to the
monitor related to this paragraph. We found no instances of
an OIS that was not noticed to the monitor in writing by
APD.

Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance




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5.0    Summary

Overall, Primary compliance levels have reached a milestone this reporting
period, for the first time posting a greater than 95 percent “in compliance” rating
for that category of compliance. The reader is reminded that compliance for
APD’s CASA categories are categorized as Primary (policy Guidance has been
provided that is CASA-compliant, Secondary (adequate training has been
provided to APD personnel in specific areas) and Operational (compliance
actions have become regularized and routine. Thus, in this summary, we report
the following compliance levels:

       Primary: 97%
       Secondary: 71%
       Operational: 53%.

These compliance levels are depicted in tabular form in Table 5.1

       Table 5.1 Compliance Rates by Reporting Period 1-6

 Task Type     IMR-1    IMR-2     IMR-3    IMR-4     IMR-5      IMR-6
 Primary         5         8       29        83       93         97
 Secondary       1         3        6        41       63         71
 Operational     1         3        5        25       47         53


Compliance levels for APD are depicted graphically for reporting periods 1
through 6, in Figure One on the following page.




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               Figure One: Overall compliance levels, by percentage,
                              IMR-1 through IMR-6

 120


 100


  80
                                                         Primary
  60
                                                         Secondary
                                                         Operational
  40


  20


   0
       IMR-1     IMR-2   IMR-3   IMR-4   IMR-5   IMR-6


APD has reached a major milestone this reporting period, accruing primary
compliance for its policy work. While some of the more critical policies (Use of
force, On-Body Recording Devices, and Early Intervention and Recording
Systems were not approved within the dates for this report (Februay-July 2017),
they have also been approved by the monitor (and will be so reported in IMR-7).
Those final policies were approved outside IMR-6’s “effective dates.”

In effect the policy process has matured to the point that most critical-task
policies are in compliance for the IMR-6 reporting period. The remaining critical
policies will be noted as “approved” for IMR-7.

In order to bring the remaining two categories of compliance into > 95 percent
levels, considerable work remains to be done in the area of training, and
substantial work remains to be done in the area of melding approved policy and
training into in-compliance delivery of policing services on the street.
Compliance levels are depicted in Figure 5-1, on p. 427.

As with other IMRs, the critical “missing elements” leading to comprehensive
compliance at the operational level are:

   1. Implementing field-standard and CASA compliant training practices; and

   2. Implementing field-standard supervisory-, command-, and executive-level
      review, assessment, and control of APD’s in-field use of force practices.

In order to facilitate APD’s continued work toward compliance, we have included
a total of 277 recommendations for improvement in training, supervision, force

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oversight, force investigation and documentation, discipline, and policy. We
urge APD’s leadership to adopt an assertive plan to assess these 277
recommendations, identify outliers, and develop formal, documented action
plans to resolve each of the issues that stand between them and “full
compliance.” We are deep into the third-year of a four-year project, and if APD
can assess and respond to the 277 recommendations we have made in this
report, full compliance is within reach.

The critical elements standing between APD and full compliance at this point
are:

   •   Training processes that comport with standard practices in needs
       assessment, planning, documenting, delivery, and evaluation of effective
       training practices, and

   •   Developing, implementing, testing, and refining modalities to identify,
       review, assess, identify and correct improper and out-of-policy uses of
       force.

The easy work is done. Much remains to be accomplished, and it is some of the
most difficult work in policing. Nontheless, we stand ready to review, assess,
and assist APD in re-building it’s training practices, and in building strong
supervisory and management modalities to identify and remediate problematic
police actions.




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                         Appendix A: Recommendations

1. Recommendation 4.7.1a: We reiterate that APD should develop and
implement a comprehensive training plan to simultaneously address all
training gaps that are delaying Secondary Compliance.

2. Recommendation 4.7.1b: Training for downstream units, such as
CIRT, FIT, etc. should also be assessed in light of the persistent failures
we have noted in IMRs 3, 4, and 5.

3. Recommendation 4.7.2a: Develop an organization-wide training plan
that contemplates all identified training gaps. Based on that plan, and
any other training needs that are identified, develop an audience
appropriate curriculum to close all the pending gaps we have identified in
this report. This recommendation continues, having not been addressed
since it was made in IMR-5.

4. Recommendation 4.7.2b: APD should immediately cease the
practice of training “proposed policy revisions”. This recommendation
continues, having not been addressed since it was made in IMR-5.

5. Recommendation 4.7.2c: APD should adopt the CASA language of
“anything above un-resisted handcuffing” into its use of force calculus to
better delineate the type of activities that constitute a reportable use of
force. That language should be included in APD policies and training.

6. Recommendation 4.7.2d: Any APD training centered on “De Minimis
force” should include practical scenarios, video and case reviews, and
include “lessons learned” from APD use of force cases. The training
program should include a legitimate mechanism to measure a transfer of
knowledge in the classroom and pre-established field implementation
measures.

7. Recommendation 4.7.3a: Ensure new procedures are appropriately
trained to retain Secondary Compliance.

8. Recommendation 4.7.4a: APD should evaluate modalities for
developing formal audit/review/reporting policy for “carry and use”
assessments and inspections regarding modified or altered weapons
outlined in this paragraph, including known “successful” similar programs
in other police agencies, using modalities established for Completed
Staff Work (CSW)193.

193 The monitor has provided APD with an example of CSW applied to law enforcement issues,
and recommends this format be followed in all CSW recommendations contained in this—and
future—reports. All suggested CSW documents should be submitted to, and reviewed and
annotated by, the Chief of Police prior to submission to the monitor.
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9. Recommendation 4.7.4b:          APD should develop formal policy,
training, supervision, inspections and audit, and response modalities to
ensure conformance and compliance processes with this paragraph.

10. Recommendation 4.7.4c: APD should transition to a routinely
reported “inspections and audit” process responsive to this paragraph’s
requirements.

11. Recommendation 4.7.5a: APD should evaluate modalities for
developing formal audit/review/reporting policy for “carry and use”
assessments and inspections regarding modified or altered weapons
outlined in this paragraph, including known “successful” similar programs
in other police agencies, using modalities established for Completed
Staff Work.

12. Recommendation 4.7.5b: APD should transition to a routinely
reported “inspections and audit” process responsive to this paragraph’s
requirements.

13. Recommendation 4.7.6a: APD should evaluate modalities for
developing formal audit/review/reporting policy for “on duty weapons”
assessments and inspections regarding modified or altered weapons
outlined in this paragraph, including known “successful” similar programs
in other police agencies, using modalities established for Completed
Staff Work.

14. Recommendation 4.7.6b: APD should transition to a routinely
reported “inspections and audit” process responsive to this paragraph’s
requirements.

15. Recommendation 4.7.8: APD should train all academy cadets and
incumbent officers on the new approved policy provisions related to
show of force, show of force investigation procedures and low-ready
position. Training before approved policies are available is remarkably
risky, and exposes APD to certain and inevitable litigation risks.
16. Recommendation 4.7.9a: APD should produce a piece of
Completed Staff Work assessing why it has been unable to meet the
requirements of paragraph 22, and recommending a way forward on this
critical oversight paragraph. The CSW should be presented to the Chief
of Police for review, comment and action.

17. Recommendation 4.7.9b: APD should ensure that any shooting
case that implicates the provisions of this paragraph includes a specific,
investigative assessment articulated in reports as to whether provisions
of APD policy related to this paragraph were appropriate and objectively
reasonable.
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18. Recommendation 4.7.9c: APD should ensure that information
captured in its IA Pro system is tracked and analyzed. The manner in
which this information is captured, tracked and analyzed should include
an auditing schedule and be specifically codified in policy.

19. Recommendation 4.7.10a: Write a revised EIRS policy that can be
approved by the Parties and the monitor as responsive to established
policy in the field, e.g., New Orleans PD and Seattle PD.

20. Recommendation 4.7.10b: Ensure provisions of this paragraph are
contemplated and included in any revised EIRS policy.

21. Recommendation 4.7.10a: Write a revised EIRS policy that can be
approved by the Parties and the monitor as responsive to established
policy in the field, e.g., New Orleans PD and Seattle PD.

22. Recommendation 4.7.10b: Ensure provisions of this paragraph are
contemplated and included in any revised EIRS policy.

23. Recommendation 4.7.24: Develop needs assessments, articulate
needed improvements in written policy, and support with protocols that
guide the audit unit as it compares operational requirements with
operational practice, allowing the audit unit to identify and address any
discrepancies in audit reports via recommendation of training or
retraining, follow-up, or discipline, if necessary and appropriate.

24. Recommendation 4.7.25a: We reiterate, APD should either
commission externally or complete internally a focused, thoughtful and
meaningful “Completed Staff Work” document analyzing this problem
and submit it to the Chief of Police for review, assessment and action. 194

25. Recommendation 4.7.25b: APD should develop a comprehensive
auditing plan that contemplates all their CASA and policy related
requirements.

26. Recommendation 4.7.25a: We reiterate, APD should either
commission externally or complete internally a focused, thoughtful and




194 The monitor has previously provided APD with nationally accepted formats and “product” for
these CSW projects, so that they can be familiar with expectations of such documents. We
recommend a format similar to the one the monitor provided APD from the Tyler, Texas Police
Department. We see it as entirely conceivable that individuals from APD command and staff
levels may need external training on this process, which they should contract for with reputable
outside consultants and trainers.
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meaningful “Completed Staff Work” document analyzing this problem
and submit it to the Chief of Police for review, assessment and action. 195

27. Recommendation 4.7.25b: APD should develop a comprehensive
auditing plan that contemplates all their CASA and policy related
requirements.

28. Recommendation 4.7.26a: APD must develop and deliver a
meaningful training program to its Field Services members that is
centered on crowd control policies. That training should include
scenarios, practical exercises, and lessons learned from previous APD
responses to events. Training must meet the instructional objectives
documented within APD lesson plans.

29. Recommendation 4.7.26b: APD should append its Multi-Agency
Review and Assessment form to its corresponding SOP.

30. Recommendation 4.7.26c: APD must ensure that its After-Action
Reports follow a standard structure and include mechanisms for
communicating needed revisions to policy and training within the
agency.

31. Recommendation 4.7.26d: Any recommendations made from After-
Action reporting should follow a logical and repetitive cycle wherein APD
can demonstrate it adequately “closes the loop” on lessons learned.


32. Recommendation 4.7.27a: APD must develop and deliver a
meaningful training program to its members that is centered on crowd
control policies. That training should include scenarios, practical
exercises, and lessons learned from previous APD responses to events.
Training must meet the instructional objectives documented within APD
lesson plans.

33. Recommendation 4.7.27b: APD should append its Multi-Agency
Review and Assessment form two it's corresponding SOP.

34. Recommendation 4.7.27c: APD must ensure that its After – Action
Reports follow a standard structure and include mechanisms for
communicating revisions to policy and training within the agency.


195 The monitor has previously provided APD with nationally accepted formats and “product” for
these CSW projects, so that they can be familiar with expectations of such documents. We
recommend a format similar to the one the monitor provided APD from the Tyler, Texas Police
Department. We see it as entirely conceivable that individuals from APD command and staff
levels may need external training on this process, which they should contract for with reputable
outside consultants and trainers.
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35. Recommendation 4.7.27d: Any recommendations made from After-
Action reporting should follow a logical and repetitive cycle wherein APD
can demonstrate it adequately “closes the loop” on lessons learned.

36. Recommendation 4.7.28a: Ensure that all lapel video is viewed at
some point by trained and effective review staff, and that any noted
“policy outliers” are noted, in writing, and forwarded up the chain of
command.

37. Recommendation 4.7.28b: Ensure that Area Commanders consider
and track these “policy outliers” as part of their command oversight
function, e.g., increasing “review rates,” increasing supervisory field
contacts with triggered personnel, increasing report review and
assessment frequency for triggered personnel, assigning remedial
training, ordering increased review frequencies, etc.

38. Recommendation 4.7.28c: APD should implement a “Review Team”
that is an extension of the Chief’s office, whose sole responsibility is to
review complete records of random and directed use of force cases.
Those reviews should be reported directly to the Chief of Police to
ensure the organization’s strategic intent related to the CASA is being
implemented.

39. Recommendation 4.7.28d: Revise training academy work
processes related to use of and supervision of the use of force training
by developing lesson plans congruent with national practice, and ensure
that all training product conforms to the processes articulated in
response thereto.

40. Recommendation 4.7.29a: Prioritize the most frequent and most
serious use of force “misses,” and develop a response plan, using the
Completed Staff Work model, and present the results to the Chief of
Police for review, comment, and action.

41. Recommendation 4.7.29b: Continue these prioritized reviews until
the error rate drops below five percent.

42. Recommendation 4.7.29c: APD should implement a “Review Team”
that is an extension of the Chief’s office, whose sole responsibility is to
review complete records of random and directed use of force cases.
Those reviews should be reported directly to the Chief of Police to ensure
the organization’s strategic intent related to the CASA is being
implemented.

43. Recommendation 4.77.30a: Identify, in routine monthly reports,
officers who failed to report, or incompletely reported, a given Use of

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Force, and supervisors who missed that failure, and provide appropriate
progressive discipline to the officers, supervisors, and commanders.

44. Recommendation 4.77.30b: Reports responsive to this
recommendation should be compiled as part of APD’s CASA-required
reports, along with a listing of corrective responses required by APD.

45. Recommendation: 4.77.30c APD should implement a “Review Team”
that is an extension of the Chief’s office, whose sole responsibility is to
review complete records of random and directed use of force cases.
Those reviews should be reported directly to the Chief of Police to ensure
the organization’s strategic intent related to the CASA is being
implemented.

46. Recommendation 4.7.31b: APD should implement a “Review Team”
that is an extension of the Chief’s office, whose sole responsibility is to
review complete records of random and directed use of force cases.
Those reviews should be reported directly to the Chief of Police to ensure
the organization’s strategic intent related to the CASA is being
implemented.

47. Recommendation 4.7.31c: APD should conduct a detailed failure
analysis of use of force cases that do not meet the requirements of the
CASA (noted in detail in every monitor’s report) and identify where the
failure(s) occurred, what caused the failure (policy-training-supervision-
oversight).

48. Recommendation 4.7.31d: Where failures “cluster,” in the reporting
for 4.7.31c, above, APD should prepare Completed Staff Work
documents identifying the failures, the cause of the failures, and providing
recommendations for policy, training, structural, or disciplinary responses
to each failure.

49. Recommendation 4.7.33a: APD should immediately cease the
practice of training “proposed policy provisions.”

50. Recommendation 4.7.34a: Given the scope of the failure rate on
the cases noted in 4.7.33 above, it is highly unlikely they are supervisor
or command specific; however, APD should carefully assess, through
Completed Staff Work processes, where these errors occurred, what
supervisory and command structure permitted them, and should design
a carefully thought out response plan to ensure that the errors are
communicated to the appropriate command, that the command(s)
assess(es) the errors and submit(s) to the Chief of Police realistic
responses designed to eliminate an 87% error rate in such a critical
process’ oversight, review and remediation.

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51. Recommendation 4.7.34b: Develop policy changes to APD’s use of
force policy that address distraction strikes, neck holds, and show of
force and include these topics in follow-up training to all personnel.

52. Recommendation 4.7.35b: Resolve at the soonest point possible the
manner in which “De Minimis” force will be trained to the organization,
including written training plans with goals, objectives, measures of
learning, etc. All training development product should comply with the
GO-MAPS outline the monitor previously provided APD.

53. Recommendation 4.7.35c: Perform a careful, comprehensive,
inclusive Job-Task Analysis (JTA) for FIT personnel.

54. Recommendation 4.7.35d: Once the JTA is complete, develop a
listing of needed skills and competencies;

55. Recommendation 4.7.35e: Identify current skill-sets possessed by
current IA personnel, and conduct a “Gap Analysis;”

56. Recommendation 4.7.35f: Determine what missing skill-sets need to
be remediated or developed;

57. Recommendation 4.7.35g: Assess external training modalities to
identify in advance which ones to train to and develop the missing skill
sets;

58. Recommendation 4.7.35h: Either develop the needed training in-
house or procure it by sending IAB personnel to external training events
that are known to provide needed skill sets that will fill IAB’s skill-set
deficiencies. Make no assignments to external training unless APD can
verify that the training venue or provider actually has a plan and or course
syllabus that includes an effective treatment of the designated skill set.

59. Recommendation 4.7.35i: Maintain records regarding skill set
deficiencies and external training events skills training, and follow-up with
post-training analyses of each externally trained employee’s ability to
meet performance goals related to “new” skill sets.

60. Recommendation 4.7.36: Provide training as recommended in
Paragraphs 87 and 88 for members of the MATF.

61. Recommendation 4.7.37: Complete policy-compliant training
congruent with recommendations provided in paragraphs 86-88, above.

62. Recommendation 4.7.37: Complete policy-compliant training
congruent with recommendations provided in paragraphs 86-88, above.

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63. Recommendation 4.7.39a: APD should assess, analyze, and “re-
vision” its force review processes, including reporting, intake,
assessment, classification, assignment, review and investigation,
outcome development and reporting, and findings development. This
assessment should be executed with all due diligence and speed.

64. Recommendation 4.7.39b: The talent to develop this assessment
may require an outside consultant; however, whoever is tasked with this
assessment should be required to produce an actionable report
designed to build a system that can meet the quality and timeline
requirements of the CASA, and should take into consideration “best
practices” in the field.

65. Recommendation 4.7.39c: APD’s recent site visit to other PD’s
undergoing similar process as the CASA should be assessed for
“lessons learned” that could be adapted to APD’s internal affairs and
disciplinary/retraining processes.

66. Recommendation 4.7.39d: APD, eventually should develop a
clearly articulated plan for repairing its overwhelmed internal
investigative processes, replete with goals, objectives, timelines and
costs.

67. Recommendation 4.7.39e: The developed plan should be
implemented and achievement of goals and objectives should be clearly
and impartially evaluated for implementation.

68. Recommendation 4.7.40: APD should carefully provide to the
monitor data that is directly responsive to the monitor’s requests, and is
appropriately labeled and structured.


69. Recommendation 4.7.41a: Establish by policy, training, and internal
monitoring, specific requirements for command review of supervisory
force reviews, ensuring that the new policy, training and internal
monitoring conform to the requirements of the CASA for this paragraph.

70. Recommendation 4.7.41b: Ensure that policy outliers are brought to
the attention of commanders failing to conform, and to their immediate
superiors and the Chief of Police.

71. Recommendation 4.7.41c: Require commanders who fail to
conform with Paragraph 54’s requirements to undergo retraining in policy
requirements and to develop a correction-plan for ensuring that policy
adherence is achieved.


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72. Recommendation 4.7.41d: Executive-level personnel for those
commanders completing such retraining and corrective planning
measures should monitor commanders under their supervision to ensure
they meet the requirements of Paragraph 54’s stipulations relative to are
brought into compliance.

73. Recommendation 4.7.41e: Executive-level personnel so tasked
should develop quarterly reviews of commanders under their

74. Recommendation 4.7.42a: Identify the factors causing the most
errors in command review and require a completed CSW document that
proposes specific, tangible, and evaluable policy revisions, supervisory
and commander re-training or discipline to rectify given error categories.

75. Recommendation 4.7.42b: Forward the CSW document to the Chief
of Police for review, assessment and implementation of remedial
processes.

76. Recommendation 4.7.42c: Require follow-up and analysis to
determine if recommended processes have alleviated the identified
problems, and repeat steps a through c until issues have been reduced
to less than 95 percent.

77. Recommendation 4.7.43a: Ensure that APD automated systems
relating to paragraphs 41-56 are supported by a meaningful recording,
assessment, and tracking system to ensure that each incident of a noted
failure to comply within the command structure is documented,
addressed, and followed up to ensure such errors are mitigated and
reduced to a level below five percent.

78. Recommendation 4.7.43b: Ensure that deficiencies in APD’s
systems relating to paragraphs 41-56 are monitored and noted, and
result in corrective action taken with the responsible command and
supervisory personnel.

79. Recommendation 4.7.43c: If necessary, consult with external
resources to design a formalized system of monitoring supervisory and
command-level responses to policy violations.

80. Recommendation 4.7.44a: APD should ensure that the FRB process
is integrated and methodical, requiring each “out of policy” action to be
assessed for causes, remaining issues, and recommended responses to
ensure that organization-wide implications are addressed in their
problem response modalities as well as officer-specific, supervisor-
specific and command-specific responses;



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81. Recommendation 4.7.44b: APD should assess other similar
processes in other police agencies known to be effective at dealing with
such issues and review their processes for “lessons learned” that can be
applied to APD’s processes.

82. Recommendation 4.7.44c: APD should make it clear that “refrain
from answering” is not a viable response. If APD cannot get a decision
about a given use of force issue at this level, it suggests either a lack of
training, a lack of structuring of the process, or a lack of commitment to
improving.

83. Recommendation 4.7.44d. APD should assess its FRB panelists to
ensure they understand current policy and practice and are clear
about the FRB’s purpose. To the extent that they find members who
continually “refrain from answering” they should be re-trained or
removed from FRB participation, with appropriate notation why in their
APD personnel files.

84. Recommendation 4.7.45a: APD should initiate a systems-wide
failure analysis regarding this case and determine at what points the
most critical systems failed to perform as expected or required.

85. Recommendation 4.7.45b: Once the failure points are identified, a
thorough review of any cases with similar fact circumstances, similar
command reviews, or other similar issues are noted.

86. Recommendation 4.7.45c: Once the failure analysis is complete,
APD should identify lessons learned and recommend policy, training,
systemic, supervisory, and/or management oversight systems that need
to be revised, upgraded, or otherwise modified.

87. Recommendation 4.7.45d: Assessments outlined above should not
be restricted to the case giving rise to these recommendations, but
should address all similarly situated FRB reviews.

88. Recommendation 4.7.45e: Revise policy, training, supervision and
command issues reflecting similar outcomes accordingly.

89. Recommendation 4.7.46a: APD should initiate a systems-wide
failure analysis regarding Case #IMR6-001 and determine at what point
the most critical systems failed to perform as expected or required.

90. Recommendation 4.7.46b: Once the failure points are identified, a
thorough review of any cases with similar fact circumstances, similar
command reviews, or other similar issues should be conducted.



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91. Recommendation 4.7.46c: Once the failure analysis is complete,
APD should identify lessons learned and recommend policy, training,
systemic, supervisory, and/or management oversight systems that need
to be revised, upgraded, or otherwise modified.

92. Recommendation 4.7.46d: Assessments outlined above should not
be restricted to the case giving rise to these recommendations, but
should address all similarly situated FRB reviews.

93. Recommendation 4.7.456e: Revise policy, training, supervision and
command issues reflecting similar outcomes accordingly.

94. Recommendation 4.7.46f: APD must ensure that specific
performance deficiencies, throughout the chain of command, associated
with [Case #IMR6-001] are properly addressed through counseling,
training and/or discipline.

95. Recommendation 4.7.47a: The language of the learning objectives
need to be addressed to optimize the efforts put forth in developing and
delivering the “IA Force Investigations Training Program.”

96. Recommendation 4.7.47b: Prioritize efforts to vet or conduct due
diligence on externally provided courses and how they may impact
CASA-required actions as they relate to force and misconduct
investigations.

97. Recommendation 4.7.48: Complete the development cycle by
ensuring the training recently delivered is implemented.

98. Recommendation 4.7.49: Integrate policy and training and
implement operations required therein on a routine basis.

99. Recommendation 4.7.50 Integrate policy and training and implement
operations required therein on a routine basis.

100. Recommendation 4.7.51: Continue implementation of training and
supervisory process to ensure compliance to extant policy and training.

101. Recommendation 4.7.52a: Assess timeliness and completion of
MATF investigations and identify causes of delays, inconsistencies and
related issues.

102. Recommendation 4.7.52b: Develop recommendations to
eliminated avoidable delays and improve reporting and review process.




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103. Recommendation 4.7.53a: Perform a careful, comprehensive,
inclusive Job-Task Analysis of all currently assigned IA job classes (this
may require external assistance).

104. Recommendation 4.7. 53b: Once the JTA is complete, develop a
listing of needed skills and competencies;

105. Recommendation 4.7. 53c: Identify current skill-sets possessed by
current IA personnel, and conduct a “Gap Analysis;”

106. Recommendation 4.7.53d: Determine what missing skill-sets need
to be developed;

107. Recommendation 4.7. 53e: Assess external training modalities to
identify in advance which ones train and develop the missing skill sets;

108. Recommendation 4.7.53f: Either develop the needed training in-
house or procure it by sending IAB personnel to external training events
that are known to provide effectively needed skill sets that will fill IAB’s
skill-set deficiencies. Make no assignments to external training unless
APD can verify that the the training venue or provider actually has a plan
and or course syllabus that includes an effective treatment of the
designated skill set.

109. Recommendation 4.7. 53g: Maintain records regarding skill set
deficiencies and external training events skills training, and follow-up with
post-training analyses of each externally trained employee’s ability to
meet performance goals related to “new” skill sets.
110. Recommendation 4.7.54a: APD should develop policy and training
requiring such referrals to track the exact inventory of items that go back
and forth for these reviews and provide more specificity and accuracy. 196

111. Recommendation 4.7.55a: APD should develop and deliver
meaningful policy and procedures that delineate roles and
responsibilities for assessing criminality in a case and how referrals to
determine criminality are made.

112. Recommendation 4.7.55b: APD should develop and deliver a
meaningful training program that delineates roles and responsibilities for
assessing criminality in a case and how referrals to determine criminality
are made.

113. Recommendation 4.7.55c: APD executive level staff need to
monitor and take an active role in referrals to prosecuting entities to
determine if criminality exists in a case.

196   Receipts of information may exist but they were not provided to the monitoring team.
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114. Recommendation 4.7.55d: APD should standardize its records to
facilitate a coherent and consistent procedure to satisfy data requests.

115. Recommendation 4.7.55e: APD should develop a clear,
demonstrative, objective process to ensure that data provided to the
monitor are responsive to given requests, accurately completed and
compiled, and clearly labeled as to what request the data are
responsive.

116. Recommendation 4.7.56: Implement diligently approved policy
and training, and evaluate performance, identify out-of-policy processes,
and engineer practices to bring out-of-policy processes into
conformance.

117. Recommendation 4.7.57: Formalize and document IAB training
protocols relative to internal policy requirements. Such training cannot
be outsourced to external training providers unless they are specifically
tailored to APD IAB internal policy requirements.

118. Recommendation 4.7.58a: Complete or contract for a detailed
workload and staffing analysis for CIRT. Said analysis should be
completed according to established standards for such work, and a copy
should be submitted to the monitor.

119. Recommendation 4.7.58b: Deal with the discrepancy in PowerDMS
record keeping re test takers and number logged in to view the subject
matter of the test. Provide results in writing to the monitor.

120. Recommendation 4.7.59: Implement approved policies via
effective management and supervisory oversight focused on approved
policy and training.

121. Recommendation 4.7.60a: Ensure that >95% of all IAB
investigators score at least a passing score on the issued exam process
outlined in 4.7.59 of IMR 5 Report.

122. Recommendation 4.7.60a: Implement a quality control function in
IA case investigation, documentation and reporting process and develop
and identify-classify-rectify cycle to ensure quality improvement.

123. Recommendation 4.7.61: Comply with recommendations in
sections 4.7.59-4.7.60, above.

124. Recommendation 4.7.63a: Train or re-train IAB personnel based
on the expectations for performance related to SOP 2-05, SOP 7-1, SOP

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7-2, SOP 7-3 and SOP 3-41, and test for learning as outlined in sections
4.7.59-4.7.60, above.

Recommendation 4.7.65a: Train or re-train IAB personnel based on the
expectations for performance related to SOPs 2-05, SOP 7-1, SOP 7-2,
SOP 7-3 and SOP 3-41, and test for learning as outlined in sections
4.7.59-4.7.60, above.

125. Recommendation 4.7.65b: APD should commission an in-depth review of
FRB policy, staffing, leadership and operations to ensure that the issues
addressed in the paragraph are assessed internally, and, for each issue
identified above, APD should craft a thoughtful, detailed, and effective piece of
Completed Staff Work.

126. Recommendation 4.7.65c: APD should reach out to other similarly
situated police agencies to discuss successful modalities for overcoming
such critical issues as we have observed with the FRB.

127. Recommendation 4.7.65d: APD should conduct a careful needs
assessment of the skill sets needed for FRB participation, and develop
training to ensure that FRB members receive this training prior to
assuming their FRB-related duties.

128. Recommendation 4.7.65: APD should conduct a careful needs
assessment of the skill sets needed for FRB participation, and develop training
to ensure that FRB members receive this training prior to assuming their FRB-
related duties. That training should be documented and “tested” based on
national best practices.

129. Recommendation 4.7.66a: APD should conduct a comprehensive
assessment of all policy and CASA provisions that require EIRS analysis
and/or Annual Reporting to ensure that the 2016 report includes all
necessary data points.

130. Recommendation 4.7.66b: APD should conduct a comprehensive
assessment of the monitor’s “Outcomes Assessment” report to ensure
that it identifies and corrects issues with data quality outlined in that
report.

131. Recommendation 4.7.67: APD should conduct a comprehensive
assessment of all policy and CASA provisions that require EIRS analysis
and/or Annual Reporting to ensure that the 2016 system includes all
necessary data points.

132. Recommendation 4.7.73a: As we have suggested multiple times
in the past, APD should develop a comprehensive training plan, based in
part on information contained within the monitoring reports, and draw
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direct lines between policy, the CASA, training gaps identified by the
monitoring team and the specific areas within their training curriculum
where these issues are addressed. The plan should include a table to
ensure that the right topics are delivered to the right audience of people.

133. Recommendation 4.7.73b: Training Committee meetings should
include specific recommendations to be included in specific training
programs. Topics they identify should be tracked until they are included
in a particular program.

134. Recommendation 4.7.73c: APD should immediately cease the
practice of training "proposed policy changes," and should move forward
with training only after policy has been approved and adapted.

135. Recommendation 4.7.73d: Resolve at the soonest point possible
the manner in which “De Minimis” force will be trained to the
organization: officers, supervisors, commanders, and upper
management. Recommendation 4.7.73a: As we have suggested
multiple times in the past, APD should develop a comprehensive training
plan, based in part on information contained within the monitoring
reports, and draw direct lines between policy, the CASA, training gaps
identified by the monitoring team and the specific areas within their
training curriculum where these issues are addressed. The plan should
include a table to ensure that the right topics are delivered to the right
audience of people.

136. Recommendation 4.7.73b: Training Committee meetings should
include specific recommendations to be included in specific training
programs. Topics they identify should be tracked until they are included
in a particular program.

137. Recommendation 4.7.73c: APD should immediately cease the
practice of training "proposed policy changes," and should move forward
with training only after policy has been approved and adapted.

138. Recommendation 4.7.73d: Resolve at the soonest point possible
the manner in which “De Minimis” force will be trained to the
organization: officers, supervisors, commanders, and upper
management.

139. Recommendation 4.7.74a: APD should implement a careful review
of IMR-3, IMR-4, IMR-5 and, and note gaps in provided training, policy,
or supervision and develop, where appropriate, specific training
modalities to positively affect remediation of those gaps. Application of
the concept of “completed staff work” should be directed toward each
identified area or topic that must be remediated, resulting in specific

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recommendations to the Chief of Police designed to remediate identified
training gaps.

140. Recommendation 4.7.74b: APD should develop and deliver
training concerning crowd control that takes cognizance of feedback
provided in Paragraphs 39 and 40.

141. Recommendation 4.7.74c: Given the fact that training command
seems to put little credence in the monitor’s recommendations regarding
training in past monitoring reports, APD should consider, develop and
implement mechanisms to ensure the recommendations are assessed,
evaluated, and written plans for implementation are developed. For
those monitor’s recommendations that will not be implemented, APD
should identify alternative processes for achieving the results required by
the CASA.

142. Recommendation 4.7.75a: We reiterate, yet again, APD should
consider developing a comprehensive training plan, based on information
contained within what now is six monitor’s reports, and draw direct lines
between training gaps we identify and specific areas within their training
curriculum. This process should result in a piece of completed staff work
that identifies specific issues and recommends steps to resolve those
issues and is submitted to the Chief of Police for action.

143. Recommendation 4.7.75b: We recommend that APD cease the
practice of training “proposed policy provisions,” and use the same
development cycle as virtually every other police agency in America:
Policy, Training, Implementation, Supervision, Assessment, Repeat
(PTISAR).

144. Recommendation 4.7.75c: APD consider implementing a “training
cycle” as their established training business process.

145. Recommendation 4.7.75d: The APD Academy should have
legitimate, and codified, oversight of all organizational CASA related
training. Every piece of training related to CASA provisions should be
subjected to and controlled by the PTISAR model.

146. Recommendation 4.7.75e: The APD Academy should establish a
stand-alone unit with the specific responsibility of quality assurance for all
organizational training requirements. That unit should report directly to
the Chief of Police with feedback loops to the Training Academy.

 147. Recommendation 4.7.97a: APD should ensure that each of the
related paragraphs, 111-137 (of IMR 6) conform with the goals
articulated in this paragraph and are articulated sufficiently to Command
and supervisory-level personnel.
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148. Recommendation 4.7.100: Assess MHRAC-APD information
interfaces to identify ways of increasing lead times presented to MHRAC
from APD related to issue review and consideration and development of
recommendations.

149. Recommendation 4.7.102: Submit required COB documentation to
MHRAC as well as documentation from MHRAC noting review and
approval. Ensure that documentation is responsive to relationship
building and scenario-based training.

150. Recommendation 4.7.104: Ensure MHRAC reports are posted on
relevant CABQ websites.

151. Recommendation 4.7.110a: Develop and execute a data-based,
methodologically appropriate workload and manpower planning analysis
that ensures that reliable “staffing levels” for eCIT officers are calculated,
reported, set as staffing goals, and attained.

152. Recommendation 4.7.111: Implement the recruitment, training and
deployment plan for “Certified responders” that meets the articulated
goal of 40 of Field Services Officers.

153. Recommendation 4.7.112a: Submit COB training documentation for this
particular training, e.g., routinely kept class rosters, exam scores, etc.
154. Recommendation 4.7.113: Submit training documentation for this
particular training, e.g., routinely kept class rosters, exams, exam scores, etc.
155. Recommendation 4.7.114: Complete eCIT training as designed,
and evaluate performance via a reasonable testing procedure.

156. Recommendation 4.7.115: Establish a clear, meaningful protocol
for CIU response; train that protocol; and supervise implementation.

157. Recommendation 4.7.116: Develop, initiate, and describe the
results of APD’s methodologies that use the results of data collected for
this paragraph for “management purposes,” i.e., planning, organizing,
staffing, directing, controlling, reporting and budgeting for the CIT and
COAST workload, service delivery processes, and outcomes.

158. Recommendation 4.7.118a: The current policy guiding this
paragraph is expired. Change existing policy as appropriate, and
promulgate the new policy.




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159. Recommendation 4.7.118b: Revise training and training
evaluation protocols to reflect the new policy developed as per 4.7.118a,
above.

160. Recommendation 4.7.122a: Upgrade CIU/COAST to the required
staffing levels.

161. Recommendation 4.7.123a: APD should ensure that COAST and
CIU personnel track incident reports involving their personnel for
indications of recurring issues and problems that may be addressed by
referral of clients to community health resources.

162. Recommendation 4.7.123b: Once these opportunities are
identified, train COAST and CIU personnel to implement, where
appropriate referrals to outreach, service delivery, crisis prevention, and
referrals to community health resources.

163. Recommendation 4.7.137a: Collect, analyze and interpret the data
elements above on a routine basis, and produce reports circulated to
CIU and COAST personnel, through the chain of command, and
eventually to the public via APD’s web-site.

164. Recommendation 4.7.137b: Memorialize these processes in policy
and training.

165. Recommendation 4.7.126: Plan, organize, staff, and deliver
training conforming to national practice related to the concept of De
Minimis force, and its application in the field by APD officers.

166. Recommendation 4.7.127a: Develop approvable policy guidance
on the concept of Di Minimus force and its “fit” into existing policy.

167. Recommendation 4.7.127b: Train all applicable personnel
(officers, supervisors, command) on the new policy.

168. Recommendation 4.7.127b: Assess impact of policy and training
on service delivery related to Di Minimus force.

169. Recommendation 4.7.131a: Expedite policy review and revision of
policies and practices to ensure that current, reliable, and workable
policies are in place to guide the actions of APD officers

170. Recommendation 4.7.131b: Focus first on high-risk/critical task
policies such as Use of Force, EIRS, and OBRD.




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171. Recommendation 4.7.131c: Where possible, adapt approved
similar policies from other law enforcement agencies currently working
through consent decrees, i.e., Seattle PD and New Orleans PD.
172. Recommendation 4.7.131d: Ensure that termination of all residual
Special Orders are effectively communicated to all field operations
personnel, including supervisors and command-level personnel.

173. Recommendation 4.7.132: Implement training and supervision for
the approved OBRD policy.

174. Recommendation 4.7.133a: APD should conduct an agency-wide
review of all “special orders,” and ensure they are CASA compliant.

175. Recommendation 4.7.133b: The resulst of that review should be
provided to the Parties and the monitor.

176. Recommendation 4.7.133c: All future “Special Orders” related in
any way to the CASA should be provided to the Parties and the monitor
contemporaneously with publication.

177. Recommendation 4.7.169: CPOA should aware of the
requirements of same and to redouble efforts to meet the requirements
of this paragraph.

178. Recommendation 4.7.170: Revise appropriate policies to reflect
the use of ACMs within the IA “outcomes” definitions and train personnel
accordingly.

179. Recommendation 14.7.176: CPOA should redouble its supervisory
efforts to ensure routine compliance with this requirement.

180. Recommendation 4.7.177a: Managers at CPOA and IAB should
be cognizant of timelines for given investigations, and ensure that, when
needed and appropriate, extensions are requested.

181. Recommendation 4.7.177b: Timeline compliance rates should be
included in CPOA’s and IAB’s monthly and/or quarterly management
reports.

182. Recommendation 4.7.177c: When investigations are delayed for
unusual circumstances, such as frequent cancellation of interviews by a
complainant or a Family Medical Leave Act delay of a compelled
investigation, it should be clearly set forth in an investigative timeline for
supervisory review.
183. Recommendation 4.7.178a: CPOA and APD should reinforce
training and supervision of its personnel related to investigative
timelines.
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184. Recommendation 4.7.187a: The current practice of figuring the
sanction level of any sustained policy violation and whether there are
any prior offenses that, by their level of sanction and date of imposition,
count as a prior offense, is complicated and subject to too much
subjectivity (based on Supervisory Chain of Command input to the Chief
per SOP 3-46-5). IAB and CPOA should make findings regarding the
level of sanction and whether there are any applicable prior offenses.
The SOP should be revised to provide for these determinations to be
made by IAB and CPOA.

185. Recommendation 4.7.187b: Retention cards need to indicate the
level of sanction associated with each sustained violation and the date of
imposition of discipline.

186. Recommendation 4.7.187c: Where a sustained violation (policy)
has a sanction level that contains a range (e.g. 2-5), or where it has no
associated sanction level, IAB and CPOA should make the sanction
level determination in a finding and explain how the sanction level finding
was reached.

187. Recommendation 4.7.187d: Where an investigation that reaches
sustained findings contains prior offenses on the officer’s retention card,
IAB and CPOA should make a finding whether those prior offenses
count as a prior offense enhancement.

188. Recommendation 4.7.187e: Once the above findings are made,
APD and CPOA – utilizing the sanction level rows and prior offense
columns of the disciplinary matrix - should make a finding as which box
applies on the disciplinary matrix and the range of discipline associated
with the box.

189. Recommendation 4.7.187f: The findings recommended in this
paragraph, as all other findings, shall be subject to review, comment and
recommendation by supervisors of the subject officer in the supervisory
review of the investigation.

190. Recommendation 4.7.187g: When discipline imposed after a PDH
differs from the Chief’s proposed findings and discipline, then the Final
Decision on Discipline Letter, or a separate memo in the investigative
file, should contain an explanation of the balancing of mitigating and
aggravating circumstances occurring at the PDH, and an explanation for
the final discipline as opposed to the proposed discipline.

191. Recommendation 4.7.188a: Since the disciplinary policy is moot on the
requirement that departures from the “presumptive range of discipline” must be
justified in writing, APD should append such a declaration to the matrix.
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192. Recommendation 4.7.194: APD should collect and analyze course-of-
business data relative to this paragraph to ensure that compliance levels are
met.

193. Recommendation 4.7.195: APD should collect and analyze course-of-
business data relative to this paragraph to ensure that compliance levels are
met.

194. Recommendation 4.7.197: Pending a determination of the efficacy
of the delivered training.

195. Recommendation 4.7.198a: APD should consider monitor
feedback and not respond to that feedback positively while otherwise
stepping backward in other sections of the policy, such as raising the
thresholds or shortening the review period.

196. Recommendation 4.7.198b: We understand APD has contacted
NJSP, New Orleans PD, and Seattle PD to glean ideas about how this
review regimen could be structured to meet the requirements of the
CASA in the most efficient manner possible. APD should develop
specific, quantifiable, appropriate programmatic reform based on the
information collected.

197. Recommendation 4.7.199: APD should avoid making unilateral
decisions regarding revisions to policies required by the CASA without
notifying the Parties and the monitor of the need, import, and specifics of
the “new” policy.

198. Recommendation 4.7.200: Re-assess the role of EIRS within the
overall process of supervision, and ensure that a mechanism exists to
trigger detailed supervisory reviews of defined “outliers” systematically,
reliably and effectively.

199. Recommendation 4.7.201a: Clarify sections g and k of the current
policy to reflect the requirements of the CASA

200. Recommendation 4.7.201b: Ensure supervisors are cognizant of
their responsibilities under Paragraph 215, and are trained to perform
those responsibilities correctly.

201. Recommendation 4.7.202a: Complete the development process to
achieve an approved policy regarding EIRS implementation at the
sergeant’s level.




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202. Recommendation 4.7.202b: Develop an approved analysis and
reporting system regarding EIRS triggers, and response protocols to
those triggers.

203. Recommendation 4.7.203: Complete the planning process and
submit a document outlining policy, procedures, training and oversight
approvable by the monitor.

204. Recommendation 4.7.205a: Complete development of the
revisions to APD’s EIRS policy that are approvable by the Parties and
the monitor.

205. Recommendation 4.7.205b: Train the new policies as approved

206. Recommendation 4.7.205c: Develop and implement a meaningful
“inspections and audit” protocol and procedure to ensure internal field-
assessment of operations in the field (i.e., sergeants, lieutenants and
Area Commanders) relating to this policy.

207. Recommendation 4.7.206a: Complete policy development and
approval processes as agreed to by the Parties and approvable by the
monitor.

208. Recommendation 4.7.206b: Complete training/retraining on the
revised policy for officers and supervisors.

209. Recommendation 4.7.207a: APD should rescind effective
immediately any and all “Special Orders” or other policy mechanisms
that contradict the CASA and/or monitor- and Party-approved policy.

210. Recommendation 4.7.207b: APD should examine any remaining
“Special Orders” they have published over the past two years, that may
be in violation of the CASA and rescind those “Special Orders” as well.
211. Recommendation 4.7.208: APD should cease, effective
immediately, making policy changes related to requirements of the
CASA via Special Order, or any similar mechanism, without notifying the
Parties and the monitor.

212. Recommendation 4.7.208: APD should rescind effective
immediately any and all “Special Orders” or other policy mechanisms
that contradict the CASA and/or monitor- and Party-approved policy.

213. Recommendation 4.7.209: APD should conduct an immediate,
thorough and complete audit protocol relative to proper testing and
functioning of OBRD equipment.



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214. Recommendation 4.7.210a: Complete a monitor- and Parties-
approved policy outlining an effective inspections and audit function in
the Area Commands’ patrol operations processes of auditing supervisory
processes designed to implement OBRD “use” requirements.

215. Recommendation 4.7.210b: Implement the policy and evaluate its
effectiveness in identifying and remediating OBRD use that is outside
policy.

216. Recommendation 4.7.211a: Ensure that all supervisors have been
(re)trained in the revised OBRD policy.

217. Recommendation4.7.211b: Ensure that all internal changes to
policies approved by the monitor and the Parties are noticed to the
monitor and the Parties in writing and approved as per the requirements
of the CASA.

218. Recommendation 4.7.212a: APD should conduct a complete self-
review of policies to ensure there are no other “outliers” among their
policy promulgation systems, e.g., internal practice memoranda in
conflict with approved policy, etc.

219: Recommendation 4.7.212b: APD should notify the Parties and the
monitor if they find any other similar issues related to other elements of
the CASA.

220. Recommendation 4.7.212c: APD should provide the Parties and
the monitor with copies of their review findings and actions taken to
resolve any additional issues noted.
221. Recommendation 4.7.213a: Identify the training elements
implicated in the findings on this Paragraph and assess whether they
were delivered in a manner that was clear and correct enough to result
in CASA-compliance in the field.

222. Recommendation 4.7.213b: If training deficiencies or problems are
implicated in this review, design remedial training, counseling, or
discipline if required to directly affect the observed in-field supervisory
under performance.

223. Recommendation 4.7.213c: Once the remedial training,
counseling, or discipline is implemented, close the loop by re-evaluating
performance in the field. Repeat until under-performance is eliminated.

224. Recommendation 4.7.214a: Using the Completed Staff Work
method, develop policy, training, and audit protocols responsive to this
paragraph.

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225. Recommendation 4.7.214b: Once developed, implement and re-
evaluate to determine if the problem has been resolved.

226. Recommendation 4.7.214c: Repeat until compliance is attained.

227. Recommendation 4.7.215a: Using the Completed Staff Work
method, develop policy, training, and audit protocols responsive to this
paragraph.

228. Recommendation 4.7.215b: Once developed, implement and re-
evaluate to determine if the problem has been resolved.

229. Recommendation 4.7.215c: Repeat until compliance is attained.

230. Recommendation 4.7.216a: APD should implement its own
“inspections and audit” process to ensure OBRD video are appropriately
stored by the end-of-shift.

231. Recommendation 4.7.216b: Once developed, implement and re-
evaluate to determine if the problem has been resolved.

232. Recommendation 4.7.216c: Repeat until compliance is attained.
233. Recommendation 4.7.217a: Restore any policy, procedure,
practice or custom revised, terminated, or implemented as a result of
Special Orders as they relate to OBRD policies, procedures, custom or
practice. This needs to be done through both written policy and training
of officers and supervisors.

244. Recommendation 4.7.217b: Retrain any personnel/supervisors
who were provided training responsive to of Special Order 16-75 and
Special Order 16-82.

245. Recommendation 4.7.217c: Review all Special Orders currently
applicable to APD operations to ensure congruity with the CASA.

246. Recommendation 4.7.229: No action is required at this time, as
this issue is currently “in progress,” and pending resolution by the
monitor.

247. Recommendation 4.7.234: Identify, using BSSs, to drive
programmatic revisions and upgrades to the BSU’s operations and
programs and implement those implicated revisions.

248. Recommendation 4.7.240a: APD should “operationalize” its
revised mission statement through actions such as those listed in b and
c below.

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249. Recommendation 4.7.240b: APD should continuously focus on
mechanisms to take issues identified through its community-based
systems such as the CPCs and move those issues through internal
processes to ensure that community opinions, needs, and critical issues
are reflected in patrol plans, organizational priorities, and programmatic
planning.

250. Recommendation 4.7.240c: APD should plan, develop and assess
programmatic processes and evaluation strategies to identify,
implement, assess, and improve both the quality and perception of its
receptivity to community input and its ability to implement policing
initiatives responsive to articulated community needs.

251. Recommendation 4.7.241a: Articulate a data-based strategy for
staffing APD Area Commands so that the processes required in this
paragraph related to in-field changes to patrol allocation, staffing (and
training) are responsive to the requirements of this paragraph.

252. Recommendation 4.7.241b: This should result in a piece of
Completed Staff Work (CSW) identifying goals, measurable objectives,
and processes involved in meeting the requirements of this Paragraph.

253. Recommendation 4.7.241c: The finished CSW should be provided
to the Chief of Police for review and comment and action.

254. Recommendation 4.7.242a: APD should develop a Completed
Staff Work document identifying the scope and depth of POP
development issues, including recommendations for solving the
identified above.

255. Recommendation 4.7.242b: The CSW document should be
forwarded to the Chief of Police for review and comment.

256. Recommendation 4.7.233a: Prepare detailed operational reports
assessing POP-related programs and projects, including analyses of
outcomes and processes.

257. Recommendation 4.7.244: Document activities using Area
Command tracking sheets, ensuring specifically that documented on-
going partnerships are assessed and recommendations for reasonable
improvement are included.

258. Recommendation 4.7.248a: Develop the capacity, and begin using
the capacity to systematically track and capture salient information about
participation in community meetings, and document execution of this
task.

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259: Recommendation 4.7.249a: Document the capture and reporting
of aggregated monthly crime statistics by Area Command.

260. Recommendation 4.7.251a: APD should continue work to broaden
membership and participation by determining what factors are keeping
“relevant stakeholders” from expressing their views at CPC meetings,
and documenting attempts to address those factors.

261. Recommendation 4.7.252a: Improve and document efforts to
recruit and retain a more representative cross section of community
members as voting members of the CPCs

262. Recommendation 4.7.252b: Post selection procedures on the
internet.

263. Recommendation 4.7.254a: APD should take the lead to ensure a
comprehensive community policing approach is identified for each area
command, based on CPC interaction, participation, and comment.

264. Recommendation 4.7.255a: Using the CSW model, APD should
assess specific “failure analyses” for the issues noted above, identify the
cause of the failures, and articulate a written plan for resolving any
outstanding requirements relating to compliance with this paragraph.

 265. Recommendation 4.7.55: Assign staff to develop a more standard
format for the CPC annual report and provide assistance to each CPC in
producing its annual report. 2017 data need to be incorporated.

266. Recommendation 4.7.266a: Increase the levels of focus by
managerial personnel on timelines for completed investigation.

267. Recommendation 4.7.266b: Ensure that tardy investigations are
noted, and discussed with the involved investigator(s) to ensure the
reasons for delay were reasonable.

269. Recommendation 4.7.266c: Develop a process that ensures all
complaints are either assigned for investigation or administratively
closed within 7 working days of receipt of complaint.

270. Recommendation 4.7.266d: Increase the levels of focus by
managerial personnel on timelines for completed investigation.

271. Recommendation 4.7.266e: Ensure that tardy investigations are
noted, and discussed with the involved investigator(s) to ensure the
reasons for delay were reasonable.



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272. Recommendation 4.7.270a: The Chief of police should continue
the observed change his modalities of response to this paragraph to
conform to the requirements stipulated in the paragraph, to ensure that
the rationale for his decisions are clearly and fairly explained.

273. Recommendation 4.7.270b: APD should ensure that input from
POB and CPOA is given full and complete consideration and
assessment.

274. Recommendation 4.7.270c: Where the Chief or his designee
decides not to impose POB and CPOA disciplinary recommendations,
the reasons for the decision not to impose should be communicated
adequately for a clear understanding by the CPOA/POB, the APD and
the public of the Chief’s reasoning.

275. Recommendation 4.7.273: APD and CPOA/POB should
investigate the possibility of requesting external technical assistance to
study APD/CPOA/POB inter-organizational cooperation issues and to
make recommendations for improvement in this area.

276. Recommendation 4.7.274a: APD should ensure that input from
POB and CPOA is given full and complete assessment, and
implemented where practicable.

277. Recommendation 4.7.274b: In any instance in which APD decides
it cannot implement the POB/CPOA recommendations, the reasons for
the decision not to implement should be communicated fully to the POB
and CPOA in writing.




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